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                                  226612


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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




                                                     Case No. 3:16-md-2738 (MAS)/(RLS)

   IN RE: JOHNSON & JOHNSON TALCUM                           MDL Case No. 2738
   POWDER PRODUCTS MARKETING,
   SALES PRACTICES AND PRODUCTS                         [FILED ELECTRONICALLY]
   LIABILITY LITIGATION
                                                         Return Date: August 19, 2024




                      DECLARATION OF JEFFREY M. POLLOCK, ESQ.


  I, JEFFREY M. POLLOCK, ESQ., declare:

         1.      I am a partner at the law firm Fox Rothschild LLP, counsel for Andy D. Birchfield,

  Jr., Esq. and Beasley Allen Crow Methvin Portis & Miles, P.C. (Beasley Allen). I make this

  declaration based on personal knowledge and in opposition to Defendants Johnson & Johnson and

  LLT Management, LLC (collectively, J&J)’s Motion Objecting to Special Master Order No. 25.

         2.      Attached hereto as Exhibit A is a true and correct copy of a October 13, 2020

  Notice of Appearance filed by Leigh, O’Dell, Esq. in Detres v. Johnson & Johnson, et al., Case

  No. 3:18-cv-05401/MDL No. 2738.

         3.      Attached hereto as Exhibit B is a true and correct copy of the “Prepackaged


                                                 1
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  Chapter 11 Plan of Reorganization of the Debtor” or J&J bankruptcy solicitation proposal.

          4.       Attached hereto as Exhibit C is a true and correct copy of an excerpt of the April

  17, 2023 deposition of Andy D. Birchfield, Jr., Esq.

          5.       Attached hereto as Exhibit D is a true and correct copy of an excerpt of the May 1,

  2024 J&J investors call.

          6.       Attached hereto as Exhibit E is a true and correct copy of a May 2024 email

  exchange between and among various entities and persons, including Beasley Allen, its client, and

  J&J’s counsel.

          7.       Attached hereto as Exhibit F is a true and correct copy of $72 million (Fox) filed

  verdict sheet.

          8.       Attached hereto as Exhibit G is a true and correct copy of a $55 million (Ristesund)

  filed verdict sheet.

          9.       Attached hereto as Exhibit H is a true and correct copy of $70 million

  (Giannecchini) filed verdict sheet.

          10.      Attached hereto as Exhibit I is a true and correct copy of a $110 million (Slemp)

  filed verdict sheet.

          11.      Attached hereto as Exhibit J is a true and correct copy of a $417 million

  (Echeverria) filed verdict sheet.

          12.      Attached hereto as Exhibit K is a true and correct copy of a July 1, 2024 transcript

  of the Motion to Quash and/or for Protective Order before the Special Master.

          13.      Attached hereto as Exhibit L is a true and correct copy of the July 19, 2024 order

  and opinion by the Honorable John C. Porto, P.J. Civ. denying J&J’s motion to disqualify Beasley

  Allen from the New Jersey state court MCL.
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         Under 28 U.S.C. 1746, I hereby declare under penalty of perjury that the foregoing is true

  and correct.

  Executed on August 5, 2024

                                                     /s/ Jeffrey M. Pollock
                                                     JEFFREY M. POLLOCK, ESQ.
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                         EXHIBIT A
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  BEASLEY, ALLEN, CROW, METHVIN,
  PORTIS & MILES, P.C.
  Post Office Box 4160
  Montgomery, Alabama 36103
  Telephone: (334) 269-2343

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY




   ISADORA DETRES,                                          Case No. 3:18-cv-05401

                      Plaintiff,

          v.

   JOHNSON & JOHNSON, et al.,                               MDL No. 2738

                       Defendants.                          NOTICE OF APPEARANCE




                                     NOTICE OF APPEARANCE

         COMES NOW, Leigh O’Dell, and hereby enters her Appearance as additional counsel on

  behalf of the Plaintiff, Isadora Detres, in the above-referenced matter.

         Respectfully submitted, this the 13th Day of October 2020.

                                                /s/ Leigh O’Dell
                                                Leigh O’Dell
                                                BEASLEY, ALLEN, CROW, METHVIN,
                                                PORTIS & MILES, P.C.
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                                                Attorney for Plaintiff




                                               BA_0004
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 13, 2020, a copy of the foregoing Notice of Appearance
  was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
  filing system to all parties indicated on the electronic filing receipt. Parties may access this filing
  through the Court’s system.


                                                 /s/ Leigh O’Dell
                                                 Leigh O’Dell
                                                 BEASLEY, ALLEN, CROW, METHVIN,
                                                 PORTIS & MILES, P.C.
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                                                 Attorney for Plaintiff




                                                    2

                                                BA_0005
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                         EXHIBIT B
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   In re:                                          Chapter 11

   Red River Talc LLC,                             Case No: >Ɣ@

                   Debtor.


   Gregory M. Gordon (TX 08435300)           Brad B. Erens (IL 06206864)
   Dan B. Prieto (TX 24048744)               Caitlin K. Cahow (IL 6317676)
   Amanda Rush (TX 24079422)                 JONES DAY
   JONES DAY                                 110 N. Wacker Drive, Suite 4800
   2727 N. Harwood Street                    Chicago, Illinois 60606
   Dallas, Texas 75201                       Telephone: (312) 782-3939
   Telephone: (214) 220-3939                 Facsimile: (312) 782-8585
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   gmgordon@jonesday.com                     ccahow@jonesday.com
   dbprieto@jonesday.com
   asrush@jonesday.com

                             PROPOSED ATTORNEYS FOR DEBTOR


     PREPACKAGED &+$37(53/$12)5(25*$1,=$7,212) THE DEBTOR

  VOTES TO ACCEPT OR REJECT THE PLAN ARE BEING SOLICITED BY LLT MANAGEMENT LLC,
  ON BEHALF OF THE DEBTOR, CONSISTENT WITH SECTIONS 1125 AND 1126 OF THE
  BANKRUPTCY CODE. THE PLAN HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT.
  FOLLOWING THE SOLICITATION OF VOTES, ASSUMING THE REQUISITE ACCEPTANCE OF THE
  PLAN WILL HAVE BEEN OBTAINED, THE DEBTOR MAY (1) BE FORMED AS PART OF A
  RESTRUCTURING INVOLVING LLT MANAGEMENT LLC AND JOHNSON & JOHNSON HOLDCO
  (NA) INC., (2) FILE A PETITION FOR RELIEF UNDER CHAPTER 11 OF THE BANKRUPTCY CODE,
  AND (3) SUBMIT THE DISCLOSURE STATEMENT AND THE PLAN TO THE BANKRUPTCY COURT
  FOR APPROVAL.

  THE PLAN PROVIDES, AMONG OTHER THINGS, FOR THE ISSUANCE OF AN INJUNCTION
  PURSUANT TO SECTION 524(g), SECTION 1123(b)(6), AND/OR SECTION 105(a) OF THE
  BANKRUPTCY CODE THAT WILL CHANNEL ALL TALC PERSONAL INJURY CLAIMS AGAINST
  THE DEBTOR AND THE PROTECTED PARTIES (AS DEFINED HEREIN) IN CLASS 4 TO A TRUST, AS
  WELL AS OTHER INJUNCTIONS DESCRIBED IN ARTICLE XI OF THE PLAN.




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   Exhibit A         Amended Articles of Organization of the Reorganized Debtor

   Exhibit B         Amended Operating Agreement of the Reorganized Debtor

   Exhibit C         Cash Contributions

   Exhibit D         Cash Contributions Parent Guarantee

   Exhibit E         Cooperation Agreement*

   Exhibit F         Retained Rights of Action*

   Exhibit G         Talc Insurance Policies

   Exhibit H         Talc Personal Injury Trust Agreement

   Exhibit I         Talc PI Note

   Exhibit J         Talc PI Pledge Agreement

   Exhibit K         Trust Distribution Procedures

   Exhibit L         Executory Contracts and Unexpired Leases to Be Rejected

   Schedule 1        Debtor Corporate Parties

   Schedule 2        Imerys/Cyprus Parties

   Schedule 3        Retailers and Indemnified Parties



   *     Provided by Plan Supplement




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           Reference is made to the Disclosure Statement for a discussion of, among other things, the
   history, business, results of operations, and assets of the Debtor, and risks associated with the
   Plan. The Disclosure Statement also provides a summary of the Plan. YOU ARE URGED TO
   READ THE PLAN AND THE DISCLOSURE STATEMENT WITH CARE IN EVALUATING HOW
   THE PLAN WILL AFFECT YOUR CLAIM(S) BEFORE VOTING TO ACCEPT OR REJECT THE
   PLAN.

           Nothing in the Plan or the other Plan Documents constitutes an admission by the Debtor
   as to the existence, merits, or amount of the Debtor’s actual present or future liability on account
   of any Claim or demand (including any Talc Personal Injury Demand) except to the extent that
   such liability is specifically provided for in the Plan or the other Plan Documents in accordance
   with the Confirmation Order effective as of the Effective Date.

                                      ARTICLE I
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           1.1      Terms. The capitalized terms used herein have the respective meanings set forth
   below. Any term that is not otherwise defined in this Section 1.1, but that is defined elsewhere in
   the Plan or in the Bankruptcy Code or Bankruptcy Rules, shall have the meaning given to that term
   in the Plan, the Bankruptcy Code, or Bankruptcy Rules, as applicable. For the avoidance of doubt,
   the uncapitalized terms “affiliate,” “claim,” “demand,” “entity,” “governmental unit,” and “lien”
   have the meanings given to them in sections 101(2), 101(5), 524(g)(5), 101(15), 101(27), and
   101(37) of the Bankruptcy Code, respectively.

                1.1.1     “2021 Chapter 11 Case” means the chapter 11 case of LLT that was
           commenced on October 14, 2021, and subsequently dismissed on April 4, 2023.

                  1.1.2       “2021 Corporate Restructuring” means, collectively, the transactions
           comprising the corporate restructuring of Old JJCI that was completed on October 12,
           2021, as part of which (a) Old JJCI ceased to exist and (b) LLT and Holdco were formed.

                1.1.3     “2023 Chapter 11 Case” means the chapter 11 case of LLT that was
           commenced on April 4, 2023, and subsequently dismissed on August 11, 2023.

                  1.1.4       “2023 Conversion” means the conversion of LLT from a North
           Carolina limited liability company to a Texas limited liability company that occurred on
           December 29, 2023.

                  1.1.5      “2023 )XQGLQJ $JUHHPHQW 0RGLILFDWLRQV” means the transactions
           contemplated by that certain Termination and Substitution Agreement, dated April 4, 2023,
           executed by J&J, Holdco, and LLT.

                   1.1.6      “$GPLQLVWUDWLYH&ODLP” means any Claim for any cost or expense of
           administration of the Chapter 11 Case under section 503(b) of the Bankruptcy Code,
           including: (a) any actual and necessary post-petition cost or expense of preserving the
           Estate or operating the business of the Debtor; (b) Cure Amount Claims; (c) post-petition
           costs, indebtedness or contractual obligations duly and validly incurred or assumed by the
           Debtor in the ordinary course of business; (d) any Fee Claim, including any Claim for

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           compensation or reimbursement of expenses of Professionals to the extent allowed by the
           Bankruptcy Court under sections 327, 328, 330(a), 331, or 503(b) of the Bankruptcy Code
           or the provisions of the Plan; and (e) any fee or charge assessed against the Estate under
           28 U.S.C. § 1930(6).

                   1.1.7      “$GPLQLVWUDWLYH&ODLPV%DU'DWH” means the applicable deadline for
           filing requests for payment of Administrative Claims (other than Fee Claims and Cure
           Amount Claims) and shall be the Business Day that is sixty (60) days after the Effective
           Date.

                    1.1.8       “$IILOLDWH” means, with respect to any specified entity: (a) an
           “affiliate,” as defined in section 101(2) of the Bankruptcy Code, of such specified entity;
           or (b) any other Person that, directly or indirectly through one or more intermediaries or
           otherwise, controls, is controlled by, or is under common control with the specified entity.
           As used in clause (b) of the prior sentence, “control” shall include the possession, directly
           or indirectly, of the power to direct or cause the direction of the management or policies of
           the specified entity (whether through the ownership of equity, by contract or otherwise).

                   1.1.9     “$+& RI 6XSSRUWLQJ &RXQVHO” means the Ad Hoc Committee of
           Supporting Counsel formed to advance the common interests of the law firms representing
           certain holders of Channeled Talc Personal Injury Claims that have entered into plan
           support agreements with LLT and J&J on or after January 1, 2024.

                   1.1.10      “$OORZHG” means, as to any Non-Talc Claim or Interest, that such Non-
           Talc Claim or Interest is (a) expressly allowed under the Plan, (b) not Disputed, (c) either
           allowed or determined by a Final Order of a court of competent jurisdiction, or (d) agreed
           to by the Debtor or Reorganized Debtor and the holder of such Claim or Interest; provided,
           however, that, notwithstanding the foregoing, the Allowed amount of Non-Talc Claims
           shall be subject to and shall not exceed the limitations or maximum amounts permitted by
           the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy Code, to the extent
           applicable.

                 1.1.11     “$OORZHG $PRXQW” means, with respect to any Non-Talc Claim, the
           amount for which that Claim is Allowed, denominated in U.S. dollars.

                   1.1.12      “$PHQGHG$UWLFOHVRI2UJDQL]DWLRQ” means the amended and restated
           articles of organization of the Reorganized Debtor, in substantially the form of Exhibit A.

                   1.1.13    “$PHQGHG &KDUWHU 'RFXPHQWV” means, collectively, the Amended
           Articles of Organization and the Amended Operating Agreement.

                  1.1.14    “$PHQGHG2SHUDWLQJ$JUHHPHQW” means the amended and restated
           operating agreement of the Reorganized Debtor, in substantially the form of Exhibit B.

                   1.1.15     “%DQNUXSWF\ &RGH” means title 11 of the United States Code, as in
           effect on the Petition Date or thereafter amended with retroactive applicability to the
           Chapter 11 Case.


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                   1.1.16     “Bankruptcy Court” means the United States Bankruptcy Court for the
           [y@ District of Texas having jurisdiction over the Chapter 11 Case or, to the extent of the
           withdrawal of the reference under section 157 of title 28 of the United States Code, the
           District Court.

                  1.1.17     “%DQNUXSWF\5XOHV” means the Federal Rules of Bankruptcy Procedure
           as promulgated by the United States Supreme Court under section 2075 of title 28 of the
           United States Code and any local rules of the Bankruptcy Court, as in effect on the Petition
           Date, together with any and all amendments and modifications thereto that were
           subsequently made applicable to the Chapter 11 Case.

                  1.1.18      “Business Day” means any day other than a Saturday, a Sunday, or any
           other day on which banking institutions in Dallas, Texas, are authorized or required by law
           or executive order to close.

                  1.1.19      “Cash” means lawful currency of the United States of America and its
           equivalents.

                  1.1.20       “Cash Contributions” means Cash to be delivered to the Talc Personal
           Injury Trust in the amounts and on the dates set forth on Exhibit C.

                   1.1.21      “Cash Contributions Guarantee” means the guarantee, in
           substantially the form of Exhibit D, to be executed and delivered by J&J and New Holdco
           for the benefit of the Talc Personal Injury Trust, pursuant to which each of J&J and New
           Holdco will guarantee the timely delivery of the Cash Contributions.

                  1.1.22     “&KDQQHOHG,QGLUHFW7DOF3HUVRQDO,QMXU\&ODLPV” means all Indirect
           Talc Personal Injury Claims that are not Defense Cost Claims.

                  1.1.23      “&KDQQHOHG7DOF3HUVRQDO,QMXU\&ODLPV” means all Talc Personal
           Injury Claims that are not Defense Cost Claims, including (a) Ovarian/Gynecological Talc
           Personal Injury Claims and (b) Other Disease Talc Personal Injury Claims.

                  1.1.24     “&KDQQHOLQJ,QMXQFWLRQ” means the permanent injunction provided for
           in Section 11.3.1 with respect to Channeled Talc Personal Injury Claims to be issued
           pursuant to the Confirmation Order.

                  1.1.25    “Chapter 11 Case” means the chapter 11 case of the Debtor pending in
           the Bankruptcy Court.

                   1.1.26    “&ODLP” shall have the meaning ascribed to such term in section 101(5)
           of the Bankruptcy Code as it pertains to “claims” against the Debtor.

                    1.1.27    “&ODLPV$JHQW” means Epiq Corporate Restructuring, LLC.

                   1.1.28     “&ODVV” means a category of holders of Claims or Interests described in
           Article III.


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                    1.1.29    “&OHUN” means the clerk of the Bankruptcy Court.

                  1.1.30    “&RPSHQVDWLRQ 3URFHGXUHV 2UGHU” means any order of the
           Bankruptcy Court establishing procedures for interim compensation and reimbursement
           and expenses of Retained Professionals.

                  1.1.31      “&RQILUPDWLRQ” means the entry of the Confirmation Order on the
           docket of the District Court.

                  1.1.32     “&RQILUPDWLRQ'DWH” means the date on which the District Court enters
           the Confirmation Order on its docket.

                  1.1.33     “&RQILUPDWLRQ+HDULQJ” means, collectively, the hearing or hearings
           held by the Bankruptcy Court or the District Court on Confirmation of the Plan, as such
           hearing or hearings may be continued from time to time.

                   1.1.34     “&RQILUPDWLRQ2UGHU” means: (a) the order of the Bankruptcy Court
           and the District Court acting jointly or (b) the order of the District Court affirming an order
           entered separately by the Bankruptcy Court; in either case, which order confirms the Plan
           pursuant to section 1129 of the Bankruptcy Code.

                   1.1.35      “&RQWULEXWLRQ &ODLP” means any and all rights of a Talc Insurance
           Company that is not a Settling Talc Insurance Company, whether legal, equitable,
           contractual, or otherwise, of contribution, indemnity, reimbursement, subrogation, or other
           similar claims directly or indirectly arising out of or in any way relating to such insurer’s
           payment of loss on behalf of the Debtor in connection with any Channeled Talc Personal
           Injury Claim.

                  1.1.36       “&RRSHUDWLRQ $JUHHPHQW” means a Cooperation Agreement among
           the Reorganized Debtor, J&J, the Talc Personal Injury Trust, and the Custodians in
           substantially the form of Exhibit E.

                  1.1.37     “&XUH$PRXQW&ODLP” means a Claim based on the Debtor’s defaults
           pursuant to an Executory Contract or Unexpired Lease at the time such contract or lease is
           assumed by the Debtor under section 365 of the Bankruptcy Code (but, if the provisions of
           Section 4.9.3 and Section 5.9.1 are applicable, excluding any Claim arising out of an
           alleged breach, default, or violation under any Imerys/Cyprus Agreement whether or not
           such agreement is determined by court order to be an Executory Contract).

                    1.1.38    “&XVWRGLDQV” has the meaning set forth in the Cooperation Agreement.

                    1.1.39    “Cyprus” means Cyprus Mines Corporation.

                 1.1.40     “Debtor” means Red River Talc LLC, a Texas limited liability
           company and a successor to Old JJCI and LLT.




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                   1.1.41      “Debtor Corporate Parties” means J&J and all of its current and
           former Affiliates, including all Persons listed on Schedule 1, other than (a) the Debtor and
           (b) as applicable, Imerys, Cyprus, and their respective Affiliates.

                   1.1.42     “'HIHQVH&RVW&ODLP” means any Indirect Talc Personal Injury Claim
           to the extent in respect of legal fees or other out-of-pocket costs incurred in connection
           with the defense of claims. For the avoidance of doubt, if the provisions of Section 4.9.3
           and Section 5.9.1 are applicable, Defense Cost Claims include any such Indirect Talc
           Personal Injury Claims of the Imerys/Cyprus Parties under any Imerys/Cyprus Agreement
           or otherwise.

                   1.1.43      “'LUHFW 7DOF 3HUVRQDO ,QMXU\ &ODLP” means a Talc Personal Injury
           Claim that is asserted by or on behalf of: (a) an injured individual; (b) the estate, legal
           counsel, relative, assignee, or other representative of an injured or deceased individual; or
           (c) an individual who claims injury or damages as a result of the death or injury of another
           individual caused by talc or a product or material containing talc. For the avoidance of
           doubt, Direct Talc Personal Injury Claims include claims and demands for: (i) loss of
           consortium; (ii) loss of companionship, services, or society; or (iii) wrongful death.

                   1.1.44      “DLVDOORZHG” means, as to any Non-Talc Claim, that such Non-Talc
           Claim is denied, dismissed, expunged, overruled, or disallowed in whole or in part (but
           solely to the extent of the disallowance) by Final Order or under the Plan.

                  1.1.45      “Disbursing Agent” means the Reorganized Debtor, or such other
           Person or Persons chosen by the Debtor or the Reorganized Debtor to make or facilitate
           Distributions pursuant to the Plan.

                  1.1.46      “'LVFKDUJH ,QMXQFWLRQ” means the injunction issued in accordance
           with sections 524 and 1141 of the Bankruptcy Code and contained in Section 11.1.2.

                   1.1.47      “'LVFORVXUH 6WDWHPHQW” means the Disclosure Statement for
           Prepackaged Chapter 11 Plan of Reorganization of the Debtor, dated June 3, 2024, used
           by LLT to solicit votes to accept or reject the Plan for and on behalf of the Debtor, including
           all exhibits and schedules thereto, as such disclosure statement may be amended, modified,
           or supplemented from time to time.

                   1.1.48      “'LVSXWHG” means, as to any Non-Talc Claim (or any portion thereof),
           that such Non-Talc Claim (or portion thereof) is not Allowed or Disallowed pursuant to
           the Plan or a Final Order of the Bankruptcy Court, or is contingent or unliquidated.

                   1.1.49     “Distributions” means Cash, property, or interest in property to be paid
           or delivered hereunder to holders of Allowed Non-Talc Claims under the terms of the Plan.

                   1.1.50      “Distribution Date” means the date which is as soon as reasonably
           practicable after (a) the Effective Date or (b) in the case of any Non-Talc Claim (other than
           a Reinstated Non-Talc Claim) that is not yet Allowed as of the Effective Date, the date
           such Non-Talc Claim becomes Allowed.


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                   1.1.51      “'LVWULEXWLRQ5HFRUG'DWH” means the record date for determining an
           entitlement to receive Distributions under the Plan on account of Allowed Non-Talc Claims
           (other than Reinstated Non-Talc Claims), which shall be the Confirmation Date.

                   1.1.52     “District Court” means the United States District Court for the [y@
           District of Texas.

                    1.1.53    “Docket” means the docket in the Chapter 11 Case maintained by the
           Clerk.

                  1.1.54      “(IIHFWLYH 'DWH” means the Business Day upon which all of the
           conditions precedent to the occurrence of the Effective Date contained in Section 8.2 have
           been satisfied or waived pursuant to Section 8.3.

                   1.1.55     “(QFXPEUDQFH” means, with respect to any property (whether real or
           personal, tangible or intangible), any mortgage, lien, pledge, charge, security interest,
           assignment or encumbrance of any kind or nature in respect of such property (including
           any conditional sale or other title retention agreement, any security agreement, and the
           filing of, or agreement to give, any financing statement under the Uniform Commercial
           Code or comparable law of any jurisdiction) to secure payment of a debt or performance
           of an obligation.

                  1.1.56      “Equity Interests in the Debtor” means the Interests issued by the
           Debtor.

                   1.1.57     “Estate” means the estate created in the Chapter 11 Case under
           section 541 of the Bankruptcy Code.

                   1.1.58      “([FXOSDWHG3DUWLHV” means, collectively, (a) the Debtor’s officers and
           managers who served at any time, whether before, on, or after the Petition Date, prior to
           the Effective Date of the Plan (each solely in their capacity as such); (b) the Debtor; (c) the
           TCC and each of the members thereof, solely in his or her capacity as such; (d) the FCR,
           solely in her capacity as such; (e) the Retained Professionals; (f) solely as to conduct found
           by a court of competent jurisdiction to have been undertaken while acting as a fiduciary of
           the Debtor or the Estate, the employees of the Debtor or other individuals providing similar
           services to the Debtor (other than the Debtor’s officers and managers), and the employees
           of the Retained Professionals, each solely in their capacities as such; and (g) counsel to the
           individual members of the TCC, each solely in their capacity as such; provided, however
           that the Bankruptcy Court is not determining the fiduciary status of any employees of the
           Debtor or other individuals providing similar services to the Debtor (other than the
           Debtor’s officers and managers), or any employees of any of the Retained Professionals or
           counsel to the individual members of the TCC. Nothing herein shall shift the burden of
           the employees of the Debtor or other individuals providing similar services to the Debtor
           (other than the Debtor’s officers and managers), and the employees of the Retained
           Professionals or counsel to the individual members of the TCC, to establish that they were
           fiduciaries of the Debtor or the Estate prior to the Effective Date of the Plan.



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                  1.1.59      “([FXOSDWLRQ ,QMXQFWLon” means the injunction described in
           Section 11.6.1.

                  1.1.60     “Executory Contract” means any executory contract as to which the
           Debtor is a party and that is subject to assumption or rejection under section 365 of the
           Bankruptcy Code.

                  1.1.61      “([SHQVH )XQGLQJ $JUHHPHQW” means that certain Amended and
           Restated Funding Agreement, dated [y@, by and between New Holdco, as payor, and the
           Debtor, as payee, pursuant to which New Holdco is obligated to provide funds for the
           payment by Debtor or the Reorganized Debtor of, among other things, costs and expenses
           incurred during the pendency of the Chapter 11 Case, including the costs of administering
           the Chapter 11 Case, all on and subject to the terms thereof.

                   1.1.62     “)&5” means Randi S. Ellis (or any Bankruptcy Court-appointed
           successor), in her capacity as the legal representative for any and all persons who may
           assert Talc Personal Injury Demands in the future, but who are currently unknown. “FCR”
           stands for Future Claimants’ Representative.

                   1.1.63     “)HH&ODLP” means any Claim of: (a) a Professional for allowance of
           compensation and reimbursement of costs and expenses; or (b) a member of the TCC for
           reimbursement of costs and expenses, in each case incurred in the Chapter 11 Case on or
           before the Effective Date.

                    1.1.64     “)LQDO 2UGHU” means, as applicable, an order or judgment of the
           Bankruptcy Court or other court of competent jurisdiction with respect to the relevant
           subject matter, which has not been reversed, vacated, stayed, modified, or amended, and
           as to which the time to appeal, seek certiorari, or move for a new trial, reargument, or
           rehearing has expired and no appeal, petition for certiorari, or other proceedings for a new
           trial, reargument, or rehearing shall then be pending, or, if an appeal, writ of certiorari, new
           trial, reargument, or rehearing thereof has been sought, such order or judgment of the
           Bankruptcy Court or other court of competent jurisdiction shall have been affirmed by the
           highest court to which the order or judgment was appealed or certiorari shall have been
           denied or a new trial, reargument, or rehearing shall have been denied with prejudice or
           resulted in no modification of such order or judgment or has otherwise been dismissed with
           prejudice, and the time to take any further appeal, petition for certiorari, or move for a new
           trial, reargument, or rehearing shall have expired; provided, however, that the possibility
           that a motion pursuant to section 502(j) or 1144 of the Bankruptcy Code or under Rule 59
           or 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy
           Rules, may be filed with respect to such order shall not cause such order to not be a Final
           Order.

                 1.1.65     “)XQGLQJ $JUHHPHQWV” means, collectively, the Expense Funding
           Agreement and the Indemnity Funding Agreement.

                   1.1.66       “*\QHFRORJLFDO&DQFHU” means any cancer of the female gynecologic
           tract that is not an Ovarian Cancer.

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                  1.1.67      “+ROGFR” means the former Texas limited liability company named
           Johnson & Johnson Holdco (NA) LLC, which, as part of the Prepetition Corporate
           Restructuring, (a) was converted from a New Jersey corporation to a Texas limited liability
           company and, in connection therewith, changed its name from Johnson & Johnson Holdco
           (NA) Inc. to Johnson & Johnson Holdco (NA) LLC and (b) following such conversion,
           ceased to exist pursuant to a divisional merger thereof, including all names and historical
           forms thereof.

                    1.1.68   “,PHU\V” means Imerys Talc America, Inc.

                   1.1.69     “,PHU\V&\SUXV $JUHHPHQWV” means those contracts and/or
           agreements setting forth certain Imerys/Cyprus Related Rights, including as applicable: (a)
           that certain Agreement between Cyprus Mines Corporation and Johnson & Johnson, dated
           as of January 6, 1989; (b) that certain Talc Supply Agreement between Windsor Minerals
           Inc. and Johnson & Johnson Baby Products Company, a division of Johnson & Johnson
           Consumer Products, Inc., dated as of January 6, 1989; (c) that certain Supply Agreement
           between Johnson & Johnson Consumer Companies, Inc. and Luzenac America, Inc., dated
           as of April 15, 2001; (d) that certain Material Purchase Agreement between Johnson &
           Johnson Consumer Companies, Inc. and Luzenac America, Inc., dated as of January 1,
           2010; and (e) that certain Material Purchase Agreement, between Johnson & Johnson
           Consumer Companies, Inc. and Luzenac America, Inc., dated as of January 1, 2011.

                   1.1.70      “,PHU\V&\SUXV'HIHQVHV” means any and all rights and defenses that
           any Imerys/Cyprus Party may have under any Imerys/Cyprus Agreement or applicable law
           with respect to a claim for contribution, reimbursement, subrogation, or indemnification in
           respect of Channeled Talc Personal Injury Claims, but Imerys/Cyprus Defenses do not
           include (a) any defense that the Plan or any other Plan Document does not comply with the
           Bankruptcy Code or (b) any defense that the transfer and assignment of the Imerys/Cyprus
           Related Rights by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
           Section 4.9.3, or any other action contemplated by Section 4.9.3, is prohibited by the
           Imerys/Cyprus Agreements or applicable non-bankruptcy law.

                    1.1.71   “,PHU\VCyprus Parties” means all Persons listed on Schedule 2.

                  1.1.72      “,PHU\V&\SUXV 5HODWHG 5LJKWV” means any and all rights of
           contribution, reimbursement, subrogation, or indemnification that the Debtor, the
           Reorganized Debtor, or J&J has against any Imerys/Cyprus Party in respect of Channeled
           Talc Personal Injury Claims under any Imerys/Cyprus Agreement or any applicable law or
           order or otherwise.

                  1.1.73     “,PHU\V&\SUXV 6HWWOHPHQW” means the settlement and release of
           disputes between LLT (or the Debtor as successor to LLT) and J&J, on the one hand, and
           Imerys, Cyprus, and their respective Affiliates, on the other hand, pursuant to the
           Imerys/Cyprus Settlement Agreement.

                 1.1.74      “,PHU\V&\SUXV 6HWWOHPHQW $JUHHPHQW” means a settlement
           agreement and release by and among LLT (or the Debtor as successor to LLT), J&J, and

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           Imerys, Cyprus, and their respective Affiliates that are parties thereto, which shall be in
           form and substance reasonably acceptable to LLT (or the Debtor as successor to LLT) and
           J&J.

                  1.1.75    “,PHU\V&\SUXV6HWWOHPHQW&ORVLQJ'DWH” means the date, if any, on
           which the Imerys/Cyprus Settlement is consummated and becomes fully effective.

                   1.1.76    “,PHU\V&\SUXV 6HWWOHPHQW 7HUPLQDWLRQ 'DWH” means the date, if
           any, on which the Imerys/Cyprus Settlement Agreement is terminated in accordance with
           its terms.

                  1.1.77     “,PSDLUHG” means, as to any Claim, Class of Claims, or Interest, that
           such Claim, Class of Claims, or Interest is impaired within the meaning of section 1124 of
           the Bankruptcy Code.

                  1.1.78     “,QGHPQLW\&RVW )XQGLQJ$JUHHPHQW” means that certain Amended
           and Restated Funding Agreement, dated [y@, by and between New Holdco, as payor, and
           the Debtor, as payee, pursuant to which New Holdco is obligated to provide funds for the
           payment by the Debtor or Reorganized Debtor of, among other things, the Cash
           Contributions pursuant to the Plan, all on and subject to the terms thereof.

                   1.1.79      “,QGLUHFW7DOF3HUVRQDO,QMXU\&ODLP” means a Talc Personal Injury
           Claim for contribution, reimbursement, subrogation, or indemnity (as those terms are
           defined by applicable non-bankruptcy law of the relevant jurisdiction), whether contractual
           or implied by law, and any other indirect Talc Personal Injury Claim, whether in the nature
           of or sounding in contract, tort, warranty, or other theory of law. For the avoidance of
           doubt: (a) if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, Indirect Talc
           Personal Injury Clams include any Talc Personal Injury Claim of any Imerys/Cyprus Party
           for contribution, reimbursement, subrogation, or indemnity under any Imerys/Cyprus
           Agreement or any applicable law or order or otherwise and any Talc Personal Injury Claim
           by any Imerys/Cyprus Party for any damages, including incidental, consequential, or
           indirect damages (including lost benefits, loss of enterprise value, diminution in value, or
           loss of goodwill), under or in connection with any Imerys/Cyprus Agreement or any
           applicable law or order, whether based on an alleged breach, default, or violation thereof
           or any other legal theory (which shall include any Claim for cure arising out of any alleged
           breach, default, or violation under any Imerys/Cyprus Agreement at the time such
           Imerys/Cyprus Agreement is assumed by the Debtor under section 365 of the Bankruptcy
           Code); and (b) Indirect Talc Personal Injury Claims do not include (i) any Direct Talc
           Personal Injury Claim, regardless of whether such claim is seeking compensatory, special,
           economic, non-economic, punitive, exemplary, administrative, or any other costs or
           damages, or any legal, equitable, or other relief whatsoever, including pursuant to a
           settlement, judgment, or verdict, or (ii) if the provisions of Section 4.9.3 and Section 5.9.1
           are applicable, any claim against any Imerys/Cyprus Party based on, arising out of, or in
           any way relating to the Imerys/Cyprus Related Rights.

                   1.1.80    “,QMXQFWLRQV” means the Discharge Injunction, the Channeling
           Injunction, the Insurance Entity Injunction, the Release Injunction, the Exculpation

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           Injunction, and any other injunctions entered by the Bankruptcy Court or the District Court
           in connection with Confirmation of the Plan.

                  1.1.81      “,QVXUDQFH (QWLW\ ,QMXQFWLRn” means the injunction described in
           Section 11.3.2.

                   1.1.82      “,QWHUFRPSDQ\&ODLP” means any Claim (including Claims related to
           setoff rights) held against the Debtor by any Affiliate of the Debtor.

                    1.1.83      “Interest” means the rights of any holder of the equity of the Debtor
           and the rights of any Person to purchase or demand the issuance of any equity of the Debtor,
           including: (a) redemption, conversion, exchange, voting, participation, and distribution
           rights; (b) liquidation preferences; and (c) any option and warrant rights.

                   1.1.84      “,QWHUQDO5HYHQXH&RGH” means title 26 of the United States Code, 26
           U.S.C. §§ 1 et seq., as in effect on the Petition Date, together with all amendments,
           modifications, and replacements of the foregoing as the same may exist on any relevant
           date to the extent applicable to the Chapter 11 Case.

                 1.1.85       “IRS” means the Internal Revenue Service of the United States of
           America.

                    1.1.86    “J&J” means Johnson & Johnson, a New Jersey corporation.

                   1.1.87     “-XGJPHQW&ODLP” means any Direct Talc Personal Injury Claim that
           has been adjudicated in state or federal court and resulted in the entry prior to the Effective
           Date of a judgment in favor of the holder of such Direct Talc Personal Injury Claim,
           whether such judgment was final and non-appealable or remained subject to appeal as of
           the Effective Date.

                    1.1.88     “LLT” means the former Texas limited liability company named LLT
           Management LLC, which, as part of the Prepetition Corporate Restructuring, ceased to
           exist pursuant to a merger thereof with and into Holdco, with Holdco as the surviving
           entity, including all names and historical forms thereof.

                   1.1.89     “/RYH 3URFHHGLQJ” means the legal proceedings commenced by the
           class action complaint filed on May 22, 2024, in the United States District Court for the
           District of New Jersey, Case Number 3:24-cv-06320, by Rebecca Love, D.D.S., Sharon
           Murphy, William A. Henry, Alishia Gayle Davis, and Brandi Carl, both individually and
           on behalf of a proposed class, against, among others, LLT and J&J, and all claims, causes
           of action, and requests for relief asserted therein.

                   1.1.90      “Lung Cancer” means a primary lung cancer (i.e., a lung cancer that
           originates in the lungs and is unrelated to any previous cancer as opposed to a lung cancer
           that has spread to the lungs from another part of the body).

                  1.1.91     “0DVWHU6HWWOHPHQW$JUHHPHQW&ODLPV” means Direct Talc Personal
           Injury Claims that are entitled to be considered for settlement and, if such Direct Talc

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           Personal Injury Claims qualify for settlement, settled under the Master Settlement
           Agreements.

                  1.1.92     “0DVWHU 6HWWOHPHQW $JUHHPHQWV” means those certain master
           settlement agreements, dated on or before the Petition Date, executed by LLT, J&J, and
           law firms representing certain holders of Talc Personal Injury Claims, pursuant to which
           Talc Personal Injury Claims may be considered for settlement and, if such Talc Personal
           Injury Claims qualify for settlement, settled, as such agreements may have been and may
           be amended, modified, or supplemented pursuant to the terms thereof.

                   1.1.93      “0HVRWKHOLRPD” means the type of cancer that develops from the
           mesothelium, i.e., the thin layer of tissue that covers certain internal organs including the
           pleural, peritoneal, and pericardial cavities.

                   1.1.94    “1HZ +ROGFR” means Johnson & Johnson Holdco (NA) Inc. (formerly
           named [y]), a New Jersey corporation that was formed as part of the Prepetition Corporate
           Restructuring and owns 100% of the membership interests in the Debtor as a result of the
           Prepetition Corporate Restructuring.

                    1.1.95    “Non-7DOF&ODLP” means any Claim that is not a Talc Personal Injury
           Claim.

                   1.1.96     “2OG--&,” means the former Texas limited liability company named
           Chenango Zero LLC, which, as part of the 2021 Corporate Restructuring, (a) was the
           surviving entity in a merger with Johnson & Johnson Consumer Inc., a New Jersey
           corporation, and (b) following such merger, ceased to exist pursuant to a divisional merger
           thereof, including all names and historical forms thereof.

                  1.1.97      “2UGLQDU\ &RXUVH 3URIHVVLRQDOV 2UGHU” means any order of the
           Bankruptcy Court authorizing the retention and compensation of Professionals utilized by
           the Debtor in the ordinary course of business.

                  1.1.98     “2WKHU'LVHDVH7DOF3HUVRQDO,QMXU\&ODLP” means any Direct Talc
           Personal Injury Claim that alleges that the relevant injured or deceased individual
           developed a disease other than Mesothelioma, Lung Cancer, Ovarian Cancer, or
           Gynecological Cancer (and not Mesothelioma, Lung Cancer, Ovarian Cancer, or
           Gynecological Cancer) in connection with such individual’s use of talc or a product or
           material containing talc.

                  1.1.99       “Ovarian Cancer” means epithelial cancer that originates in the
           ovaries, fallopian tubes, and/or peritoneum, with: (a) serious, endometrioid, clear cell, or
           undifferentiated subtype; or (b) a mixture of subtypes that includes one or more of the
           subtypes specified in the immediately preceding clause (a).

                  1.1.100   “Ovarian*\QHFRORJLFDO Cancer 7DOF 3HUVRQDO ,QMXU\ &ODLP”
           means any Direct Talc Personal Injury Claim that alleges that the relevant injured or
           deceased individual developed Ovarian Cancer or Gynecological Cancer (and not


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           Mesothelioma, Lung Cancer, or any other disease) in connection with such individual’s
           use of talc or a product or material containing talc.

                    1.1.101    “Person” means an individual, corporation, partnership, joint venture,
           association, joint stock company, limited liability company, limited liability partnership,
           trust, estate, unincorporated organization, governmental unit, or other entity.

                   1.1.102    “Petition Date” means the date on which the Debtor files its petition for
           relief under chapter 11 of the Bankruptcy Code commencing the Chapter 11 Case.

                   1.1.103    “3ODQ” means this Prepackaged Chapter 11 Plan of Reorganization of
           the Debtor, as the same may be amended or modified from time to time pursuant to
           section 1127 of the Bankruptcy Code.

                   1.1.104     “3ODQ'RFXPHQWV” means the Plan, the Disclosure Statement, and all
           of the exhibits and schedules attached to any of the foregoing (including, for the avoidance
           of doubt, the Talc Personal Injury Trust Documents and the Cooperation Agreement).

                   1.1.105      “3ODQ 6XSSOHPHQW” means any documents or forms of documents
           related to the Plan that have been delivered to the parties to which the Disclosure Statement
           was delivered, each of which shall be in form and substance reasonably acceptable to LLT
           and J&J, as such documents or forms of documents may be amended, modified, or
           supplemented before the Effective Date. Any Plan Supplement will be distributed to the
           same parties and in the same manner as the Disclosure Statement at least twenty-eight (28)
           days prior to the deadline for the submission of votes on the Plan. A copy of any Plan
           Supplement will also be available for review on the Claims Agent’s website free of charge
           at https://dm.epiq11.com/redrivertalc.

                   1.1.106     “Postpetition Interest” means, for the period following the Petition
           Date: (a) interest at the rate set forth in the contract or other applicable document between
           the holder of a Claim and the Debtor giving rise to such holder’s Claim, but excluding, for
           the avoidance of doubt, interest at any default rate; (b) if no such rate exists, interest at the
           federal judgment rate; or (c) such interest, if any, as otherwise agreed to by the holder of a
           Claim and the Debtor.

                   1.1.107   “Prepetition Corporate Restructuring” means, collectively, the
           transactions comprising the corporate restructuring of LLT and Holdco that was undertaken
           and completed after the solicitation of votes on the Plan, as part of which (a) LLT and
           Holdco ceased to exist and (b) the Debtor and New Holdco were formed.

                   1.1.108    “Priority Non-7D[ &ODLP” means any Claim entitled to priority
           pursuant to section 507(a) of the Bankruptcy Code, other than an Administrative Claim or
           a Priority Tax Claim.

                   1.1.109    “3ULRULW\7D[&ODLP” means any Claim entitled to priority pursuant to
           section 507(a)(8) of the Bankruptcy Code.



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                  1.1.110    “3URIHVVLRQDO” means any Person retained or to be compensated
           pursuant to sections 327, 328, 330, 363(b), 503(b), 524(g)(4)(B)(i), or 1103 of the
           Bankruptcy Code, including any professional retained by the TCC or the FCR.

                  1.1.111    “3URRIRI&ODLP” means any proof of claim filed with the Bankruptcy
           Court or the Claims Agent pursuant to section 501 of the Bankruptcy Code and Bankruptcy
           Rules 3001 or 3002 that asserts a Claim against the Debtor.

                    1.1.112      “3URWHFWHG3DUW\” means any of the following:

                           (a)      the Debtor and its Representatives;

                           (b)      the Reorganized Debtor and its Representatives;

                           (c)      the Debtor Corporate Parties and their respective Representatives;

                           (d)      the Settling Talc Insurance Companies;

                            (e)    all Persons listed on Schedule 3, each of which is a third-party
           retailer that sold Old JJCI’s talc-containing products or a third party to which the Debtor
           has contractual indemnification obligations relating to Old JJCI’s talc-containing products;

                          (f)    if (i) the Imerys/Cyprus Settlement Agreement has not been fully
           executed prior to or on the Effective Date, (ii) the Imerys/Cyprus Settlement Agreement
           has been fully executed prior to or on the Effective Date and the Imerys/Cyprus Settlement
           Termination Date has occurred prior to or on the Effective Date, or (iii) the Imerys/Cyprus
           Settlement Agreement has been fully executed prior to or on the Effective Date and neither
           the Imerys/Cyprus Settlement Termination Date nor the Imerys/Cyprus Settlement Closing
           Date has occurred prior to or on the Effective Date, the Imerys/Cyprus Parties; provided,
           however, that, in the case of clause (iii), only so long as the Imerys/Cyprus Settlement
           Closing Date has not occurred;

                           (g)      Persons that, pursuant to the Plan or on or after the Effective Date,
           become a direct or indirect transferee of, or successor to, any assets of the Debtor or the
           Reorganized Debtor, or the Talc Personal Injury Trust, but only to the extent that liability
           is asserted to exist by reason of such Person becoming such a transferee or successor;

                           (h)     Persons that, pursuant to the Plan or on or after the Effective Date,
           make a loan to the Debtor or the Reorganized Debtor, or the Talc Personal Injury Trust, or
           to a successor to, or transferee of, any assets of the Debtor or the Reorganized Debtor, or
           the Talc Personal Injury Trust, but only to the extent that liability is asserted to exist by
           reason of it becoming such a lender; and

                          (i)    Persons that are alleged to be directly or indirectly liable for the
           conduct of, claims against, or demands on the Debtor or the Reorganized Debtor, or the
           Talc Personal Injury Trust, to the extent that such alleged liability arises by reason of one
           or more of the following:


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                                  (i)     such Person’s ownership of a financial interest in the
                           Debtor or the Reorganized Debtor, a past or present affiliate of a Debtor or
                           Reorganized Debtor, or a predecessor in interest of a Debtor or Reorganized
                           Debtor (including Old JJCI);

                                   (ii)   such Person’s involvement in the management of the
                           Debtor or the Reorganized Debtor or a predecessor in interest of the Debtor
                           or the Reorganized Debtor (including Old JJCI);

                                   (iii)   such Person’s service as an officer, manager, or employee
                           of the Debtor or the Reorganized Debtor, a past or present affiliate of the
                           Debtor or the Reorganized Debtor, a predecessor in interest of the Debtor
                           or the Reorganized Debtor (including Old JJCI), or a Person that owns or at
                           any time has owned a financial interest in the Debtor or the Reorganized
                           Debtor, a past or present affiliate of the Debtor or the Reorganized Debtor,
                           or a predecessor in interest of the Debtor or the Reorganized Debtor
                           (including Old JJCI); and

                                   (iv)     such Person’s involvement in a transaction changing the
                           corporate structure (including the 2021 Corporate Restructuring and the
                           Prepetition Corporate Restructuring), or in a loan or other financial
                           transaction affecting the financial condition, of the Debtor or the
                           Reorganized Debtor, a past or present affiliate of the Debtor or the
                           Reorganized Debtor, a predecessor in interest of the Debtor or the
                           Reorganized Debtor (including Old JJCI), or a Person that owns or at any
                           time has owned a financial interest in the Debtor or the Reorganized Debtor,
                           a past or present affiliate of the Debtor or the Reorganized Debtor, or a
                           predecessor in interest of the Debtor or the Reorganized Debtor (including
                           Old JJCI), including (A) involvement in providing financing (debt or
                           equity) or advice to a Person involved in such a transaction or (B) acquiring
                           or selling a financial interest in any Person as a part of such transaction.

                   1.1.113    “Recovery Actions” means, collectively and individually, preference
           actions, fraudulent conveyance actions, and other claims or causes of action under
           sections 510, 544, 547, 548, 549, 550, and 553(b) of the Bankruptcy Code and other similar
           state law claims and causes of action.

                   1.1.114    “5HLQVWDWHG” or “5HLQVWDWHPHQW” means, with respect to Claims and
           Interests, the Claim or Interest shall be rendered Unimpaired in accordance with
           section 1124 of the Bankruptcy Code.

                  1.1.115   “5HLQVWDWHG Non-7DOF &ODLPV” means, collectively, all Secured
           Claims, Unsecured Claims, and Intercompany Claims.

                    1.1.116   “5HOHDVH,QMXQFWLRQ” means the injunction described in Section 11.2.3.

                  1.1.117   “5HOHDVHG3DUWLHV” means each of: (a) the Debtor; (b) the Reorganized
           Debtor; (c) the Debtor Corporate Parties; and (d) to the fullest extent permitted by
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           applicable law, with respect to each of the foregoing Persons in clauses (a)-(c), each such
           Person’s Representatives.

                  1.1.118    “5HOHDVLQJ &ODLP +ROGHU” means a holder of a Channeled Talc
           Personal Injury Claim.

                    1.1.119   “ReorgDQL]HG 'HEWRU” means the Debtor on and after the Effective
           Date.

                 1.1.120   “5HRUJDQL]HG 'HEWRU 3D\PHQW 'HIDXOW” means the failure by the
           Reorganized Debtor to pay when due any amount owed under the Talc PI Note.

                  1.1.121    “5HRUJDQL]HG 'HEWRU 3D\PHQW (YHQW RI 'HIDXOW” means a
           Reorganized Debtor Payment Default that is not remedied within thirty (30) days after the
           Reorganized Debtor has received written notice of such Reorganized Debtor Payment
           Default from the Talc Personal Injury Trust.

                   1.1.122     “Representatives” means, with respect to any Person, such Person’s
           current and former: (a) officers, directors, managers, employees, agents, and nominees;
           and (b) financial advisors, attorneys, accountants, investment bankers, consultants, experts,
           and other professionals; in each case solely in their capacity as such.

                  1.1.123    “5HWDLQHG 3URIHVVLRQDOV” means the professionals retained in the
           Chapter 11 Case by the Debtor, the TCC, or the FCR, including financial advisors,
           attorneys, accountants, investment bankers, and consultants.

                   1.1.124     “5HWDLQHG5LJKWVRI$FWLRQ” means any claims, demands, rights, and
           causes of action that the Debtor or its Estate may hold against any Person that are not
           transferred or assigned under the Plan to the Talc Personal Injury Trust, including: (a) any
           Recovery Actions; (b) any right of contribution, reimbursement, subrogation, or
           indemnification, or similar rights, that the Debtor has against any Person in respect of Talc
           Personal Injury Claims under contract or applicable law (other than, if the provisions of
           Section 4.9.3 and Section 5.9.1 are applicable, the Imerys/Cyprus Related Rights); and
           (c) the causes of action listed or described on Exhibit F.

                   1.1.125   “6FKHGXOHV” means any schedules of assets and liabilities and
           statements of financial affairs of the Debtor filed on the Docket in accordance with
           section 521 of the Bankruptcy Code, as any such schedules and statements may be
           amended or supplemented from time to time.

                 1.1.126     “6HFRQGPHQW$JUHHPHQW” means that certain Amended and Restated
           Secondment Agreement, dated as of October 12, 2021, executed by LLT and Johnson &
           Johnson Services, Inc., a New Jersey corporation.

                   1.1.127    “6HFXUHG&ODLP” means a Claim, or any portion thereof: (a) secured
           by a lien on property in which the Estate has an interest, which lien is valid, perfected, and
           enforceable pursuant to applicable law or by reason of a Final Order, to the extent of the
           value of the creditor’s interest in the Estate’s interest in such property as determined

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           pursuant to section 506(a) of the Bankruptcy Code; (b) subject to setoff pursuant to
           section 553 of the Bankruptcy Code, to the extent of the amount subject to setoff as
           determined pursuant to section 506(a) of the Bankruptcy Code; or (c) Allowed as secured
           pursuant to the Plan or any Final Order as a secured Claim.

                  1.1.128    “6HWWOHG7DOF,QVXUDQFH3ROLF\” means any Talc Insurance Policy as
           to which the Talc Insurance Rights thereunder have been released pursuant to a Talc
           Insurance Settlement Agreement.

                   1.1.129    “6HWWOLQJ 7DOF ,QVXUDQFH &RPSDQ\” means, solely with respect to
           Settled Talc Insurance Policies:

                          (a)     any Talc Insurance Company that contributes funds, proceeds, or
           other consideration in respect of Channeled Talc Personal Injury Claims and is designated,
           with the consent of the Debtor, in the Confirmation Order as a Settling Talc Insurance
           Company, which shall include the Specified Settling Insurers; and

                          (b)     any Talc Insurance Company that contributes funds, proceeds, or
           other consideration in respect of Channeled Talc Personal Injury Claims and is designated
           as a Settling Talc Insurance Company by the Talc Personal Injury Trust (acting through
           the Reorganized Debtor, as its subrogee having the exclusive right to negotiate and enter
           into Talc Insurance Settlement Agreements) on or after the Effective Date; provided,
           however, that any addition to the list of Protected Parties on or after the Effective Date does
           not become effective until entry of a Final Order approving the addition.

                   1.1.130     “6SHFLILHG ,QVXUDQFH 6HWWOHPHQW $JUHHPHQWV” means those certain
           Confidential Settlement and Release Agreements dated May [●], 2024, by and among J&J
           and related parties, including LLT, on the one hand, and the Specified Settling Insurers, on
           the other hand.

                   1.1.131     “6SHFLILHG 6HWWOLQJ ,QVXUHUV” means, collectively, AIG Europe S.A.
           (as successor in interest to L’Union Atlantique d’Assurances S.A.), AIG Property Casualty
           Company (f/k/a Birmingham Fire Insurance Company of Pennsylvania), AIU Insurance
           Company, American International Surplus Lines Insurance Company, Granite State
           Insurance Company, Lexington Insurance Company, The Insurance Company of the State
           of Pennsylvania, National Union Fire Insurance Company of Pittsburgh, Pa, New
           Hampshire Insurance Company, Wellfleet New York Insurance Company (f/k/a Atlanta
           International Insurance Company, as successor in interest to Drake Insurance Company),
           Starr Indemnity Liability Company (as successor in interest to Republic Insurance
           Company), Safety National Casualty Corporation f/k/a Safety Mutual Casualty
           Corporation, Berkshire Hathaway Specialty Insurance Co. (formerly known as Stonewall
           Insurance Co.), The Continental Insurance Company (for itself and as successor to certain
           policies issued by London Guarantee and Accident Company of New York and Harbor
           Insurance Company), ASR Schadeverzekering N.V. (as successor in interest to
           Assurantiekoor Van Wijk & Co.), Rheinland Versicherungen (as successor in interest only
           to the subscriptions of the former Dutch Company Rheinland Verzekeringen), and N.V.
           Schadeverzekeringsmaatschappij Maas Lloyd (individually and as successor in interest to

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           policies subscribed in favor of J&J by N.V. Rotterdamse Assurantiekas, n/k/a De Ark),
           each solely in its capacity as a party to the Specified Insurance Settlement Agreements.

                  1.1.132     “7DOF,Q-3ODFH,QVXUDQFH&RYHUDJH” means all of the Talc Insurance
           Rights under any Talc Insurance Policy that is not a Settled Talc Insurance Policy,
           including the right to payment or reimbursement of liability, indemnity, or defense costs
           incurred on or after the Effective Date arising out of or in any way relating to Channeled
           Talc Personal Injury Claims (other than Master Settlement Agreement Claims and
           Judgment Claims).

                   1.1.133    “7DOF,QVXUDQFH$FWLRQ” means any claim, cause of action, or right of
           the Debtor under the laws of any jurisdiction against any Talc Insurance Company with
           respect to any Channeled Talc Personal Injury Claim (other than Master Settlement
           Agreement Claims and Judgment Claims) based on, arising out of, or in any way relating
           to: (a) any such Talc Insurance Company’s failure to provide coverage or otherwise pay
           in respect of Talc In-Place Insurance Coverage; (b) the refusal of any Talc Insurance
           Company to compromise and settle any such Channeled Talc Personal Injury Claim under
           or pursuant to any Talc Insurance Policy; (c) the interpretation or enforcement of the terms
           of any Talc Insurance Policy with respect to any such Channeled Talc Personal Injury
           Claim; (d) any conduct by a Talc Insurance Company constituting “bad faith,” conduct that
           could give rise to extra-contractual damages, or other wrongful conduct under applicable
           law, in each case with respect to any such Channeled Talc Personal Injury Claim; or (e)
           any other dispute under, arising out of, or in any way relating to Talc In-Place Insurance
           Coverage or other Talc Insurance Rights. Notwithstanding the foregoing, and for the
           avoidance of doubt, Talc Insurance Action shall not include any claim, cause of action, or
           right of the Debtor under the laws of any jurisdiction against any Talc Insurance Company
           with respect to amounts expended prior to the Effective Date.

                   1.1.134    “7DOF ,QVXUDQFH $VVHWV” means (a) all Talc In-Place Insurance
           Coverage, (b) all Talc Insurance Actions, (c) all Talc Insurance Recoveries, and (d) all Talc
           Insurance Settlement Agreements entered into after the Effective Date. Notwithstanding
           the foregoing, and for the avoidance of doubt, Talc Insurance Assets do not include Talc
           Insurance Policies themselves, any rights to coverage held by any entity other than the
           Debtor, any rights to coverage under Talc Insurance Policies for amounts expended prior
           to the Effective Date, or any rights under Talc Insurance Policies that are not related to the
           Debtor’s coverage or rights to coverage for Channeled Talc Personal Injury Claims
           (excluding Master Settlement Agreement Claims and Judgment Claims).

                  1.1.135     “7DOF,QVXUDQFH&RPSDQ\” means any insurance company, insurance
           syndicate, coverholder, insurance broker or syndicate insurance broker, guaranty
           association, or any other Person that may have liability under a Talc Insurance Policy.

                   1.1.136    “7DOF ,QVXUDQFH 3ROLF\” means any insurance policy, currently or
           previously in effect at any time on or before the Effective Date, as to which the Debtor has
           rights as an insured, additional insured, successor, beneficiary, or otherwise, solely to the
           extent such policy provides the Debtor with coverage or a right to coverage for Channeled
           Talc Personal Injury Claims (other than Master Settlement Agreement Claims and

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           Judgment Claims), including the policies listed on Exhibit G. For the avoidance of doubt,
           Talc Insurance Policies shall not include any policy providing reinsurance to any Settling
           Talc Insurance Company.

                   1.1.137    “7DOF,QVXUDQFH5HFRYHULHV” means (a) the right to receive proceeds
           of Talc In-Place Insurance Coverage (including any receivables), (b) the right to receive
           the proceeds or benefits of any Talc Insurance Action, and (c) the right to receive amounts
           payable pursuant to any Talc Insurance Settlement Agreement, in each case, except in
           respect of amounts expended prior to the Effective Date.

                   1.1.138    “7DOF,QVXUDQFH5LJKWV” means all rights of the Debtor to make claims
           under the Talc Insurance Policies with respect to Channeled Talc Personal Injury Claims
           (other than Master Settlement Agreement Claims and Judgment Claims). Notwithstanding
           the foregoing, and for the avoidance of doubt, Talc Insurance Rights do not include rights
           of the Debtor to make claims under the Talc Insurance Policies for amounts expended prior
           to the Effective Date.

                  1.1.139     “7DOF ,QVXUDQFH 6HWWOHPHQW $JUHHPHQW” means any settlement
           agreement, or that portion of any settlement agreement, pursuant to which Talc Insurance
           Rights are released, including the Specified Insurance Settlement Agreements.

                  1.1.140      “7DOF,QVXUHU&RYHUDJH'HIHQVH” means all rights and defenses that
           any Talc Insurance Company may have under any Talc Insurance Policy and applicable
           law with respect to a claim seeking insurance coverage for a Channeled Talc Personal
           Injury Claim (other than a Master Settlement Agreement Claim or Judgment Claim) or to
           a Talc Insurance Action, but Talc Insurer Coverage Defenses do not include: (a) any
           defense that the Plan or any other Plan Document does not comply with the Bankruptcy
           Code; or (b) any defense that the transfer and assignment of the Talc Insurance Assets to
           the Talc Personal Injury Trust pursuant to Section 4.9.4, or any other action contemplated
           by Section 4.9.4, is prohibited by the Talc Insurance Policies or applicable non-bankruptcy
           law.

                    1.1.141    “7DOF3HUVRQDO,QMXU\&ODLP” means any claim or Talc Personal Injury
           Demand against the Debtor, LLT, Old JJCI, or any other Protected Party, whether known
           or unknown, including with respect to any manner of alleged bodily injury, death, sickness,
           disease, emotional distress, fear of cancer, medical monitoring, or any other alleged
           personal injuries (whether physical, emotional, or otherwise), directly or indirectly arising
           out of or in any way relating to the presence of or exposure to talc or talc-containing
           products based on the alleged pre-Effective Date acts or omissions of the Debtor, LLT, Old
           JJCI, or any other Person, but, in the case of such acts or omissions of Old JJCI or any
           other Person (other than the Debtor) only to the extent the Debtor has, or is alleged to have,
           liability for LLT’s, Old JJCI’s, or such other Person’s conduct, whether by operation of the
           law, by assumption of such liability from LLT, Old JJCI, or such other Person, by
           agreement to indemnify, defend, or hold harmless LLT, Old JJCI, or such other Person
           from and against such liability, or otherwise. For the avoidance of doubt, Talc Personal
           Injury Claims include: (a) all such claims and Talc Personal Injury Demands directly or
           indirectly arising out of or in any way relating to (i) any talc or talc-containing products

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           previously mined, processed, manufactured, designed, marketed, fabricated, constructed,
           sold, supplied, produced, installed, maintained, serviced, specified, selected, repaired,
           removed, replaced, released, distributed, and/or in any other way made available by the
           Debtor or any other Person, (ii) any talc or talc-containing materials present at any premises
           owned, leased, occupied, or operated by any Person, or (iii) any talc in any way connected
           to the Debtor alleged to contain asbestos or other contaminant; (b) all such claims and Talc
           Personal Injury Demands, whether (i) in tort, contract, warranty, restitution, conspiracy,
           guarantee, or any other theory of law, equity, or admiralty, whether brought, threatened, or
           pursued in any United States court or other court anywhere in the world, (ii) liquidated or
           unliquidated, fixed or contingent, direct or indirect, disputed or undisputed, matured or
           unmatured, known or unknown, foreseen or unforeseen, now existing or hereafter arising,
           in law, equity, or otherwise (including under piercing the corporate veil, agency, alter ego,
           successor liability, fraudulent conveyance, conspiracy, enterprise liability, market share,
           joint venture, or any other legal or equitable theory), (iii) seeking compensatory, special,
           economic, non-economic, punitive, exemplary, administrative, or any other costs, fees,
           injunctive, or similar relief, or any other measure of damages, (iv) seeking any legal,
           equitable, or other relief of any kind whatsoever, or (v) held by Persons residing within the
           United States or in a foreign jurisdiction; (c) all such claims and Talc Personal Injury
           Demands that have been resolved or are subject to resolution pursuant to any agreement or
           that are based on a judgment or verdict; (d) all such claims and Talc Personal Injury
           Demands for compensatory damages (such as, without limitation, loss of consortium,
           medical monitoring, personal or bodily injury, wrongful death, survivorship, proximate,
           consequential, general, and special damages) and punitive damages; and (e) Indirect Talc
           Personal Injury Claims. Notwithstanding the foregoing, Talc Personal Injury Claims do
           not include: (A) any claim or demand by any present or former employee of a predecessor
           or Affiliate of the Debtor for benefits under a policy of workers’ compensation insurance
           or for benefits under any state or federal workers’ compensation statute or other statute
           providing compensation to an employee from an employer; (B) any claim or demand that
           (I) alleges that the relevant injured or deceased individual was exposed to talc or the
           product or material containing talc, as applicable, in Canada or resided in Canada at the
           time such Direct Talc Personal Injury Claim is filed or (II) was brought, threatened, or
           pursued in any court in Canada; (C) any claim or demand asserted or assertable by or on
           behalf of any governmental unit under any federal, state, international, or foreign consumer
           or employee protection rule, statute, or regulation; or (D) any claim or demand that alleges
           that the relevant injured or deceased individual developed Mesothelioma or Lung Cancer
           (and not Ovarian Cancer, Gynecological Cancer, or any other disease) in connection with
           such individual’s use of talc or a product or material containing talc; in each case, other
           than any such claim that is an Indirect Talc Personal Injury Claim of an Imerys/Cyprus
           Party. In addition, notwithstanding the foregoing, Talc Personal Injury Claims do not
           include any claim or demand that a Settling Talc Insurance Company may have against its
           reinsurers and/or retrocessionaires in their capacities as such, and nothing in the Plan, the
           Plan Documents, or the Confirmation Order shall impair or otherwise affect the ability of
           a Settling Talc Insurance Company to assert any such claim or demand against its
           reinsurers and/or retrocessionaires in their capacities as such.

                   1.1.142     “7DOF3HUVRQDO,QMXU\'HPDQG” means a demand for payment, present
           or future, against the Debtor or any other Protected Party that: (a) is in respect of an injury
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           that manifests after the Effective Date; and (b) would have otherwise been a Claim that is
           a Talc Personal Injury Claim if such injury had manifested on or before the Effective Date.

                  1.1.143     “7DOF 3HUVRQDO ,QMXU\ Trust” means the Red River Talc Personal
           Injury Trust established pursuant to the Talc Personal Injury Trust Agreement.

                 1.1.144     “7DOF 3HUVRQDO ,QMXU\ 7UXVW $JUHHPHQW” means that certain trust
           agreement, substantially in the form of Exhibit H.

                    1.1.145    “7DOF 3HUVRQDO ,QMXU\ 7UXVW 'HIHQVHV” means all defenses,
           cross-claims, offsets, and recoupments regarding Channeled Talc Personal Injury Claims
           that the Debtor, the Reorganized Debtor, or J&J has (or would have had absent the
           assumption by the Talc Personal Injury Trust of liabilities, obligations, and responsibilities
           for the Channeled Talc Personal Injury Claims as contemplated by Section 4.7.1) against
           any Person under applicable law; provided, however, that the Talc Personal Injury Trust
           Defenses shall not include: (a) any defenses, cross-claims, offsets, or recoupments against
           any Protected Party or any Talc Insurance Company; (b) any Retained Rights of Action, or
           (c) if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, any Imerys/Cyprus
           Related Rights.

                  1.1.146      “7DOF 3HUVRQDO ,QMXU\ 7UXVW 'RFXPHQWV” means the Talc Personal
           Injury Trust Agreement, the Trust Distribution Procedures, and all other agreements,
           instruments, and documents governing the establishment, administration, and operation of
           the Talc Personal Injury Trust, which shall be substantially in the form set forth as exhibits
           hereto or in a Plan Supplement, as they may be amended or modified from time to time in
           accordance with their terms and the Plan.

                   1.1.147    “7DOF3HUVRQDO,QMXU\7UXVW([SHQVHV” means any liabilities, costs,
           or expenses incurred by, imposed upon, or in respect of the Channeled Talc Personal Injury
           Trust once established (except for payments to holders of Talc Personal Injury Claims on
           account of such Claims). Talc Personal Injury Trust Expenses shall also expressly include
           the reasonable documented costs and expenses incurred by the Debtor, the Reorganized
           Debtor, or any Debtor Corporate Party in taking any action on behalf of or at the direction
           of the Talc Personal Injury Trust, if any.

                  1.1.148      “7DOF 3, 1RWH” means the note to be executed and delivered by the
           Reorganized Debtor in favor of the Talc Personal Injury Trust, in substantially the form of
           Exhibit I, in the principal amount of $400,000,000.00.

                1.1.149     “7DOF 3, 3OHGJH” means the pledge by New Holdco of all of the
           membership interests of the Reorganized Debtor pursuant to the Talc PI Pledge Agreement.

                  1.1.150     “7DOF 3, 3OHGJH $JUHHPHQW” means the Pledge Agreement,
           substantially in the form of Exhibit J, to be executed and delivered by New Holdco
           pursuant to which the Talc PI Pledge will be granted as security for payment of the Talc PI
           Note.



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                   1.1.151     “7DOF 7UXVW $GYLVRU\ &RPPLWWHH” means the committee appointed
           and serving in accordance with Section 4.4, and having the powers, duties, and obligations
           set forth in the Talc Personal Injury Trust Agreement.

                  1.1.152    “7DOF7UXVW$GYLVRU\&RPPLWWHH0HPEHU” means any member of the
           Talc Trust Advisory Committee.

                  1.1.153     “7DOF 7UXVW &ODLPV $GPLQLVWUDWRU” means: (a) the Person who,
           pursuant to Section 4.5.1, is appointed by the Bankruptcy Court to serve as the initial claims
           administrator of the Talc Personal Injury Trust; or (b) any Person who is subsequently
           appointed to serve in such capacity pursuant to the terms of the Talc Personal Injury Trust
           Agreement.

                   1.1.154    “7DOF7UXVW/LHQV5HVROXWLRQ$GPLQLVWUDWRU” means: (a) the Person
           who, pursuant to Section 4.5.2, is appointed by the Bankruptcy Court to serve as the initial
           liens resolution administrator of the Talc Personal Injury Trust; or (b) any Person who is
           subsequently appointed to serve in such capacity pursuant to the terms of the Talc Personal
           Injury Trust Agreement.

                   1.1.155     “7DOF7UXVWHH” means: (a) any individual who, pursuant to Section 4.3,
           is appointed by the Bankruptcy Court to serve as an initial trustee of the Talc Personal
           Injury Trust; or (b) any individual who is subsequently appointed to serve in such capacity
           pursuant to the terms of the Talc Personal Injury Trust Agreement.

                 1.1.156     “TCC” means any official committee of talc claimants appointed in the
           Chapter 11 Case, as such committee is reconstituted from time to time.

                  1.1.157    “7UXVW'LVWULEXWLRQ3URFHGXUHV” means the Talc Personal Injury Trust
           Distribution Procedures, substantially in the form of Exhibit K.

                  1.1.158    “7UXVW ([SHQVH $GYDQFHPHQW 2UGHU” means the order of the
           Bankruptcy Court authorizing the Debtor, prior to the Effective Date, to advance Cash that
           would otherwise be delivered to the Talc Personal Injury Trust on the Effective Date
           pursuant to Section 4.9.1(a) in order to enable set-up and claims processing work to be
           undertaken in advance of the Effective Date, so as to allow the Talc Personal Injury Trust
           to make payments in respect of compensable Channeled Talc Personal Injury Claims as
           soon as possible after the Effective Date, which order shall be in form and substance
           reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel, and the FCR.

                   1.1.159   “8QH[SLUHG/HDVH” means a lease to which the Debtor is a party that is
           subject to assumption or rejection under section 365 of the Bankruptcy Code.

                  1.1.160    “UnLPSDLUHG” means, as to any Claim or Class of Claims, that such
           Claim or Class of Claims is not Impaired under the Plan.

                  1.1.161    “8QLWHG 6WDWHV 7UXVWHH” means the United States Trustee appointed
           under section 581 of title 28 of the United States Code to serve in the [y@ District of Texas.


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                   1.1.162   “8QVHFXUHG&ODLP” means a Claim against the Debtor that is not an
           Administrative Claim, a Channeled Talc Personal Injury Claim, a Cure Amount Claim, an
           Intercompany Claim, a Priority Non-Tax Claim, a Priority Tax Claim, or a Secured Claim.
           For the avoidance of doubt, Unsecured Claims include Defense Cost Claims.

           1.2    Interpretation; Application of Definitions; Rules of Construction; and Computation
   of Time. The headings in the Plan are for convenience of reference only and shall not limit or
   otherwise affect the provisions hereof. Wherever from the context it appears appropriate, each
   term stated in either the singular or the plural will include both the singular and the plural, and
   pronouns stated in the masculine, feminine, or neuter gender will include the masculine, feminine,
   and neuter. Unless otherwise specified, all Article, Section, Exhibit, or Schedule references in the
   Plan are to the respective article or section of, or schedule or exhibit to, the Plan. The words
   “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar meaning refer to the Plan as
   a whole and not to any particular article, section, subsection, or clause contained in the Plan. The
   rules of construction contained in section 102 of the Bankruptcy Code will apply to the
   construction of the Plan. Unless otherwise stated herein, all references to dollars mean U.S.
   dollars. In computing any period of time prescribed or allowed by the Plan, unless otherwise
   expressly provided, the provisions of Bankruptcy Rule 9006(a) will apply. The words “including”
   or “includes” shall be without limitation.

           1.3    Availability of Plan and Exhibits. The plan and all exhibits and schedules to the
   Plan will be available following their filing with the Bankruptcy Court on (a) the Court’s website:
   www.[y@.uscourts.gov, and (b) the website maintained by the Claims Agent at
   https://dm.epiq11.com/case/redrivertalc.

          1.4    Ancillary Documents. Each of the exhibits and schedules to the Plan (including the
   Talc Personal Injury Trust Agreement, the Trust Distribution Procedures, and the Cooperation
   Agreement), the Disclosure Statement and supplements thereto, and the exhibits and schedules to
   the Disclosure Statement and the supplements thereto are an integral part of the Plan, and are
   hereby incorporated by reference and made a part of the Plan.

                              ARTICLE II
       75($70(172)$'0,1,675$7,9(&/$,06$1'35,25,7<7$;&/$,06

           2.1      Administrative Claims.

                   2.1.1       Allowed Administrative Claims. Holders of Allowed Administrative
           Claims (other than Fee Claims, which are governed by Section 2.2, and Cure Amount
           Claims, which are governed by Section 5.4), shall receive Cash equal to the unpaid portion
           of such Allowed Administrative Claims on the Distribution Date, in full satisfaction,
           settlement, release, and discharge of and in exchange for such Claims, or such other
           amounts and on such other terms as may be agreed to by the holders of such Claims and
           the Debtor or the Reorganized Debtor, as the case may be; provided, however, that:
           (a) Allowed Administrative Claims representing liabilities incurred on or after the Petition
           Date in the ordinary course of business by the Debtor shall be paid by the Debtor or the
           Reorganized Debtor, as the case may be, in accordance with the terms and conditions of
           the particular transactions and agreements relating to such liabilities without any further

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           action by the holders of such Claims or further approval of the Bankruptcy Court; and
           (b) holders of such Administrative Claims shall not be required to comply with the
           requirements set forth in Section 2.1.2.

                   2.1.2       Administrative Claims Bar Date. Except as otherwise provided in this
           Article II, requests for payment of Administrative Claims (other than Fee Claims and Cure
           Amount Claims) must be filed and served on the Reorganized Debtor pursuant to the
           procedures specified in the Confirmation Order no later than sixty (60) days after the
           Effective Date. Holders of Administrative Claims that are required to, but do not, file and
           serve a request for payment of such Administrative Claims by the Administrative Claims
           Bar Date shall be forever barred, estopped, and enjoined from asserting such
           Administrative Claims against, as applicable, the Debtor or the Reorganized Debtor, or
           their property, and such Administrative Claims shall be deemed discharged as of the
           Effective Date. Objections to such requests, if any, must be filed and served on the
           Reorganized Debtor and the requesting party, as applicable, no later than ninety (90) days
           after the Effective Date, unless otherwise authorized by the Bankruptcy Rules or
           Bankruptcy Court. Notwithstanding the foregoing, no request for payment of an
           Administrative Claim need be filed with respect to an Administrative Claim previously
           Allowed by Final Order, including all Administrative Claims expressly Allowed under the
           Plan.

                   2.1.3        Disputed Administrative Claims. If and to the extent that there are
           Disputed Administrative Claims, any such Disputed Administrative Claims, other than Fee
           Claims and Cure Amount Claims which shall be resolved pursuant to the provisions of
           Section 2.2 and Article V, as appliable, shall be resolved pursuant to the provisions set
           forth in Article VII. Distributions on account of any such Disputed Administrative Claims
           other than Fee Claims and Cure Amount Claims shall be made pursuant to the provisions
           set forth in Article VI.

           2.2      Fee Claims.

                    2.2.1      All (a) final fee requests for compensation or reimbursement of Fee
           Claims pursuant to section 327, 328, 329, 330, 331, 363(b), 503(b), or 1103 of the
           Bankruptcy Code for services rendered to the Debtor, the TCC, or the FCR, (b) Fee Claims
           of members of the TCC for reimbursement of expenses, and (c) requests or Claims under
           section 503(b)(4) of the Bankruptcy Code, must be filed and served on the Reorganized
           Debtor and other parties required to be served by the Compensation Procedures Order no
           later than forty-five (45) days after the Effective Date, unless otherwise ordered by the
           Bankruptcy Court. Any objections to a final Fee Claim or any requests or claims under
           section 503(b)(4) of the Bankruptcy Code must be filed no later than twenty (20) days after
           the filing of such Claim. The terms of the Compensation Procedures Order shall govern
           the allowance and payment of any final Fee Claims submitted in accordance with this
           Section 2.2.

                  2.2.2       The amount of the Fee Claims owing to the Professionals on and after
           the Effective Date shall be paid by the Reorganized Debtor in Cash to such Professionals
           as soon as reasonably practicable after such Claims are Allowed by a Bankruptcy Court

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           order. Upon the Effective Date, any requirement that Professionals and Ordinary Course
           Professionals of the Reorganized Debtor comply with sections 327 through 331 and 1103
           of the Bankruptcy Code, the Compensation Procedures Order, or the Ordinary Course
           Professionals Order in seeking retention or compensation for services rendered after such
           date will terminate, and the Reorganized Debtor may employ and pay any Professional or
           Ordinary Course Professional in the ordinary course of business without any further notice
           to or action, order, or approval of the Bankruptcy Court.

           2.3    Payment of Statutory Fees. All fees payable under section 1930 of title 28 of the
   United States Code, as determined at the Confirmation Hearing by the Bankruptcy Court or the
   District Court, as applicable, shall be paid on or before the Effective Date. The Reorganized
   Debtor shall pay all such fees that arise after the Effective Date, but before the closing of the
   Chapter 11 Case, and shall comply with all applicable statutory reporting requirements.

           2.4     Allowed Priority Tax Claims. On the Distribution Date, holders of Allowed
   Priority Tax Claims shall receive Cash equal to the amount of such Allowed Priority Tax Claims,
   plus Postpetition Interest, if any, in full satisfaction, settlement, release, and discharge of and in
   exchange for such Claims unless the holder of such Claim agrees to an alternative treatment.
   Notwithstanding the provisions of this Section 2.4, any Claim on account of any penalty arising
   with respect to or in connection with an Allowed Priority Tax Claim that does not compensate the
   holder for actual pecuniary loss shall be treated as a Class 3 Claim, and the holder (other than as
   the holder of a Class 3 Claim) may not assess or attempt to collect such penalty from the
   Reorganized Debtor or its property.

                                    ARTICLE III
                    75($70(172)&/$66,),('&/$,06$1',17(5(676

           3.1     Claims and Interests Classified. For purposes of organization, voting, and all Plan
   confirmation matters, all Claims (other than Administrative Claims and Priority Tax Claims)
   against and Equity Interests in the Debtor are classified as set forth in this Article III. In
   accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority
   Tax Claims, as described in Article II, have not been classified and are excluded from the following
   Classes. A Claim or Interest is classified in a particular Class only to the extent that the Claim or
   Interest falls within the description of such Class, and is classified in another Class or Classes to
   the extent that any remainder of the Claim or Interest falls within the description of such other
   Class or Classes. Notwithstanding anything to the contrary contained in the Plan, no Distribution
   shall be made on account of any Non-Talc Claim that is not an Allowed Claim for distribution
   purposes.

           3.2   Treatment and Classification of Claims and Interests. For purposes of all Plan
   confirmation matters, including voting on, Confirmation of, and Distributions under, the Plan, all
   Claims (other than Administrative Claims and Priority Tax Claims, which are not classified)
   against and Equity Interests in the Debtor shall be classified and treated in the manner set forth
   below.




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   &ODVV      Designation          7UHDWPHQW (QWLWOHPHQWWR9RWH            (VWLPDWHG5HFRYHU\

                                                 Not Entitled to
             Priority Non-
    1                              Unimpaired   Vote (Presumed to                  100%
             Tax Claims
                                                     Accept)

                                                 Not Entitled to
             Secured
    2                              Unimpaired   Vote (Presumed to                Reinstated
             Claims
                                                     Accept)

                                                 Not Entitled to
             Unsecured
    3                              Unimpaired   Vote (Presumed to                Reinstated
             Claims
                                                     Accept)

             Channeled
                                                Entitled to Vote to
    4        Talc Personal          Impaired                                       100%
                                                 Accept or Reject
             Injury Claims

                                                 Not Entitled to
             Intercompany
    5                              Unimpaired   Vote (Presumed to                Reinstated
             Claims
                                                     Accept)

             Equity
                                                Entitled to Vote to              Reinstated
    6        Interests in           Impaired
                                                 Accept or Reject         Subject to Talc PI Pledge
             the Debtor

                    3.2.1          &ODVV– Priority Non-7D[&ODLPV

                          (a)         Classification: Class 1 consists of all Priority Non-Tax Claims
           against the Debtor.

                           (b)    Treatment: On the Distribution Date, each holder of an Allowed
           Class 1 Priority Non-Tax Claim shall receive Cash equal to the Allowed Amount of such
           Priority Non-Tax Claim plus Postpetition Interest thereon, unless the holder of such Claim,
           agrees to less favorable treatment.

                           (c)   Voting: Class 1 is Unimpaired, and each holder of a Claim in
           Class 1 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
           No holder of a Claim in Class 1 is entitled to vote to accept or reject the Plan.

                    3.2.2          &ODVV– 6HFXUHG&ODLPV

                             (a)      Classification: Class 2 consists of all Secured Claims against the
           Debtor.

                             (b)      Treatment: On the Effective Date, each Claim in Class 2 shall be
           Reinstated.

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                           (c)   Voting: Class 2 is Unimpaired, and each holder of a Claim in
           Class 2 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
           No holder of a Claim in Class 2 is entitled to vote to accept or reject the Plan.

                    3.2.3         &ODVV– 8QVHFXUHG&ODLPV

                         (a)    Classification: Class 3 consists of all Unsecured Claims, including
           Defense Cost Claims, against the Debtor.

                            (b)      Treatment: On the Effective Date, each Claim in Class 3 shall be
           Reinstated.

                           (c)   Voting: Class 3 is Unimpaired, and each holder of a Claim in
           Class 3 is presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.
           No holder of a Claim in Class 3 is entitled to vote to accept or reject the Plan.

                    3.2.4         &ODVV 4 – &KDQQHOHG7DOF3HUVRQDO,QMXU\&ODLPV

                          (a)    Classification: Class 4 consists of all Channeled Talc Personal
           Injury Claims, including Channeled Indirect Talc Personal Injury Claims.

                          (b)    Treatment: On the Effective Date, liability for all Channeled Talc
           Personal Injury Claims, including Channeled Indirect Talc Personal Injury Claims, shall
           be channeled to and assumed by the Talc Personal Injury Trust without further act or deed
           and shall be resolved in accordance with the Talc Personal Injury Trust
           Documents. Pursuant to the Plan and Trust Distribution Procedures, each holder of a
           Channeled Talc Personal Injury Claim shall have its Channeled Talc Personal Injury Claim
           permanently channeled to the Talc Personal Injury Trust, and such Channeled Talc
           Personal Injury Claim shall thereafter be resolved in accordance with the Talc Personal
           Injury Trust Documents.

                          (c)     Voting: Class 4 is Impaired, and holders of Claims in Class 4 are
           entitled to vote to accept or reject the Plan in accordance with the voting procedures
           described in the Disclosure Statement.

                    3.2.5         &ODVV5 – ,QWHUFRPSDQ\&ODLPV

                            (a)      Classification: Class 5 consists of all Intercompany Claims.

                            (b)      Treatment: On the Effective Date, each Claim in Class 5 shall be
           Reinstated.

                          (c)    Voting: Class 5 is Unimpaired, and each holder of a Claim in
           Class 5 is conclusively deemed to have accepted the Plan pursuant to section 1126(f) of
           the Bankruptcy Code. No holder of a Claim in Class 5 is entitled to accept or reject the
           Plan.



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                    3.2.6         &ODVV6 – Equity Interests in the Debtor

                            (a)      Classification: Class 6 consists of all Equity Interests in the Debtor.

                          (b)     Treatment: On the Effective Date, Equity Interests in the Debtor
           shall be Reinstated, and the holder of such Interests shall retain such Interests, subject to
           the Talc PI Pledge.

                          (c)     Voting: Class 6 is Impaired, and each holder of an Equity Interest
           in the Debtor in Class 6 is entitled to vote to accept or reject the Plan.

           3.3     Debtor’s Rights with Respect to Unimpaired Claims. Nothing under the Plan shall
   affect the rights of the Debtor or the Reorganized Debtor with respect to any Unimpaired Claims,
   including all rights with respect to legal and equitable defenses to, or setoffs or recoupments
   against, any such Unimpaired Claims.

           3.4     Elimination of Vacant Classes. Any Class of Claims against or Interests in the
   Debtor that, as of the commencement of the Confirmation Hearing, do not have at least one holder
   of a Claim or Interest that is Allowed in an amount greater than $0.00 for voting purposes shall be
   considered vacant, deemed eliminated from the Plan for purposes of voting to accept or reject the
   Plan, and disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of
   the Bankruptcy Code with respect to such Class.

                                            ARTICLE ,9
                                  THE TALC PERSONAL INJURY TRUST

           4.1    Establishment. Prior to or on the Effective Date, the Talc Personal Injury Trust
   shall be created in accordance with the Plan Documents. The Talc Personal Injury Trust shall be
   a “qualified settlement fund” within the meaning of the treasury regulations issued under
   Section 468B of the Internal Revenue Code.

           4.2    Purpose. The purposes of the Talc Personal Injury Trust shall be to assume all
   Channeled Talc Personal Injury Claims and, among other things, to: (a) preserve, hold, manage,
   and maximize the assets of the Talc Personal Injury Trust; and (b) direct the processing,
   liquidation, and, if appropriate, payment of all compensable Channeled Talc Personal Injury
   Claims in accordance with the Plan, the Confirmation Order, and the Talc Personal Injury Trust
   Documents. The Talc Personal Injury Trust will resolve Channeled Talc Personal Injury Claims
   in accordance with the Plan, the Confirmation Order, and the Talc Personal Injury Trust
   Documents in such a way that holders of Channeled Talc Personal Injury Claims are treated fairly
   and equitably, and otherwise comply in all respects with the requirements of a trust set forth in
   section 524(g)(2)(B)(i) of the Bankruptcy Code. In the event of a conflict between the terms or
   provisions of the Plan and the Confirmation Order, on the one hand, and the Talc Personal Injury
   Trust Documents, on the other hand, the terms or provisions of the Plan and the Confirmation
   Order shall control. In the event of a conflict between the terms and provisions of the Plan, on the
   one hand, and the Confirmation Order, on the other hand, the terms or provisions of the
   Confirmation Order shall control.



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           4.3     Initial Talc Trustees. There shall be two initial Talc Trustees. The initial Talc
   Trustees of the Talc Personal Injury Trust shall be the individuals identified as such in Exhibit H.
   All successor Talc Trustees shall be appointed in accordance with the terms of the Talc Personal
   Injury Trust Agreement. For purposes of performing his or her duties and fulfilling his or her
   obligations under the Plan, the Confirmation Order, and the Talc Personal Injury Trust Agreement,
   each Talc Trustee shall be deemed to be (and the Confirmation Order shall provide that he or she
   is) a “party in interest” within the meaning of section 1109(b) of the Bankruptcy Code. A Talc
   Trustee shall be designated as the “administrator” of the Talc Personal Injury Trust as such term
   is used in Treasury Regulation Section 1.468B-2(k)(3).

           4.4      Initial Talc Trust Advisory Committee and FCR.

                    4.4.1      Initial Talc Trust Advisory Committee. The Talc Trust Advisory
           Committee shall be established pursuant to the Talc Personal Injury Trust Agreement. The
           initial Talc Trust Advisory Committee Members shall be the individuals identified as such
           in Exhibit H. Each of the Talc Trust Advisory Committee Members shall serve in
           accordance with the terms and provisions of the Talc Personal Injury Trust Agreement.
           Successor Talc Trust Advisory Committee Members shall be appointed in accordance with
           the terms and provisions of the Talc Personal Injury Trust Agreement. For purposes of
           performing his or her duties and fulfilling his or her obligations under the Plan, the
           Confirmation Order, and the Talc Personal Injury Trust Agreement, each Talc Trust
           Advisory Committee Member shall be deemed to be (and the Confirmation Order shall
           provide that he or she is) a “party in interest” within the meaning of section 1109(b) of the
           Bankruptcy Code. The Debtor and J&J will not, and will cause the Debtor Corporate
           Parties not to, take any action in the Chapter 11 Case that seeks to cause the initial Talc
           Trust Advisory Committee to be comprised of individuals other than those appointed by
           the law firms identified and described in Exhibit H (Talc Personal Injury Trust Agreement)
           to the Plan attached to the Disclosure Statement in effect on June 3, 2024, as entitled to
           make such appointments. If, notwithstanding the foregoing, the initial Talc Trust Advisory
           Committee would be comprised of individuals other than those appointed by the law firms
           identified and described in Exhibit H (Talc Personal Injury Trust Agreement) to the Plan
           attached to the Disclosure Statement in effect on June 3, 2024, as entitled to make such
           appointments, as a result of action taken in the Chapter 11 Case by the Debtor, J&J, or any
           other Debtor Corporate Party seeking to cause the initial Talc Trust Advisory Committee
           to be comprised of individuals other than those appointed by the law firms identified and
           described in Exhibit H (Talc Personal Injury Trust Agreement) to the Plan attached to the
           Disclosure Statement in effect on June 3, 2024, as entitled to make such appointments, the
           Debtor shall be required to resolicit votes with respect to the Plan with a disclosure
           statement reflecting that the initial Talc Trust Advisory Committee is to be comprised of
           such other individuals.

                   4.4.2      Initial FCR. The Talc Personal Injury Trust Agreement shall provide
           for the continuation of an FCR to represent any and all persons who may assert Talc
           Personal Injury Demands in the future, but who are currently unknown. The initial FCR
           under the Talc Personal Injury Trust Agreement shall be Randi S. Ellis. The FCR under
           the Talc Personal Injury Trust shall serve in accordance with the terms and provisions of
           the Talc Personal Injury Trust Agreement. Any successor FCR under the Talc Personal

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           Injury Trust shall be appointed in accordance with the terms and provisions of the Talc
           Personal Injury Trust Agreement. For purposes of performing his or her duties and
           fulfilling his or her obligations under the Plan, the Confirmation Order, and the Talc
           Personal Injury Trust Agreement, the FCR under the Talc Personal Injury Trust shall be
           deemed to be (and the Confirmation Order shall provide that he or she is) a “party in
           interest” within the meaning of section 1109(b) of the Bankruptcy Code.

           4.5      Initial Talc Trust Administrators.

                   4.5.1       Initial Talc Trust Claims Administrator. The initial Talc Trust Claims
           Administrator of the Talc Personal Injury Trust shall be the Person identified as such in
           Exhibit H. All successor Talc Trust Claims Administrators shall be appointed in
           accordance with the terms and provisions of the Talc Personal Injury Trust Agreement.
           For purposes of performing its duties and fulfilling its obligations under the Plan, the
           Confirmation Order, and the Talc Personal Injury Trust Agreement, the Talc Trust Claims
           Administrator shall be deemed to be (and the Confirmation Order shall provide that it is) a
           “party in interest” within the meaning of section 1109(b) of the Bankruptcy Code.

                   4.5.2       Initial Talc Trust Liens Resolution Administrator. The initial Talc Trust
           Liens Resolution Administrator of the Talc Personal Injury Trust shall be the Person
           identified as such in Exhibit H. All successor Talc Trust Liens Resolution Administrators
           shall be appointed in accordance with the terms and provisions of the Talc Personal Injury
           Trust Agreement. For purposes of performing its duties and fulfilling its obligations under
           the Plan, the Confirmation Order, and the Talc Personal Injury Trust Agreement, the Talc
           Trust Lien Resolution Administrator shall be deemed to be (and the Confirmation Order
           shall provide that it is) a “party in interest” within the meaning of section 1109(b) of the
           Bankruptcy Code.

           4.6    Advancement of Expenses Prior to the Effective Date. The Debtor will seek entry
   of the Trust Expense Advancement Order on or prior to the Confirmation Date. Subject to, and in
   accordance with, the Trust Expense Advancement Order, prior to the Effective Date, the Debtor
   will advance Cash otherwise to be delivered to the Talc Personal Injury Trust on the Effective Date
   pursuant to Section 4.9.1(a) in order to enable set-up and claims processing work to be undertaken
   in advance of the Effective Date, so as to allow the Talc Personal Injury Trust to make payments
   in respect of compensable Channeled Talc Personal Injury Claims as soon as possible after the
   Effective Date.

           4.7      Trust Distribution Procedures.

                   4.7.1     General. Prior to or on the Effective Date, the Talc Personal Injury Trust
           shall implement the Trust Distribution Procedures in accordance with the terms of the Talc
           Personal Injury Trust Agreement. From and after the Effective Date, the Talc Trustees
           shall have the authority to modify or amend the Trust Distribution Procedures solely in
           accordance with the terms and provisions thereof and of the Talc Personal Injury Trust
           Agreement.




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                   4.7.2      Channeled Talc Personal Injury Claims. The Trust Distribution
           Procedures shall include procedures for processing, evaluating, valuing, resolving, and
           paying (as appropriate) Channeled Talc Personal Injury Claims, including Channeled
           Indirect Talc Personal Injury Claims.

           4.8      Assumption of Liability for Talc Personal Injury Claims.

                    4.8.1      Assumption of Liability Generally. In consideration for the assets
           delivered, transferred, and assigned to the Talc Personal Injury Trust pursuant to this
           Article IV, and in furtherance of the purposes of the Plan, the Confirmation Order, and the
           Talc Personal Injury Trust, on the Effective Date, subject to Section 4.8.4(a), the Talc
           Personal Injury Trust shall assume all liabilities, obligations, and responsibilities, financial
           or otherwise, of the Reorganized Debtor, J&J, and the other Protected Parties for all
           Channeled Talc Personal Injury Claims, including Channeled Indirect Talc Personal Injury
           Claims. This assumption shall not affect: (a) the application of the Discharge Injunction
           and the Channeling Injunction to the Reorganized Debtor, J&J, and the other Protected
           Parties; (b) any Talc Insurance Company’s obligation under any Talc Insurance Policy; or
           (c) if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, the Imerys/Cyprus
           Related Rights. From and after the Effective Date, other than with respect to obligations
           to fund the Trust as set forth in the Plan, the Reorganized Debtor, J&J, and the other
           Protected Parties shall have no liability, obligation, or responsibility, financial or otherwise,
           for any Channeled Talc Personal Injury Claim, including any Channeled Indirect Talc
           Personal Injury Claim.

                    4.8.2       Defenses. Upon the assumption by the Talc Personal Injury Trust of
           liabilities, obligations, and responsibilities for Channeled Talc Personal Injury Claims as
           contemplated by Section 4.8.1, subject to Section 4.8.4(b), the Reorganized Debtor and
           J&J shall transfer and assign the Talc Personal Injury Trust Defenses to the Talc Personal
           Injury Trust. The transfer and assignment of the Talc Personal Injury Trust Defenses to
           the Talc Personal Injury Trust pursuant to this Section 4.8.2 shall not impair, affect, alter,
           or modify the right of any Person against whom the Talc Personal Injury Trust may exercise
           Talc Personal Injury Trust Defenses to assert each and every defense or basis for claim
           reduction such Person could have asserted against the Debtor or J&J prior to the Effective
           Date; provided, however, for the avoidance of doubt, that no such Person may assert, as a
           defense or basis for claim reduction, that the Plan or any of the other Plan Documents does
           not comply with the Bankruptcy Code or that the transfer and assignment of the Talc
           Personal Injury Trust Defenses to the Talc Personal Injury Trust pursuant to this
           Section 4.8.2, or any other action contemplated by this Section 4.8.2, is prohibited by
           applicable non-bankruptcy law.

                   4.8.3      Enforcement of Defenses and Other Related Rights. From and after the
           Effective Date: (a) the Talc Personal Injury Trust shall have control over the Talc Personal
           Injury Trust Defenses and the Talc Personal Injury Trust shall thereby become the estate
           representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with the
           exclusive right to enforce each of the Talc Personal Injury Trust Defenses; (b) subject to
           Section 4.8.4(b), the proceeds of the recoveries on any of the Talc Personal Injury Trust
           Defenses shall be delivered to and become the property of the Talc Personal Injury Trust;

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           and (c) the Talc Personal Injury Trust shall have the right to enforce the Plan and any of
           the other Plan Documents (including the Cooperation Agreement) according to their
           respective terms. Notwithstanding the provisions of Section 4.8.2 and this Section 4.8.3:
           (i) the Talc Personal Injury Trust shall have no rights against the Reorganized Debtor, J&J,
           or the other Protected Parties except to enforce the Plan and the other Plan Documents;
           (ii) the Talc Personal Injury Trust Defenses transferred and assigned to the Talc Personal
           Injury Trust shall not include any claims fully and finally released, enjoined, compromised,
           or settled pursuant to the Plan; and (iii) for the avoidance of doubt, the Talc Personal Injury
           Trust Defenses transferred and assigned to the Talc Personal Injury Trust shall not include
           any rights of the Reorganized Debtor, J&J, or the other Protected Parties arising under the
           Channeling Injunction or any of the other Injunctions.

                    4.8.4      Common Benefit Fund.

                          (a)    Notwithstanding anything to the contrary contained in the Plan,
           neither the Debtor nor the Reorganized Debtor shall have any right or obligation under
           Case Management Order No. 7(A) entered by the United States District Court for the
           District of New Jersey in the multidistrict litigation In re: Johnson & Johnson Talcum
           Powder Products Marketing, Sales Practices and Products Liability Litigation, Civil
           Action No. 3:16-md-02738, to withhold any amounts from payments made by it under the
           Plan or any other Plan Document to or for the benefit of the Talc Personal Injury Trust to
           account for any common benefit assessments thereunder or to make any payment to the
           common benefit fund account established pursuant thereto.

                           (b)    The Talc Personal Injury Trust Agreement and the Trust
           Distribution Procedures shall provide that the Talc Trustees are not authorized to pay, and
           shall not pay, any common benefit fees or expenses from the Talc Personal Injury Trust,
           and shall take no action with respect to the common benefit fund established pursuant to
           that certain Case Management Order No. 7(A) entered by the United States District Court
           for the District of New Jersey in the multidistrict litigation In re: Johnson & Johnson
           Talcum Powder Products Marketing, Sales Practices and Products Liability Litigation,
           Civil Action No. 3:16-md-02738, in each case without the written consent of the FCR and
           a supermajority of the Talc Trust Advisory Committee (consisting of not less than 66% of
           all Talc Trust Advisory Committee Members).

           4.9      Contribution of Certain Assets.

                    4.9.1      Cash Contributions.

                          (a)     The Reorganized Debtor shall deliver, or cause to be delivered, to
           the Talc Personal Injury Trust Cash Contributions in accordance with Exhibit C.

                          (b)     All Cash Contributions to be made by the Reorganized Debtor
           pursuant to the Plan and the Talc Personal Injury Trust Documents shall be funded by the
           Reorganized Debtor. All Cash necessary for the Reorganized Debtor to fund such Cash
           Contributions pursuant to the Plan and the Talc Personal Injury Trust Documents shall be
           obtained through: (a) the Reorganized Debtor’s Cash balances; (b) the Indemnity Funding

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           Agreement; or (c) such other means of financing or funding as determined by the board of
           managers of the Reorganized Debtor.

                           (c)   On the Effective Date, J&J and New Holdco shall execute and
           deliver to the Talc Personal Injury Trust the Cash Contributions Guarantee. For the
           avoidance of doubt, nothing contained in this Section 4.9.1 shall in any way affect the
           obligations of J&J and New Holdco under the Cash Contributions Parent Guarantee.

                    4.9.2     Talc PI Note and Related Talc PI Pledge.

                          (a)     On the Effective Date: (i) the Reorganized Debtor shall execute and
           deliver to the Talc Personal Injury Trust the Talc PI Note; and (ii) New Holdco shall
           execute and deliver to the Talc Personal Injury Trust the Talc PI Pledge Agreement.

                           (b)     The Talc PI Note shall: (i) bear no interest; (ii) mature on the later
           of (A) the seventh anniversary of the Petition Date and (B) the first anniversary of the
           Effective Date; (iii) be secured by the Talc PI Pledge; and (iv) provide for payment in full
           of the principal amount of the PI Talc Note on or before its maturity date.

                           (c)    A Reorganized Debtor Payment Event of Default shall not provide
           a basis for the Talc Personal Injury Trust or any other Person to contend that a material
           breach of the Plan has occurred or that any Protected Party is no longer entitled to the
           protections provided to such Protected Party pursuant to the Plan, including the protections
           of the Channeling Injunction and related indemnification by the Talc Personal Injury Trust.
           If a Reorganized Debtor Payment Event of Default occurs, the Talc Personal Injury Trust
           may, upon five (5) days’ written notice to the Reorganized Debtor and New Holdco,
           foreclose upon the Talc PI Pledge.

                   4.9.3      Imerys/Cyprus Related Rights. The following provisions shall apply if
           either (x) the Imerys/Cyprus Settlement Agreement has not been fully executed prior to or
           on the Effective Date or (y) if the Imerys/Cyprus Settlement Agreement has been fully
           executed prior to or on the Effective Date and the Imerys/Cyprus Settlement Termination
           Date occurs, whether prior to, on, or following the Effective Date:

                          (a)      On the Effective Date or, if later, the Imerys/Cyprus Settlement
           Termination Date, the Reorganized Debtor and J&J shall transfer and assign to the Talc
           Personal Injury Trust the Imerys/Cyprus Related Rights. The transfer and assignment of
           the Imerys/Cyprus Related Rights to the Talc Personal Injury Trust pursuant to this
           Section 4.9.3 shall not impair, alter, or modify the right of any Imerys/Cyprus Party against
           whom the Talc Personal Injury Trust may exercise the Imerys/Cyprus Related Rights to
           assert each and every defense or basis for claim reduction such Person could have asserted
           against the Debtor and J&J prior to the Effective Date or, if later, the Imerys/Cyprus
           Settlement Termination Date; provided, however, for the avoidance of doubt, that no such
           Person may assert, as a defense or basis for claim reduction, that the Plan or any of the
           other Plan Documents does not comply with the Bankruptcy Code or that the transfer and
           assignment of the Imerys/Cyprus Related Rights to the Talc Personal Injury Trust pursuant



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           to this Section 4.9.3, or any other action contemplated by this Section 4.9.3, is prohibited
           by applicable non-bankruptcy law.

                          (b)     From and after the Effective Date or, if later, the Imerys/Cyprus
           Settlement Termination Date: (a) the Talc Personal Injury Trust shall have control over
           the Imerys/Cyprus Related Rights and the Talc Personal Injury Trust shall be the estate
           representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with the exclusive
           right to enforce the Imerys/Cyprus Related Rights; and (b) the proceeds of the recoveries
           on any Imerys/Cyprus Related Rights shall be delivered to and become the property of the
           Talc Personal Injury Trust.

                           (c)     From and after the Effective Date or, if later, the Imerys/Cyprus
           Settlement Termination Date: (i) the Reorganized Debtor, J&J, and the Talc Trustees shall
           cooperate and use their respective commercially reasonable efforts to take, or cause to be
           taken, all actions and to do, or cause to be done, all things that are reasonably necessary or
           appropriate to effectuate the transfer and assignment of the Imerys/Cyprus Related Rights
           to the Talc Personal Injury Trust in accordance with this Section 4.9.3; and (ii) without
           limiting the generality of the foregoing clause (i), the Reorganized Debtor and J&J shall
           provide, or make available to, the Talc Personal Injury Trust copies of the Imerys/Cyprus
           Agreements and other information within the possession and control of the Reorganized
           Debtor and J&J in accordance with the terms and provisions of the Cooperation
           Agreement. Pursuant to the Plan and the Confirmation Order, to the extent the Reorganized
           Debtor or J&J provides to the Talc Personal Injury Trust privileged information pursuant
           to the terms and provisions of this Section 4.9.3 or the Cooperation Agreement, such
           provision of information shall not result in the destruction or waiver of any applicable
           privileges pertaining to such information.

                    4.9.4     Talc Insurance Assets.

                          (a)     Subject to the provisions of this Section 4.9.4 and the Cooperation
           Agreement, on the Effective Date, the Reorganized Debtor shall transfer and assign to the
           Talc Personal Injury Trust the Talc Insurance Assets; provided, however, that, for the
           avoidance of doubt, the Reorganized Debtor shall not transfer and assign to the Talc
           Personal Injury Trust, and shall retain, (i) all proceeds of Talc In-Place Insurance Coverage
           received by the Debtor on or prior to the Effective Date and all rights to Talc-In-Place
           Insurance Coverage for amounts expended prior to the Effective Date, (ii) all proceeds or
           benefits of any Talc Insurance Action received by the Debtor on or prior to the Effective
           Date and all rights to proceeds or benefits of any Talc Insurance Action for amounts
           expended prior to the Effective Date, and (iii) all amounts payable pursuant to any Talc
           Insurance Settlement Agreement received by the Debtor on or prior to the Effective Date
           and all amounts payable pursuant to any Talc Insurance Settlement Agreement for amounts
           expended prior to the Effective Date.

                           (b)    From and after the Effective Date, in consideration of the
           Reorganized Debtor’s obligations under Section 4.9.1, Section 4.9.2, and, if applicable,
           Section 4.9.3: (i) the Reorganized Debtor, as the subrogee of the Talc Personal Injury
           Trust, shall have the exclusive right (A) to pursue and resolve any Talc In-Place Insurance

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           Coverage, (B) to pursue and resolve any Talc Insurance Action, (C) to pursue and obtain
           any Talc Insurance Recoveries, and (D) to negotiate and enter into any Talc Insurance
           Settlement Agreement; and (ii) any of the following received by the Talc Personal Injury
           Trust shall be delivered to, and retained by, the Reorganized Debtor, and may thereafter be
           used by the Reorganized Debtor as it may determine in its sole discretion: (A) all proceeds
           of Talc In-Place Insurance Coverage; (B) all proceeds or benefits of any Talc Insurance
           Action; and (C) all amounts payable pursuant to any Talc Insurance Settlement Agreement.
           Subject to the provisions of the Cooperation Agreement, the Reorganized Debtor shall pay,
           and bear sole responsibility with respect to the payment of, all costs and expenses,
           including attorneys’ fees and expenses and other out-of-pocket fees and expenses, incurred
           by the Reorganized Debtor acting as subrogee of the Talc Personal Injury Trust pursuant
           to this Section 4.9.4(b). For the avoidance of doubt, nothing in the Plan, the Plan
           Documents, or the Confirmation Order shall impair or otherwise affect any rights that any
           Debtor Corporate Party may have under any Talc Insurance Policy or Talc Insurance
           Settlement Agreement.

                           (c)     From and after the Effective Date: (i) the Reorganized Debtor, J&J,
           and the Talc Trustee shall cooperate and use their respective commercially reasonably
           efforts to take, or cause to be taken, all actions and to do, or cause to be done, all things
           that are reasonably necessary or appropriate to effectuate the transfer and assignment of
           the Talc Insurance Assets to the Talc Personal Injury Trust in accordance with, and subject
           to the terms and provisions of, this Section 4.9.4; and (ii) the Talc Personal Injury Trust
           shall provide, or make available to, the Reorganized Debtor and J&J information within
           the possession and control of the Talc Personal Injury Trust in accordance with the terms
           and provisions of the Cooperation Agreement and shall cooperate with the Reorganized
           Debtor and J&J and use commercially reasonable efforts to effectuate the terms and
           provisions of this Section 4.9.4. Pursuant to the Plan and the Confirmation Order, to the
           extent the Reorganized Debtor or J&J provides to the Talc Personal Injury Trust privileged
           information pursuant to the terms and provisions of this Section 4.9.4 or the Cooperation
           Agreement, such provision of information shall not result in the destruction or waiver of
           any applicable privileges pertaining to such information.

                           (d)    If, notwithstanding the provisions of the Plan and Confirmation
           Order, the transfer and assignment of any Talc Insurance Asset is determined by any court
           of competent jurisdiction to be invalid under, or to violate the provisions of, any Talc
           Insurance Policy, then, notwithstanding anything to the contrary in the Plan, solely with
           respect to such Talc Insurance Asset: (i) the Reorganized Debtor will be deemed to have
           retained such Talc Insurance Asset; and (ii) each provision of the Plan that provides or
           contemplates that the Talc Personal Injury Trust shall act through the Reorganized Debtor,
           or that the Reorganized Debtor shall act, as the subrogee of the Talc Personal Injury Trust
           with respect to such Talc Insurance Asset shall be deemed to instead provide or
           contemplate that the Reorganized Debtor will act for the benefit of the Talc Personal Injury
           Trust with respect to such Talc Insurance Asset. For the avoidance of doubt, nothing in
           this Section 4.9.4(d) shall affect clause (ii) of Section 4.9.4(b).

          4.10 Payment of Talc Personal Injury Trust Expenses. Subject to Section 4.6,
   Section 4.9.4(b), and the terms and provisions of the Cooperation Agreement, (a) the Talc Personal

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   Injury Trust shall pay all Talc Personal Injury Trust Expenses from the assets of the Talc Personal
   Injury Trust and (b) the Talc Personal Injury Trust shall bear sole responsibility with respect to the
   payment of the Talc Personal Injury Trust Expenses. Subject to Section 4.6, Section 4.9.4(b), and
   the terms and provisions of the Cooperation Agreement, the Talc Personal Injury Trust shall
   promptly pay all reasonable and documented Talc Personal Injury Trust Expenses incurred by the
   Reorganized Debtor or any Debtor Corporate Party for any and all liabilities, costs, or expenses as
   a result of taking action on behalf of or at the direction of the Talc Personal Injury Trust.

          4.11 Treatment of Remainder Assets. To the extent there are any assets remaining in
   the Talc Personal Injury Trust at such time as the Talc Personal Injury Trust is dissolved in
   accordance with the terms and provisions of the Talc Personal Injury Trust Agreement, such
   remaining assets shall be transferred to a charity or charities selected by Talc Trustees in
   accordance with the terms and provisions of the Talc Personal Injury Trust Agreement.

           4.12 Dissolution. The Talc Personal Injury Trust shall be dissolved upon satisfaction of
   the purposes of the Talc Personal Injury Trust in accordance with the terms and provisions of the
   Talc Personal Injury Trust Agreement. Upon dissolution of the Talc Personal Injury Trust, the
   Talc Trustees, the Talc Trust Advisory Committee Members, the FCR under the Talc Personal
   Injury Trust Agreement, the Talc Trust Claims Administrator, and the Talc Trust Liens Resolution
   Administrator shall be released and discharged from all further authority, duties, responsibilities,
   and obligations relating to and arising from and in connection with the Chapter 11 Case.

           4.13 Funds and Investment Guidelines. All monies held in the Talc Personal Injury
   Trust shall be invested, subject to the investment limitations and provisions enumerated in the Talc
   Personal Injury Trust Agreement.

           4.14 Compliance with QSF Regulations. The Debtor and the Reorganized Debtor shall
   take all actions required of them as “transferor,” and the designated Talc Trustee shall take all
   actions required of him or her as “administrator,” with respect to the Talc Personal Injury Trust
   pursuant to treasury regulations promulgated under section 468B of the Internal Revenue Code.
   Pursuant to such treasury regulations, the Talc Trustee designated as “administrator” shall be
   responsible for all tax reporting and withholding requirements in respect of distributions made
   from the Talc Personal Injury Trust. Any issue of interpretation of the Plan, the Confirmation
   Order, the Talc Personal Injury Trust Agreement, or any other Talc Personal Injury Trust
   Document shall be resolved in favor of an interpretation that conforms to the requirements of
   section 468B of the Internal Revenue Code and the treasury regulations promulgated thereunder.

          4.15 Cooperation Agreement. On the Effective Date, the Reorganized Debtor, J&J, the
   Custodians, and the Talc Personal Injury Trust shall enter into the Cooperation Agreement. The
   provision of information by the Reorganized Debtor or J&J to the Talc Personal Injury Trust
   pursuant to the Cooperation Agreement shall not result in the destruction or waiver of any
   applicable privileges pertaining to such information.

            4.16 Indemnification and Reimbursement of the Protected Parties. From and after the
   Effective Date, the Talc Personal Injury Trust shall indemnify, defend, and hold harmless, to the
   fullest extent permitted by applicable law, each of the Reorganized Debtor and the other Protected
   Parties (other than, if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, the

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   Imerys/Cyprus Parties for claims based on, arising out of, or in any way relating to the
   Imerys/Cyprus Related Rights) from and against any and all claims, demands, disputes, suits,
   damages, remedies, losses, awards, judgments, settlements, liabilities, expenses, costs, fees
   (including attorneys’ fees), and other charges whatsoever suffered or incurred by it subsequent to
   the Effective Date arising out of or in any way relating to any Channeled Talc Personal Injury
   Claim. Without limiting the generality of the foregoing, from and after the Effective Date, the
   Talc Personal Injury Trust shall promptly reimburse each Protected Party (other than, if the
   provisions of Section 4.9.3 and Section 5.9.1 are applicable, the Imerys/Cyprus Parties for claims
   based on, arising out of, or in any way relating to the Imerys/Cyprus Related Rights) for any and
   all out-of-pocket damages, remedies, losses, awards, judgments, liabilities, expenses, costs, fees
   (including attorneys’ fees), and other charges whatsoever actually incurred by such Protected Party
   subsequent to the Effective Date attributable to the defense of any Channeled Talc Personal Injury
   Claim in the event that the holder of such Channeled Talc Personal Injury Claim seeks to hold
   such Protected Party liable for such Channeled Talc Personal Injury Claim in violation of the Plan
   and the Channeling Injunction. For the avoidance of doubt, notwithstanding the foregoing, the
   Talc Personal Injury Trust shall have no obligation to indemnify, defend, or hold harmless, or
   reimburse any out-of-pocket liabilities, expenses, costs, fees (including attorneys’ fees), or other
   charges incurred by, the Reorganized Debtor or J&J in connection with the performance of their
   obligations under the Master Settlement Agreements.

           4.17 Exculpation of the Protected Parties. None of the Protected Parties shall have or
   incur any liability to any Person for any act or omission taken or to be taken in connection with,
   arising out of, or in any way relating to the administration or operation of the Talc Personal Injury
   Trust, including: (a) the management of the assets of the Talc Personal Injury Trust; and (b) the
   processing, liquidation, and payment of Channeled Talc Personal Injury Claims in accordance with
   the Talc Personal Injury Trust Documents.

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            5.1     General Treatment. Except as otherwise provided in the Plan or in any contract,
   instrument, release, or other agreement or document entered into in connection with the Plan, on
   the Effective Date, pursuant to section 365 of the Bankruptcy Code, the Debtor or the Reorganized
   Debtor shall assume each of its Executory Contracts and Unexpired Leases other than those listed
   on Exhibit L; provided, however, that the Debtor reserves the right, at any time prior to the
   Effective Date, to amend Exhibit L to: (a) delete any Executory Contract or Unexpired Lease
   listed therein, thus providing for its assumption pursuant hereto; or (b) add any Executory Contract
   or Unexpired Lease to Exhibit L, thus providing for its rejection pursuant to Section 5.5. The
   Debtor shall provide notice of any amendments to Exhibit L to the parties to the Executory
   Contracts or Unexpired Leases affected thereby and to the parties on the then-applicable service
   list in the Chapter 11 Case. Nothing herein shall constitute an admission by the Debtor or the




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   Reorganized Debtor that any contract or lease is an Executory Contract or Unexpired Lease or that
   the Debtor or the Reorganized Debtor has any liability thereunder.

           5.2      Assumption and Assignment.

                   5.2.1       Assumption. Unless otherwise provided in the Plan, each Executory
           Contract or Unexpired Lease that is assumed shall include all modifications, amendments,
           supplements, restatements, or other agreements that in any manner affect such Executory
           Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related
           thereto, if any, including all easements, licenses, permits, rights, privileges, immunities,
           options, rights of first refusal, and any other interests, unless any of the foregoing
           agreements has been previously rejected or repudiated, or is rejected or repudiated under
           the Plan.

                   5.2.2      Postpetition Amendments. Modifications, amendments, supplements,
           and restatements to prepetition Executory Contracts and Unexpired Leases that have been
           executed by the Debtor during the Chapter 11 Case shall not be deemed to alter the
           prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority,
           or amount of any Claims that may arise in connection therewith.

                   5.2.3      Assignment. Each assumed Executory Contract or Unexpired Lease
           shall be a contract or lease of the Reorganized Debtor unless an assignee is identified in
           accordance with the procedures in Section 5.3.

           5.3      Approval of Assumptions and Assignments and Related Procedures.

                   5.3.1      Effect of Assumption. Assumption of any Executory Contract or
           Unexpired Lease pursuant to the Plan or otherwise shall result in the full release and
           satisfaction of any Claims or defaults, whether monetary or nonmonetary, including
           defaults of provisions restricting the change in control or ownership interest composition
           or other bankruptcy-related defaults, arising under any assumed Executory Contract or
           Unexpired Lease at any time before the effective date of the assumption.

                   5.3.2      Approval and Related Procedures. The Confirmation Order shall
           constitute an order of the Bankruptcy Court approving the assumptions described in
           Section 5.1, pursuant to section 365 of the Bankruptcy Code, as of the Effective Date. The
           procedures for assumption or assumption and assignment of an Executory Contract or
           Unexpired Lease are as follows:

                           (a)     After the entry of the Confirmation Order, the Debtor shall serve
           upon each party to an Executory Contract or Unexpired Lease being assumed pursuant to
           the Plan notice of: (i) the contract or lease being assumed or assumed and assigned and, if
           applicable, any assignee; (ii) the Cure Amount Claim, if any, that the Debtor believes
           would be payable in connection with such assumption; and (iii) the procedures for such
           party to object to the assumption or assumption and assignment of the applicable contract
           or lease or the amount of the proposed Cure Amount Claim.



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                          (b)    Any Person wishing to object to (i) the proposed assumption or
           assumption and assignment of an Executory Contract or Unexpired Lease under the Plan
           or (ii) the proposed amount of the related Cure Amount Claim must file and serve on
           counsel to the Debtor or the Reorganized Debtor a written objection setting forth the basis
           for the objection within twenty (20) days of service of the notice described in
           Section 5.3.2(a).

                           (c)     If no objection to the proposed assumption or assumption and
           assignment or the proposed amount of the Cure Amount Claim is properly filed and served
           prior to the objection deadline with respect to an Executory Contract or Unexpired Lease:
           (i) the proposed assumption or assumption and assignment of the Executory Contract or
           Unexpired Lease shall be approved in accordance with the Plan and the Confirmation
           Order, effective as of the Effective Date, without further action of the Bankruptcy Court;
           and (ii) the Cure Amount Claim identified by the Debtor in the notice shall be fixed and
           shall be paid in accordance with the Plan on or after the Effective Date, without further
           action of the Bankruptcy Court, to the appropriate contract or lease party identified on the
           notice.

                           (d)     If an objection to the proposed assumption or assumption and
           assignment or the proposed amount of the Cure Amount Claim is properly filed and served
           prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
           the Debtor or the Reorganized Debtor, as applicable, and the objecting party may resolve
           such objection by stipulation, without further action of the Bankruptcy Court.

                           (e)     If an objection to the proposed assumption or assumption and
           assignment or the proposed amount of the Cure Amount Claim is properly filed and served
           prior to the objection deadline with respect to an Executory Contract or Unexpired Lease
           and the parties are unable to resolve such objection: (i) the Debtor or the Reorganized
           Debtor, as applicable, may file a reply to such objection no later than thirty (30) days after
           the filing and service of such objection and ask the Bankruptcy Court to schedule a hearing
           on the particular objection and the related reply at an appropriate time; or (ii) the Debtor or
           the Reorganized Debtor, as applicable, may designate the Executory Contract or Unexpired
           Lease underlying such objection for rejection pursuant to Section 5.5 and amend Exhibit L
           accordingly.

           5.4      Payments Related to Assumption.

                   5.4.1      Payment Options. To the extent that such Claims constitute monetary
           defaults, the Cure Amount Claims associated with each Executory Contract and Unexpired
           Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1)
           of the Bankruptcy Code, at the option of the Debtor or the Reorganized Debtor assuming
           such contract or lease, or the assignee of the Debtor or the Reorganized Debtor, if any:
           (a) by payment of the Cure Amount Claim in Cash on the Effective Date or as promptly as
           reasonably practicable after the Cure Amount Claim is allowed; or (b) on such other terms
           as are agreed to by the parties to such Executory Contract or Unexpired Lease.



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                   5.4.2        Disputes. Pursuant to section 365(b)(2)(D) of the Bankruptcy Code, no
           Cure Amount Claim shall be allowed for a penalty rate or other form of default rate of
           interest. If there is a dispute regarding (a) the amount of any Cure Amount Claim, (b) the
           ability of the Reorganized Debtor or any assignee to provide “adequate assurance of future
           performance” (within the meaning of section 365 of the Bankruptcy Code) under the
           contract or lease to be assumed, or (c) any other matter pertaining to assumption of such
           contract or lease, the payment of any Cure Amount Claim required by section 365(b)(1) of
           the Bankruptcy Code shall be made following the entry of a Final Order resolving the
           dispute and approving the assumption.

           5.5      Executory Contracts and Unexpired Leases to Be Rejected and Rejection
                    Procedures.

                   5.5.1      Rejection Generally. On the Effective Date, each Executory Contract
           and Unexpired Lease listed on Exhibit L shall be rejected pursuant to section 365 of the
           Bankruptcy Code. Each contract and lease listed on Exhibit L shall be rejected only to the
           extent that any such contract or lease constitutes an Executory Contract or Unexpired
           Lease. Listing a contract or lease on Exhibit L shall not constitute an admission by the
           Debtor or the Reorganized Debtor that such contract or lease is an Executory Contract or
           Unexpired Lease or that the Debtor or the Reorganized Debtor has any liability thereunder.
           The Confirmation Order shall constitute an order of the Bankruptcy Court approving such
           rejections, pursuant to section 365 of the Bankruptcy Code, as of the Effective Date.

                  5.5.2     Rejection Procedures. The procedures for rejection of an Executory
           Contract or Unexpired Lease are as follows:

                          (a)     After the entry of the Confirmation Order, the Debtor shall serve
           upon each party to an Executory Contract or Unexpired Lease being rejected pursuant to
           the Plan notice of such proposed rejection. For the avoidance of doubt, additional notices
           may be served upon any amendment to Exhibit L (including pursuant to Section 5.3.2(e)).

                          (b)    Any Person wishing to object to the proposed rejection of an
           Executory Contract or Unexpired Lease under the Plan must file and serve on counsel to
           the Debtor or the Reorganized Debtor a written objection setting forth the basis for the
           objection within twenty (20) days of service of the notice described in Section 5.5.2(a).

                           (c)     If no objection to the proposed rejection is properly filed and served
           prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
           the proposed rejection of the applicable Executory Contract or Unexpired Lease shall be
           approved in accordance with the Plan and the Confirmation Order, effective as of the
           Effective Date, without further action of the Bankruptcy Court.

                           (d)     If an objection to the proposed rejection is properly filed and served
           prior to the objection deadline with respect to an Executory Contract or Unexpired Lease,
           the Debtor or the Reorganized Debtor, as applicable, and the objecting party may resolve
           such objection by stipulation, without further action of the Bankruptcy Court.



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                           (e)     If an objection to the proposed rejection is properly filed and served
           prior to the objection deadline with respect to an Executory Contract or Unexpired Lease
           and the parties are unable to resolve such objection, the Debtor or the Reorganized Debtor,
           as applicable, may file a reply to such objection no later than thirty (30) days after the filing
           and service of such objection and ask the Bankruptcy Court to schedule a hearing on the
           particular objection and the related reply at an appropriate time.

           5.6      Claims Based on Rejection.

                    5.6.1      Proof of Claim Required. If the rejection or deemed rejection of an
           Executory Contract or Unexpired Lease by the Debtor results in damages to the other party
           or parties to such Executory Contract or Unexpired Lease, a Claim for such damages shall
           be automatically disallowed and forever barred from assertion, and unenforceable, against
           the Debtor, the Reorganized Debtor, any assignee, or their properties, whether by way of
           setoff, recoupment, or otherwise, without the need for any objection, any further notice, or
           any action, order, or approval of the Bankruptcy Court, unless a Proof of Claim is filed
           with the Claims Agent and served upon counsel for the Debtor or the Reorganized Debtor
           by the later of (a) thirty (30) days after service of the notice described in Section 5.5.2(a)
           and (b) thirty (30) days after service of notice of entry of a Final Order rejecting such
           Executory Contract or Unexpired Lease, which notice, in each case, will set forth such
           deadline. If a Proof of Claim is filed in accordance with this Section 5.6.1, any objections
           to such Proof of Claim shall be filed with the Bankruptcy Court and served upon the holder
           of such Non-Talc Claim no later than thirty (30) days after the filing of such Proof of Claim,
           unless extended by order of the Bankruptcy Court prior to the expiration of such period.

                   5.6.2      Classification of Claims. Claims arising from the rejection of an
           Executory Contract or Unexpired Lease shall be classified as Class 3 Unsecured Claims
           and shall be treated in accordance with Section 3.2.3; provided, however, that all Claims
           arising from rejection or deemed rejection of an Executory Contract or Unexpired Lease
           shall be deemed Disputed.

           5.7    Contracts and Leases Entered Into After the Petition Date. Notwithstanding any
   other provision of the Plan, contracts and leases entered into after the Petition Date by the Debtor,
   including any Executory Contracts and Unexpired Leases assumed by the Debtor, shall be
   performed by the Debtor or the Reorganized Debtor in accordance with the terms and conditions
   of such contracts and leases in the ordinary course of its business. Accordingly, such contracts
   and leases and other obligations (including any assumed Executory Contracts and Unexpired
   Leases) shall survive and remain unaffected by entry of the Confirmation Order.

           5.8     Reservation of Rights. Neither the exclusion nor inclusion of any Executory
   Contract or Unexpired Lease on Exhibit L, or anything contained in the Plan or any Plan
   Supplement, shall constitute an admission by the Debtor that any such contract or lease is in fact
   an Executory Contract or Unexpired Lease or that the Reorganized Debtor, or any assignee has
   any liability thereunder. If there is a dispute regarding whether a contract or lease is or was
   executory or unexpired at the time of assumption or rejection, the Debtor, the Reorganized Debtor,
   or any assignee, as applicable, shall have thirty (30) days following entry of a Final Order resolving
   such dispute to alter their treatment of such contract or lease.

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           5.9      Imerys/Cyprus Matters.

                  5.9.1      Imerys/Cyprus Agreements. If either (x) the Imerys/Cyprus Settlement
           Agreement has not been fully executed prior to or on the Effective Date or (y) if the
           Imerys/Cyprus Settlement Agreement has been fully executed prior to or on the Effective
           Date and the Imerys/Cyprus Settlement Termination Date occurs, whether prior to, on, or
           following the Effective Date, the foregoing provisions of this Article V shall not apply to
           the Imerys/Cyprus Agreements and instead the following provisions shall apply thereto:

                            (a)    To the extent that the Imerys/Cyprus Agreements are considered to
           be executory contracts, the Plan shall constitute a motion to assume and assign the
           Imerys/Cyprus Agreements to the Talc Personal Injury Trust (in order to effect the transfer
           and assignment of the Imerys/Cyprus Related Rights thereunder in accordance with
           Section 4.9.3) and, subject to the occurrence of the Effective Date and the Imerys/Cyprus
           Settlement Termination Date, the entry of the Confirmation Order shall constitute approval
           of such assumption and assignment pursuant to section 365(a) of the Bankruptcy Code and
           a finding by the Bankruptcy Court that such assumption and assignment is in the best
           interest of the Debtor, the Debtor’s Estate, and all parties in interest in the Chapter 11 Case.

                          (b)      Unless otherwise determined by a Final Order entered by the
           Bankruptcy Court prior to the Effective Date or, if later, the Imerys/Cyprus Settlement
           Termination Date, no payments are required to cure any defaults of the Debtor existing as
           of the Effective Date with respect to any Imerys/Cyprus Agreements and the Cash
           Contributions delivered to the Talc Personal Injury Trust by or on behalf of the
           Reorganized Debtor shall be deemed to satisfy in full any Claim arising out of any alleged
           breach, default, or violation under the Imerys/Cyprus Agreements.

                          (c)    The Imerys/Cyprus Agreements shall be transferred by the
           Reorganized Debtor and J&J to the Talc Personal Injury Trust as of the Effective Date or,
           if later, the Imerys/Cyprus Settlement Termination Date to effect the transfer and
           assignment of the Imerys/Cyprus Related Rights under such agreements in accordance with
           Section 4.9.3.

                  5.9.2      Imerys/Cyprus Settlement Agreement. If the Imerys/Cyprus Settlement
           Agreement has been executed prior to or on the Effective Date and the Imerys/Cyprus
           Settlement Closing Date occurs, whether prior to, on, or following the Effective Date, the
           following provisions shall apply:

                           (a)    Notwithstanding any other provision of this Plan, the Plan shall
           constitute a motion to assume the Imerys/Cyprus Settlement Agreement, and, subject to
           the occurrence of the Effective Date, the entry of the Confirmation Order shall constitute:
           (i) approval of such assumption pursuant to Section 365(a) of the Bankruptcy Code; and
           (ii) a finding by the Bankruptcy Court that such assumption is in the best interest of the
           Debtor, the Debtor’s Estate, and all parties in interest in the Chapter 11 Case.

                          (b)    Unless otherwise determined by the Bankruptcy Court pursuant to a
           Final Order or agreed by the parties thereto prior to the Effective Date, no payments are

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           required to cure any defaults of the Debtor with respect to the Imerys/Cyprus Settlement
           Agreement.

           5.10 Talc Insurance Assets. Notwithstanding any other provision of this Plan, this
   Article V shall not apply to the Talc Insurance Assets. To the extent that the Talc Insurance Assets
   are considered to be executory contracts, the Plan shall constitute a motion to assume and assign
   the Talc Insurance Assets to the Talc Personal Injury Trust in accordance with Section 4.9.4, and,
   subject to the occurrence of the Effective Date, the entry of the Confirmation Order shall constitute
   approval of such assumption and assignment pursuant to section 365(a) of the Bankruptcy Code
   and a finding by the Bankruptcy Court that such assumption and assignment is in the best interest
   of the Debtor, the Debtor’s Estate, and all parties in interest in the Chapter 11 Case. Unless
   otherwise determined by the Bankruptcy Court pursuant to a Final Order or agreed by the parties
   thereto prior to the Effective Date, no payments are required to cure any defaults of the Debtor
   existing as of the Effective Date with respect to any Talc Insurance Asset. The Talc Insurance
   Assets shall be assigned by the Reorganized Debtor to the Talc Personal Injury Trust in accordance
   with Section 4.9.4 as of the Effective Date.

           5.11 Master Settlement Agreements. Notwithstanding any other provision of this Plan,
   the Plan shall constitute a motion to assume the Master Settlement Agreements and any settlement
   or other agreements entered into in accordance with the terms thereof, and, subject to the
   occurrence of the Effective Date, the entry of the Confirmation Order shall constitute: (a) approval
   of such assumption pursuant to Section 365(a) of the Bankruptcy Code; and (b) a finding by the
   Bankruptcy Court that such assumption is in the best interest of the Debtor, the Debtor’s Estate,
   and all parties in interest in the Chapter 11 Case. Unless otherwise determined by the Bankruptcy
   Court pursuant to a Final Order or agreed by the parties thereto prior to the Effective Date, no
   payments are required to cure any defaults of the Debtor existing as of the Effective Date with
   respect to any Master Settlement Agreement or any settlement or other agreement entered into in
   accordance with the terms of any Master Settlement Agreement.

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           6.1    Distributions. Distributions on account of Allowed Non-Talc Claims (other than
   Reinstated Non-Talc Claims) shall be made on or after the Distribution Date as provided in this
   Article VI. This Article VI shall not apply to Talc Personal Injury Claims or Reinstated Non-Talc
   Claims. All Channeled Talc Personal Injury Claims shall be liquidated and, as appropriate, paid,
   or otherwise resolved, by the Talc Personal Injury Trust pursuant to and in accordance with the
   Talc Personal Injury Trust Documents. All Reinstated Non-Talc Claims shall be Reinstated.

           6.2      Timing and Calculation of Amounts to be Distributed.

                   6.2.1       General. On the Effective Date or as soon as reasonably practicable
           thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date that
           such a Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter),
           each holder of an Allowed Non-Talc Claim shall receive the full amount of the Distribution
           that the Plan provides for such Allowed Claim in the manner provided herein. In the event
           that any payment or act under the Plan is required to be made or performed on a date that

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           is not a Business Day, then the making of such payment or the performance of such act
           may be completed on the next succeeding Business Day, but shall be deemed to have been
           completed as of the required date. Any Distribution to be made pursuant to the Plan shall
           be deemed to have been timely made if made within sixty (60) days after the time therefor
           specified in the Plan. No interest shall accrue or be paid with respect to any Distribution
           as a consequence of such Distribution not having been made on the Effective Date.

                 6.2.2       Disputed Non-Talc Claims. If and to the extent that there are Disputed
           Non-Talc Claims, Distributions on account of any such Disputed Non-Talc Claims shall
           be made pursuant to the provisions set forth in this Article VI.

          6.3     Designation of Disbursing Agent. All Distributions under the Plan shall be made
   by the Disbursing Agent.

           6.4      Rights and Powers of Disbursing Agent.

                   6.4.1      General. The Disbursing Agent shall be empowered to: (a) effect all
           actions and execute all agreements, instruments, and other documents necessary to perform
           its duties under the Plan; (b) make all Distributions contemplated hereby; (c) employ
           professionals to represent it with respect to its responsibilities; and (d) exercise such other
           powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court,
           pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to
           implement the provisions of the Plan.

                   6.4.2     Fees and Expenses. Except as otherwise ordered by the Bankruptcy
           Court, the amount of any reasonable fees and expenses incurred by the Disbursing Agent
           on or after the Effective Date (including taxes) and any reasonable compensation and
           expense reimbursement claims (including reasonable attorney fees and expenses) made by
           the Disbursing Agent shall be paid in Cash by the Reorganized Debtor.

           6.5    Distributions on Account of Claims Allowed After the Effective Date.
   Notwithstanding any other provision of the Plan, no Distributions shall be made under the Plan on
   account of any Disputed Non-Talc Claim, unless and until such Disputed Non-Talc Claim becomes
   an Allowed Non-Talc Claim. Distributions made after the Effective Date to holders of Disputed
   Non-Talc Claims that are not Allowed Non-Talc Claims as of the Effective Date but which later
   become Allowed Non-Talc Claims shall be made as if such Claim had been an Allowed Claim on
   the Effective Date. Except as otherwise may be agreed to by the Debtor or the Reorganized Debtor,
   on the one hand, and the holder of a Disputed Non-Talc Claim, on the other hand, and
   notwithstanding any provision otherwise in the Plan, no partial payments and no partial
   Distributions shall be made with respect to any Disputed Non-Talc Claim until all Disputed
   Non-Talc Claims held by the holder of such Disputed Non-Talc Claim have become Allowed
   Non-Talc Claims or have otherwise been resolved by settlement or Final Order.

           6.6      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

                  6.6.1      Delivery of Distributions to Holders of Non-Talc Claims. Distributions
           to holders of Allowed Non-Talc Claims shall be made to holders of record as of the
           Distribution Record Date by the Disbursing Agent: (a) to the signatory set forth on any of
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           the Proof of Claim filed by such holder or other representative identified therein (or at the
           last known addresses of such holder if no Proof of Claim is filed or if the Debtor has been
           notified in writing of a change of address); (b) at the addresses set forth in any written
           notices of address changes delivered to the Disbursing Agent after the date of any related
           Proof of Claim; or (c) at the addresses reflected in the Schedules if no Proof of Claim has
           been filed and the Disbursing Agent has not received a written notice of a change of
           address.

                   6.6.2      Full Benefit of Distributions. Distributions under the Plan on account
           of Non-Talc Claims shall not be subject to levy, garnishment, attachment, or similar legal
           process, so that each holder of an Allowed Non-Talc Claim shall have and receive the
           benefit of the Distributions in the manner set forth in the Plan. None of the Debtor, the
           Reorganized Debtor, or the applicable Disbursing Agent shall incur any liability
           whatsoever on account of any Distributions under the Plan except where such Distributions
           are found by Final Order to have been made with gross negligence, willful misconduct, or
           fraud.

                   6.6.3       Undeliverable Distributions and Unclaimed Property. In the event that
           any Distribution to any holder of an Allowed Non-Talc Claim is returned as undeliverable,
           no further Distribution to such holder shall be made unless and until the Disbursing Agent
           has determined the then current address of such holder, at which time such Distribution
           shall be made as soon as practicable after such Distribution has become deliverable to such
           holder without interest; provided, however, that such Distributions shall be deemed
           unclaimed property under section 347(b) of the Bankruptcy Code and forfeited at the
           expiration of three (3) months from the applicable Distribution Date. After such date, all
           “unclaimed property” or interests in property in respect of the Reorganized Debtor shall
           revert to the Reorganized Debtor, notwithstanding any applicable federal or state escheat,
           abandoned, or unclaimed property laws to the contrary. The claim of any holder to such
           property or interest in property shall be discharged and forever barred. Nothing contained
           in the Plan shall require the Debtor, the Reorganized Debtor, or the Disbursing Agent to
           attempt to locate any holder of an Allowed Claim.

           6.7    Time Bar to Cash Payments. Checks issued by the Disbursing Agent in respect of
   Allowed Non-Talc Claims shall be null and void if not cashed within one hundred and eighty (180)
   days of the date of issuance thereof. The holder of the Allowed Non-Talc Claim with respect to
   which such check originally was issued may make a request for re-issuance of any check directly
   to the Disbursing Agent; provided, however, that any such request for re-issuance of a check shall
   be made on or before the twelve (12)-month anniversary of the Distribution Date. After such date,
   all Non-Talc Claims in respect of void checks shall be discharged and forever barred.

          6.8      Record Date for Holders of Claims. Except as otherwise provided in an order of
   the Bankruptcy Court that is not subject to any stay, the transferees of Claims that are transferred
   pursuant to Bankruptcy Rule 3001, on or prior to the Distribution Record Date, shall be treated as
   the holders of such Claims for all purposes, notwithstanding that any period provided by
   Bankruptcy Rule 3001 for objecting to such transfer has not expired by the Distribution Record
   Date. If there is any dispute regarding the identity of the Person entitled to receive a Distribution


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   in respect of a Claim under the Plan, no Distribution need be made in respect of such Claim until
   such dispute has been resolved.

           6.9      Compliance with Tax Requirements and Allocations.

                   6.9.1       General. In connection with the Plan and all Distributions hereunder,
           the Disbursing Agent shall comply with all tax withholding and reporting requirements
           imposed on them by any federal, state, or local taxing authority, and all Distributions
           pursuant to the Plan shall be subject to such withholding and reporting requirements.
           Notwithstanding any provision in the Plan to the contrary, the Disbursing Agent shall be
           authorized to take all actions necessary or appropriate to comply with such withholding
           and reporting requirements, including liquidating a portion of the Distribution to be made
           under the Plan if necessary to generate sufficient funds to pay applicable withholding taxes,
           withholding Distributions pending receipt of information necessary to facilitate such
           Distributions including tax certification forms, or establishing any other reasonable
           mechanisms it believes are necessary or appropriate. To the extent that any Claim holder
           fails to submit appropriate tax certification forms required by a Disbursing Agent or to
           comply with any other mechanism established by a Disbursing Agent to comply with such
           withholding and reporting requirements, such Claim holder’s Distribution may, in such
           Disbursing Agent’s reasonable discretion, be deemed “unclaimed property” subject to
           Section 6.6.3.

                   6.9.2       Tax Withholding. Without limiting the generality of the foregoing, in
           accordance with the Internal Revenue Code’s backup withholding rules, a holder of a
           Claim may be subject to backup withholding with respect to Distributions made pursuant
           to the Plan, unless the holder: (a) comes within certain exempt categories (which generally
           include corporations) and, when required, demonstrates this fact; or (b) provides at the
           applicable Disbursing Agent’s request a completed IRS Form W-9 (or substitute therefor)
           on which the holder includes a correct taxpayer identification number and certifies under
           penalty of perjury that the taxpayer identification number is correct and that the taxpayer
           is not subject to backup withholding because of a failure to report all dividend and interest
           income. Among other things, to receive any Postpetition Interest, if requested by a
           Disbursing Agent, a holder of an Allowed Claim shall be required to establish an exemption
           from backup withholding or to make arrangements with respect to the payment of backup
           withholding. Non-U.S. Allowed Claim holders may be required by the applicable
           Disbursing Agent to provide a completed IRS Form W-8BEN or W-8BEN-E, as applicable
           (or other applicable Form W-8 or successor form) to establish an exemption from or a
           treaty-reduced rate of withholding on interest distributed pursuant to the Plan. Unless a
           Disbursing Agent, in its discretion, determines otherwise, no Distributions on account of
           Postpetition Interest shall be made to a holder of an Allowed Claim until such time as the
           holder of such Claim establishes exemption from withholding or provides the applicable
           IRS Form.

                  6.9.3       Obligations of Distribution Recipients. Notwithstanding any other
           provision of the Plan, each Person receiving a Distribution pursuant to the Plan shall have
           sole and exclusive responsibility for the satisfaction and payment of any tax obligations


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           imposed on it by any governmental unit on account of such Distribution, including income,
           withholding, and other tax obligations.

                   6.9.4       Tax Allocations. For tax purposes, Distributions in full or partial
           satisfaction of Allowed Claims shall be allocated first to the principal amount of Allowed
           Claims, with any excess allocated to unpaid interest that accrued on such Claims.

           6.10 Transfers of Claims. In the event that the holder of any Non-Talc Claim shall
   transfer such Claim after the Distribution Record Date, it shall immediately advise the Reorganized
   Debtor in writing of such transfer and file a notice of the transfer with the Bankruptcy Court. The
   Reorganized Debtor shall be entitled to assume that no transfer of any Claim has been made by
   any holder unless and until written notice of a transfer has been actually received by the
   Reorganized Debtor. Each transferee of any Non-Talc Claim shall take such Claim subject to the
   provisions of the Plan, and, except as provided in a notice of transfer, the Reorganized Debtor shall
   be entitled to assume conclusively that the transferee named in any notice of transfer shall
   thereafter be vested with all rights and powers of the transferor of such Claim.

           6.11 Setoffs. The Debtor and the Reorganized Debtor may, pursuant to the applicable
   provisions of the Bankruptcy Code, or applicable non-bankruptcy law, set off against any
   applicable Allowed Claim (before any Distribution is made on account of such Claim) any and all
   claims, rights, causes of action, debts, or liabilities of any nature that the Debtor or the Reorganized
   Debtor may hold against the holder of such Allowed Claim; provided, however, that the failure to
   effect such a setoff shall not constitute a waiver or release of any such claims, rights, causes of
   action, debts, or liabilities.

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          7.1     Disputed Non-Talc Claims. This Article VII shall apply to all Disputed Non-Talc
   Claims. This Article VII shall not apply to Talc Personal Injury Claims. All Channeled Talc
   Personal Injury Claims shall be resolved by the Talc Personal Injury Trust in accordance with the
   Talc Personal Injury Trust Documents.

           7.2      Rights of Debtor and Reorganized Debtor .

                   7.2.1        Right to Litigate. Prior to the Effective Date, the Debtor, and on and
           after the Effective Date, the Reorganized Debtor, shall have the right to: (i) file objections
           to Non-Talc Claims that have not already been Allowed by Final Order, agreement, or the
           Plan; and (ii) litigate any Disputed Non-Talc Claim either in the Bankruptcy Court or in
           any court of competent jurisdiction.

                   7.2.2      No Approval or Notice Required Generally. Notwithstanding any prior
           order of the Bankruptcy Court, other than with respect to Fee Claims, prior to the Effective
           Date, the Debtor, and on and after the Effective Date, the Reorganized Debtor, shall have
           the authority to compromise, settle, otherwise resolve, or withdraw any objections to
           Disputed Claims and to compromise, settle, or otherwise resolve any Disputed Claims
           without approval of the Bankruptcy Court.


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           7.3      Proofs of Claim Not Required.

                   7.3.1     Resolution of Claims.        Notwithstanding section 502(a) of the
           Bankruptcy Code, and except as otherwise set forth in the Plan, holders of Non-Talc Claims
           (other than Administrative Expense Claims and Claims arising from the rejection of
           Executory Contracts or Unexpired Leases) need not file Proofs of Claim with the
           Bankruptcy Court and shall not be subject to any claims-resolution process in the
           Bankruptcy Court in connection with their Claims. The Reorganized Debtor and the
           holders of such Claims shall determine, adjudicate, and resolve any disputes over the
           validity and amounts of such Claims as if the Chapter 11 Case had not been commenced.

                  7.3.2       Deemed Withdrawal of Claims. Except for Proofs of Claim in respect
           of Administrative Claims and Claims arising from the rejection of Executory Contracts or
           Unexpired Leases, upon the Effective Date, any filed Non-Talc Claim, regardless of the
           time of filing, and including Claims filed after the Effective Date, shall be deemed
           withdrawn without prejudice to (i) the treatment of such Claim in the Plan; and (ii) each
           holder’s rights under this Section 7.3.2 to assert their Claims in any proper forum as though
           the Chapter 11 Case had not been commenced.

          7.4     No Distributions Pending Allowance. No Distributions or other consideration shall
   be paid with respect to any Claim that is a Disputed Claim unless and until all objections to such
   Disputed Claim are resolved by agreement or Final Order and such Disputed Claim becomes an
   Allowed Claim.

           7.5    Distributions on Account of Disputed Claims. At such time as determined to be
   practicable by the Reorganized Debtor, the Disbursing Agent will make Distributions on account
   of any Disputed Claim that has become Allowed. Such Distributions will be made pursuant to the
   applicable provisions of Article VI; provided, however, that Distributions on account of Allowed
   Fee Claims shall be made as provided in Article II.

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           8.1    Conditions Precedent to the Confirmation of the Plan. Confirmation of the Plan
   shall not occur unless each of the following conditions has been satisfied or waived pursuant to
   Section 8.3:

                         (a)     The Bankruptcy Court shall have entered an order, in form and
           substance reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel, and
           the FCR approving the Disclosure Statement as containing adequate information within the
           meaning of section 1125 of the Bankruptcy Code.

                           (b)    Class 4 shall have voted in requisite numbers and amounts in favor
           of the Plan as required by sections 524(g), 1126, and 1129 of the Bankruptcy Code.

                         (c)    The Plan and, if applicable, any Plan Supplements, including any
           schedules, documents, supplements, and exhibits thereto, shall be (i) in form and substance

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           reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel, and the FCR
           and (ii) consistent with section 524(g) of the Bankruptcy Code, as applicable.

                         (d)     The Confirmation Order shall:

                                 (i)     have been entered;

                                (ii)     be in form and substance reasonably acceptable to the
                         Debtor, J&J, the AHC of Supporting Counsel, and the FCR; and

                                (iii)   provide for the Injunctions in form and substance
                         reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel,
                         and the FCR.

                          (e)    The Bankruptcy Court and the District Court acting jointly or the
           Bankruptcy Court acting separately but affirmed by the District Court shall have made the
           following findings, each of which shall be contained in the Confirmation Order:

                                 (i)     The Channeling Injunction and the Insurance Entity
                         Injunction are to be implemented in connection with the Plan and the Talc
                         Personal Injury Trust.

                                  (ii)    (A) As of the Effective Date, the Talc Personal Injury Trust
                         shall assume all liability and responsibility, financial and otherwise, for all
                         Channeled Talc Personal Injury Claims and (B) subject to the delivery,
                         transfer, or assignment, as applicable, to the Talc Personal Injury Trust of
                         the Cash Contributions, Talc PI Note, Talc Pledge Agreement,
                         Imerys/Cyprus Related Rights (if the provisions of Section 4.9.3 and
                         Section 5.9.1 are applicable), and Talc Insurance Assets pursuant to
                         Section 4.9, from and after the Effective Date, no Protected Party (other
                         than, if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, any
                         Imerys/Cyprus Party for claims based on, arising out of, or in any way
                         relating to the Imerys/Cyprus Related Rights, as applicable) shall have any
                         liability or responsibility, financial or otherwise, for any Channeled Talc
                         Personal Injury Claims.

                                (iii)    As of the Petition Date, the Debtor (as a successor to LLT
                         and Old JJCI) had been named as a defendant in personal injury or wrongful
                         death actions seeking recovery for damages allegedly caused by the
                         presence of, or exposure to, asbestos or asbestos-containing products.

                                 (iv)     The Talc Personal Injury Trust shall be funded in whole or
                         in part by securities of the Reorganized Debtor and by the obligation of the
                         Reorganized Debtor to make future payments.

                                 (v)     The Talc Personal Injury Trust, by the exercise of rights
                         granted under the Plan, would be entitled to own, if specified contingencies
                         occur, a majority of the voting shares of the Reorganized Debtor.

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                           (vi)   The Talc Personal Injury Trust shall use its assets or income
                    to pay Channeled Talc Personal Injury Claims, including Talc Personal
                    Injury Demands.

                           (vii)    As to Talc Personal Injury Demands:

                                   (A)    The Debtor is likely to be subject to substantial future
                           Talc Personal Injury Demands for payment arising out of the same
                           or similar conduct or events that gave rise to the Talc Personal Injury
                           Claims that are addressed by the Channeling Injunction and the
                           Insurance Entity Injunction.

                                  (B)     The actual amounts, numbers, and timing of future
                           Talc Personal Injury Demands cannot be determined.

                                  (C)     Pursuit of Talc Personal Injury Demands outside the
                           procedures prescribed by the Plan and the Plan Documents,
                           including the Trust Distribution Procedures, is likely to threaten the
                           Plan’s purpose to deal equitably with Talc Personal Injury Claims
                           and Talc Personal Injury Demands.

                            (viii) The terms of the Channeling Injunction and the Insurance
                    Entity Injunction, including any provisions barring actions against third
                    parties pursuant to section 524(g)(4)(A) of the Bankruptcy Code, are set out
                    in the Plan and in the Disclosure Statement.

                            (ix)     The Plan establishes a separate class of the claimants whose
                    claims are to be addressed by the Talc Personal Injury Trust which class has
                    voted, by at least 75% of those voting, to accept the Plan.

                            (x)      Pursuant to court orders or otherwise, the Talc Personal
                    Injury Trust shall operate through mechanisms, such as structured, periodic,
                    or supplemental payments, pro rata distributions, matrices, or periodic
                    review of estimates of the numbers and values of Channeled Talc Personal
                    Injury Claims, or other comparable mechanisms, that provide reasonable
                    assurance that the Talc Personal Injury Trust shall value, and be in a
                    financial position to pay, Channeled Talc Personal Injury Claims, including
                    Talc Personal Injury Demands, that involve similar claims in substantially
                    the same manner.

                           (xi)     Each Protected Party is:

                                   (A)     identifiable from the terms of the Channeling
                           Injunction and the Insurance Entity Injunction by name or as part of
                           an identifiable group and is or may be alleged to be directly or
                           indirectly liable for the conduct of, claims against, or demands on
                           the Debtor to the extent that such alleged liability arises by reason
                           of one or more of the following:

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                                       (I)     such Person’s ownership of a financial
                               interest in the Debtor or the Reorganized Debtor, a past or
                               present affiliate of the Debtor or the Reorganized Debtor, or
                               a predecessor in interest of the Debtor or the Reorganized
                               Debtor (including Old JJCI);

                                      (II)    such Person’s involvement in the
                               management of the Debtor or the Reorganized Debtor or a
                               predecessor in interest of the Debtor or the Reorganized
                               Debtor (including Old JJCI);

                                       (III) such Person’s service as an officer, director,
                               manager, or employee of the Debtor or the Reorganized
                               Debtor, a past or present affiliate of the Debtor or the
                               Reorganized Debtor, a predecessor in interest of the Debtor
                               or the Reorganized Debtor (including Old JJCI), or a Person
                               that owns or at any time has owned a financial interest in the
                               Debtor or the Reorganized Debtor, a past or present affiliate
                               of the Debtor or the Reorganized Debtor or a predecessor in
                               interest of the Debtor or the Reorganized Debtor (including
                               Old JJCI);

                                       (IV) such Person’s provision of insurance to the
                               Debtor or the Reorganized Debtor, a past or present affiliate
                               of the Debtor or the Reorganized Debtor, a predecessor in
                               interest of the Debtor or the Reorganized Debtor (including
                               Old JJCI), or a Person that owns or at any time has owned a
                               financial interest in the Debtor or the Reorganized Debtor, a
                               past or present affiliate of the Debtor or the Reorganized
                               Debtor, or a predecessor in interest of the Debtor or the
                               Reorganized Debtor (including Old JJCI); or

                                       (V)     such Person’s involvement in a transaction
                               changing the corporate structure (including the 2021
                               Corporate Restructuring and the Prepetition Corporate
                               Restructuring), or in a loan or other financial transaction
                               affecting the financial condition, of the Debtor or the
                               Reorganized Debtor, a past or present affiliate of the Debtor
                               or the Reorganized Debtor, a predecessor in interest of the
                               Debtor or the Reorganized Debtor (including Old JJCI), or
                               any Person that owns or at any time has owned a financial
                               interest in the Debtor or the Reorganized Debtor, a past or
                               present affiliate of the Debtor or the Reorganized Debtor, or
                               a predecessor in interest of the Debtor or the Reorganized
                               Debtor (including Old JJCI), including (1) involvement in
                               providing financing (debt or equity) or advice to a Person
                               involved in such a transaction or (2) acquiring or selling a

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                                   financial interest in any Person as part of such transaction;
                                   and/or

                                  (B)   otherwise entitled to the Channeling Injunction
                           pursuant to section 1123(b)(6) and/or section 105(a) of the
                           Bankruptcy Code.

                            (xii)    The FCR was appointed as part of the proceedings leading
                    to issuance of the Channeling Injunction and the Insurance Entity Injunction
                    for the purpose of protecting the rights of all Persons, whether known or
                    unknown, that might subsequently assert, directly or indirectly, against the
                    Debtor a Talc Personal Injury Demand that is addressed in the Channeling
                    Injunction and the Insurance Entity Injunction and channeled to the Talc
                    Personal Injury Trust.

                            (xiii) Identifying each Protected Party (by name or as part of an
                    identifiable group, as applicable) in the Channeling Injunction and the
                    Insurance Entity Injunction is fair and equitable with respect to individuals
                    that might assert Talc Personal Injury Demands against each such Protected
                    Party, in light of the benefits provided, or to be provided, to the Talc
                    Personal Injury Trust by or on behalf of any such Protected Party.

                            (xiv) The Plan and the Plan Documents comply with
                    section 524(g) of the Bankruptcy Code in all respects, and the Talc Personal
                    Injury Trust Documents are fully consistent with the Plan.

                           (xv)     The Plan, including the Channeling Injunction and the
                    Insurance Entity Injunction, and the other Plan Documents are a fair,
                    equitable, and reasonable resolution of the liability of the Debtor for the
                    Channeled Talc Personal Injury Claims, including Talc Personal Injury
                    Demands that are Channeled Talc Personal Injury Claims.

                            (xvi) The FCR has adequately and completely fulfilled her
                    duties, responsibilities, and obligations as the representative for any and all
                    persons who may assert Talc Personal Injury Demands in the future, but
                    who are currently unknown, in accordance with section 524(g) of the
                    Bankruptcy Code.

                            (xvii) Adequate and sufficient notice of the Plan and the
                    Confirmation Hearing, as well as all deadlines for objecting to the Plan, has
                    been given to: (A) all known creditors and holders of Interests; (B) parties
                    that requested notice in accordance with Bankruptcy Rule 2002 (including
                    the TCC and the FCR); (C) all parties to Unexpired Leases and Executory
                    Contracts with the Debtor; (D) all taxing authorities listed on the Debtor’s
                    Schedules or in the Debtor’s Claims database; (E) the Department of the
                    Treasury by service upon the District Director of the IRS; (F) state attorneys
                    general and state departments of revenue for states in which the Debtor has

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                    conducted business; and (G) the Securities and Exchange Commission; in
                    each case, (I) in accordance with the solicitation procedures governing such
                    service and (II) in substantial compliance with Bankruptcy Rules 2002(b),
                    3017, and 3020(b). Such transmittal and service were adequate and
                    sufficient to bind, among other parties, each holder of a Channeled Talc
                    Personal Injury Claim, and each party represented by the FCR, and no other
                    or further notice is or shall be required.

                            (xviii) Each holder of a Channeled Talc Personal Injury Claim and
                    each party represented by the TCC or the FCR has been afforded due
                    process based on the notice referenced in clause (xvii) above, the
                    appointment of the TCC and the FCR, and the Plan’s compliance with
                    section 524(g) of the Bankruptcy Code.

                            (xix) If the provisions of Section 4.9.3 and Section 5.9.1 are
                    applicable, the Bankruptcy Code authorizes the transfer and assignment of
                    the Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                    Personal Injury Trust pursuant to Section 4.9.3, and from and after the
                    transfer and assignment of the Imerys/Cyprus Related Rights by the
                    Reorganized Debtor to the Talc Personal Injury Trust, no Imerys/Cyprus
                    Party may assert under any Imerys/Cyprus Agreement or otherwise (i) any
                    defense that the Plan or any other Plan Document does not comply with the
                    Bankruptcy Code or (ii) any defense that the transfer and assignment of the
                    Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                    Personal Injury Trust pursuant to Section 4.9.3, or any other action
                    contemplated by Section 4.9.3, is prohibited by any Imerys/Cyprus
                    Agreement or by applicable non-bankruptcy law.

                            (xx)    The Bankruptcy Code authorizes the transfer and
                    assignment of the Talc Insurance Assets by the Reorganized Debtor to the
                    Talc Personal Injury Trust pursuant to Section 4.9.4, and from and after the
                    transfer and assignment of the Talc Insurance Assets to the Talc Personal
                    Injury Trust pursuant to Section 4.9.4, no Talc Insurance Company may
                    assert under any Talc Insurance Policy or Talc Insurance Settlement
                    Agreement (i) any defense that the Plan or any other Plan Document does
                    not comply with the Bankruptcy Code or (ii) any defense that the transfer
                    and assignment of the Talc Insurance Assets by the Reorganized Debtor to
                    the Talc Personal Injury Trust pursuant to Section 4.9.4, or any other action
                    contemplated by Section 4.9.4, is prohibited by any Talc Insurance Policy
                    or Talc Insurance Settlement Agreement or by applicable non-bankruptcy
                    law.

                           (xxi) Neither the Plan nor any other Plan Document, including
                    the Trust Distribution Procedures, creates any right or obligation under Case
                    Management Order No. 7(A) entered by the United States District Court for
                    the District of New Jersey in the multidistrict litigation In re: Johnson &
                    Johnson Talcum Powder Products Marketing, Sales Practices and Products

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                          Liability Litigation, Civil Action No. 3:16-md-02738, that would permit or
                          require the Debtor or the Reorganized Debtor to withhold any amounts from
                          payments made by it under the Plan or any other Plan Document to or for
                          the benefit of the Talc Personal Injury Trust to account for any common
                          benefit assessments thereunder or to make any payment to the common
                          benefit fund account established pursuant thereto.

                          (f)    The Bankruptcy Court and the District Court, as required, shall have
           entered an order approving the Channeling Injunction and the Insurance Entity Injunction,
           which order may be included in the Confirmation Order and which order shall be in form
           and substance reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel,
           and the FCR.

          8.2     Conditions Precedent to the Effective Date of the Plan. Notwithstanding any other
   provision of the Plan or the Confirmation Order, the Effective Date of the Plan shall not occur
   unless and until each of the following conditions has been satisfied or waived pursuant to
   Section 8.3:

                          (a)    The Confirmation Order in form and substance reasonably
           acceptable to the Debtor, J&J, the AHC of Supporting Counsel, and the FCR shall have
           been entered, and shall have become a Final Order.

                          (b)     An order shall have been entered by the Bankruptcy Court and the
           District Court acting jointly or by the District Court affirming an order entered separately
           by the Bankruptcy Court approving the Channeling Injunction and the Insurance Entity
           Injunction and authorizing the Debtor and the Reorganized Debtor to implement the Plan,
           which order may be included in the Confirmation Order and which order shall be in form
           and substance reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel,
           and the FCR and shall have become a Final Order.

                          (c)    The Confirmation Order, the Channeling Injunction, and the
           Insurance Entity Injunction shall be in full force and effect, and no order shall be in effect
           staying or enjoining the implementation or enforcement of the Plan, the Confirmation
           Order, the Channeling Injunction, or the Insurance Entity Injunction.

                           (d)    The Talc Personal Injury Trust Defenses, Cash Contribution (to the
           extent payable on the Effective Date), Talc PI Note, Talc PI Pledge Agreement,
           Imerys/Cyprus Related Rights (if the provisions of Section 4.9.3 and Section 5.9.1 are
           applicable), and Trust Insurance Assets shall, simultaneously with the occurrence of the
           Effective Date or as otherwise provided herein, be delivered, transferred, and assigned, as
           applicable, to the Talc Personal Injury Trust in accordance with Article IV.

                           (e)    The Talc Personal Injury Trust Agreement (and related documents)
           and the other applicable Plan Documents (including those attached to any Plan
           Supplement) necessary or appropriate to implement the Plan shall have been executed,
           delivered, and, where applicable, filed with the appropriate governmental units in form and



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           substance reasonably acceptable to the Debtor, J&J, the AHC of Supporting Counsel, and
           the FCR, and shall be fully enforceable in accordance with their terms.

                         (f)       The fees of the United States Trustee then owed by the Debtor shall
           have been paid in full.

   The Effective Date shall occur as of 12:01 a.m., prevailing Central Time, on the date that the
   Debtor or Reorganized Debtor files a notice with the Bankruptcy Court stating that the Effective
   Date has occurred because each of the conditions to the Effective Date has been satisfied or waived
   pursuant to Section 8.3.

           8.3     Waiver of Conditions Precedent. To the greatest extent permitted by law, each of
   the conditions precedent in this Article VIII may be waived or modified, in whole or in part, by
   the Debtor (with the consent of (a) in the event such waiver or modification affects the rights of
   J&J expressly contained herein, J&J, (b) in the event such waiver or modification affects the rights
   of the AHC of Supporting Counsel expressly contained herein, the AHC of Supporting Counsel,
   and (c) in the event such waiver or modification affects the rights of the FCR expressly contained
   herein, the FCR). Any waiver or modification of a condition precedent under this Section 8.3 may
   be effected at any time, without notice, without leave or order of the Bankruptcy Court or District
   Court, and without any other formal action. Confirmation and the Effective Date shall occur
   irrespective of whether any Claims allowance process or related litigation has been completed.

           8.4     Notice of Effective Date. The Debtor shall file with the Bankruptcy Court the
   notice contemplated by Section 8.2 within five (5) Business Days after each of the conditions
   precedent to the Effective Date of the Plan set forth therein has been satisfied or waived pursuant
   to Section 8.3.

           8.5     Effect of Nonoccurrence of Conditions Precedent to the Effective Date of the Plan.
   If any of the conditions precedent to the Effective Date of the Plan set forth in Section 8.2 has not
   been satisfied or duly waived in accordance with Section 8.3, then, upon motion by the Debtor
   made before the time that each of such conditions precedent has been satisfied or duly waived and
   upon notice to such parties in interest as the Bankruptcy Court may direct, the Confirmation Order
   shall be vacated by the Bankruptcy Court; provided, however, that, notwithstanding the filing of
   such motion, the Confirmation Order may not be vacated if each of the conditions precedent set
   forth in Section 8.2 is either satisfied or duly waived before the Bankruptcy Court enters an order
   granting such motion. If the Confirmation Order is vacated pursuant to this Section 8.5: (a) the
   Plan shall be null and void in all respects, including with respect to the discharge of Claims; and
   (b) nothing contained in the Plan shall (i) constitute a waiver or release of any Claims by or against,
   or any Interest in, the Debtor or (ii) prejudice in any manner the rights, including any claims or
   defenses, of the Debtor or any other Person.

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          9.1     General. On or after the Confirmation Date, the Debtor shall be empowered and
   authorized to take or cause to be taken, prior to the Effective Date, all actions necessary or
   appropriate to achieve the Effective Date and enable the Reorganized Debtor to implement

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   effectively the provisions of the Plan, the Talc Personal Injury Trust Documents, and the
   Confirmation Order, including the creation of the Talc Personal Injury Trust and the preparations
   for the delivery, transfer, and assignment of assets to the Talc Personal Injury Trust pursuant to
   Article IV.

          9.2     Operations of the Debtor Prior to the Effective Date. The Debtor shall continue to
   operate as debtor and debtor-in-possession through and until the Effective Date.

           9.3    Articles of Organization and Operating Agreement. From and after the Effective
   Date, the Reorganized Debtor shall be governed pursuant to the Amended Charter Documents.
   The Amended Articles of Organization and the Amended Operating Agreement shall contain such
   provisions as are necessary to satisfy the provisions of the Plan and, to the extent necessary to
   prohibit the issuance of non-voting equity securities as required by section 1123(a)(6) of the
   Bankruptcy Code, subject to further amendment of the Amended Charter Documents after the
   Effective Date, as permitted by applicable law.

           9.4     Corporate Action. On the Effective Date, the matters under the Plan involving or
   requiring corporate action of the Debtor or Reorganized Debtor, including actions requiring a vote
   of the board of managers and execution of all documentation incident to the Plan, shall be deemed
   to have been authorized by the Confirmation Order and to have occurred and be in effect from and
   after the Effective Date without any further action by the Bankruptcy Court or the officers or
   managers of the Debtor or Reorganized Debtor.

           9.5     Authority of Officers. Each officer of the Debtor and the Reorganized Debtor shall
   be authorized and empowered to execute, deliver, file, or record such contracts, instruments,
   releases, and other agreements and documents and take such other actions as may be necessary or
   appropriate to effect and implement the provisions of the Plan. The secretary or any assistant
   secretary of the Debtor or the Reorganized Debtor shall be authorized to certify or attest to any of
   the actions taken pursuant to this Section 9.5.

           9.6      Post-Effective Date Governance; Continued Existence of the Reorganized Debtor.

                   9.6.1      General. The Reorganized Debtor shall continue its existence as a
           separate entity after the Effective Date, with all the powers thereof, pursuant to the
           applicable law in the jurisdiction in which the Reorganized Debtor is formed and pursuant
           to the Amended Charter Documents and any other formation documents in effect following
           the Effective Date, and such documents are deemed to be adopted pursuant to the Plan and
           require no further action or approval.

                   9.6.2      Officers and Managers. On the Effective Date, the officers and
           managers of the Reorganized Debtor then in office shall continue to serve in such
           capacities, subject to the terms of the Amended Charter Documents and any other
           formation document in effect following the Effective Date.

                   9.6.3       Property and Operations. On the Effective Date, all property of the
            Debtor’s Estate other than the assets delivered, transferred, or assigned to the Talc Personal
            Injury Trust pursuant to Article IV, including any property acquired by the Debtor or the
            Reorganized Debtor pursuant to the Plan, shall vest in the Reorganized Debtor, free and
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            clear of all Claims, interests, liens, other Encumbrances, and liabilities of any kind except
            as otherwise expressly provided herein. On and after the Effective Date, the Reorganized
            Debtor may operate its business and may use, acquire, or dispose of property and
            compromise or settle any claims, interests, or Retained Rights of Action, without
            supervision or approval by the Bankruptcy Court, or notice to any other Person, and free
            of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

           9.7    Arrangements of the Reorganized Debtor with Managers, Officers, and Employees.
   As of the Effective Date, the Reorganized Debtor shall be authorized to: (a) maintain, amend, or
   revise existing indemnification and other arrangements with its active and retired managers and
   officers, subject to the terms and conditions of any such agreement, or enter into new
   indemnification and other arrangements with its active and retired managers and officers; and
   (b) maintain, amend, cancel, or revise the Secondment Agreement or enter into new employee
   secondment arrangements with its Affiliates; all as determined by the board of managers of the
   Reorganized Debtor.

          9.8     Good Faith Compromise and Settlement. The Plan, the other Plan Documents, and
   the Confirmation Order constitute a good faith compromise and settlement of claims and
   controversies based on the unique circumstances of this Chapter 11 Case, and none of the foregoing
   documents, the Disclosure Statement, or any other papers filed in furtherance of Plan
   Confirmation, nor any drafts of such documents, may be offered into evidence or deemed as an
   admission in any context whatsoever beyond the purposes of the Plan, in any other litigation or
   proceeding, except as necessary, and as admissible in such context, to enforce their terms before
   the Bankruptcy Court or any other court of competent jurisdiction.

           9.9      Resolution of Channeled Talc Personal Injury Claims. Channeled Talc Personal
   Injury Claims shall be channeled to and resolved by the Talc Personal Injury Trust in accordance
   with the Talc Personal Injury Trust Documents, subject to: (a) the right of any Talc Insurance
   Company to raise any valid Talc Insurer Coverage Defense in response to any claim, cause of
   action, or right asserted by the Talc Personal Injury Trust (acting through the Reorganized Debtor,
   as its subrogee having the exclusive right (i) to pursue and resolve any Talc In-Place Insurance
   Coverage, (ii) to pursue and resolve any Talc Insurance Action, (iii) to pursue and obtain any Talc
   Insurance Recoveries, and (iv) to negotiate and enter into any Talc Insurance Settlement
   Agreement) in respect of any Talc Insurance Assets; and (b) if the provisions of Section 4.9.3 and
   Section 5.9.1 are applicable, the right of any Imerys/Cyprus Party to raise any valid Imerys/Cyprus
   Defense in response to any claim, cause of action, or right asserted by the Talc Personal Injury
   Trust in respect of any Imerys/Cyprus Related Rights.

           9.10 Cash for Cash Contributions, Distributions, and Other Payments Pursuant to the
   Plan. All Cash for the payment of Cash Contributions, Distributions, and other Cash payments to
   be made by the Reorganized Debtor pursuant to the Plan and the Talc Personal Injury Trust
   Documents shall be funded by the Reorganized Debtor. All Cash necessary for the Reorganized
   Debtor to fund the payment of such Cash Contributions, Distributions, and other Cash payments
   pursuant to the Plan and the Talc Personal Injury Trust Documents shall be obtained through:
   (a) the Reorganized Debtor’s Cash balances; (b) the Funding Agreements; or (c) such other means
   of financing or funding as determined by the board of managers of the Reorganized Debtor. On
   the Effective Date, J&J and Holdco shall execute and deliver to the Talc Personal Injury Trust the

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   Cash Contributions Guarantee as provided in Section 4.9.1(c). For the avoidance of doubt, nothing
   contained in this Section 9.10 shall in any way affect the obligations of J&J and Holdco under the
   Cash Contributions Guarantee.

           9.11     Modification of the Plan.

                   (a)     To the extent permissible under section 1127 of the Bankruptcy Code, at
   any time prior to substantial consummation of the Plan, any proposed amendments to or
   modifications of the Plan under section 1127 of the Bankruptcy Code or as otherwise permitted by
   law may be submitted by the Debtor (with the consent of (a) J&J, (b) solely to the extent that any
   proposed amendments to or modifications of the Plan materially negatively affect the rights of the
   AHC of Supporting Counsel expressly contained herein, the AHC of Supporting Counsel, and
   (c) solely to the extent that any proposed amendments to or modifications of the Plan materially
   negatively affect the rights of the FCR expressly contained herein, the FCR), without additional
   disclosure pursuant to section 1125 of the Bankruptcy Code, unless section 1127 of the Bankruptcy
   Code requires additional disclosure. In addition, and without limiting the generality of the
   foregoing, prior to the Effective Date, the Debtor may make appropriate technical adjustments and
   modifications to the Plan without further order or approval of the Bankruptcy Court, to the extent
   permissible under section 1127 of the Bankruptcy Code; provided, however, that such technical
   adjustments and modifications do not adversely affect in a material way the rights or protections
   of the Protected Parties or the treatment of holders of Claims or Interests under the Plan.

                   (b)     To the extent permissible under section 1127(b) of the Bankruptcy Code,
   following substantial consummation of the Plan, the Reorganized Debtor may remedy any defects
   or omissions or reconcile any inconsistencies in the Plan Documents for the purpose of
   implementing the Plan in such manner as may be necessary or appropriate to carry out the purposes
   and intent of the Plan.

                (c)    From and after the Effective Date, any holder of a Claim or Interest that has
   accepted the Plan shall be deemed to have accepted the Plan as amended, modified, or
   supplemented pursuant to this Section 9.11, unless the Bankruptcy Court rules otherwise.

          9.12 Revocation or Withdrawal of the Plan. The Debtor reserves the right to revoke and
   withdraw the Plan (with the consent of J&J) at any time before its substantial consummation. If
   the Debtor revokes or withdraws the Plan, the Plan shall be deemed null and void and nothing
   contained herein shall be deemed to constitute a waiver or release of any claims by or against the
   Debtor, or any other Person, or to prejudice in any manner the rights of the Debtor, or any other
   Person, in any further proceedings involving the Debtor until the occurrence of the Effective Date.
   For the avoidance of doubt, unless and until the Plan is confirmed and the Effective Date occurs,
   the Plan will have no force or effect.

           9.13 Certain Technical Modifications. Prior to the Effective Date, the Debtor may make
   appropriate technical adjustments and modifications to the Plan without further order or approval
   of the Bankruptcy Court, to the extent permissible under section 1127 of the Bankruptcy Code;
   provided, however, that such technical adjustments and modifications do not adversely affect in a
   material way the rights or protections of the Protected Parties or the treatment of holders of Claims
   or Interests under the Plan.

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           10.1     Preservation of Rights of Action by the Debtor and the Reorganized Debtor.

                   10.1.1     Retained Rights of Action. The Reorganized Debtor shall retain and
           may enforce, prosecute or settle, and shall have the sole right to enforce, prosecute or settle,
           the Retained Rights of Action. The Reorganized Debtor or its successors may pursue or
           resolve such Retained Rights of Action, as appropriate in accordance with the best interests
           of the Reorganized Debtor or its successors holding such Retained Rights of Action. The
           Reorganized Debtor’s rights under this Section 10.1.1 shall be preserved notwithstanding
           the occurrence of the Effective Date.

                   10.1.2     Reservation of Rights. No Person may rely on the absence of a specific
           reference in the Plan, any Plan Supplement, or the Disclosure Statement to any Retained
           Rights of Action against them as any indication that the Reorganized Debtor will not pursue
           the Retained Rights of Action. The Reorganized Debtor expressly reserves all rights to
           prosecute any and all Retained Rights of Action. Unless any of the Retained Rights of
           Action against a Person are expressly waived, relinquished, exculpated, released,
           compromised, or settled in the Plan or a Bankruptcy Court order, the Reorganized Debtor
           expressly reserves all such Retained Rights of Action for later adjudication, and, therefore,
           no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
           preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall
           apply to such Retained Rights of Action as a consequence of the Confirmation of the Plan.

                  10.1.3      Retained Defenses. Without limiting the generality of the foregoing,
           upon the Effective Date, except as expressly provided in Article IV with respect to Talc
           Personal Injury Trust Defenses, Imerys/Cyprus Related Rights (if the provisions of
           Section 4.9.3 and Section 5.9.1 are applicable), and Talc Insurance Assets, the Reorganized
           Debtor shall retain and enforce all defenses and counterclaims to all Claims that were or
           could have been asserted against the Debtor or its Estate, including setoff, recoupment, and
           any rights under section 502(d) of the Bankruptcy Code.

                   10.1.4    No Approval Required. On or after the Effective Date, subject to
           Article IV with respect to Talc Personal Injury Trust Defenses, Imerys/Cyprus Related
           Rights (if the provisions of Section 4.9.3 and Section 5.9.1 are applicable), and Talc
           Insurance Assets, the Reorganized Debtor may pursue, settle, or withdraw, without
           Bankruptcy Court approval, claims, rights, or causes of action as it determines in
           accordance with its best interests.

           10.2     Imerys/Cyprus Matters.

                   10.2.1     Imerys/Cyprus Related Rights. If the provisions of Section 4.9.3 and
           Section 5.9.1 are applicable, the provisions of this Section 10.2.1 shall apply to all Persons
           (including the Imerys/Cyprus Parties):

                         (a)    Preservation of Imerys/Cyprus Related Rights. All Imerys/Cyprus
           Related Rights, and all claims, causes of action, and rights in respect thereof, shall be
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           preserved notwithstanding anything to the contrary contained in the Plan or the
           Confirmation Order. For the avoidance of doubt, nothing in the Plan or the Confirmation
           Order shall discharge, settle, release, enjoin, or otherwise impair any claim against any
           Imerys/Cyprus Party based on, arising out of, or in any way relating to the Imerys/Cyprus
           Related Rights.

                          (b)    Actions in Respect of Imerys/Cyprus Related Rights From and After
           the Effective Date.

                                 (i)      Upon the transfer and assignment of the Imerys/Cyprus
                          Related Rights by the Reorganized Debtor to the Talc Personal Injury Trust
                          pursuant to Section 4.9.3 on the Effective Date or, if later, the
                          Imerys/Cyprus Settlement Termination Date, the Imerys/Cyprus Related
                          Rights shall exclusively vest in the Talc Personal Injury Trust in accordance
                          with section 1123(a)(5)(B) of the Bankruptcy Code.

                                   (ii)   From and after the transfer and assignment of the
                          Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                          Personal Injury Trust pursuant to Section 4.9.3 on the Effective Date or, if
                          later, the Imerys/Cyprus Settlement Termination Date, the Talc Personal
                          Injury Trust shall retain the Imerys/Cyprus Related Rights, and all claims,
                          causes of action, and rights in respect thereof, as the appointed estate
                          representative in accordance with section 1123(b)(3)(B) of the Bankruptcy
                          Court.

                                   (iii)  From and after the transfer and assignment of the
                          Imerys/Cyprus Related Rights by the Reorganized Debtor to the Talc
                          Personal Injury Trust pursuant to Section 4.9.3 on the Effective Date or, if
                          later, the Imerys/Cyprus Settlement Termination Date, the Talc Personal
                          Injury Trust shall have the exclusive right to pursue and resolve the
                          Imerys/Cyprus Related Rights.

                          (c)    No Impairment of Rights or Obligations of Imerys/Cyprus Parties.

                                  (i)       Nothing contained in the Plan, the Plan Documents, or the
                          Confirmation Order, including any provision that purports to be preemptory
                          or supervening, shall in any way operate to, or have the effect of, impairing,
                          altering, supplementing, changing, expanding, decreasing, or modifying the
                          rights or obligations of any Imerys/Cyprus Party or the Debtor or any
                          Debtor Corporate Party arising out of or under any Imerys/Cyprus
                          Agreement. For all issues relating to indemnity rights of the Debtor,
                          including the venue and choice-of-law rules for resolving disputes relating
                          thereto, the provisions, terms, conditions, and limitations of the
                          Imerys/Cyprus Agreements shall control. For the avoidance of doubt,
                          nothing contained in the Plan, the Plan Documents, or the Confirmation
                          Order shall operate to require any Imerys/Cyprus Party to indemnify or pay
                          the liability of any other Protected Party that it would not have been required

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                          to pay in the absence of the Plan, or to impose any requirement for an
                          Imerys/Cyprus Party to mount the defense of any claim, indemnify any
                          claim, or otherwise undertake any action that an Imerys/Cyprus Party would
                          not have been required to take in the absence of the Plan.

                                  (ii)     The Plan, the Plan Documents, the Confirmation Order, and
                          all proceedings, determinations, and findings in, of, or by the Bankruptcy
                          Court are neutral with respect to, and have no effect on, the rights, defenses,
                          and obligations of the Debtor, the Debtor Corporate Parties, the
                          Imerys/Cyprus Parties, and the Talc Personal Injury Trust under the
                          Imerys/Cyprus Agreements. Nothing in the Chapter 11 Case shall be
                          construed otherwise or be used as evidence to support or suggest a
                          construction to the contrary.

                          (d)     Plan Binding on Imerys/Cyprus Parties. The Plan, the Plan
           Documents, and the Confirmation Order shall be binding on the Imerys/Cyprus Parties;
           provided, however, that, except as provided in Section 10.2.1(e), none of (a) the
           Bankruptcy Court’s approval of the Plan or the Plan Documents, (b) the Confirmation
           Order or any findings and conclusions entered with respect to Confirmation, nor (c) any
           estimation or valuation of Talc Personal Injury Claims, either individually or in the
           aggregate (including any agreement as to the valuation of Talc Personal Injury Claims) in
           the Chapter 11 Case shall, with respect to the Imerys/Cyprus Parties, constitute a trial or
           hearing on the merits or an adjudication, judgment, finding, conclusion, or other
           determination, or be used as evidence of or suggestion regarding the rights and obligations
           of any Imerys/Cyprus Party under any Imerys/Cyprus Agreement.

                            (e)    Issues Actually Litigated by Imerys/Cyprus Parties. Nothing in this
           Section 10.2.1 is intended or shall be construed to preclude otherwise applicable principles
           of res judicata or collateral estoppel from being applied against the Imerys/Cyprus Parties
           with respect to any issue that is actually litigated by any of them as part of its objections,
           if any, to Confirmation of the Plan or as part of any contested matter or adversary
           proceeding filed by any Imerys/Cyprus Party in connection with or related to Confirmation
           of the Plan; provided, however, that any Plan objection that an Imerys/Cyprus Party
           withdraws prior to the conclusion of the Confirmation Hearing (or a finding that an
           Imerys/Cyprus Party lacks standing to litigate or is otherwise unable to or chooses not to
           litigate at or before the Confirmation Hearing) shall be deemed not to have been actually
           litigated. The resolution of any related objection raised by other parties and any related
           findings or determinations (other than those contemplated by Section 8.1(e)(xix)) shall not
           be offered for evidentiary purposes nor be binding on any Imerys/Cyprus Party in any way
           or otherwise prejudice, impair, or affect (under principles of preclusion, waiver, estoppel,
           or otherwise) an Imerys/Cyprus Party’s legal, equitable, or contractual rights or
           obligations. No Imerys/Cyprus Party shall be bound, prejudiced, impaired, or affected
           (under principles of preclusion, waiver, estoppel, or otherwise) by the fact that an
           Imerys/Cyprus Party withdrew, chose to withdraw, or did not press any objection or
           argument before or after Confirmation.



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                    10.2.2     Imerys/Cyprus Settlement. If the Imerys/Cyprus Settlement Closing
           Date occurs, whether prior to, on, or following the Effective Date, nothing in the Plan or
           any other Plan Document will prevent a holder of a Channeled Talc Personal Injury Claim
           from recovering from both (a) the Talc Personal Injury Trust in respect of his, her, or its
           Channeled Talc Personal Injury Claim and (b) any trust established pursuant to any plan
           of reorganization that becomes effective in any chapter 11 case of Imerys, Cyprus, or any
           of their respective Affiliates (or the estates thereof) in respect of talc-related personal injury
           claims against Imerys, Cyprus, and/or any of their respective Affiliates, so long as the
           Imerys/Cyprus Settlement (including the releases contemplated thereby) is effective and,
           in the case of recovery from a trust established pursuant to any such plan of reorganization,
           such plan of reorganization is consistent with the Imerys/Cyprus Settlement (including the
           releases contemplated thereby).

           10.3 Talc Insurance Assets. The provisions of this Section 10.3 shall apply to all Persons
   (including all Talc Insurance Companies).

                    10.3.1      Preservation of Talc Insurance Assets. All Talc Insurance Assets, and
           all claims, causes of action, and rights in respect thereof, shall be preserved
           notwithstanding anything to the contrary contained in the Plan or the Confirmation Order.
           For the avoidance of doubt, nothing in the Plan or the Confirmation Order shall discharge,
           settle, release, enjoin, or otherwise impair any claim against any Talc Insurance Company
           based on, arising out of, or in any way relating to the Talc Insurance Assets.

                   10.3.2      Actions in Respect of Talc Insurance Assets From and After the
           Effective Date.

                          (a)    Upon the transfer and assignment of the Talc Insurance Assets by
           the Reorganized Debtor to the Talc Personal Injury Trust pursuant to Section 4.9.4 on the
           Effective Date, subject to the provisions of Section 4.9.4 and the Cooperation Agreement,
           the Talc Insurance Assets shall exclusively vest in the Talc Personal Injury Trust in
           accordance with section 1123(a)(5)(B) of the Bankruptcy Code;

                           (b)     From and after the transfer and assignment of the Talc Insurance
           Assets by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
           Section 4.9.4 on the Effective Date, subject to the provisions of Section 4.9.4 and the
           Cooperation Agreement, the Talc Personal Injury Trust shall retain the Talc Insurance
           Assets, and all claims, causes of action, and rights in respect thereof, as the appointed estate
           representative in accordance with section 1123(b)(3)(B) of the Bankruptcy Court; and

                          (c)     From and after the transfer and assignment of the Talc Insurance
           Assets by the Reorganized Debtor to the Talc Personal Injury Trust pursuant to
           Section 4.9.4 on the Effective Date, pursuant to the provisions of Section 4.9.4 and the
           Cooperation Agreement: (i) the Reorganized Debtor, as the subrogee of the Talc Personal
           Injury Trust, shall have the exclusive right (A) to pursue and resolve any Talc In-Place
           Insurance Coverage, (B) to pursue and resolve any Talc Insurance Action, (C) to pursue
           and obtain any Talc Insurance Recoveries, and (D) to negotiate and enter into any Talc
           Insurance Settlement Agreement; and (ii) any of the following received by the Talc

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           Personal Injury Trust shall be delivered to, and retained by, the Reorganized Debtor: (A)
           all proceeds of Talc In-Place Insurance Coverage; (B) all proceeds or benefits of any Talc
           Insurance Action; and (C) all amounts payable pursuant to any Talc Insurance Settlement
           Agreement. For the avoidance of doubt, nothing in the Plan, the Plan Documents, or the
           Confirmation Order shall impair or otherwise affect any rights that any Debtor Corporate
           Party may have under any Talc Insurance Policy or Talc Insurance Settlement Agreement.

                    10.3.3    No Impairment of Rights or Obligations of Talc Insurance Companies.

                           (a)     Except as provided in any Talc Insurance Settlement Agreement or
           in Section 11.2.1, nothing contained in the Plan, the Plan Documents, or the Confirmation
           Order, including any provision that purports to be preemptory or supervening, shall in any
           way operate to, or have the effect of, impairing, altering, supplementing, changing,
           expanding, decreasing, or modifying the rights or obligations of any Talc Insurance
           Company or the Debtor arising out of or under any Talc Insurance Policy. For all issues
           relating to insurance coverage, the provisions, terms, conditions, and limitations of the Talc
           Insurance Policies or Talc Insurance Settlement Agreements shall control. For the
           avoidance of doubt, nothing contained in the Plan, the Plan Documents, or the
           Confirmation Order shall operate to require any Talc Insurance Company to indemnify or
           pay the liability of any Protected Party that it would not have been required to pay in the
           absence of the Plan.

                          (b)     The Plan, the Plan Documents, the Confirmation Order, and all
           proceedings, determinations, and findings in, of, or by the Bankruptcy Court are neutral
           with respect to, and have no effect on, the rights, defenses, and obligations of the Debtor,
           the Talc Insurance Companies, and the Talc Personal Injury Trust under the Talc Insurance
           Policies. Nothing in the Chapter 11 Case shall be construed otherwise or be used as
           evidence to support or suggest a construction to the contrary.

                   10.3.4     Plan Binding on Talc Insurance Companies. The Plan, the Plan
           Documents, and the Confirmation Order shall be binding on the Talc Insurance Companies;
           provided, however, that, except as provided in Section 10.3.6, none of (a) the Bankruptcy
           Court’s approval of the Plan or the Plan Documents, (b) the Confirmation Order or any
           findings and conclusions entered with respect to Confirmation, nor (c) any estimation or
           valuation of Talc Personal Injury Claims, either individually or in the aggregate (including
           any agreement as to the valuation of Talc Personal Injury Claims) in the Chapter 11 Case
           shall, with respect to any Talc Insurance Company, constitute a trial or hearing on the
           merits or an adjudication, judgment, finding, conclusion, or other determination, or be used
           as evidence of or suggestion regarding the rights and obligations of any Talc Insurance
           Company under any Talc Insurance Policy.

                   10.3.5      Plan Protections of Settling Talc Insurance Companies. No provision
           of the Plan, other than those provisions contained in the applicable Injunctions set forth in
           Article XI, shall be interpreted to affect or limit the protections afforded to any Settling
           Talc Insurance Company by the Channeling Injunction or the Insurance Entity Injunction.



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                    10.3.6     Issues Actually Litigated by the Talc Insurance Companies. Nothing in
           this Section 10.3 is intended or shall be construed to preclude otherwise applicable
           principles of res judicata or collateral estoppel from being applied against any Talc
           Insurance Company with respect to any issue that is actually litigated by such Talc
           Insurance Company as part of its objections, if any, to Confirmation of the Plan or as part
           of any contested matter or adversary proceeding filed by such Talc Insurance Company in
           conjunction with or related to Confirmation of the Plan; provided, however, that any Plan
           objection that a Talc Insurance Company withdraws prior to the conclusion of the
           Confirmation Hearing (or a finding that a Talc Insurance Company lacks standing to
           litigate or is otherwise unable to or chooses not to litigate at or before the Confirmation
           Hearing) shall be deemed not to have been actually litigated. The resolution of any related
           objection raised by other parties and any related findings or determinations (other than
           those contemplated by Section 8.1(e)(xx)) shall not be offered for evidentiary purposes nor
           be binding on any Talc Insurance Company in any way or otherwise prejudice, impair, or
           affect (under principles of preclusion, waiver, estoppel, or otherwise) a Talc Insurance
           Company’s legal, equitable, or contractual rights or obligations. No Talc Insurance
           Company shall be bound, prejudiced, impaired, or affected (under principles of preclusion,
           waiver, estoppel, or otherwise) by the fact that a Talc Insurance Company withdrew, chose
           to withdraw, or did not press any objection or argument before or after Confirmation.

            10.4 Preservation of Rights of Action by the Talc Personal Injury Trust. As of the
   Effective Date, the Talc Personal Injury Trust shall be empowered to initiate, prosecute, defend,
   settle, maintain, administer, preserve, pursue, and resolve all legal actions and other proceedings
   related to any asset, liability, or responsibility of the Talc Personal Injury Trust, including
   Channeled Talc Personal Injury Claims and Talc Personal Injury Trust Defenses. Without limiting
   the foregoing, on and after the Effective Date, the Talc Personal Injury Trust shall be empowered
   to initiate, prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all such
   actions in the name of either the Debtor or the Reorganized Debtor, if deemed necessary or
   appropriate by the Talc Personal Injury Trust. The Talc Personal Injury Trust shall be responsible
   for the payment of all damages, awards, judgments, settlements, expenses, costs, fees, and other
   charges incurred subsequent to the Effective Date arising out of or in any way relating to any such
   legal action or other proceeding. This Section 10.4 shall not apply to legal actions and other
   proceedings related to (a) if the provisions of Section 4.9.3 and Section 5.9.1 are applicable, the
   Imerys/Cyprus Related Rights, which shall be pursued, resolved, and settled in accordance with
   the provisions of Section 4.9.3 and Section 10.2.1, or (b) the Talc Insurance Assets, which shall
   be pursued, resolved, and settled in accordance with the provisions of Section 4.9.3 and Section
   10.3.

           10.5     Terms of Injunctions and Automatic Stay.

                   10.5.1     General. Any and all injunctions and/or automatic stays provided for in
           or in connection with the Chapter 11 Case, whether pursuant to sections 105, 362, or any
           other provision of the Bankruptcy Code, Bankruptcy Rules, or other applicable law in
           existence immediately prior to the Confirmation Date, shall remain in full force and effect
           until the Injunctions become effective pursuant to a Final Order, and shall continue to
           remain in full force and effect thereafter as and to the extent provided by the Plan, the
           Confirmation Order, or by their own terms. In addition, on and after Confirmation, the

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           Debtor may seek such further orders as the Debtor deems necessary or appropriate to
           preserve the status quo during the time between the Confirmation Date and the Effective
           Date.

                   10.5.2      Effectiveness. Each of the Injunctions contained in the Plan or the
           Confirmation Order shall become effective on the Effective Date and shall continue in
           effect at all times thereafter unless otherwise provided by the Plan or the Confirmation
           Order.

           10.6       The FCR and the TCC.

                   10.6.1      General. The FCR and the TCC shall continue in their official capacities
           until the Effective Date. The Debtor shall pay the reasonable fees and expenses incurred
           by the FCR and the TCC through the Effective Date, in accordance with the Compensation
           Procedures Order and the terms of the Plan, including Section 2.2.

                   10.6.2      Dissolution. On the Effective Date, the TCC shall dissolve, and the
           members of such committee shall be released and discharged from all duties and
           obligations arising from or related to the Chapter 11 Case. Similarly, on the Effective Date,
           the FCR shall be deemed released and discharged from all duties and obligations from or
           related to the Chapter 11 Case. The Professionals retained by the TCC and the members
           thereof or by the FCR shall not be entitled to assert any Fee Claim for any services rendered
           or expenses incurred after the Effective Date, except for services rendered and expenses
           incurred in connection with any applications for allowance of compensation and
           reimbursement of expenses pending on the Effective Date or filed and served after the
           Effective Date pursuant to Section 2.2.

           10.7 No Effect on United States Trustee. Nothing in this Section 10 shall limit or
   otherwise affect the rights of the United States Trustee under section 502 of the Bankruptcy Code
   or otherwise to object to Claims or requests for allowance of Fee Claims and other Administrative
   Claims.

           10.8 Binding Effect. Subject to Section 10.2 and Section 10.3, as of the Effective Date,
   the Plan, the Plan Documents, and the Confirmation Order shall be binding on the Debtor, the
   Reorganized Debtor, the Talc Personal Injury Trust, any and all holders of Claims against or
   Interests in the Debtor (regardless of whether such Claim or Interest is Impaired and regardless of
   whether such holder voted to accept the Plan), and any and all other Persons that are affected in
   any manner by the Plan.

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           11.1       Discharge and Injunctions.

                 11.1.1      Discharge of Claims Against the Debtor. As of the Effective Date,
           Confirmation of the Plan shall afford the Debtor a discharge to the fullest extent permitted
           by Bankruptcy Code sections 524 and 1141(d)(1).


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                   11.1.2      'LVFKDUJH ,QMXQFWLRQ  )URP DQG DIWHU WKH (IIHFWLYH 'DWH WR WKH
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           PD\ KROG D &ODLP GHPDQG RU RWKHU GHEW RU OLDELOLW\ WKDW LV GLVFKDUJHG DUH
           SHUPDQHQWO\HQMRLQHGIURPWDNLQJDQ\RIWKHIROORZLQJDFWLRQVRQDFFRXQWRIRURQ
           WKHEDVLVRIVXFKGLVFKDUJHG&ODLPVGHPDQGVGHEWVRUOLDELOLWLHV L FRPPHQFLQJ
           or continuing aQ\ DFWLRQ RU RWKHU SURFHHGLQJ RI DQ\ NLQG DJDLQVW WKH 'HEWRU WKH
           5HRUJDQL]HG'HEWRURUWKHLUUHVSHFWLYHSURSHUW\ LL HQIRUFLQJDWWDFKLQJFROOHFWLQJ
           RU UHFRYHULQJ E\ DQ\ PDQQHU RU PHDQV RI DQ\ MXGJPHQW DZDUG GHFUHH RU RUGHU
           against the Debtor, the 5HRUJDQL]HG 'HEWRU RU WKHLU UHVSHFWLYH SURSHUW\
            LLL FUHDWLQJ SHUIHFWLQJ RU HQIRUFLQJ DQ\ OLHQ RU RWKHU (QFXPEUDQFH RI DQ\ NLQG
           DJDLQVW WKH 'HEWRU WKH 5HRUJDQL]HG 'HEWRU RU WKHLU UHVSHFWLYH SURSHUW\ DQG
            LY FRPPHQFLQJ RU FRQWLQXLQJ DQ\ MXGLFLDO RU DGPLQLVWUDWLYH SURFHHGLQJ LQ DQ\
           IRUXPDQGLQDQ\SODFHLQWKHZRUOGWKDWGRHVQRWFRPSO\ZLWKRULVLQFRQVLVWHQWZLWK
           WKHSURYLVLRQVRIWKH3ODQRUWKH&RQILUPDWLRQ2UGHU7KHIRUHJRLQJLQMXQFWLRQVKDOO
           H[WHQGWRWKHVXFFHVVRUVRIWKH'HEWRU LQFOXGLQJWKH5HRUJDQL]HG'HEWRU DQGWKHLU
           UHVSHFWLYH SURSHUWLHV DQG LQWHUHVWV LQ SURSHUW\  7KH GLVFKDUJH SURYLGHG LQ WKLV
           Section 11.1 VKDOOYRLGDQ\MXGJPHQWREWDLQHGDJDLQVWWKH'HEWRURUDQ\VXFFHVVRURI
           WKH'HEWRU LQFOXGLQJWKH5HRUJDQL]HG'HEWRU DWDQ\WLPHWRWKHH[WHQWWKDWVXFK
           MXGJPHQWUHODWHVWRDGLVFKDUJHG&ODLPRUGHPDQG 1RWZLWKVWDQGLQJWKHIRUHJRLQJ,
           nothing in this Section 11.1 VKDOOLPSDLUWKHULJKWVRIKROGHUVRI-XGJPHQW&ODLPVWR
           VHHN WR HQIRUFH DQG FROOHFW RQ WKH MXGJPHQWV RQ ZKLFK VXFK -XGJPHQW &ODLPV DUH
           EDVHG LQFOXGLQJ WKURXJK WKH GHIHQVH RU SURVHFXWLRQ RI DSSHOODWH OLWLJDWLRQ UHODWHG
           thereto.

           11.2     5HOHDVHV.

                   11.2.1      5HOHDVHVE\WKH'HEWRUDQG,WV(VWDWH. $VRIWKH(IIHFWLYH'DWHIRU
           JRRGDQGYDOXDEOHFRQVLGHUDWLRQ LQFOXGLQJVHUYLFHVSURYLGHG EHIRUHDQGGXULQJWKH
           &KDSWHU&DVHWRIDFLOLWDWHWKHLPSOHPHQWDWLRQRIWKH7DOF3HUVRQDO,QMXU\7UXVW 
           WKH DGHTXDF\ RI ZKLFK LV KHUHE\ FRQILUPHG WKH 5HRUJDQL]HG 'HEWRU WKH Debtor
           &RUSRUDWH3DUWLHVDQGWKHUHVSHFWLYH5HSUHVHQWDWLYHVRIWKH'HEWRUWKH5HRUJDQL]HG
           'HEWRUDQGWKHDebtor &RUSRUDWH3DUWLHVVKDOOEHGHHPHGFRQFOXVLYHO\DEVROXWHO\
           XQFRQGLWLRQDOO\LUUHYRFDEO\DQGIRUHYHUUHOHDVHGWRWKHPD[LPXPH[WHQWSHUPLWWHG
           E\ODZDVVXFKODZPD\EHH[WHQGHGVXEVHTXHQWWRWKH(IIHFWLYH'DWHE\Whe Debtor
           DQG WKH (VWDWH IURP DQ\ DQG DOO FODLPV FRXQWHUFODLPV GLVSXWHV REOLJDWLRQV VXLWV
           MXGJPHQWVGDPDJHVGHPDQGVGHEWVULJKWVFDXVHVRIDFWLRQOLHQVUHPHGLHVORVVHV
           FRQWULEXWLRQV LQGHPQLWLHV FRVWV OLDELOLWLHV IHHV LQFOXGLQJ DWWRUQH\V’ IHHV  DQG
           H[SHQVHVZKDWVRHYHULQFOXGLQJDQ\LQGLUHFW FODLPVDVVHUWHGRUDVVHUWDEOHRQEHKDOI
           RIWKH'HEWRURUWKH(VWDWH LQFOXGLQJDQ\5HFRYHU\$FWLRQV ZKHWKHUOLTXLGDWHGRU
           XQOLTXLGDWHG IL[HG RU FRQWLQJHQW PDWXUHG RU XQPDWXUHG NQRZQ RU XQNQRZQ
           IRUHVHHQ RU XQIRUHVHHQ DVVHUWHG RU XQDVVHUWHG DFFUXHG RU XQDFFUXHG H[LVWLQJ RU
           KHUHLQDIWHUDULVLQJZKHWKHULQODZRUHTXLW\ZKHWKHUVRXQGLQJLQWRUWRUFRQWUDFW
           ZKHWKHU DULVLQJ XQGHU IHGHUDO RU VWDWH VWDWXWRU\ RU FRPPRQ ODZ RU DQ\ RWKHU
           DSSOLFDEOH LQWHUQDWLRQDO IRUHLJQ RU GRPHVWLF ODZ UXOH VWDWXWH UHJXODWLRQ WUHDW\
           ULJKWGXW\UHTXLUHPHQWRURWKHUZLVHWKDWWKH'HEWRURUWKH(VWDWHZRXOGKDYHEHHQ
           OHJDOO\HQWLWOHGWRDVVHUWLQLWVRZQULJKWRURQEHKDOIRIWKHKROGHURIDQ\&ODLPRU
           Interest RURWKHU3HUVRQEDVHGRQDULVLQJRXWRIRULQDQ\ZD\ UHODWLQJWRLQZKROH

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           RU LQ SDUW WKH 'HEWRU DV LW H[LVWHG SULRU WR RU DIWHU WKH 3HWLWLRQ 'DWH  WKH 
           Corporate Restructuring, the 2021 Chapter 11 Case, the 2023 Chapter 11 Case, the
           2023 Conversion, the 2023 )XQGLQJ $JUHHPHQW 0RGLILFDWLRQV the Prepetition
           Corporate Restructuring, WKH (VWDWH WKH &KDSWHU  &DVH WKH SXUFKDVH VDOH RU
           UHVFLVVLRQRIWKHSXUFKDVHRUVDOHRIDQ\VHFXULW\RIWKH'HEWRUWKHVXEMHFWPDWWHURI
           or the transactions or HYHQWVJLYLQJULVHWRDQ\&ODLPRU,QWHUHVWWKDWLVWUHDWHGLQWKH
           3ODQWKHEXVLQHVVRUFRQWUDFWXDODUUDQJHPHQWVRULQWHUDFWLRQV LQFOXGLQJWKHH[HUFLVH
           RIDQ\FRPPRQODZRUFRQWUDFWXDOULJKWVRIVHWRIIRUUHFRXSPHQWDWDQ\WLPHRQRU
           SULRUWRWKH(IIHFWLYH'DWH EHWZHHQWKH'HEWRURQWKHRQHKDQGDQGWKH5HRUJDQL]HG
           Debtor, any Debtor &RUSRUDWH 3DUW\ RU DQ\ 5HSUHVHQWDWLYH RI WKH 'HEWRU WKH
           5HRUJDQL]HG'HEWRURUDQ\Debtor &RUSRUDWH3DUW\RQWKHRWKHUKDQGWKHVDOHRU
           GLVWULEXWLRQRIDVVHWVE\+ROGFRLQFRQQHFWLRQZLWKWKHVHSDUDWLRQRI- -¶VFRQVXPHU
           KHDOWKEXVLQHVVLQWRDQHZFRPSDQ\QDPHG.HQvue, Inc., WKH/RYH3URFHHGLQJ the
           UHVWUXFWXULQJ RI DQ\ &ODLP RU ,QWHUHVW EHIRUH RU GXULQJ WKH &KDSWHU  &DVH WKH
           QHJRWLDWLRQ IRUPXODWLRQ SUHSDUDWLRQ RU LPSOHPHQWDWLRQ RI or WKH VROLFLWDWLRQ RI
           YRWHVZLWKUHVSHFWWRWKH3ODQRUDQ\RWKHUDFWRURPLVVLRQ UHODWHGWRWKH'LVFORVXUH
           6WDWHPHQWWKH3ODQRUDQ\UHODWHGDJUHHPHQWLQVWUXPHQWRUGRFXPHQWRUDQ\RIWKH
           IRUHJRLQJ  1RWZLWKVWDQGLQJ WKH IRUHJRLQJ FODLPV RU FDXVHV RI DFWLRQ DJDLQVW WKH
           5HRUJDQL]HG 'HEWRU DQ\ Debtor &RUSRUDWH 3DUW\ RU DQ\ 5HSUHVHQWDWLYH RI WKH
           Debtor, the 5HRUJDQL]HG 'HEWRU RU DQ\ Debtor &RUSRUDWH 3DUW\ DULVLQJ RXW RI RU
           UHODWLQJ WR DQ\ DFW RU RPLVVLRQ RI VXFK 3HUVRQ SULRU WR WKH (IIHFWLYH 'DWH WKDW LV
           GHWHUPLQHGE\)LQDO2UGHURIWKH%DQNUXSWF\&RXUWRUDQ\RWKHUFRXUWRIFRPSHWHQW
           MXULVGLFWLRQ WR KDYH FRQVWLWXWHG D FULPLQDO DFW DFWXDO IUDXG JURVV QHJOLJHQFH RU
           ZLOOIXO PLVFRQGXFW LQFOXGLQJ ILQGLQJV DIWHU WKH (IIHFWLYH 'DWH DUH QRW UHOHDVHG
           pursuant to this Section 11.2.1provided, howeverWKDW L QR3HUVRQPD\FRPPHQFH
           RUSXUVXHDQ\VXFKFODLPRUFDXVHRIDFWLRQZLWKRXWWKH%DQNUXSWF\&RXUW $ ILUVW
           GHWHUPLQLQJDIWHUQRWLFHDQGDKHDULQJWKDWVXFKFODLPRUFDXVHRIDFWLRQUHSUHVHQWV
           DFRORUDEOHFODLPDQG % VSHFLILFDOO\DXWKRUL]LQJVXFK3HUVRQWREULQJVXFKFODLPRU
           FDXVHRIDFWLRQDQG LL WRWKHIXOOHVWH[WHQWSHUPLWWHGE\ODZWKH%DQNUXSWF\&RXUW
           VKDOOKDYHVROHDQGH[FOXVLYHMXULVGLFWLRQWRDGMXGLFDWHWKHXQGHUO\LQJFRORUDEOHFODLP
           RU FDXVH RI DFWLRQ. )RU WKH DYRLGDQFH RI GRXEW QRWKLQJ FRQWDLQHG LQ WKLV
           Section 11.2.1 VKDOO UHOHDVH RU RWKHUZLVH DIIHFW WKH REOLJDWLRQV RI DQ\ 3HUVRQ WR EH
           SHUIRUPHGIURPDQGDIWHUWKH(IIHFWLYH'DWHXQGHUany )XQGLQJ$JUHHPHQWWKH&DVK
           &RQWULEXWLRQV*XDUDQWHHRUDQ\RWKHU3ODQ'RFXPHQWWRZKLFKLWLVDSDUW\. The
           5HRUJDQL]HG'HEWRUDQGDQ\RWKHUHQWLW\WKDWFRQWLQXHVWKH'HEWRU’VEXVLQHVVDIWHU
           WKH(IIHFWLYH'DWHVKDOOEHERXQG WRWKHVDPHH[WHQWWKH'HEWRUDQGWKH(VWDWHDUH
           ERXQGE\WKHUHOHDVHVVHWIRUWKLQWKLV Section 11.2.1.

                   11.2.2      5HOHDVHVE\+ROGHUVRI&ODLPV$VRIWKH(IIHFWLYH'DWHIRUJRRG
           DQGYDOXDEOHFRQVLGHUDWLRQWKHDGHTXDF\RIZKLFKLVKHUHE\FRQILUPHGLQFOXGLQJWKH
           VHUYLFHRIWKH5HOHDVHG3DUWLHVEHIRUHDQGGXULQJWKH&KDSWHU &DVHWRIDFLOLWDWHWKH
           LPSOHPHQWDWLRQ RI WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW WKH 5HOHDVHG 3DUWLHV VKDOO EH
           GHHPHGFRQFOXVLYHO\DEVROXWHO\XQFRQGLWLRQDOO\LUUHYRFDEO\DQGIRUHYHUUHOHDVHG
           WRWKHPD[LPXPH[WHQWSHUPLWWHGE\ODZDVVXFKODZPD\EHH[WHQGHGVXEVHTXHQWWR
           WKH (IIHFWLYH 'DWH E\ WKH 5HOHDVLQJ &ODLP +ROGHUV IURP DQ\ DQG DOO cODLPV
           FRXQWHUFODLPV GLVSXWHV REOLJDWLRQV VXLWV MXGJPHQWV GDPDJHV GHPDQGV GHEWV
           ULJKWV FDXVHV RI DFWLRQ OLHQV UHPHGLHV ORVVHV FRQWULEXWLRQV LQGHPQLWLHV FRsts,
                                                       66
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           OLDELOLWLHV IHHV LQFOXGLQJ DWWRUQH\V’ IHHV  DQG H[SHQVHV ZKDWVRHYHU LQFOXGLQJ DQ\
           LQGLUHFW FODLPVDVVHUWHGRUDVVHUWDEOHRQEHKDOIRIWKH'HEWRURUWKH(VWDWH LQFOXGLQJ
           DQ\ 5HFRYHU\ $FWLRQV  ZKHWKHU OLTXLGDWHG RU XQOLTXLGDWHG IL[HG RU FRQWLQJHQt,
           PDWXUHG RU XQPDWXUHG NQRZQ RU XQNQRZQ IRUHVHHQ RU XQIRUHVHHQ DVVHUWHG RU
           XQDVVHUWHGDFFUXHGRUXQDFFUXHGH[LVWLQJRUKHUHLQDIWHUDULVLQJZKHWKHULQODZRU
           HTXLW\ZKHWKHUVRXQGLQJLQWRUWRUFRQWUDFWZKHWKHUDULVLQJXQGHUIHGHUDORUVWDWH
           statutoU\RUFRPPRQODZRUDQ\RWKHUDSSOLFDEOHLQWHUQDWLRQDOIRUHLJQRUGRPHVWLF
           ODZUXOHVWDWXWHUHJXODWLRQWUHDW\ULJKWGXW\UHTXLUHPHQWRURWKHUZLVHWKDWVXFK
           KROGHUV RU WKHLU HVWDWHV $IILOLDWHV KHLUV H[HFXWRUV DGPLQLVWUDWRUV VXFFHVVRUV
           assigQVPDQDJHUVDFFRXQWDQWVDWWRUQH\VUHSUHVHQWDWLYHVFRQVXOWDQWVDJHQWVDQG
           DQ\RWKHU3HUVRQVRUSDUWLHVFODLPLQJXQGHURUWKURXJKWKHPZRXOGKDYHEHHQOHJDOO\
           HQWLWOHGWRDVVHUWLQWKHLURZQULJKW ZKHWKHULQGLYLGXDOO\RUFROOHFWLYHO\ RURQEHKDOI
           oIWKHKROGHURIDQ\&ODLPRU,QWHUHVWRURWKHU3HUVRQEDVHGRQDULVLQJRXWRIRULQ
           DQ\ZD\ UHODWLQJWRLQZKROHRULQSDUWWKH'HEWRU DVLWH[LVWHGSULRUWRRUDIWHUWKH
           3HWLWLRQ'DWH WKH&RUSRUDWH5HVWUXFWXULQJWKH&KDSWHU&DVHthe 2023
           Chapter 11 Case, the 2023 Conversion, the 2023 )XQGLQJ$JUHHPHQW0RGLILFDWLRQV
           the Prepetition Corporate Restructuring, the Estate, the Chapter 11 Case, the
           SXUFKDVHVDOHRUUHVFLVVLRQRIWKHSXUFKDVHRUVDOHRIDQ\VHFXULW\RIWKH'HEWRUWKH
           subMHFWPDWWHURIRUWKHWUDQVDFWLRQVRUHYHQWVJLYLQJULVHWRDQ\&ODLPRU,QWHUHVW
           WKDWLVWUHDWHGLQWKH3ODQWKHEXVLQHVVRUFRQWUDFWXDODUUDQJHPHQWVRULQWHUDFWLRQV
            LQFOXGLQJ WKH H[HUFLVH RI DQ\ FRPPRQ ODZ RU FRQWUDFWXDO ULJKWV RI VHWRII RU
           UHFRXSPHQWDWDQ\WLPHRQRUSULRUWRWKH(IIHFWLYH'DWH EHWZHHQWKH'HEWRURQWKH
           RQHKDQGDQGDQ\RWKHU5HOHDVHG3DUW\RQWKHRWKHUKDQGWKHUHVWUXFWXULQJRIDQ\
           &ODLPRU,QWHUHVWEHIRUHRUGXULQJWKH&KDSWHU&DVHWKHVDOHRUGLVWULEXWLRQRI
           assets by HoOGFRLQFRQQHFWLRQZLWKWKHVHSDUDWLRQRI- -¶VFRQVXPHUKHDOWKEXVLQHVV
           LQWR D QHZ FRPSDQ\ QDPHG .HQvue, Inc., WKH /RYH 3URFHHGLQJ the negotiation,
           IRUPXODWLRQ SUHSDUDWLRQ RU LPSOHPHQWDWLRQ RI or WKH VROLFLWDWLRQ RI YRWHV ZLWK
           respect to, WKH3ODQRU DQ\RWKHUDFWRURPLVVLRQ UHODWHGWR WKH'LVFORVXUH6WDWHPHQW
           WKH3ODQRUDQ\UHODWHGDJUHHPHQWLQVWUXPHQWRUGRFXPHQWRUDQ\RIWKHIRUHJRLQJ.
           1RWZLWKVWDQGLQJ WKH IRUHJRLQJ D FODLPV RU FDXVHV RI DFWLRQ DJDLQVW D 5HOHDVHG
           3DUW\DULVLQJRXWRIRUUHODWLQJWRDQ\DFWRURPLVVLRQRIVXFK5HOHDVHG3DUW\SULRUWR
           WKH(IIHFWLYH'DWHWKDWLVGHWHUPLQHGE\)LQDO2UGHURIWKH%DQNUXSWF\&RXUWRUDQ\
           RWKHUFRXUWRIFRPSHWHQWMXULVGLFWLRQWRKDYHFRQVWLWXWHGDFULPLQDODFWDFWXDOIUDXG
           JURVVQHJOLJHQFHRUZLOOIXOPLVFRQGXFWLQFOXGLQJILQGLQJVDIWHUWKH(IIHFWLYH'DWH
           DUHQRWUHOHDVHGSXUVXDQWWRWKLVSection 11.2.2provided, howeverWKDW L QR3HUVRQ
           ZLWKRXWUHJDUGWRZKHWKHUVXFK3HUVRQLVD5HOHDVLQJ&ODLP+ROGHUPD\FRPPHQFH
           RUSXUVXHDQ\VXFKFODLPRUFDXVHRIDFWLRQZLWKRXWWKH%DQNUXSWF\&RXUW $ ILUVW
           GHWHUPLQLQJDIWHUQRWLFHDQGDKHDULQJWKDWVXFKFODLPRUFDXVHRIDFWLRQUHSUHVHQWV
           DFRORUDEOHFODLPDQG % VSHFLILFDOO\DXWKRUL]LQJVXFK3HUVRQWREULQJVXFKFODLPRU
           FDXVHRIDFWLRQDQG LL WRWKHIXOOHVWH[WHQWSHUPLWWHGE\ODZWKH%DQNUXSWF\&RXUW
           VKDOOKDYHVROHDQGH[FOXVLYHMXULVGLFWLRQWRDGMXGLFDWHWKHXQGHUO\LQJFRORUDEOHFODLP
           RU FDXVH RI DFWLRQ E  KROGHUV RI 0DVWHU 6HWWOHPHQW $JUHHPHQW &ODLPV VKDOO QRW
           UHOHDVHWKHLUULJKWVWRKDYHVXFK0DVWHU6HWWOHPHQW$JUHHPHQW&ODLPVFRQVLGHUHGIRU
           VHWWOHPHQWDQGLIVXFK0DVWHU6HWWOHPHQW$JUHHPHQW&ODLPVTXDOLI\IRUVHWWOHPHQW
           VHWWOHGXQGHUWKH0DVWHU6HWWOHPHQW$JUHHPents DQG F KROGHUVRI-XGJPHQW&ODLPV
           VKDOOQRWUHOHDVHWKHLUULJKWVWRVHHNWRHQIRUFHDQGFROOHFWRQWKHMXGJPHQWVRQZKLFK

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           VXFK -XGJPHQW &ODLPV DUH EDVHG LQFOXGLQJ WKURXJK WKH GHIHQVH RU SURVHFXWLRQ RI
           DSSHOODWHOLWLJDWLRQUHODWHGWKHUHWR )RUWKHDYRLGDQFHRIGRXEWQRWKLQJFRQWDLQHGLQ
           this Section 11.2.2 VKDOOUHOHDVHRURWKHUZLVHDIIHFWWKHREOLJDWLRQVRIDQ\3HUVRQWREH
           SHUIRUPHGIURPDQGDIWHUWKH(IIHFWLYH'DWHXQGHUany )XQGLQJ$JUHHPHQWWKH&DVK
           Contributions Parent Guarantee, or any otheU3ODQ'RFXPHQWWRZKLFKLWLVDSDUW\

                  11.2.3       ,QMXQFWLRQ 5HODWHG WR 5HOHDVHV  7KH &RQILUPDWLRQ 2UGHU VKDOO
           SHUPDQHQWO\ HQMRLQ WKH FRPPHQFHPHQW RU SURVHFXWLRQ E\ DQ\ 3HUVRQ ZKHWKHU
           GLUHFWO\ LQGLUHFWO\ RU RWKHUZLVH RI DQ\ FODLPV FRPPLWPHQWV REOLJDWLRQV VXLts,
           MXGJPHQWV GDPDJHV GHPDQGV GHEWV FDXVHV RI DFWLRQ DQG OLDELOLWLHV UHOHDVHG
           pursuant to this Section 11.2.

          11.3 &KDQQHOLQJ ,QMXQFWLRQ DQG ,QVXUDQFH (QWLW\ ,QMXQFWLRQ  ,Q RUGHU WR
   VXSSOHPHQWWKHLQMXQFWLYHHIIHFWRIWKH'LVFKDUJH,QMXQFWLRQDQGSXUVXDQWWRVHFWLRQ J ,
   section  E  DQGRUVHFWLRQ D RIWKH%DQNUXSWF\&RGHWKH&RQILUPDWLRQ2UGHU
   VKDOOSURYLGHIRUWKHIROORZLQJSHUPDQHQWLQMXQFWLRQVWRWDNHHIIHFWDVRIWKH(IIHFWLYH'DWH

                    11.3.1      &KDQQHOLQJ,QMXQFWLRQ.

                            (a)    7RSUHVHUYHDQGSURPRWHWKHVHWWOHPHQWVFRQWHPSODWHGE\DQG
           SURYLGHGIRULQWKH3ODQDQGSXUVXDQWWRWKHH[HUFLVHRIWKHHTXLWDEOHMXULVGLFWLRQDQG
           SRZHU RI WKH %DQNUXSWF\ &RXUW DQG WKH 'LVWULFW &RXUW XQGHU VHFWLRQ  J 
           section  E   DQGRU VHFWLRn  D  RI WKH %DQNUXSWF\ &RGH QRWZLWKVWDQGLQJ
           DQ\WKLQJWRWKHFRQWUDU\FRQWDLQHGLQWKH3ODQ L WKHVROHUHFRXUVHRIDQ\KROGHURID
           &KDQQHOHG 7DOF3HUVRQDO,QMXU\&ODLPDJDLQVWD3URWHFWHG3DUW\ RQDFFRXQWRIVXFK
           &KDQQHOHG 7DOF 3HUVRQDO ,QMXU\ &ODLP  VKDOO EH WR DQG DJDLQVW WKH 7DOF 3HUVRQDO
           ,QMXU\ 7UXVW SXUVXDQW WR WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW 'RFXPHQWV DQG LL  VXFK
           KROGHU VKDOO KDYH QR ULJKW ZKDWVRHYHU DW DQ\ WLPH WR DVVHUW LWV &KDQQHOHG 7DOF
           3HUVRQDO ,QMXU\ &ODLP DJDLQVW DQ\ 3URWHFWHG 3DUW\ RU any property or interest in
           SURSHUW\ RI DQ\ 3URWHFWHG 3DUW\  2Q DQG DIWHU WKH (IIHFWLYH 'DWH DOO KROGHUV RI
           &KDQQHOHG 7DOF 3HUVRQDO ,QMXU\ &ODLPV VKDOO EH SHUPDQHQWO\ DQG IRUHYHU VWD\HG
           UHVWUDLQHGEDUUHGDQGHQMRLQHGIURPWDNLQJDQ\DFWLRQIRUWKHSXUSRVHRIGLUHFWO\
           RULQGLUHFWO\FROOHFWLQJUHFRYHULQJRUUHFHLYLQJSD\PHQWVDWLVIDFWLRQRUUHFRYHU\
           RI RQ RU ZLWK UHVSHFW WR DQ\ &KDQQHOHG 7DOF 3HUVRQDO ,QMXU\ &ODLP DJDLQVW D
           3URWHFWHG3DUW\RWKHUWKDQIURPWKH 7DOF3HUVRQDO,QMXU\7UXVWSXUVXDQWWRWKH7DOF
           3HUVRQDO,QMXU\7UXVW'RFXPHQWVLQFOXGLQJ

                                    (i)      FRPPHQFLQJFRQGXFWLQJRUFRQWLQXLQJLQDQ\PDQQHU
                             GLUHFWO\ or LQGLUHFWO\DQ\VXLWDFWLRQRURWKHUSURFHHGLQJRIDQ\NLQG
                              LQFOXGLQJDMXGLFLDODUELWUDWLRQDGPLQLVWUDWLYHRURWKHUSURFHHGLQJ 
                             LQDQ\IRUXPLQDQ\MXULVGLFWLRQDURXQGWKHZRUOGDJDLQVWRUDIIHFWLQJ
                             DQ\ 3URWHFWHG 3DUW\ RU DQ\ SURSHUW\ RU LQWHUHVWV LQ SURSHUW\ RI DQ\
                             3URWHFWHG3DUW\

                                   (ii)   HQIRUFLQJ OHY\LQJ DWWDFKLQJ         LQFOXGLQJ DQ\
                             SUHMXGJPHQWDWWDFKPHQW FROOHFWLQJRURWKHUZLVHUHFRYering, by any
                             PDQQHURUPHDQVZKHWKHUGLUHFWO\RULQGLUHFWO\DQ\MXGJPHQWDZDUG

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                        GHFUHH RU RUGHU DJDLQVW DQ\ 3URWHFWHG 3DUW\ RU DQ\ SURSHUW\ RU
                        LQWHUHVWVLQSURSHUW\RIDQ\3URWHFWHG3DUW\

                               (iii)  FUHDWLQJ SHUIHFWLQJ RU RWKHUZLVH HQIRUFLQJ LQ DQ\
                        PDQQHU GLUHFWO\ RU LQGLUHFWO\ DQ\ OLHQ RI DQ\ NLQG DJDLQVW DQ\
                        3URWHFWHG 3DUW\ RU DQ\ SURSHUW\ RU LQWHUHVWV LQ SURSHUW\ RI DQ\
                        3URWHFWHG3DUW\

                                (iv)     DVVHUWLQJ LPSOHPHQWLQJ RU HIIHFWXDWLQJ DQ\ VHWRII
                        UHFRXSPHQW ULJKW RI FRQWULEXWLRQ UHLPEXUVHPHQW VXEURJDWLRQ RU
                        iQGHPQLILFDWLRQRUVLPLODUULJKWRIDQ\NLQGLQDQ\PDQQHUGLUHFWO\
                        RU LQGLUHFWO\ DJDLQVW DQ\ REOLJDWLRQ GXH WR DQ\ 3URWHFWHG 3DUW\ RU
                        DJDLQVWDQ\SURSHUW\RULQWHUHVWVLQSURSHUW\RIDQ\3URWHFWHG3DUW\
                        DQG

                                (v)      WDNLQJ DQ\ DFW LQ DQ\ PDQQHU DQG LQ DQ\ SODce
                        ZKDWVRHYHUWKDWGRHVQRWFRQIRUPWRRUFRPSO\ZLWKWKHSURYLVLRQVRI
                        WKH 3ODQ WKH 3ODQ 'RFXPHQWV RU WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW
                        'RFXPHQWVRUZLWKUHJDUGWRDQ\PDWWHUWKDWLVZLWKLQWKHVFRSHRIWKH
                        PDWWHUVGHVLJQDWHGE\WKH3ODQWREHVXEMHFWWRUHVROXWLRQE\WKH7DOF
                        3HUVRQDO,QMXU\7UXVWH[FHSWLQFRQIRUPLW\DQGFRPSOLDQFHZLWKWKH
                        7DOF3HUVRQDO,QMXU\7UXVW'RFXPHQWV

                         (b)   1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\LQSection  D ,
           WKLV&KDQQHOLQJ,QMXQFWLRQVKDOOQRWLPSDLU

                               (i)      WKHULJKWVRIKROGHUVRI&KDQQHOHG 7DOF3HUVRQDO,QMXU\
                        &ODLPV WR DVVHUW VXFK7DOF 3HUVRQDO ,QMXU\ &ODLPV VROHO\ DJDLQVW WKH
                        7DOF3HUVRQDO,QMXU\7UXVWLQDFFRUGDQFHZLWKWKH7DOF3HUVRQDO,QMXU\
                        7UXVW'RFXPHQWV

                               (ii)     WKHULJKWVRIKROGHUVRI&KDQQHOHG 7DOF3HUVRQDO,QMXU\
                        &ODLPV WR DVVHUW VXFK FODLPV DJDLQVW DQ\RQH RWKHU WKDQ D 3URWHFWHG
                        3DUW\

                                (iii)   WKH ULJKWV RI KROGHUV RI 0DVWHU 6HWWOHPHQW $JUHHPHQW
                        &ODLPVWRhave VXFK0DVWHU6HWWOHPHQW$JUHHPHQW&ODLPVFRQVLGHUHG
                        IRU VHWWOHPHQW DQG LI VXFK 0DVWHU 6HWWOHPHQW $JUHHPHQW &ODLPV
                        TXDOLI\ IRU VHWWOHPHQW VHWWOHG XQGHU WKH 0DVWHU 6HWWOHPHQW
                        $JUHHPHQWV VR ORQJ DV VXFK KROGHU KDV QRW $ SUHYLRXVO\ UHFHLYHG
                        SD\PHQWLQUHVSHFWRIVXFK0DVWHU6HWWOHPHQW$JUHHPHQW&ODLPIURP
                        WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW RU % VXEPLWWHG VXFK 0DVter
                        6HWWOHPHQW$JUHHPHQW&ODLPWRWKH7DOF3HUVRQDO,QMXU\7UXVWXQGHU
                        WKH 7UXVW 'LVWULEXWLRQ 3URFHGXUHV XQOHVV VXFK 0DVWHU 6HWWOHPHQW
                        $JUHHPHQW&ODLPKDVEHHQSURSHUO\ZLWKGUDZQLQDFFRUGDQFHZLWKWKH
                        7UXVW'LVWULEXWLRQ3URFHGXUHVDQGKDVQRWWKHUHDIWHUEHHQUHVXEPLWWHG



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                          WR WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW XQGHU WKH 7UXVW 'LVWULEXWLRQ
                          3URFHGXUHV 

                                  (iv)     WKH ULJKWV RI KROGHUV RI -XGJPHQW &ODLPV to seek to
                          HQIRUFHDQGFROOHFWRQthe MXGJPHQWVRQZKLFKVXFK-XGJPHQW&ODLPV
                          DUH EDVHG LQFOXGLQJ WKURXJK WKH GHIHQVH RU SURVHFXWLRQ RI DSSHOODWH
                          OLWLJDWLRQUHODWHGWKHUHWR

                                 (v)      WKH ULJKWV RI DOO 3HUVRQV WR DVVHUW DQ\ cODLP GHEW
                          REOLJDWLRQ FDXVH RI DFWLRQ RU OLDELOLW\ IRU SD\PHQW RI 7DOF 3HUVRQDO
                          ,QMXU\7UXVW([SHQVHVVROHO\DJDLQVWWKH7DOF3HUVRQDO,QMXU\7UXVW
                          or

                                  (vi)    WKH7DOF3HUVRQDO,QMXU\7UXVWIURPHQIRUFLQJLWVULJKWV
                          H[SOLFLWO\SURYLGHGWRLWXQGHUWKH3ODQDQGWKH7DOF3HUVRQDO,QMXU\
                          7UXVW 'RFXPHQWV LQFOXGLQJ LI WKH SURYLVLRQV RI Section 4.9.3 DQG
                          Section 5.9.1 DUHDSSOLFDEOH WKH,PHU\V&\pUXV5HODWHG5Lghts.

                        (c)    7KHUHVKDOOEHQRPRGLILFDWLRQGLVVROXWLRQRUWHUPLQDWLRQRIWKH
           &KDQQHOLQJ,QMXQFWLRQZKLFKVKDOOEHDSHUPDQHQWLQMXQFWLRQ

                          (d)    1RWKLQJ LQ WKH 3ODQ RU WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW
           $JUHHPHQW VKDOO EH FRQVWUXHG LQ DQ\ ZD\ WR OLPLW WKH VFRSH HQIRUFHDELOLW\ RU
           HIIHFWLYHQHVVRIWKH&KDQQHOLQJ,QMXQFWLRQLVVXHGLQFRQQHFWLRQZLWKWKH3ODQRUWKH
           7DOF3HUVRQDO,QMXU\7UXVW’VDVVXPSWLRQRIDOOOLDELOLW\ZLWKUHVSHFWWR7DOF3HUVRQDO
           ,QMXU\&ODLPV

                         (e)    The Debtor’V FRPSOLDQFH ZLWK WKH IRUPDO UHTXLUHPHQWV RI
           BDQNUXSWF\5XOH F VKDOOQRWFRQVWLWXWHDQDGPLVVLRQWKDWWKH3ODQSURYLGHVIRU
           DQLQMXQFWLRQDJDLQVWFRQGXFWQRWRWKHUZLVHHQMRLQHGXQGHUWKH%DQNUXSWF\&RGH

                          (f)    $Q\3URWHFWHG3DUW\PD\HQIRUFHWKH&KDQQHOLQJ,QMXQFWLRQDV
           DGHIHQVHWRDQ\&ODLPEURXJKWDJDLQVWVXFK3URWHFWHG3DUW\WKDWLVHQMRLQHGXQGHU
           WKH3ODQDVWRVXFK3URWHFWHG3DUW\DQGPD\VHHNWRHQIRUFHVXFKLQMXQFWLRQLQDFRXUW
           RIFRPSHWHQWMXULVGLFWLRQ

                          (g)    ,I D 7DOF ,QVXUDQFH &RPSDQ\ WKDW LV QRW a 6HWWOLQJ 7DOF
           ,QVXUDQFH&RPSDQ\DVVHUWVWKDWLWKDV&RQWULEXWLRQ&ODLPVDJDLQVWD6HWWOLQJ7DOF
           ,QVXUDQFH&RPSDQ\ L VXFK&RQWULEXWLRQ&ODLPVPD\EHDVVHUWHGDVDGHIHQVHRU
           FRXQWHUFODLPDJDLQVWWKH7DOF3HUVRQDO,QMXU\7UXVWLQDQ\7DOF,QVXUDQFH$FWLRQ
           LQYROYLQJVXFK7DOF,QVXUDQFH&RPSDQ\DQGWKH7DOF3HUVRQDO,QMXU\7UXVW DFWLQJ
           WKURXJKWKH5HRUJDQL]HG'HEWRUDVLWVVXEURJHHKDYLQJWKHH[FOXVLYHULJKWWRSXUVXH
           DQGUHVROYHDQ\7DOF,QVXUDQFH$FWLRQ PD\DVVHUWWKHOHJDORUHTXLWDEOHULJKWV LI
           DQ\ RIWKH6HWWOLQJ7DOF,QVXUDQFH&RPSDQ\ DQG LL WRWKHH[WHQWVXFK&RQWULEXWLRQ
           &ODLPV DUH GHWHUPLQHG WR EH YDOLG WKH OLDELOLW\ LI DQ\  RI VXFK 7DOF ,QVXUDQFH
           &RPSDQ\WRWKH7DOF3HUVRQDO,QMXU\7UXVWVKDOOEHUHGXFHGE\WKHDPRXQWRIVXFK
           &RQWULEXWLRQ&ODLPV


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                    11.3.2      ,QVXUDQFH(QWLW\,QMXQFWLRQ.

                          (a)    ,Q RUGHU WR SURWHFW DQG SUHVHUYH WKH 7DOF ,QVXUDQFH $VVHWV
           SXUVXDQW WR WKH HTXLWDEOH MXULVGLFWLRQ DQG SRZHU RI WKH %DQNUXSWF\ &RXUW WKH
           %DQNUXSWF\&RXUWVKDOOLVVXHWKH,QVXUDQFH(QWLW\,QMXQFWLRQprovided, however, that
           WKH,QVXUDQFH(QWLW\,QMXQFWLRQLVQRW LVVXHGIRUWKHEHQHILWRIDQ\7DOF,QVXUDQFH
           &RPSDQ\ DQG QR 7DOF ,QVXUDQFH &RPSDQ\ LV D WKLUG-SDUW\ EHQHILFLDU\ RI WKH
           ,QVXUDQFH (QWLW\ ,QMXQFWLRQ H[FHSW DV RWKHUZLVH VSHFLILFDOO\ SURYLGHG LQ DQ\ 7DOF
           ,QVXUDQFH6HWWOHPHQW$JUHHPHQW

                          (b)     6XEMHFW WR WKH SURYLVLRQV RI Section 11.3.1 DQG WKLV
           Section 11.3.2DOO3HUVRQVWKDWKDYHKHOGRU DVVHUWHGWKDWKROGRUDVVHUWRUWKDWPD\
           LQWKHIXWXUHKROGRUDVVHUWDQ\FODLPGHPDQGRUFDXVHRIDFWLRQDJDLQVWDQ\7DOF
           ,QVXUDQFH&RPSDQ\EDVHGRQDULVLQJRXWRIRULQDQ\ZD\UHODWLQJWRDQ\&KDQQHOHG
           7DOF3HUVRQDO,QMXU\&ODLPZKHQHYHUDQGZKHUHYHUDULVLQJRUDVVHUWHGZKHWKHULQ
           WKH8QLWHG6WDWHVRI$PHULFDRUDQ\ZKHUHHOVHLQWKHZRUOGZKHWKHUVRXQGLQJLQWRUW
           FRQWUDFWZDUUDQW\RUDQ\RWKHUWKHRU\RIODZHTXLW\RUDGPLUDOW\VKDOOEHVWD\HG
           UHVWUDLQHG DQG HQMRLQHG IURP WDNLQJ DQ\ DFWLRQ IRU WKH SXUSRVH RI GLUHFWO\ RU
           LQGLUHFWO\FROOHFWLQJUHFRYHULQJRUUHFHLYLQJSD\PHQWVVDWLVIDFWLRQRUUHFRYHU\ZLWK
           UHVSHFWWRDQ\VXFKFODLPGHPDQGRUFDXVHRIDFWLRQLQFOXGLQJ

                                     (i)     FRPPHQFLQJFRQGXFWLQJRUFRQWLQXLQJLQDQ\PDQQHU
                             GLUHFWO\RULQGLUHFWO\DQ\VXLWDFWLRQRURWKHUSURFHHGLQJRIDQ\NLQG
                              LQFOXGLQJDMXGLFLDODUELWUDWLRQDGPLQLVWUDWLYHRURWKHUSURFHHGLQJ 
                             LQDQ\IRUXPZLWKUHVSHFWWRDQ\VXFKFODLPGHPDQGRUFDXVHRIDFWLRQ
                             DJDLQVWDQ\7DOF,QVXUDQFH&RPSDQ\RUDJDLQVWWKHSURSHUW\RIDQ\
                             7DOF,QVXUDQFH&RPSDQ\ZLWKUHVSHFWWRDQ\VXFKFODLPGHPDQGRU
                             FDXVHRIDFWLRQ

                                     (ii)    HQIRUFLQJ OHY\LQJ DWWDFKLQJ FROOHFWLQJ RU RWKHUZLVH
                             UHFRYHULQJ E\ DQ\ PHDQV RU LQ DQ\ PDQQHU ZKHWKHU GLUHFWO\ RU
                             LQGLUHFWO\ DQ\ MXGJPHQW DZDUG GHFUHH RU RWKHU RUGHU DJDLQVW DQ\
                             7DOF ,QVXUDQFH &RPSDQ\ RU DJDLQVW WKH SURSHUW\ RI DQ\ 7DOF
                             ,QVXUDQFH&RPSDQ\ZLWKUHVSHFWWRDQ\VXFKFODLPGHPDQGRUFDXVH
                             RIDFWLRQ

                                    (iii)     FUHDWLQJ SHUIHFWLQJ RU HQIRUFLQJ LQ DQ\ PDQQHU
                             GLUHFWO\ RU LQGLUHFWO\ DQ\ (QFXPEUDQFH DJDLQVW DQ\ 7DOF ,QVXUDQFH
                             &RPSDQ\ RU WKH SURSHUW\ RI DQ\ 7DOF ,QVXUDQFH &RPSDQ\ ZLWK
                             UHVSHFWWRDQ\VXFKFODLPGHPDQGRUFDXVHRIDFWLRQDQG

                                    (iv)      DVVHUWLQJ RU DFFRPSOLVKLQJ DQ\ VHWRII ULJKW RI
                             VXEURJDWLRQ LQGHPQLW\ FRQWULEXWLRQ RU UHFRXSPHQW RI DQ\ NLQG
                             GLUHFWO\ RU LQGLUHFWO\ DJDLQVW DQ\ REOLJDWLRQ RI DQ\ 7DOF ,QVXUDQFH
                             &RPSDQ\ RU DJDLQVW WKH SURSHUW\ RI DQ\ 7DOF ,QVXUDQFH &RPSDQ\
                             ZLWKUHVSHFWWRDQ\VXFKFODLPGHPDQGRUFDXVHRIDFWLRQ


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           provided, however, that $ WKHLQMXQFWLRQVHWIRUWKin this Section  E VKDOOQRW
           LPSDLULQDQ\ZD\ , DQ\DFWLRQVSXUVXHGE\WKH7DOF3HUVRQDO,QMXU\7UXVW DFWLQJ
           WKURXJK WKH 5HRUJDQL]HG 'HEWRU DV LWV VXEURJHH  DJDLQVW DQ\ 7DOF ,QVXUDQFH
           &RPSDQ\ ,, WKHULJKWVRIWKH'HEWRURUWKH5HRUJDQL]HG'HEWRUDJDLQVWDQ\7DOF
           ,QVXUDQFH&RPSDQ\ZLWKUHVSHFWWRDPRXQWVH[SHQGHGSULRUWRWKH(IIHFWLYH Date, or
            I,, WKHULJKWVRIDQ\FR-LQVXUHGRIWKH'HEWRU 1 ZLWKUHVSHFWWRDQ\7DOF,QVXUDQFH
           3ROLF\RU7DOF,QVXUDQFH6HWWOHPHQW$JUHHPHQWDJDLQVWDQ\7DOF,QVXUDQFH&RPSDQ\
           RU 2 DVVSHFLILHGXQGHUDQ\)LQDO2UGHURIWKH%DQNUXSWF\&RXUWDSSURYLQJD7DOF
           ,QVXUDQFH 6HWWOHPHQW $JUHHPHQW DQG %  WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW DFWLQJ
           WKURXJKWKH5HRUJDQL]HG'HEWRUDVLWVVXEURJHH VKDOOKDYHWKHVROHDQGH[FOXVLYH
           DXWKRULW\DWDQ\WLPHWRWHUPLQDWHRUUHGXFHRUOLPLWWKHVFRSHRIWKHLQMXQFWLRQVHW
           IRUWK LQ WKLV Section  E ZLWK UHVSHFW WR DQ\ 7DOF ,QVXUDQFH &RPSDQ\ XSRQ
           H[SUHVVZULWWHQQRWLFHWRVXFK7DOF,QVXUDQFH&RPSDQ\H[FHSWWKDWWKH7DOF3HUVRQDO
           ,QMXU\7UXVW DFWLQJWKURXJKWKH5HRUJDQL]HG'HEWRUDVLWVVXEURJHH VKDOOQRWKDYH
           DQ\DXWKRULW\WRWHUPLQDWHUHGXFHRUOLPLWWKHVFRSHRIWKHLQMXQFWLRQKHUHLQZLWK
           UHVSHFWWRDQ\6HWWOLQJ7DOF,QVXUDQFH&RPSDQ\VRORQJDVEXWRQO\WRWKHH[WHQWWKDW
           VXFK6HWWOLQJ7DOF,QVXUDQFH&RPSDQ\FRPSOLHVIXOO\ZLWKLWVREOLJDWLRQVXQGHUDQ\
           DSSOLFDEOH7DOF,QVXUDQFH6HWWOHPHQW$JUHHPHQW

                         (c)    1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\DERYHWKLV,QVXUDQFH
           (QWLW\,QMXQFWLRQVKDOOQRWHQMRLQ

                                (i)      WKHULJKWVRIDOO3HUVRQVWRWKHWUHDWPHQWDFFRUGHGWKHP
                         XQGHU WKH 3ODQ DV DSSOLFDEOH LQFOXGLQJ WKH ULJKWV RI KROGHUV RI
                         &KDQQHOHG 7DOF 3HUVRQDO ,QMXU\ &ODLPV WR DVVHUW VXFK &ODLPV DV
                         DSSOLFDEOH LQ DFFRUGDQFH ZLWK WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW
                         'RFXPHQWV

                                (ii)     WKH ULJKWV RI DOO 3HUVRQV WR DVVHUW DQ\ FODLP GHEW
                         REOLJDWLRQ FDXVH RI DFWLRQ RU OLDELOLW\ IRU SD\PHQW RI 7DOF 3HUVRQDO
                         ,QMXU\7UXVW([SHQVHVVROHO\DJDLQVWWKH7DOF3HUVRQDO,QMXU\7UXVW

                                (iii)   WKH ULJKWV RI WKH 7DOF 3HUVRQDO ,QMXU\ 7UXVW DFWLQJ
                         WKURXJK WKH 5HRUJDQL]HG 'HEWRU DV LWV VXEURJHH  $  WR SXUVXH DQG
                         UHVROYH DQ\ 7DOF ,Q-3ODFH ,QVXUDQFH &RYHUDJH %  WR SXUVXH DQG
                         UHVROYHDQ\7DOF,QVXUDQFH$FWLRQ & WRSXUVXHDQGREWDLQDQ\7DOF
                         ,QVXUDQFH 5HFRYHULHV DQG '  WR QHJRWLDWH DQG HQWHU LQWR DQ\ 7DOF
                         ,QVXUDQFH6HWWOHPHQW$JUHHPHQWRU

                                (iv)    WKHULJKWVRIDQ\7DOF,QVXUDQFH&RPSDQ\WRDVVHUW any
                         FODLPGHEWREOLJDWLRQFDXVHRIDFWLRQRUOLDELOLW\IRUSD\PHQWDJDLQVW
                         DQ\RWKHU7DOF,QVXUDQFH&RPSDQ\WKDWLVQRWD6HWWOLQJ7DOF,QVXUDQFH
                         &RPSDQ\RUDVRWKHUZLVHVSHFLILFDOO\SURYLGHGLQDQ\7DOF,QVXUDQFH
                         6HWWOHPHQW$JUHHPHQW

                       (d)    )RU WKH DYRLGDQFH RI GRXEW QRWKLQJ LQ WKH 3ODQ WKH 3ODQ
           'RFXPHQWVRUWKH&RQILUPDWLRQ2UGHUVKDOOLPSDLURURWKHUZLVHDIIHFWDQ\ULJKWV

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           that any Debtor &RUSRUDWH3DUW\PD\KDYHXQGHUDQ\7DOF,QVXUDQFH3ROLF\RU7DOF
           ,QVXUDQFH6HWWOHPHQW$JUHHPHQW

           11.4     ([FXOSDWLRQ.

                    11.4.1     ExcuOSDWLRQ RI &HUWDLQ 3DUWLHV  1RQH RI WKH ([FXOSDWHG 3DUWLHV
           VKDOOKDYHRULQFXUDQ\OLDELOLW\WRDQ\3HUVRQIRUDQ\DFWRURPLVVLRQWDNHQRUWREH
           WDNHQ ZKHWKHU EHIRUH RQ RU DIWHU WKH 3HWLWLRQ 'DWH WKURXJK DQG LQFOXGLQJ WKH
           (IIHFWLYH'DWHLQFRQQHFWLRQZLWKDULVLQJRXWRIRULQDQ\ZD\UHODWLQJWR D the
           Prepetition Corporate Restructuring RU WKH &KDSWHU  &DVH E  WKH QHJRWLDWLRQ
           IRUPXODWLRQDQGSUHSDUDWLRQRIWKH3ODQDQGWKHRWKHU3ODQ'RFXPHQWV LQFOXGLQJ
           WKH'LVFORVXUH6WDWHPHQW DQGDQ\RIWKHWHUPVDQGRUVHWWOHPHQWVDQGFRPSURPLVHV
           UHIOHFWHGLQWKH3ODQDQGWKHRWKHU3ODQ'RFXPHQWVDQGWKHUHOHDVHVDQG,QMXQFWLRQV
           FRQWDLQHG LQ WKH 3ODQ F  WKH SXUVXLW RI &RQILUPDWLRQ RI WKH 3ODQ LQFOXGLQg the
           VROLFLWDWLRQRIYRWHVZLWKUHVSHFWWRWKH3ODQ  G WKHDGPLQLVWUDWLRQFRQVXPPDWLRQ
           DQGLPSOHPHQWDWLRQRIWKH3ODQRUWKHSURSHUW\WREHGLVWULEXWHGXQGHUWKH3ODQRU
           WKH7UXVW'LVWULEXWLRQ3URFHGXUHVRU H WKHPDQDJHPHQWRURSHUDWLRQRIWKH'HEtor
            H[FHSWIRUDQ\OLDELOLW\WKDWUHVXOWVSULPDULO\IURPVXFK([FXOSDWHG3DUW\¶VFULPLQDO
           DFWVDFWXDOIUDXGZLOOIXOPLVFRQGXFWRUJURVVQHJOLJHQFHDVGHWHUPLQHGE\D)LQDO
           2UGHU 1R3HUVRQPD\FRPPHQFHRUSXUVXHDQ\FODLPRUFDXVHRIDFWLRQVHHNLQJWo
           LPSRVH RQDQ\ ([FXOSDWHG 3DUW\OLDELOLW\IRU DQ\ VXFK DFW RU RPLVVLRQ WKDW UHVXOWV
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           Section 11.4.

           11.5 Disallowed Claims. On and after the Effective Date, the Debtor and the
   Reorganized Debtor shall have no liability or obligation on a Disallowed Claim, and any order
   disallowing a Claim which is not a Final Order as of the Effective Date solely because of a Person’s
   right to move for reconsideration of such Final Order pursuant to section 502 of the Bankruptcy
   Code or Bankruptcy Rule 3008 shall, nevertheless, become and be deemed to be a Final Order on
   the Effective Date. The Confirmation Order shall constitute a Final Order: (a) disallowing all
   Claims (other than Talc Personal Injury Claims) to the extent such Claims are not allowable under

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   any provision of Section 502 of the Bankruptcy Code, including time-barred Claims and Claims
   for unmatured interest; and (b) disallowing or subordinating to all other Claims, as the case may
   be, any Claims for penalties, punitive damages, or any other damages not constituting
   compensatory damages.

            11.6 No Successor Liability. The Reorganized Debtor does not, pursuant to the Plan or
   otherwise, assume, agree to perform, pay, or indemnify any Person, or otherwise have any
   responsibility for any liabilities or obligations of the Debtor arising out of or in any way relating
   to the operations of or assets of the Debtor, whether arising prior to, on, or after the Effective Date.
   None of the Reorganized Debtor, the other Protected Parties, and the Talc Personal Injury Trust
   is, or shall be deemed to be, a successor to the Debtor by reason of any theory of law or equity
   (except as otherwise provided in Article IV), and none shall have any successor or transferee
   liability of any kind or character; provided, however, the Reorganized Debtor and the Talc Personal
   Injury Trust shall assume and remain liable for their respective obligations specified in the Plan
   and the Confirmation Order.

           11.7     Corporate Indemnities.

                   11.7.1      Prepetition Indemnification and Reimbursement Obligations. The
           obligations of the Debtor to indemnify and reimburse Persons who are or were managers,
           officers, or employees of the Debtor on the Petition Date or at any time thereafter through
           the Effective Date, against and for any obligations pursuant to the articles of organization
           or operating agreement of the Debtor, applicable state or non-bankruptcy law, or specific
           agreement, or any combination of the foregoing, (a) shall survive Confirmation of the Plan
           and remain unaffected thereby, (b) are assumed by the Debtor, and (c) shall not be
           discharged under Section 1141 of the Bankruptcy Code, irrespective of whether
           indemnification or reimbursement is owed in connection with any event occurring before,
           on, or after the Petition Date.

                   11.7.2      Plan Indemnity. In addition to the matters set forth above and not by
           way of limitation thereof, the Debtor shall indemnify, defend, and hold harmless all
           Persons who are or were managers or officers of the Debtor on the Petition Date or at any
           time thereafter through the Effective Date on account of and with respect to any claim,
           cause of action, liability, judgment, settlement, cost, or expense (including attorney’s fees)
           on account of claims or causes of action threatened or asserted by any third party against
           such managers or officers that seek contribution, indemnity, equitable indemnity, or any
           similar claim, based upon or as the result of the assertion of primary claims against such
           third party by any representative of the Debtor’s Estate.

                   11.7.3     Limitation on Indemnification. Notwithstanding anything to the
           contrary set forth in the Plan or elsewhere, the Debtor and the Reorganized Debtor, as
           applicable, shall not be obligated to indemnify, defend, or hold harmless any Person for
           any claim, cause of action, liability, judgment, settlement, cost, or expense that results
           primarily from: (a) such Person’s bad faith, gross negligence, or willful misconduct; or
           (b) a Talc Personal Injury Claim.



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           11.8 Independent Legal Significance of Individual Provisions. For the avoidance of
   doubt, each of Sections 11.1 through 11.8 is legally independent from the other such Sections and
   the validity and effect of any such Section is not dependent upon, will not be affected in any
   manner by, and will not be interpreted or construed by reference to any other such Section. By
   way of illustration and not limitation, the releases set forth in Section 11.2 are independent from,
   will not be affected in any manner by, and will not be interpreted or construed by reference to the
   Channeling Injunction set forth in Section 11.4.

                                      ARTICLE ;,,
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            12.1 Jurisdiction. Subject to Section 12.3, the Bankruptcy Court shall retain the fullest
   and most extensive exclusive jurisdiction that is permissible (and to the extent not permitted, non-
   exclusive jurisdiction), including the jurisdiction necessary to ensure that the purposes and intent
   of the Plan are carried out. The Bankruptcy Court shall retain exclusive jurisdiction (and to the
   extent not permitted, non-exclusive jurisdiction) to hear and determine all Claims against the
   Debtor and all other causes of action which may exist on behalf of the Debtor; provided, however,
   that this Section 12.1 shall not apply to adjudication or enforcement of any Talc Insurance Action.

           12.2 Specific Purposes. Subject to Section 12.3, in furtherance to the foregoing, the
   Bankruptcy Court shall retain exclusive jurisdiction (and to the extent not permitted, non-exclusive
   jurisdiction) for each of the following specific purposes after Confirmation of the Plan:

                         (a)    to modify the Plan after Confirmation, pursuant to the provisions of
           the Bankruptcy Code and the Bankruptcy Rules;

                          (b)     to correct any defect, cure any omission, reconcile any
           inconsistency, or make any other necessary changes or modifications in or to the Plan, the
           Talc Personal Injury Trust Agreement, or the Confirmation Order as may be necessary to
           carry out the purposes and intent of the Plan;

                          (c)     to assure the performance by the Talc Personal Injury Trust and the
           Disbursing Agent of their respective obligations under the Plan including hearing and
           determining any motions or contested matters that may arise between or among the Talc
           Trustees, the Talc Trust Advisory Committee, and/or the FCR in connection with the
           administration of the Talc Personal Injury Trust and/or the Trust Distribution Procedures;

                           (d)    to enforce and interpret the terms and conditions of the Plan, the
           other Plan Documents, and the Talc Personal Injury Trust Agreement; to enter such orders
           or judgments, including injunctions (i) as are necessary to enforce the title, rights, and
           powers of the Reorganized Debtor and the Talc Personal Injury Trust and (ii) as are
           necessary to enable holders of Claims to pursue their rights against any Person that may be
           liable therefor pursuant to applicable law or otherwise;

                           (e)    to hear and determine any motions or contested matters involving
           taxes, tax refunds, tax attributes, tax benefits, and similar or related matters, including
           contested matters arising on account of transactions contemplated by the Plan, or relating
           to the period of administration of the Chapter 11 Case;
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                          (f)     to hear and determine all applications for compensation of
           Professionals and reimbursement of expenses under sections 327, 328, 329, 330, 331,
           503(b), or 1103 of the Bankruptcy Code;

                          (g)    to hear and determine any causes of action arising during the period
           from the Petition Date through the Effective Date, or in any way related to the Plan or the
           transactions contemplated hereby;

                           (h)    to adjudicate any Retained Rights of Action that are retained by the
           Reorganized Debtor hereunder, including any Recovery Actions and the causes of action
           listed or described on Exhibit F;

                           (i)     to resolve any matters related to the assumption, assumption and
           assignment, or rejection of any Executory Contract or Unexpired Lease to which the Debtor
           is a party or with respect to which the Debtor or the Reorganized Debtor may be liable and
           to hear, determine and, if necessary, liquidate any Claims arising therefrom, including any
           Cure Amount Claims;

                          (j)    to determine such other matters and for such other purposes as may
           be provided in the Confirmation Order;

                         (k)    to determine the allowance and/or disallowance of any Non-Talc
           Claims, including Administrative Claims, against the Debtor or the Estate, including any
           objections to any such Non-Talc Claims, and the compromise and settlement of any
           Non-Talc Claim, including Administrative Claims, against the Debtor or the Estate;

                          (l)     to determine all questions and disputes regarding title to the assets
           of the Debtor or the Estate, or the Talc Personal Injury Trust;

                           (m)   to issue such orders as may be necessary for the addition of any
           Settling Talc Insurance Company as a Protected Party;

                         (n)   to hear and determine any other matters related hereto, including the
           implementation and enforcement of all orders entered by the Bankruptcy Court in the
           Chapter 11 Case;

                           (o)    to resolve any disputes concerning whether a Person had sufficient
           notice of the Chapter 11 Case, the Disclosure Statement, any solicitation conducted in
           connection with the Chapter 11 Case, any bar date established in the Chapter 11 Case, in
           each case, for the purpose of determining whether a Claim is discharged hereunder or for
           any other purpose;

                          (p)    to enter in aid of implementation of the Plan such orders as are
           necessary, including the implementation and enforcement of the releases and the
           Injunctions described herein; and

                           (q)   to enter and implement such orders as may be necessary or
           appropriate if any aspect of the Plan, the Talc Personal Injury Trust, or the Confirmation

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           Order is, for any reason or in any respect, determined by a court to be inconsistent with,
           violative of, or insufficient to satisfy any of the terms, conditions, or other duties associated
           with any Talc Insurance Policy; provided, however, that: (i) such orders shall not impair
           any Talc Insurer Coverage Defense or the rights, claims, or defenses, if any, of any Talc
           Insurance Company that are set forth or provided for in the Plan, the Plan Documents, the
           Confirmation Order, or any other Final Orders entered in the Chapter 11 Case; (ii) this
           provision does not, in and of itself, grant the Bankruptcy Court jurisdiction to hear and
           decide disputes arising out of or relating to any Talc Insurance Policy; and (iii) all interested
           parties, including any Talc Insurance Company, reserve the right to oppose or object to any
           such motion or order seeking such relief.

   To the extent that the Bankruptcy Court is not permitted under applicable law to preside over any
   of the foregoing matters, the reference to the “Bankruptcy Court” in this Article shall be deemed
   to be replaced by the “District Court.” Notwithstanding anything to the contrary in this Article 12,
   the resolution of Talc Personal Injury Claims, and the forum in which such resolution will occur,
   shall be governed by and in accordance with the provisions of Section 3.2.4 and Article IV and the
   Talc Personal Injury Trust Documents.

          12.3 District Court Jurisdiction. The District Court shall, without regard to the amount
   in controversy, retain exclusive jurisdiction after entry of the Confirmation Order to hear and
   determine any motion to enforce the Channeling Injunction, and shall be deemed to have
   withdrawn the reference to the Bankruptcy Court for such purpose.

           12.4 Reservation of Rights. Nothing contained in the Plan shall (i) constitute a waiver
   of any claim, right, or cause of action that the Debtor, the Reorganized Debtor, or the Talc Personal
   Injury Trust, as the case may be, may hold against the insurer under any policy of insurance or
   insurance agreement, except to the extent the insurer is a Settling Insurance Company; or (ii) limit
   the assertion, applicability, or effect of any Talc Insurer Coverage Defense.

          12.5 Compromises of Controversies. From and after the Effective Date, the Reorganized
   Debtor and/or the Talc Personal Injury Trust, as appropriate based on assets and liabilities retained
   or owed by each respectively, shall be authorized to compromise controversies in their discretion
   in a manner not inconsistent with the terms of the Plan, without notice to any other party or
   approval of or notice to the Bankruptcy Court.

                                        ARTICLE ;,,,
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          13.1 Closing of Chapter 11 Case. The Reorganized Debtor shall, promptly after the full
   administration of the Chapter 11 Case, file with the Bankruptcy Court all documents required by
   Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
   Case.

           13.2 Timing of Distributions or Actions. If any payment or act under the Plan is required
   to be made or performed on a date that is not a Business Day, then the making of such payment or
   the performance of such act may be completed on the next succeeding Business Day, but shall be
   deemed to have been completed as of the required date.

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           13.3 Governing Law. Unless a rule of law or procedure is supplied by federal law
   (including the Bankruptcy Code and Bankruptcy Rules), or an instrument, agreement, or other
   document executed under the Plan provides otherwise, the rights, duties, and obligations arising
   under the Plan, and the instruments, agreements, and other documents executed in connection with
   the Plan, shall be governed by, and construed and enforced in accordance with, the internal laws
   of the State of Texas without giving effect to the principles of conflicts of law thereof.

           13.4 Entire Agreement. The Plan Documents set forth the entire agreement and
   undertakings relating to the subject matter thereof and supersede all prior discussions, negotiations,
   understandings, and documents. No Person shall be bound by any terms, conditions, definitions,
   warranties, understandings, or representations with respect to the subject matter hereof, other than
   as expressly provided for in the Plan or the other Plan Documents or as may hereafter be agreed
   to by the affected parties in writing.

           13.5 Notices to the Debtor and Reorganized Debtor. All notices, requests, and demands
   required or permitted to be provided to the Debtor or the Reorganized Debtor under the Plan, in
   order to be effective, shall be in writing, and unless otherwise expressly provided herein, shall be
   deemed to have been duly given or made when actually delivered or, in the case of notice by
   facsimile transmission, when received and telephonically confirmed, to the addresses set forth
   below:

    PROPOSED &2816(/)257+('(%725

    JONES DAY
    Gregory M. Gordon, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    E-mail: gmgordon@jonesday.com
              dbprieto@jonesday.com
              asrush@jonesday.com
    - and-


    JONES DAY
    Brad B. Erens
    Caitlin K. Cahow
    110 N. Wacker Drive
    Chicago, Illinois 60606
    Telephone: (312) 782-3939
    Facsimile: (312) 782-8585
    E-mail: bberens@jonesday.com
              ccahow@jonesday.com



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    Jessica C. Lauria
    Gregory Starner
    1221 Avenue of the Americas
    New York, New York 10020
    Telephone: (212) 819-8200
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    E-mail: jessica.lauria@whitecase.com
            gstarner@whitecase.com

    -and-

    WHITE & CASE LLP
    Matthew E. Linder
    Laura E. Baccash
    111 S. Wacker Drive, Suite 5100
    Chicago, IL 60606
    Telephone: (312) 881-5400
    Facsimile: (312) 881-5450
    E-mail: mlinder@whitecase.com
            laura.baccash@whitecase.com

            13.6 Post-Effective Date Notices by the Reorganized Debtor. After the occurrence of
   the Effective Date, the Reorganized Debtor has authority to send a notice to any Person providing
   that to continue to receive documents pursuant to the Bankruptcy Rule 2002, such Person must file
   a renewed request to receive documents pursuant to Bankruptcy Rule 2002; provided, however,
   that the United States Trustee need not file such a renewed request and shall continue to receive
   documents without any further actions being necessary. After the occurrence of the Effective
   Date, the Reorganized Debtor is authorized to limit the list of Persons receiving documents
   pursuant to Bankruptcy Rule 2002 to the United States Trustee and those Persons that have filed
   such renewed requests.

           13.7 Inconsistencies. To the extent the Plan is inconsistent with the Disclosure
   Statement or other Plan Documents, the provisions of the Plan shall be controlling. To the extent
   the Plan is inconsistent with the Confirmation Order, the provisions of the Confirmation Order
   shall be controlling.

           13.8 Withholding of Taxes. The Disbursing Agent, the Talc Personal Injury Trust, or
   any other applicable withholding agent, as applicable, shall withhold from any assets or property
   distributed under the Plan any assets or property which must be withheld for foreign, federal, state,
   and local taxes payable with respect thereto or payable by the Person entitled to such assets to the
   extent required by applicable law.

           13.9 Transfer Taxes. Pursuant to Section 1146 of the Bankruptcy Code, and to the fullest
   extent permitted by law, no stamp tax, transfer tax, filing fee, sales or use tax, or other similar tax

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   shall be imposed or assessed by any taxing authority on account of (a) the transfer of any assets or
   property pursuant to the Plan; or (b) the making or delivery of an instrument of transfer under the
   Plan. The appropriate state or local government officials or agents shall be directed to forego the
   collection of any such tax and to accept for filing or recordation of any of the foregoing instruments
   or other documents without the payment of any such tax.

           13.10 Successors and Assigns. The rights, duties, and obligations of any Person under
   the Plan, the Plan Documents, and the Confirmation Order shall be binding upon, and shall inure
   to the benefit of, the successors, assigns, heirs, executors, legal representatives, and estates of such
   Person.

           13.11 Duty to Cooperate. Nothing in the Plan, the other Plan Documents, or the
   Confirmation Order shall relieve (by way of injunction or otherwise) any Person that is or claims
   to be entitled to indemnity under a Talc Insurance Policy from any duty to cooperate that may be
   required by any such insurance policy or under applicable law with respect to the defense and/or
   settlement of any Claim for which coverage is sought under such Talc Insurance Policy.

           13.12 Effective Date Actions Simultaneous. Unless the Plan or the Confirmation Order
   provides otherwise, actions required to be taken on the Effective Date shall take place and be
   deemed to have occurred simultaneously, and no such action shall be deemed to have occurred
   prior to the taking of any other such action.

           13.13 Plan Supplements. Any and all exhibits, lists, or schedules referred to herein but
   not attached to the Plan shall be contained in a Plan Supplement, and each Plan Supplement is
   incorporated into and is part of the Plan as if set forth in full herein. Each Plan Supplement will
   be distributed to the same parties and in the same manner as the Disclosure Statement at least
   twenty-eight (28) days prior to the deadline for the submission of votes on the Plan and will also
   be available at the website maintained by the Claims Agent (https://dm.epiq11.com/redrivertalc).




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    Dated: [●]                           Respectfully submitted,

                                         RED RIVER TALC LLC



                                         [●]
                                         [●]




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                                      EXHIBIT A

               Amended Articles of Organization of the Reorganized Debtor
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 Form 414                                                                                 This space reserved for office use.
 (Revised 09/13)

 Submit in duplicate to:
 Secretary of State
 P.O. Box 13697                               Restated Certificate of
 Austin, TX 78711-3697
 512 463-5555
                                                   Formation
 FAX: 512/463-5709                             With New Amendments
 Filing Fee: See instructions

                                                  Entity Information
 The name of the filing entity is:

Red River Talc LLC
 State the name of the entity as currently shown in the records of the secretary of state. If the amendment changes the name
 of the entity, state the old name and not the new name.

 The filing entity is a: (Select the appropriate entity type below.)
      For-profit Corporation                                       Professional Corporation
      Nonprofit Corporation                                        Professional Limited Liability Company
      Cooperative Association                                      Professional Association
  ✔   Limited Liability Company                                    Limited Partnership

 The file number issued to the filing entity by the secretary of state is:                       [*]
 The date of formation of the filing entity is:         [*]

                                               Statement of Approval
 Each new amendment has been made in accordance with the provisions of the Texas Business
 Organizations Code. The amendments to the certificate of formation and the restated certificate of
 formation have been approved in the manner required by the Code and by the governing documents of
 the entity.

                                                 Required Statements
 The restated certificate of formation, which is attached to this form, accurately states the text of the
 certificate of formation being restated and each amendment to the certificate of formation being
 restated that is in effect, and as further amended by the restated certificate of formation. The attached
 restated certificate of formation does not contain any other change in the certificate of formation being
 restated except for the information permitted to be omitted by the provisions of the Texas Business
 Organizations Code applicable to the filing entity.




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                            Effectiveness of Filing (Select either A, B, or C.)
 A. ✔ This document becomes effective when the document is filed by the secretary of state.
 B.     This document becomes effective at a later date, which is not more than ninety (90) days from
 the date of signing. The delayed effective date is:
 C.    This document takes effect upon the occurrence of the future event or fact, other than the
 passage of time. The 90th day after the date of signing is:
 The following event or fact will cause the document to take effect in the manner described below:




                                              Execution
 The undersigned affirms that the person designated as registered agent in the restated certificate of
 formation has consented to the appointment. The undersigned signs this document subject to the
 penalties imposed by law for the submission of a materially false or fraudulent instrument and
 certifies under penalty of perjury that the undersigned is authorized under the provisions of law
 governing the entity to execute the filing instrument.



 Date:             [*]

                                                Red River Talc LLC
                                                 Name of entity (see Execution instructions)



                                                 Signature of authorized individual (see instructions)

                                                 [*]
                                                 Printed or typed name of authorized individual




Attach the text of the amended and restated certificate of formation to the completed statement form.
Identify the attachment as “Restated Certificate of Formation of [Name of Entity].”

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                                    AMENDED AND RESTATED

                                 CERTIFICATE OF FORMATION

                                                   OF

                                       RED RIVER TALC LLC

                                                   [y]

           This AMENDED AND RESTATED CERTIFICATE OF FORMATION is being duly
   filed by RED RIVER TALC LLC, a Texas limited liability company having file number [y] (the
   “Company”), in accordance with Sections 3.059 of the Texas Business Organizations Code (the
   “TBOC”).

                                           ARTICLE I
                                     ENTITY NAME AND TYPE

         The name of the filing entity is Red River Talc LLC. The filing entity is a limited liability
   company.

                                         ARTICLE II
                           REGISTERED AGENT AND REGISTERED OFFICE

           The Company’s initial registered agent is CT Corporation System, who has consented to
   serve as the registered agent of the Company pursuant to Section 5.2011 of the TBOC, which
   consent is included in the Company’s permanent records. The business address of both the
   registered agent and the Company’s initial registered office is 1999 Bryan Street, Suite 900, Dallas,
   Texas 75201, Dallas County.

                                          ARTICLE III
                                     GOVERNING AUTHORITY

        The Company will have managers. The name and address of the current managers of the
   Company are:

                    Name                     Address

                           [Ɣ]                       [Ɣ]

                           [Ɣ]                       [Ɣ]

                           [Ɣ]                       [Ɣ]

                                             ARTICLE IV
                                              PURPOSE

          The purpose for which the Company is formed is for the transaction of any and all lawful
   purposes for which limited liability companies may be organized under the TBOC.

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                                        ARTICLE V
                                EFFECTIVENESS OF FORMATION

           The original formation of the Company was effective as of [y], Central Time, on [y].

                                    ARTICLE VI
                     FORMATION UNDER PLAN OF DIVISIONAL MERGER

          The Company was originally formed under a plan of divisional merger pursuant to
   Sections 3.006 and Chapter 10 of the TBOC.

                                     ARTICLE VII
                    NO ISSUANCE OF NONVOTING OWNERSHIP INTERESTS

            To the extent prohibited by section 1123(a)(6) of chapter 11 of title 11 of the United States
   Code (the “Bankruptcy Code”), the Company will not issue nonvoting ownership interests;
   provided, however, that the foregoing restriction (a) will have no further force and effect beyond
   that required under section 1123 of the Bankruptcy Code, (b) will have force and effect only for
   so long as section 1123 of the Bankruptcy Code is in effect and applicable to the Company, and
   (c) in all events may be amended or eliminated in accordance with the TBOC and other applicable
   law as from time to time may be in effect.




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                                     EXHIBIT B

                Amended Operating Agreement of the Reorganized Debtor
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                               AMENDED AND RESTATED
                        LIMITED LIABILITY COMPANY AGREEMENT

                                                   OF

                                       RED RIVER 7$/& LLC

                                   a Texas limited liability company

           This AMENDED AND RESTATED LIMITED LIABILITY COMPANY AGREEMENT
   of Red River Talc LLC is declared and entered into by the undersigned, and shall be effective as
   of [y] (the “Effective Date”).

                                             ARTICLE I
                                            DEFINITIONS

           1.01 Specific Definitions. As used in this Agreement, the following terms have
   the following meanings:

          “Affiliate” means, with respect to any Person, any other Person directly or indirectly
   Controlling, Controlled By or Under Common Control with, such Person.

         “Agreement” means this Amended and Restated Limited Liability Company
   Agreement (including any schedules, exhibits or attachments hereto) as amended, supplemented
   or modified from time to time.

           “Assistant Secretary” shall have the meaning set forth in Section 3.04(c)(v).

           “Assistant Treasurer” shall have the meaning set forth in Section 3.04(c)(iv).

           “Associate” means, when used to indicate a relationship with a Person: (i) an entity or
   organization for which the Person (A) is a director, general partner, member, manager or officer
   or (B) beneficially owns, directly or indirectly, either individually or through an Affiliate, 10
   percent or more of a class of voting ownership interests or similar securities of the entity or
   organization; (ii) a trust or estate in which the Person has a substantial beneficial interest or for
   which the Person serves as trustee or in a similar fiduciary capacity; (iii) the Person’s spouse or a
   relative of the Person related by consanguinity or affinity who resides with the Person; or (iv) a
   director, general partner, member, manager, officer or Affiliate of the Person.

          “Bankruptcy” means bankruptcy under any section or chapter of the Bankruptcy Code or
   under any similar law or statute of the United States or any state thereof.

           “Bankruptcy Code” means title 11 of the United States Code, as amended.

           “Board of Managers” shall have the meaning set forth in Section 3.01.

           “Certificate” shall have the meaning set forth in Section 2.01.

           “CFO” shall have the meaning set forth in Section 3.04(c)(ii).

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           “Chief Legal Officer” shall have the meaning set forth in Section 3.04(c)(vi).

           “Code” means Internal Revenue Code of 1986, as amended.

           “Company” means Red River Talc LLC, a Texas limited liability company.

          “Controlling” means, with respect to any Person, the possession, directly or indirectly, of
   the power to direct or cause the direction of the management and policies of another Person,
   through the ownership of voting securities, by contract or otherwise. The terms “Controlled By”
   and “Under Common Control” have correlative meanings.

           “Covered Person” shall have the meaning set forth in Section 3.08(a).

           “Effective Date” shall have the meaning set forth in the Preamble.

          “Encumbrance” means any mortgage, security interest, lien, pledge, equitable interest,
   easement, option, right of first refusal or a restriction or interest similar to any of the foregoing of
   any kind.

           “Legal Requirement” means any order, constitution, law, ordinance, regulation, statute or
   treaty issued by any federal, state, local, municipal, foreign, international or multinational
   governmental, administrative or judicial body or any principle of common law, in each case
   binding on or affecting the referenced Person.

          “Majority in Interest of the Members” means Members whose Percentage Interests
   aggregate to greater than 50% of the Percentage Interests of all Members, or in the event the
   Company has a single Member, such sole Member.

           “Manager” means a member of the Board of Managers.

           “Members” means the Persons identified as currently being a Member on Schedule I
   (Member Register) and all other Persons admitted as additional or substituted Members pursuant
   to this Agreement from time to time, in each case so long as they remain Members. Reference to
   a “Member” means any one of the Members if there is more than one or the sole Member if there
   is only one.

           “Membership Interest” means the ownership interest of a Member in the Company (which
   shall be considered personal property for all purposes), consisting of (i) such Member’s Percentage
   Interest in the Company’s profits, losses, allocations and distributions pursuant to this Agreement
   and the TBOC, (ii) such Member’s right to vote or grant or withhold consents with respect to
   Company matters as provided in this Agreement and the TBOC and (iii) such Member’s other
   rights and privileges as provided in this Agreement and the TBOC.

           “Officers” shall have the meaning set forth in Section 3.04(a).

          “Percentage Interest” means a Member’s share of the profits and losses of the Company
   and the Member’s percentage right to receive distributions of the Company’s assets. The
   Percentage Interest of each Member shall be the percentage set forth opposite such Member’s

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   name on Schedule I, as such Schedule shall be amended from time to time in accordance with the
   provisions of this Agreement. The combined Percentage Interest of all Members shall at all times
   equal 100%.

          “Person” means any individual, corporation (including any non-profit corporation), general
   or limited partnership, limited liability company, joint venture, estate, trust, benefit plan,
   unincorporated organization, business, syndicate, sole proprietorship, association, organization,
   labor union or other entity, association or governmental body.

           “President” shall have the meaning set forth in Section 3.04(c)(i).

          “Property” means any property, real or personal, tangible or intangible, including cash, and
   any legal or equitable interest in such property.

           “Secretary” shall have the meaning set forth in Section 3.04(c)(v).

           “Secretary of State” shall mean the Secretary of State of the State of Texas.

         “TBOC” means the Texas Business Organizations Code as it may be amended, revised or
   supplemented from time to time.

           “Transfer” means any sale, assignment, transfer, exchange, grant, hypothecation or other
   transfer (including a transfer by operation of law), absolute or as an Encumbrance.

           “Treasurer” shall have the meaning set forth in Section 3.04(c)(iv).

           “Vice President” shall have the meaning set forth in Section 3.04(c)(iii).

           1.02     Interpretation. Unless the context shall require otherwise:

                 (a)    Words importing the singular number or plural number shall include the
   plural number and singular number respectively;

                  (b)    Words importing the masculine gender shall include the feminine and
   neuter genders and vice versa;

                 (c)     References to “include,” “includes” and “including” shall be deemed to be
   followed by the phrase “without limitation”;

                  (d)     Reference in this Agreement to “herein,” “hereby” or “hereunder,” or any
   similar formulation, shall be deemed to refer to this Agreement as a whole, including the schedules
   and exhibits hereto;

                 (e)   References to documents and agreements shall include such documents and
   agreements as amended from time to time; and

                 (f)     The headings of this Agreement are for reference only and shall not be
   deemed to form a part of the text or be used in the construction or interpretation of this Agreement.


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   Unless otherwise indicated, all references to “Section” or “Sections” refer to the corresponding
   Section or Sections of this Agreement.

                                               ARTICLE II
                                              FORMATION

            2.01 Formation. The Company was formed as a Texas limited liability company by
   filing a certificate of formation (the “Certificate”) with the Secretary of State, along with the filing
   with the Secretary of State of a Certificate of Divisional Merger pursuant to which [Holdco
   (Texas)] LLC, a Texas limited liability company, effected a divisional merger pursuant to which
   the Company was created.

           2.02 Name. The Company will conduct its business under the name set forth in the
   preamble of this Agreement or such other names as the Board of Managers may select from time
   to time that comply with applicable Legal Requirements.

           2.03 Purpose. The purpose of the Company is to transact any and all lawful business for
   which a limited liability company may be formed under the TBOC and any other business or
   activity (including obtaining appropriate financing) that now or in the future may be necessary,
   incidental, proper, advisable or convenient to accomplish the foregoing purposes as determined by
   the Board of Managers and that is not forbidden by any Legal Requirement.

           2.04 Principal Office in the United States; Other Offices. The principal office of the
   Company in the United States shall be at [y], or at such other place as the Board of Managers may
   designate from time to time, which need not be in the State of Texas. The Company may have such
   other offices as the Board of Managers or any appropriate Officer designates from time to time.

          2.05 Registered Agent and Office. The Company’s registered agent for the service of
   process and the registered office shall be as reflected in the Certificate. The Board of Managers,
   from time to time, may change the registered agent or office through appropriate filings with the
   Secretary of State. In the event the registered agent ceases to act as such for any reason or the
   address of the registered office shall change, the Board of Managers shall promptly designate a
   replacement registered agent or file a notice of change of address.

         2.06 Term. The term of the Company shall be perpetual until dissolved and its affairs
   wound up in accordance with this Agreement.

           2.07 Effect of Inconsistencies with the TBOC. The Members intend to be governed by
   this Agreement even when it is inconsistent with, or different than, the non-mandatory provisions
   of the TBOC, or any other non-mandatory Legal Requirement and the TBOC shall govern those
   circumstances not addressed by this Agreement. To the extent any provision of this Agreement is
   prohibited by or conflicts with the TBOC or other Legal Requirement, this Agreement shall be
   considered amended to the smallest degree possible in order to make this Agreement effective. In
   the event the TBOC or other Legal Requirement is subsequently amended or interpreted in such a
   way to make valid any provision of this Agreement that was formerly invalid, the provision shall
   be deemed valid from the effective date of such interpretation or amendment.



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           2.08 Authorized Persons. The Managers, the Officers and any person authorized in
   writing by any of them shall each be authorized to act on behalf of the Company in regard to a
   “filing instrument” within the meaning of the TBOC as permitted by the TBOC. Any Manager or
   Officer may execute, deliver and file any certificates (and any amendments or restatements
   thereof) necessary for the Company to qualify to do business in any jurisdiction in which the
   Company may wish to conduct business.

        2.09 Title to Company Property. All of the Company’s Property shall be owned by the
   Company as an entity and no Member shall have any ownership interest in such Property in such
   Member’s individual name or right. The Company shall hold all of its Property in the name of the
   Company and not in the name of any Member.

           2.10 Certificates. The Company shall not elect to treat any of its Membership Interests
   as a “security” under Section 8-103 of the Uniform Commercial Code as is in effect in the State
   of Texas or any other applicable jurisdiction, or elect to turn its uncertificated Membership
   Interests into certificated Membership Interests.

                                      ARTICLE III
                               MANAGEMENT OF THE COMPANY

           3.01 Management by Board of Managers. Except as otherwise set forth herein, the
   management and control of the business and affairs of the Company shall be vested in a governing
   board (the “Board of Managers”). The Board of Managers shall be comprised of between one and
   three individuals as determined by the Members, and the Members shall elect the members of the
   Board of Managers from time to time. The Members, in their sole discretion, may remove any
   Manager or the entire Board of Managers at any time with or without cause. If a vacancy occurs
   on the Board of Managers, the Members may elect a successor or leave vacant the position.

           3.02 Authority and Duties of the Board of Managers and Officers. Subject to the
   terms of this Agreement and any applicable Legal Requirement, the Board of Managers shall have
   full power and authority to conduct, manage and control the business of the Company through the
   Officers. Except to the extent provided herein, each Manager and Officer shall have a fiduciary
   duty of loyalty and fiduciary duty of care similar to those of directors and officers of for-profit
   corporations under the TBOC.

           3.03     Actions of the Board of Managers.

                   (a)    Meetings. Meetings of the Board of Managers may be held at any time upon
   the call of the President or any Manager by providing at least two days’ notice to each Manager,
   unless such notice is waived by all of the Managers. A quorum shall exist for any meeting of the
   Board of Managers if half or more of the Managers are in attendance. Attendance at a meeting
   shall constitute a waiver of notice of the meeting by the Manager, unless the Manager attends the
   meeting for the sole purpose of objecting to the lack of proper notice of the meeting. The Managers
   may participate in and hold meetings by means of conference telephone, video conference or
   similar communications equipment whereby all persons participating in the meeting can hear each
   other.



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                  (b)     Required Vote; Action by Written Consent. Any and all actions of the
   Board of Managers shall be taken by the affirmative vote of a simple majority of the Managers in
   attendance. In lieu of acting at a meeting and without notice, the Board of Managers may act by
   the written consent of a simple majority of the Managers.

           3.04     Officers.

                   (a)     Generally. The Board of Managers may appoint employees or agents as
   officers from time to time (the “Officers”). The Officers shall be responsible for implementing the
   decisions of the Board of Managers and for conducting the day-to-day activities of the Company
   as determined by the Board of Managers. The Board of Managers may from time to time set the
   limits of authority of the President and other Officers, including limits regarding operating
   expenditures, capital expenditures, incurrence of debt, commencement or settlement of litigation
   and compensation of Officers and employees. Any number of offices may be held by the same
   Person.

                   (b)      Appointment; Vacancies; Removal. All Officers of the Company shall
   hold office until their successors are appointed or until their earlier death, resignation or removal.
   Whenever any vacancies shall occur in any office by death, resignation, removal, increase in the
   number of Officers, or otherwise, the same may be filled by the Board of Managers. In the
   discretion of the Board of Managers, any Officer position may be left vacant. Any Officer
   appointed by the Board of Managers may be removed with or without cause at any time in the sole
   discretion of the Board of Managers. Such removal may be with or without prejudice to the
   contract rights, if any, of the Person so removed. Appointment of an Officer shall not, of itself,
   create contract rights.

                  (c)    Officers; Delegation by the Board of Managers. To the extent the Board
   of Managers appoints the following Officers, such Officers shall have the powers and duties set
   forth below unless otherwise provided by the Board of Managers from time to time. Such other
   Officers as the Board of Managers may appoint shall perform the duties and have the powers as
   from time to time may be assigned to them by the Board of Managers. The Board of Managers
   from time to time may delegate any of its powers and duties to any Officer, employee or agent of
   the Company, including the power of delegation, for whatever period of time necessary or
   desirable.

                            (i)     President. The president (the “President”) shall have responsibility
                    for the general and active day-to-day management of the business of the Company
                    and shall carry out all orders and resolutions of the Board of Managers. The
                    President may sign deeds, mortgages, bonds, contracts or other instruments, except
                    in cases where the execution thereof shall be expressly delegated by the Board of
                    Managers or by this Agreement to some other Officer or agent of the Company,
                    or shall be required by Legal Requirement to be otherwise executed. The President
                    shall also perform such other duties and may exercise such other powers as may
                    be assigned by this Agreement or prescribed by the Board of Managers from time
                    to time.



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                            (ii)   Chief Financial Officer. The chief financial officer (the “CFO”)
                    shall have custody of the funds of the Company as may be entrusted to his keeping
                    and account for the same. The CFO shall be prepared at all times to give
                    information as to the financial condition of the Company. The CFO shall also
                    generally exercise such other powers and perform such other duties as the
                    President delegates and the Board of Managers prescribes from time to time. The
                    duties of the CFO may also be performed by the Treasurer or any Assistant
                    Treasurer appointed by the Board of Managers from time to time.

                            (iii) Vice Presidents. Any vice president (each a “Vice President”), in
                    the order of seniority unless otherwise determined by the Board of Managers, shall
                    in the absence or disability of the President perform the duties and exercise the
                    powers of the President. Each Vice President shall perform the usual and
                    customary duties that pertain to such office. Each Vice President shall generally
                    assist the President by executing deeds, mortgages, bonds, contracts or other
                    instruments, except in cases where the execution thereof shall be expressly and
                    exclusively delegated by the Board of Managers or this Agreement to some other
                    Officer or agent of the Company or shall be required by Legal Requirement to be
                    otherwise executed. Each Vice President shall also generally exercise such other
                    powers and perform such other duties as are delegated to him by the President, as
                    the Board of Managers may further prescribe from time to time, or are indicated
                    by the specific title given to such Vice President upon his or her appointment.

                            (iv)    Treasurer. The treasurer (the “Treasurer”) shall have the custody
                    of the corporate funds and securities and shall keep full and accurate accounts of
                    receipts and disbursements in books belonging to the Company and shall deposit
                    all moneys and other valuable effects in the name and to the credit of the Company
                    in such depositories as may be designated by the Board of Managers. The
                    Treasurer shall have the authority to sign and issue surety bonds on behalf of the
                    Company, except in cases where the execution thereof shall be expressly and
                    exclusively delegated by the Board of Managers or this Agreement to some other
                    Officer or agent of the Company or shall be required by Legal Requirement to be
                    otherwise executed. The duties of the Treasurer may be performed by any assistant
                    treasurer (an “Assistant Treasurer”) appointed by the Board of Managers from
                    time to time. The duties of such Assistant Treasurers may be specified or limited
                    by the specific title given to such Assistant Treasurer upon his or her appointment.

                            (v)     Secretary. The secretary (the “Secretary”) shall perform such
                    duties as may be prescribed by the President, under whose supervision he or she
                    shall be. The Secretary shall have custody of the seal of the Company, if any, and
                    the Secretary shall have authority to affix the same to any instrument requiring it,
                    and when so affixed, it may be attested by the signature of the Secretary. The
                    Board of Managers or the President may give general authority to any other Officer
                    to affix the seal of the Company and to attest the affixing by his or her signature.
                    The Secretary shall ensure that all books, reports, statements, certificates and other
                    documents and records required by Legal Requirement to be kept or filed are
                    properly kept or filed, as the case may be. The duties of the Secretary may be

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                    performed by any assistant secretary (an “Assistant Secretary”) appointed by the
                    Board of Managers from time to time. The duties of such Assistant Secretaries
                    may be specified or limited by the specific title given to such Assistant Secretary
                    upon his or her appointment. The Secretary shall also generally exercise such
                    other powers and perform such other duties as are delegated to him or her by the
                    President and as the Board of Managers may further prescribe from time to time.

                            (vi)    Chief Legal Officer. The chief legal officer (the “Chief Legal
                    Officer”) shall perform such duties as may be prescribed by the Board of Managers
                    or the President, under whose supervision he shall be. The Chief Legal Officer
                    shall perform the usual and customary duties that pertain to such office and
                    generally exercise such other powers and perform such other duties as are
                    delegated to him by the President and as the Board of Managers may further
                    prescribe from time to time. The Chief Legal Officer shall generally assist the
                    President by executing deeds, mortgages, bonds, contracts or other instruments,
                    except in cases where the execution thereof shall be expressly and exclusively
                    delegated by the Board of Managers or this Agreement to some other Officer or
                    agent of the Company or shall be required by Legal Requirement to be otherwise
                    executed.

           3.05 Voting Securities Owned by the Company. Any Officer may execute on behalf
   of the Company any contracts, powers of attorney, proxies, waivers of notice of meeting, consents
   and other instruments any of which relate to securities or partnership or other interests owned or
   held by the Company. Any Officer may, on behalf of the Company, vote in person or by proxy
   any interest of any entity in which the Company owns securities or holds other interests and at any
   meeting shall possess and may exercise any and all rights and powers incident to the ownership of
   such securities or other interests, including delegating like powers upon any other Person.

            3.06 Compensation and Expenses. Except as provided in this Agreement or as
   approved by the Board of Managers or, in the event the Board of Managers has a single Manager,
   the Members, no Manager shall receive any salary, fee or other remuneration for services rendered
   to or on behalf of the Company or otherwise in his or her capacity as a Manager. Any Manager
   who is not an Officer or employee of the Company or any of its Affiliates shall receive
   remuneration for services rendered to or on behalf of the Company or otherwise in his capacity as
   Manager as approved by the Board of Managers, or in the event the Board of Managers has a single
   Manager, the Members. Each Manager shall be reimbursed for all proper, direct expenses he or
   she reasonably incurs on behalf of the Company in performing his or her duties as a Manager either
   (a) in the Company’s sole discretion (as determined by the Board of Managers or, in the event the
   Board of Managers has a single Manager, the Members) or (b) if such expenses are pre-approved
   in writing, in either event upon submission of appropriate and all other reasonably requested
   documentation.

           3.07 Other Activities of the Members and Agreements with Related Parties. Subject
   to the provisions of any other agreement binding upon a Member, each Member, in its individual
   capacity or otherwise, will be free to engage in, to conduct or to participate in any business or
   activity whatsoever without any accountability, liability or obligation to the Company or, if then
   applicable, to any other Member, even if such business or activity competes with or is enhanced

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   by the business of the Company. The Board of Managers, in the exercise of its power and authority
   under this Agreement, may contract and otherwise deal with or otherwise obligate the Company
   to entities in which a Member may have an ownership or other financial interest.

           3.08     Indemnification; Exculpation.

                   (a)     General. Every Person who was or is a party or is threatened to be made a
   party to any threatened, pending or completed action, suit or proceeding, whether civil, criminal,
   administrative or investigative by reason of the fact that such Person is, or was at the time of the
   alleged event giving rise to a claim for indemnity, (i) a Member, Manager or Officer, (ii) an
   Affiliate of a Member, (iii) an employee, agent, fiduciary or trustee of the Company, (iv) an officer,
   director, manager, employee, agent, fiduciary or trustee of a Member or (v) serving at the request
   of the Company or a Person it Controls (directly or indirectly) as an officer, director, manager,
   employee, agent, fiduciary or trustee of another Person (each a “Covered Person”) (except a
   Covered Person shall not include a Person providing on a fee-for-service basis trustee, fiduciary
   or custodial services), shall be indemnified by the Company against any and all reasonable costs
   and expenses, judgments, fines and amounts paid in settlement actually and reasonably incurred
   by the Covered Person in connection with such action, suit or proceeding if the Covered Person
   acted in good faith and in a manner the Covered Person reasonably believed to be in or not opposed
   to the best interests of the Company, and, with respect to any criminal action or proceeding, had
   no reasonable cause to believe the Covered Person’s conduct was unlawful. The resolution of any
   action, suit or proceeding by judgment, order, settlement, conviction or upon a plea of nolo
   contendere or its equivalent, shall not, of itself, create a presumption that the Covered Person did
   not act in good faith and in a manner which the Covered Person reasonably believed to be in or
   not opposed to the best interests of the Company, and, with respect to any criminal action or
   proceeding, shall not, of itself, create a presumption that the Covered Person had reasonable cause
   to believe that the Covered Person’s conduct was unlawful.

                  (b)     Advances. Expenses (including attorneys’ fees) incurred by a Covered
   Person with respect to any action, suit or proceeding of the nature described in the preceding
   paragraph may be paid by the Company, in the sole discretion of the Board of Managers, and, if
   such Covered Person is a Member, Manager or Officer, then such expenses shall be paid by the
   Company, in advance of the final disposition of such action, suit or proceeding upon receipt of an
   undertaking by or on behalf of the Covered Person to repay such amount if it shall ultimately be
   determined that the Covered Person is not entitled to be indemnified by the Company as authorized
   in this Section 3.08. In addition, the Company may elect at any time to discontinue advancing
   expenses to a Covered Person (other than a Member, Manager or Officer) if such advancement is
   determined by the Company, in its sole discretion, not to be in the best interest of the Company.

                  (c)     Indemnity Limited to Assets. Indemnification under this Section 3.08
   shall be made only out of the assets of the Company. Neither any Member nor any Manager shall
   be personally liable for such indemnification, and they shall have no obligation to contribute or
   loan any monies or Property to the Company to enable it to provide such indemnification.

                  (d)    Insurance. The Company may purchase and maintain (or reimburse any
   Member or its Affiliates the cost of) insurance on behalf of any Covered Person, and any other
   Person that the Board of Managers determines, against any liability that may be asserted against

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   or expense that may be incurred by such Persons in connection with the Company’s activities or
   such Persons’ activities on behalf of the Company, regardless of whether the Company would have
   the power to indemnify such Persons against such liability or expense under this Agreement.

                  (e)    Other Contracts and Procedures. The Company may enter into indemnity
   contracts with Covered Persons and such other Persons as the Board of Managers shall determine
   and adopt written procedures pursuant to which arrangements are made for the advancement of
   expenses and the funding of obligations under this Section 3.08 and containing such other
   procedures regarding indemnification as are appropriate.

                   (f)     Exculpation. Notwithstanding anything in this Agreement to the contrary,
   to the full extent permitted by the TBOC or any other applicable Legal Requirement currently or
   hereafter in effect, no Member, Manager or Officer will be personally liable to the Company or
   any Member, Manager or Officer for or with respect to any act or omission by such Member,
   Manager or Officer in such capacity. Any elimination or modification of this Section 3.08(f) will
   not adversely affect any right or protection of a Member, Manager or Officer existing prior to such
   elimination or modification.

           3.09     Approval of Certain Contracts and Transactions.

                  (a)    This Section 3.09 applies to a contract or transaction between the Company
   and (i) one or more Managers or Officers, or one or more Affiliates or Associates of one or more
   Managers or Officers, or (ii) an entity or organization in which one or more Managers or Officers,
   or one or more Affiliates or Associates of one or more Managers or Officers, is (A) a director,
   general partner, member, manager or officer or (B) has a financial interest.

                   (b)     The Company may enter into a contract or transaction described in Section
   3.09(a) if one of the following conditions is satisfied:

                            (i)     the material facts as to the relationship or interest described in
                    Section 3.09(a) and as to the contract or transaction are disclosed to or known by
                    the Board of Managers and the Board of Managers in good faith authorizes the
                    contract or transaction by the approval of a majority of the disinterested Managers
                    or, if there is only one disinterested Manager, the sole disinterested Manager,
                    regardless of whether the disinterested Managers or Manager constitutes a
                    quorum; or

                           (ii)    the material facts as to the relationship or interest described in
                    Section 3.09(a) and as to the contract or transaction are disclosed to or known by
                    the Members and the Members in good faith approve the contract or transaction
                    by vote of the Members; or

                            (iii) the contract or transaction is fair to the Company when the contract
                    or transaction is authorized, approved or ratified by the Board of Managers or the
                    Members.

                (c)     Interested Managers may be included in determining the presence of a
   quorum at a meeting of the Board of Managers that authorizes the contract or transaction.

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                  (d)     A Person who has the relationship or interest described in Section 3.09(a)
   may (i) be present at or participate in and, if the Person is a Manager, may vote at a meeting of the
   Board of Managers that authorizes the contract or transaction or (ii) sign, in the Person's capacity
   as a Manager, a written consent of the Board of Managers to authorize the contract or transaction.

                                     ARTICLE IV
                       RIGHTS AND OBLIGATIONS OF THE MEMBERS

           4.01 Limitation of Liability. Except as provided by the provisions of the TBOC that
   may not be modified by this Agreement or waived under any Legal Requirement, no Member shall
   be liable for any obligation of the Company solely by reason of being or acting as a Member. The
   failure of the Company to observe any formalities or requirements relating to the exercise of its
   powers or management of its business or affairs under this Agreement or the TBOC shall not be
   grounds for imposing liability on a Member for liabilities of the Company.

           4.02 Compensation of the Members. A Member shall be reimbursed for all proper,
   direct expenses it reasonably incurs on behalf of the Company in performing its duties as a Member
   upon delivery by such Member to the Company of a detailed invoice (including amounts paid to
   any Person to perform services for the Company).

           4.03 Profits and Losses; Distributions. Subject to the Code, if the Company has more
   than one Member under the Code, each item of income, gain, loss, deduction or credit of the
   Company, for each fiscal year of the Company, shall be allocated among the Members in
   proportion to their respective Percentage Interests. Except as prohibited by provisions of the TBOC
   that may not be modified by this Agreement or waived under applicable Legal Requirements, the
   Company may make distributions as determined by and in the sole discretion of the Board of
   Managers; notwithstanding the foregoing, no distribution shall be made if such distribution would
   violate Section 101.206 of the TBOC or any other applicable Legal Requirement.

            4.04 No Nonvoting Ownership Interests. To the extent prohibited by section
   1123(a)(6) of chapter 11 of the Bankruptcy Code, the Company will not issue nonvoting ownership
   interests; provided, however, that the foregoing restriction (a) will have no further force or effect
   beyond that required by section 1123 of the Bankruptcy Code, (b) will have force and effect only
   for so long as section 1123 of the Bankruptcy Code is in effect and appliable to the Company, and
   (iii) in all events may be amended or eliminated in accordance with the TBOC and any other
   applicable Legal Requirements as from time to time may be in effect.

                                         ARTICLE V
                                  MEETINGS OF THE MEMBERS

          5.01 No Required Meetings. The Members may, but shall not be required to, hold
   annual, periodic or other formal meetings.

           5.02 Action by the Members. Action required or permitted to be taken at a meeting of
   the Members may be taken without a meeting and without notice if the action is evidenced by a
   written consent, approval or resolution describing the action taken. All decisions of the Members,
   whether at a meeting or by written consent, approval or resolution, must be made or taken by a
   Majority in Interest of the Members.
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                                          ARTICLE VI
                                       BOOKS AND RECORDS

           6.01 Maintenance of Books and Records. The Company may maintain at its principal
   office, separate books of account for the Company that include a record of all costs and expenses
   incurred, all charges made, all credits made and received and all income derived in connection
   with the conduct of the Company and the operation of its business in accordance with this
   Agreement.

            6.02 Access to Books, Records, etc. A Member or any of its agents or representatives,
   at such Member’s own expense and upon reasonable notice during normal business hours, may
   visit and inspect any of the properties of the Company (subject to reasonable safety requirements)
   and examine and audit any information it may reasonably request and make copies of and abstracts
   from the financial and operating records and books of account of the Company and its subsidiaries
   and copies of any other documents relating to the businesses of the Company and its subsidiaries,
   and discuss the affairs, finances and accounts of the Company and its subsidiaries with any
   Manager, any other Member, any Officer and the independent accountants of the Company, if any,
   all at such reasonable times and as often as such Member or any of its agents or representatives
   may reasonably request.

            6.03 Reliance on Documents and Reports. The appropriate Officer shall cause to be
   prepared and to be delivered to the Members by the Company any other reports or information
   regarding the Company or its subsidiaries that a Majority in Interest of the Members requests. The
   Board of Managers shall be fully protected in relying in good faith upon the records of the
   Company and upon such information, opinions, reports or statements presented to the Company
   by any of its Members, Officers or employees, or by any other Person as to matters the Board of
   Managers reasonably believes are within such other Person’s professional or expert competence
   and who has been selected with reasonable care by or on behalf of the Company (including,
   without limitation, information, opinions, reports or statements as to the value and amount of the
   assets, liabilities, profits or losses of the Company or any other facts pertinent to the existence and
   amount of assets from which distributions to Members might properly be paid). In addition, the
   Board of Managers may consult with legal counsel, accountants, appraisers, management
   consultants, investment bankers and other consultants and advisors selected by them, and any
   opinion of any such Person as to matters which the Board of Managers reasonably believes to be
   within such Person’s professional or expert competence shall be full and complete authorization
   and protection in respect of any action taken or suffered or omitted by the Board of Managers in
   good faith and in accordance with such opinion.

                                     ARTICLE VII
                        TRANSFER OF MEMBERSHIP INTERESTS AND
                             ADMISSION OF ASSIGNEES AND
                                ADDITIONAL MEMBERS

           7.01 Transfer. A Member may effect a Transfer of all or a portion of its Membership
   Interest either voluntarily or by operation of law. Notwithstanding any provision of the TBOC to
   the contrary, upon the Transfer of a Membership Interest, the transferee shall be admitted
   immediately as a Member without further action upon the completion of the Transfer. Upon the

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   Transfer of all of a Member’s Membership Interest (other than the transfer of an Encumbrance),
   the transferring Member shall cease to be a Member and, to the fullest extent permitted by Legal
   Requirements, shall have no further rights or obligations under this Agreement, except that the
   transferring Member shall have the right to such information as may be necessary for the
   computation of the transferring Member’s tax liability. In connection with a Transfer of all of the
   Membership Interests in the Company, the transferee shall be admitted as a Member immediately
   before the transferring Member ceases to be a Member and the Company shall continue without
   dissolution.

          7.02 Admission of Additional Members. The Members may admit additional Members
   from time to time and determine the capital contributions to be made by such additional Members.

          7.03 Member Register. Schedule I will be updated by the Secretary or any Assistant
   Secretary for the name, business address and Percentage Interest of each additional or substituted
   Member of the Company, and any such update will not be considered to be an “amendment” of
   this Agreement.

                                        ARTICLE VIII
                                 DISSOLUTION AND WINDING UP

            8.01 Dissolution. The Company shall be dissolved and its affairs wound up, only upon
   the first to occur of the following: (a) the written consent of a Majority in Interest of the Members;
   (b) the termination of the legal existence of the last remaining Member or the occurrence of any
   other event that terminates the continued membership of the last remaining Member in the
   Company unless the business of the Company is continued in a manner permitted by this
   Agreement or the TBOC; or (c) the entry of a decree of judicial dissolution under Section 11.301
   of the TBOC that has become final. Anything in this Agreement to the contrary notwithstanding,
   the Bankruptcy of a Member shall not cause such Member to cease to be a Member and upon the
   occurrence of a Bankruptcy of a Member, the business of the Company shall continue without
   dissolution. The existence of the Company as a separate legal entity shall continue until the
   cancellation of the Certificate as provided in the TBOC.

           8.02 Effect of Dissolution. Upon dissolution, the Company shall continue solely for the
   purpose of winding up its affairs in an orderly manner, liquidating its assets (with sufficient time
   allowed to minimize the losses normally associated with liquidation) and satisfying the claims of
   its creditors and the Members, and neither the Board of Managers nor any Member shall take any
   action with respect to the Company that is inconsistent with the winding up of the Company’s
   business and affairs, until such time as the Company’s Property has been distributed pursuant to
   this Section 8.02 and the existence of the Company has been terminated pursuant to the TBOC.
   The Officers, or, if there are none, the Managers, or, if there are none, the Members, shall be
   responsible for overseeing the winding up of the Company. The Persons winding up the Company
   shall take full account of the Company’s Property and liabilities and shall cause as soon as
   reasonably practicable the Company’s Property or the proceeds from the sale or disposition
   thereof, to the extent sufficient therefor, to be applied and distributed, to the maximum extent
   permitted by any applicable Legal Requirement and notwithstanding anything in this Agreement
   to the contrary, in the following order (without duplication):


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                   (a)      First, to creditors, including Members and their Affiliates who are creditors,
   in satisfaction of the liabilities of the Company (whether by payment or reasonable provision for
   payment); and

                    (b)   Second, to the Members in proportion to their Percentage Interests.

          8.03 No Restoration of Capital Account. In no event shall a Member be required to
   contribute additional capital to the Company, upon the liquidation of the Company or at any other
   time.

            8.04 Winding Up and Certificate of Termination. The winding up of the Company
   shall be completed when all debts, liabilities and obligations of the Company have been paid and
   discharged or reasonably adequate provision therefor has been made, and all of the remaining
   Property of the Company has been distributed to the Members. Upon the completion of winding
   up of the Company, a certificate of termination shall be delivered to the Secretary of State for
   filing. The certificate of termination shall set forth the information required by the TBOC.

                                            ARTICLE IX
                                          MISCELLANEOUS

         9.01 Amendment. This Agreement may be amended from time to time only by a written
   agreement executed by a Majority in Interest of the Members.

           9.02 Governing Law; Signatures and Records. This Agreement and the rights and
   duties of the Members arising under this Agreement shall be governed by, and construed in
   accordance with, the laws of the State of Texas, without reference to the conflict of laws rules
   thereof that would call for the application of the laws of any other jurisdiction. Any signature on
   this Agreement, and any certificate or other document or agreement which the Company is
   authorized to issue or execute pursuant to this Agreement, may be a facsimile, a conformed
   signature or an electronically transmitted signature. Any consent, approval or resolution
   transmitted by electronic transmission by a Manager, Member or a Person or Persons authorized
   to act for a Member shall be deemed to be written and signed for purposes of this Agreement.
   Unless a Member expressly requests otherwise, all notices, disclosures, authorizations,
   acknowledgements and other documents required to be provided by any other Member or the
   Company or related to the Company, including its operation, governance and internal affairs, may
   be transmitted electronically to such Member. The Company may maintain a copy of this
   Agreement, all other information required to be maintained by the TBOC and all of its other
   records in electronic or any other non-written form that is capable of conversion into written form
   within a reasonable time.

          9.03 Rights of Creditors and Third Parties Under Agreement. This Agreement is
   declared and entered into by the Members for the exclusive benefit of the Company, the Members,
   the Managers and their successors and assignees, and is not intended for the benefit of any creditor
   of the Company or any other Person. Except and only to the extent required by a Legal
   Requirement, no such creditor or other Person shall have any rights under this Agreement or any
   agreement between the Company and the Members with respect to any capital contribution.



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        9.04 Successors and Assigns. This Agreement shall be binding upon and benefit the
   Members and their successors and assigns.

           9.05 Severability. The invalidity or unenforceability of any provision of this Agreement
   shall not affect the validity or enforceability of its other provisions. Following a determination by
   a court of competent jurisdiction that any provision of this Agreement is invalid or unenforceable,
   the Members shall negotiate in good faith new provisions that, as far as legally possible, most
   nearly reflect the intent of the Members originally expressed herein and that restore this Agreement
   as nearly as possible to its original intent and effect.

         9.06 Entire Agreement. This Agreement represents the entire declaration and
   agreement by the Members.

          9.07 Construction. Every covenant, term and provision of this Agreement shall be
   construed simply according to its fair meaning and not strictly for or against any party.


                                       [Signature Page Follows]




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           IN WITNESS WHEREOF, the sole Member has executed this Agreement as of the
   Effective Date.



                                                        [New Intermediate Holding Corp], a New
                                                        Jersey corporation


                                                        By:
                                                              Name: [y]
                                                              Title: [y]




                    [Signature Page to Limited Liability Company Agreement of LLT Management LLC]
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                                      SCHEDULE I – MEMBER REGISTER

                    To the Amended and Restated Limited Liability Company Agreement

                                                                of

                             Red River Talc LLC (a Texas limited liability company)


                                                                                 Percentage   Dates of
     Member Name and Address
                                                                                 Interest     Admission/Departure

     [New Intermediate Holding Corp] (a New Jersey corporation)
     One Johnson & Johnson Plaza
     New Brunswick, NJ 08933
                                                                                 100%                 [y]
     Received interest upon formation in connection with the divisional merger
     of [Holdco (Texas)] LLC, a Texas limited liability company, into three
     newly created Texas limited liability companies, one of which was the
     Company




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                                   EXHIBIT C

                                Cash Contributions
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                                               Cash Contributions

           On each date specified in the table below (column (a)), the Reorganized Debtor shall
   deliver, or cause to be delivered, to the Talc Personal Injury Trust Cash Contributions in the
   amount set forth opposite such date (column (b)).

                                                         7RWDO$PRXQWRI&DVK
                                                          Contribution to be
                               'HOLYHU\'DWHIRU&DVK   'HOLYHUHGWRWKH7DOF
                                   Contribution*         3HUVRQDO,QMXU\Trust
                                         D                         b
                              Effective Date               $2,000,000,000, as
                                                               adjusted**
                              1st Anniversary of           $2,000,000,000, as
                              Petition Date                   adjusted***
                              2nd Anniversary of            $740,000,000, as
                              Petition Date                   adjusted***
                              3rd Anniversary of            $740,000,000, as
                              Petition Date                   adjusted***
                              7th Anniversary of              $87,500,000
                              Petition Date
                              12th Anniversary of            $483,000,000
                              Petition Date
                              17th Anniversary of            $483,000,000
                              Petition Date
                              22nd Anniversary of            $483,000,000
                              Petition Date
                              25th Anniversary of            $481,500,000
                              Petition Date
                                      TOTAL                $7,498,000,000 as
                                                               adjusted



   *     No Cash Contribution shall be delivered prior to the Effective Date. If the delivery date for
         a Cash Contribution set forth below occurs prior to the Effective Date, such Cash
         Contribution shall instead be delivered on the Effective Date.

   **    The amount to be delivered to the Talc Personal Injury Trust on the Effective Date shall be
         adjusted as follows:

         (a)    commencing on the first Business Day after the Confirmation Date, interest shall accrue
                on such amount at the rate of 4.41% per annum, with interest to be calculated (i) on the
                basis of a 365/366-day year and paid for the actual number of days elapsed and
                (ii) taking into account the amounts and dates of any Cash advances made by the Debtor
                in accordance with the Trust Expense Advancement Order prior to the Effective Date;
                and


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         (b)    such amount shall be reduced by the aggregate amount of any Cash advanced by the
                Debtor in accordance with the Trust Expense Advancement Order prior to the Effective
                Date.

   *** If the delivery date set forth for such Cash Contribution occurs prior to the Effective Date
       and, accordingly, such Cash Contribution is to be delivered on the Effective Date, the amount
       to be delivered to the Talc Personal Injury Trust shall be adjusted as follows: commencing
       on the first Business Day after the delivery date set forth for such Cash Contribution, interest
       shall accrue on such amount at the rate of 4.41% per annum, with interest to be calculated on
       the basis of a 365/366-day year and paid for the actual number of days elapsed.




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                                    EXHIBIT D

                         Cash Contributions Parent Guarantee
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   THIS GUARANTEE HAS BEEN ISSUED PURSUANT TO SECTION 1145 OF THE U.S.
   BANKRUPTCY CODE, WHICH PROVIDES AN EXEMPTION FROM THE REGISTRATION
   REQUIREMENTS OF THE SECURITIES ACT OF 1933, AS AMENDED, AND APPLICABLE
   STATE STATUTES.

                                            GUARANTEE

                                                  [y]

           This GUARANTEE (this “Guarantee”) is issued pursuant to the Prepackaged Chapter 11
   Plan of Reorganization (the “Plan”) of Red River Talc LLC, debtor in the chapter 11 case
   captioned In re: Red River Talc LLC, Case No. [y] ([y]) pending in the United States Bankruptcy
   Court for the [y] District of Texas. All capitalized terms used herein and not otherwise defined
   herein shall have the meanings ascribed to them in the Plan.

           Each of JOHNSON & JOHNSON, a New Jersey corporation (“J&J”), and JOHNSON &
   JOHNSON HOLDCO (NA) INC., a New Jersey corporation (“New Holdco” and, together with
   J&J, the “Guarantors” and each, a “Guarantor”), for the benefit of the RED RIVER TALC
   PERSONAL INJURY TRUST (the “Talc Personal Injury Trust”), hereby unconditionally
   guarantees the full and timely delivery of each Cash Contribution to the Talc Personal Injury
   Trust, in each case, to the extent such Cash Contribution is required to be made pursuant to and
   in accordance with Section 4.9.1(a) of, and Exhibit C to, the Plan, on the terms set forth herein
   (the “Guarantee Obligation”).

           SECTION 1. Independent Obligation. The Guarantee Obligation is an independent
   obligation of each Guarantor and, upon any failure of the Reorganized Debtor to timely deliver a
   Cash Contribution in full in accordance with Section 4.9.1(a) of, and Exhibit C to, the Plan, the
   Talc Personal Injury Trust may proceed against either Guarantor, or both Guarantors, without
   proceeding against or joining the Reorganized Debtor.

           SECTION 2. Continuing Obligation. The Guarantee Obligation of each Guarantor is a
   continuing obligation and will remain in full force and effect, notwithstanding any available
   defenses, so long as any obligations of the Reorganized Debtor remain outstanding under Section
   4.9.1(a) of, and Exhibit C to, the Plan.

          SECTION 3. Payment Obligation. The Guarantee Obligation of each Guarantor is a
   guarantee of payment and not of collection.

           SECTION 4. Certain Guarantor Representations. Each Guarantor hereby represents
   and warrants to the Talc Personal Injury Trust as follows: (a) such Guarantor is a corporation
   validly organized and existing under the laws of the State of New Jersey and a controlling
   Affiliate of the Reorganized Debtor; (b) such Guarantor has all requisite power, authority and
   legal capacity to execute and deliver this Guarantee and perform its obligations hereunder; (c)
   the execution and delivery of this Guarantee has been duly authorized by all required action by
   such Guarantor and is the legal, valid and binding obligation of such Guarantor, enforceable
   against such Guarantor in accordance with its terms, subject to applicable bankruptcy,
   insolvency, reorganization, moratorium and similar laws affecting creditors’ rights and remedies
   generally and to general principles of equity; (d) neither such Guarantor’s execution and delivery
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   of this Guarantee nor the performance by such Guarantor of its obligations hereunder will violate
   or conflict with the certificate of incorporation or by-laws of such Guarantor or with any law or
   any material contract, permit or order to which such Guarantor is a party or by which such
   Guarantor is bound; and (e) no consent or authorization or notice to any person or entity is
   required in connection with such Guarantor’s execution or delivery of this Guarantee or the
   performance by such Guarantor of its obligations hereunder.

           SECTION 5. Certain Guarantor Acknowledgements. Each Guarantor acknowledges
   that holders of Channeled Talc Personal Injury Claims may have voted to accept the Plan in
   reliance on such Guarantor’s execution and delivery of this Guarantee.

            SECTION 6. Notices. Any notice or other communication hereunder shall be by hand
   delivery, overnight delivery via nationally recognized overnight delivery service or registered or
   certified United States mail with return receipt, postage prepaid, addressed to the receiving party
   at its address specified below (or at any other address that the receiving party may hereafter
   specify to the delivering party in writing), and unless otherwise provided herein shall be deemed
   to have been given or made when delivered or, if sent via United States mail, when the return
   receipt therefor is signed by the receiving party:

           Talc Personal Injury Trust:      Red River Talc Personal Injury Trust
                                            [y]
                                            [y]
                                            Attention: [y]

           J&J:                             Johnson & Johnson
                                            One Johnson & Johnson Plaza
                                            New Brunswick, NJ 08933
                                            Attention: Treasurer

           New Holdco:                      Johnson & Johnson Holdco (NA) Inc.
                                            One Johnson & Johnson Plaza
                                            New Brunswick, NJ 08933
                                            Attention: President

          SECTION 7. Governing Law. This Guarantee shall be deemed a contract made under
   the laws of the State of Texas without regard to principles of conflicts of laws.

          SECTION 8. Severability. If any one or more of the provisions contained in this
   Guarantee are invalid, illegal, or unenforceable in any respect, the validity, legality, or
   enforceability of all the remaining provisions will not in any way be affected or impaired. If any
   one or more provisions contained in this Guarantee are deemed invalid, illegal, or unenforceable
   because of their scope or breadth, such provisions shall be reformed and replaced with provisions
   whose scope and breadth are valid under applicable law.

          SECTION 9. Assignment; Amendment and Waiver. This Guarantee shall bind each
   Guarantor and its successors and assigns and shall inure to the benefit of the Talc Personal Injury
   Trust. Neither this Guarantee nor any rights hereunder may be assigned, in whole or in part, by
   the Talc Personal Injury Trust, and any such purported assignment shall be void. This Guarantee
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   may be assigned, in whole or in part, by each Guarantor, but neither Guarantor shall be relieved
   of any of its obligations hereunder as a result of any such assignment unless the Talc Personal
   Injury Trust shall otherwise agree in writing. No amendment or waiver of any provision of this
   Guarantee shall in any event be effective unless the same shall be in writing, specifically refer to
   this Guarantee, and be signed by each of the Guarantors and the Talc Personal Injury Trust, and
   then such amendment or waiver shall be effective only in the specific instance and for the
   specific purpose for which given. A waiver on any such occasion shall not be construed as a bar
   to, or waiver of, any such right or remedy on any future occasion.

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           IN WITNESS WHEREOF, each Guarantor has executed and delivered this Guarantee on
   the date first written above.

                                                     JOHNSON & JOHNSON


                                                     By: ____________________________________
                                                     Name: _________________________________
                                                     Title: __________________________________




                                                     JOHNSON & JOHNSON HOLDCO (NA) INC.


                                                     By: ____________________________________
                                                     Name: _________________________________
                                                     Title: __________________________________


    The foregoing is agreed to and accepted as of
    the date first written above by the following:

    RED RIVER TALC PERSONAL INJURY
    TRUST

    By: _________________________________
    Name: ______________________________
    Title: _______________________________




                                    [Signature Page to Guarantee]
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                                    EXHIBIT E

                               Cooperation Agreement

                                    (TO COME)
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                                    EXHIBIT F

                              Retained Rights of Action

                                    (TO COME)
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                                    EXHIBIT G

                               Talc Insurance Policies
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                                                        EXHIBIT G

                                                 Talc Insurance Policies

                                                       General Description
     LTL Management LLC is an insured under insurance policies issued to Johnson & Johnson
     A.G. Securitas ‐ Insurance Policy No. 7339178
     A.G. Securitas ‐ Insurance Policy No. 7339186
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 1209 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 1211 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 1213 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 1577 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 1598 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2001 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2002 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2003 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2336 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2476 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2478 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2480 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2482 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2838 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2840 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2842 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 2844 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3219 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3220 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3221 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3222 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3538 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3539 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3540 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3541 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 3985 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 4052 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 4536 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 4537 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 4538 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 4539 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 509 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 509 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 509 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 01 XN 945 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 012470 SC(Y)


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     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 012470 SC(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 128800 SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 128800 SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 128800 SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 144156 SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 234570 SRA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 234935 SRA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 237601 SRA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 237618
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 237624 SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 252868 SRA(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 5000SRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 5000SRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 5000SRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 5000SRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 5000SRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 9608‐SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 9608‐SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 AL 9608‐SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 GL 18 SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 LC 3025RRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 LC 4798Y
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 LC 4800RRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 LC 4800RRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 LC 4800RRY
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 01 SC(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 02 SC(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 03 SC(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 04 SCA(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 07 SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 09SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 10 SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 15 SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK 18 SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK11SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK13SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 PK17SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 07 SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC

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     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 1 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 9 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 9 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XN 9 WCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XS 3 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XS 3 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XS 3 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XS 36 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XS 36 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38 XS 36 SC
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38AL138750 SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38AL138750 SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38AL138750 SR(Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38PK 05 SCA (Y)
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38XS 550SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38XS 550SCA
     Aetna Casualty and Surety (Travelers) ‐ Insurance Policy No. 38XS 550SCA
     Affiliated FM Ins. Company ‐ Insurance Policy No. XL 96447
     Affiliated FM Ins. Company ‐ Insurance Policy No. XL 97780
     Affiliated FM Ins. Company ‐ Insurance Policy No. XL 98363
     AIU Ins. Company ‐ Insurance Policy No. 75‐100006
     AIU Ins. Company ‐ Insurance Policy No. 75‐101004
     AIU Ins. Company ‐ Insurance Policy No. 75‐101768
     AIU Ins. Company ‐ Insurance Policy No. 75‐102009
     AIU Ins. Company ‐ Insurance Policy No. 75‐102228
     AIU Ins. Company ‐ Insurance Policy No. 75‐102237
     AIU Ins. Company ‐ Insurance Policy No. 75‐104350
     Allianz Ins. Company ‐ Insurance Policy No. XL 55 95 63
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐03‐79
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐03‐79
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐11‐98
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐11‐99
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐12‐00
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐13‐74
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐13‐75
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐13‐76
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐26‐18
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐26‐18
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐26‐54
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐00‐26‐54
     American Centennial Ins. Company ‐ Insurance Policy No. CC‐01‐58‐73
     American Motorists Ins. Company ‐ Insurance Policy No. 1YM 578 951‐01
     American Motorists Ins. Company ‐ Insurance Policy No. 1YM 578 951‐01
     American Motorists Ins. Company ‐ Insurance Policy No. 1YM 578 951A

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     American Motorists Ins. Company ‐ Insurance Policy No. 1YM 578 951A
     American Re‐Insurance Company ‐ Insurance Policy No. M1049624
     Assurances Generales De France ‐ Insurance Policy No. 59243/85
     Assurantiekantoor VanWijk & Co. ‐ Insurance Policy No. 7335660
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6073435
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6073443
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6073583
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6073584
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6073751
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6073752
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6073908
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6074011
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6074012
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6074203
     Birmingham Fire Ins. Company ‐ Insurance Policy No. SE 6074226
     Central National Ins. Company of Omaha ‐ Insurance Policy No. CNZ 14‐06‐28
     Central National Ins. Company of Omaha ‐ Insurance Policy No. CNZ 14‐07‐46
     Central National Ins. Company of Omaha ‐ Insurance Policy No. CNZ 14‐07‐48
     City Ins. Company ‐ Insurance Policy No. HEC 9 69 37 45
     City Ins. Company ‐ Insurance Policy No. HEC 9 69 37 45
     City Ins. Company ‐ Insurance Policy No. HEC 9 69 37 53
     City Ins. Company ‐ Insurance Policy No. HEC 9 69 37 53
     City Ins. Company ‐ Insurance Policy No. HEC 9 82 57 73
     City Ins. Company ‐ Insurance Policy No. HEC 9 82 63 69
     City Ins. Company ‐ Insurance Policy No. HEC 9 82 63 70
     City Ins. Company ‐ Insurance Policy No. HEC 9 82 63 71
     Colonia Versicherungs AG, Koln ‐ Insurance Policy No. Unknown
     Colonia Versicherungs AG, Koln ‐ Insurance Policy No. Unknown
     Drake Ins. Company of New York ‐ Insurance Policy No. XL 01437
     Employers Ins. of Wausau ‐ Insurance Policy No. 5734‐00‐300600
     Employers Ins. of Wausau ‐ Insurance Policy No. 5734‐00‐300601
     Employers Ins. of Wausau ‐ Insurance Policy No. 5735‐00‐100273
     Employers Ins. of Wausau ‐ Insurance Policy No. 5735‐00‐100273
     Employers Ins. of Wausau ‐ Insurance Policy No. 5735‐00‐100273
     Employers Ins. of Wausau ‐ Insurance Policy No. 5735‐00‐100561
     Employers Ins. of Wausau ‐ Insurance Policy No. 5735‐02‐100561
     Employers Ins. of Wausau ‐ Insurance Policy No. 5735‐03‐100561
     Employers Ins. of Wausau ‐ Insurance Policy No. 5735‐04‐100561
     Employers Ins. of Wausau ‐ Insurance Policy No. 5736 00 102585
     Employers Mutual Casualty Company ‐ Insurance Policy No. MMO‐70634
     Employers Mutual Casualty Company ‐ Insurance Policy No. MMO‐71147
     Eurinco Allgemeine Versicherungs AG, Dusseldorf ‐ Insurance Policy No. Unknown
     Eurinco Allgemeine Versicherungs AG, Dusseldorf ‐ Insurance Policy No. Unknown
     Fireman's Fund Ins. Company ‐ Insurance Policy No. XLX 120 28 48
     Fireman's Fund Ins. Company ‐ Insurance Policy No. XLX 126 71 73

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     First State Ins. Company ‐ Insurance Policy No. 924197
     First State Ins. Company ‐ Insurance Policy No. 924214
     First State Ins. Company ‐ Insurance Policy No. 925944
     First State Ins. Company ‐ Insurance Policy No. 925945
     First State Ins. Company ‐ Insurance Policy No. 927459
     First State Ins. Company ‐ Insurance Policy No. 927460
     First State Ins. Company ‐ Insurance Policy No. 929233
     First State Ins. Company ‐ Insurance Policy No. 929234
     First State Ins. Company ‐ Insurance Policy No. 930826
     First State Ins. Company ‐ Insurance Policy No. 930827
     First State Ins. Company ‐ Insurance Policy No. 932300
     First State Ins. Company ‐ Insurance Policy No. 934289
     First State Ins. Company ‐ Insurance Policy No. 934290
     Gibraltar Casualty Company ‐ Insurance Policy No. GMX 00825
     Gibraltar Casualty Company ‐ Insurance Policy No. GMX 01456
     Gibraltar Casualty Company ‐ Insurance Policy No. GMX 02007
     Gibraltar Casualty Company ‐ Insurance Policy No. GMX 02521
     Granite State Ins. Company ‐ Insurance Policy No. 6179‐0868
     Granite State Ins. Company ‐ Insurance Policy No. 6179‐1003
     Granite State Ins. Company ‐ Insurance Policy No. 6180‐1791
     Granite State Ins. Company ‐ Insurance Policy No. 6481‐5094
     Granite State Ins. Company ‐ Insurance Policy No. 6481‐5095
     Granite State Ins. Company ‐ Insurance Policy No. 6481‐5096
     Granite State Ins. Company ‐ Insurance Policy No. 6482‐5317
     Granite State Ins. Company ‐ Insurance Policy No. 6482‐5318
     Granite State Ins. Company ‐ Insurance Policy No. 6482‐5562
     Granite State Ins. Company ‐ Insurance Policy No. 6483‐5520
     Granite State Ins. Company ‐ Insurance Policy No. 6483‐5521
     Granite State Ins. Company ‐ Insurance Policy No. 6483‐5522
     Granite State Ins. Company ‐ Insurance Policy No. 6483‐5523
     Granite State Ins. Company ‐ Insurance Policy No. 6484‐0068
     Granite State Ins. Company ‐ Insurance Policy No. 6484‐0068
     Granite State Ins. Company ‐ Insurance Policy No. 6484‐0068
     Granite State Ins. Company ‐ Insurance Policy No. 6484‐5726
     Granite State Ins. Company ‐ Insurance Policy No. 6484‐5726
     Granite State Ins. Company ‐ Insurance Policy No. 6484‐5726
     Granite State Ins. Company ‐ Insurance Policy No. 6485‐7000
     Granite State Ins. Company ‐ Insurance Policy No. 6485‐7001
     Granite State Ins. Company ‐ Insurance Policy No. SCLD 80‐94068
     Great Northern Ins. Company ‐ Insurance Policy No. (82) 7129‐89‐81
     Great Northern Ins. Company ‐ Insurance Policy No. (83) 7129‐89‐81
     Great Northern Ins. Company ‐ Insurance Policy No. (84) 7129‐89‐81
     Great Northern Ins. Company ‐ Insurance Policy No. (85) 7129‐89‐81
     Great Northern Ins. Company ‐ Insurance Policy No. (86) 7129‐89‐81
     Great Southwest Fire Ins. Company ‐ Insurance Policy No. XL 13811

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     Groupe Drouot ‐ Insurance Policy No. 59243/85
     Groupe Drouot ‐ Insurance Policy No. XF 750027D (59244/85)
     Harbor Ins. Company ‐ Insurance Policy No. HI 178415
     Harbor Ins. Company ‐ Insurance Policy No. HI 178575
     Hartford Accident and Indemnity Company ‐ Insurance Policy No. 10 XS 103213
     Hartford Accident and Indemnity Company ‐ Insurance Policy No. 10 XS CB 6983
     Hartford Accident and Indemnity Company ‐ Insurance Policy No. 10 XS CB6983
     Hartford Accident and Indemnity Company ‐ Insurance Policy No. 10 XS GN 4596
     Home Ins. Company ‐ Insurance Policy No. HEC 1 20 34 76
     Home Ins. Company ‐ Insurance Policy No. HEC 1 20 34 77
     Home Ins. Company ‐ Insurance Policy No. HEC 1 20 34 78
     Home Ins. Company ‐ Insurance Policy No. HEC 1 70 34 79
     Home Ins. Company ‐ Insurance Policy No. HEC 4 35 67 55
     Home Ins. Company ‐ Insurance Policy No. HEC 4 35 67 55
     Home Ins. Company ‐ Insurance Policy No. HEC 4 35 67 55
     Home Ins. Company ‐ Insurance Policy No. HEC 4 35 67 56
     Home Ins. Company ‐ Insurance Policy No. HEC 4 35 67 56
     Home Ins. Company ‐ Insurance Policy No. HEC 4 76 40 31
     Home Ins. Company ‐ Insurance Policy No. HEC 4 97 35 01
     Home Ins. Company ‐ Insurance Policy No. HEC 9 00 69 74
     Home Ins. Company ‐ Insurance Policy No. HEC 9 00 69 75
     Home Ins. Company ‐ Insurance Policy No. HEC 9 20 85 31
     Home Ins. Company ‐ Insurance Policy No. HEC 9 32 88 13
     Home Ins. Company ‐ Insurance Policy No. HEC 9 32 88 48
     Ideal Mutual Ins. Company ‐ Insurance Policy No. 0130
     Industrial Indemnity Company ‐ Insurance Policy No. JE 884‐2682
     Ins. Company of North America ‐ Insurance Policy No. 45 HF 20351
     Ins. Company of North America ‐ Insurance Policy No. 45HF 20337
     Ins. Company of North America ‐ Insurance Policy No. 47HF20003
     Ins. Company of North America ‐ Insurance Policy No. XCP 144474
     Ins. Company of North America ‐ Insurance Policy No. XCP 144999
     Ins. Company of North America ‐ Insurance Policy No. XCP 144999
     Ins. Company of North America ‐ Insurance Policy No. XCP 156496
     Ins. Company of North America ‐ Insurance Policy No. XCP 156496
     Ins. Company of North America ‐ Insurance Policy No. XCP 156496
     Ins. Company of North America ‐ Insurance Policy No. XCP 156496
     Ins. Company of North America ‐ Insurance Policy No. XCP155946
     Ins. Company of North America ‐ Insurance Policy No. XCP155946
     Ins. Company of the State of Pennsylvania ‐ Insurance Policy No. UXL 82‐1002
     Ins. Corporation of Singapore Limited ‐ Insurance Policy No. Unknown
     Ins. Corporation of Singapore Limited ‐ Insurance Policy No. Unknown
     Integrity Ins. Company ‐ Insurance Policy No. XL 200216
     Integrity Ins. Company ‐ Insurance Policy No. XL 200603
     Integrity Ins. Company ‐ Insurance Policy No. XL 200662
     Integrity Ins. Company ‐ Insurance Policy No. XL 201442

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     Integrity Ins. Company ‐ Insurance Policy No. XL 202013
     Integrity Ins. Company ‐ Insurance Policy No. XL 208000
     International Ins. Company ‐ Insurance Policy No. 522 029479 5
     International Ins. Company ‐ Insurance Policy No. 522 029480 4
     International Ins. Company ‐ Insurance Policy No. 522 034427 7
     International Ins. Company ‐ Insurance Policy No. 522 034428 6
     International Ins. Company ‐ Insurance Policy No. 522 034431 3
     International Surplus Lines Ins. Company ‐ Insurance Policy No. XSI 10049
     International Surplus Lines Ins. Company ‐ Insurance Policy No. XSI 10050
     International Surplus Lines Ins. Company ‐ Insurance Policy No. XSI 10051
     International Surplus Lines Ins. Company ‐ Insurance Policy No. XSI 9092
     International Surplus Lines Ins. Company ‐ Insurance Policy No. XSI 9093
     International Surplus Lines Ins. Company ‐ Insurance Policy No. XSI 9094
     International Surplus Lines Ins. Company ‐ Insurance Policy No. XSI 9095
     Lexington Ins. Company ‐ Insurance Policy No. 522 2127
     Lexington Ins. Company ‐ Insurance Policy No. 522 2127
     Lexington Ins. Company ‐ Insurance Policy No. 552 2648
     Lexington Ins. Company ‐ Insurance Policy No. 552 2648
     Lexington Ins. Company ‐ Insurance Policy No. 552 3855
     Lexington Ins. Company ‐ Insurance Policy No. 552 3855
     Lexington Ins. Company ‐ Insurance Policy No. 552 3855
     Lexington Ins. Company ‐ Insurance Policy No. 552 5292
     Lexington Ins. Company ‐ Insurance Policy No. 552 5292
     Lexington Ins. Company ‐ Insurance Policy No. 552 5292
     Lexington Ins. Company ‐ Insurance Policy No. 552 6398
     Lexington Ins. Company ‐ Insurance Policy No. 552 6398
     Lexington Ins. Company ‐ Insurance Policy No. 5520275
     London Guarantee and Accident Company of N.Y. ‐ Insurance Policy No. LX 1 89 82 01
     London Guarantee and Accident Company of N.Y. ‐ Insurance Policy No. LX 2 11 07 24
     L'Union Atlantique S.A. d'Assurances ‐ Insurance Policy No. 7345658
     Mead Reinsurance Corporation ‐ Insurance Policy No. XL 1574
     Mead Reinsurance Corporation ‐ Insurance Policy No. XL 1695
     Mead Reinsurance Corporation ‐ Insurance Policy No. XL 1829
     Mead Reinsurance Corporation ‐ Insurance Policy No. XL 1973
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34001‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34001‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34001‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34001‐00
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     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34001‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34001‐00

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     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34003‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34003‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34003‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34003‐00
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     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34003‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34003‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34004‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34005‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34005‐00
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     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34005‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34005‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34006‐01
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34006‐01
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34006‐01
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34006‐01
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34007‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34007‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34010‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34010‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34014‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34015‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34016‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34017‐00
     Middlesex Assurance Company ‐ Insurance Policy No. 1‐34018‐00
     Middlesex Assurance Company ‐ Insurance Policy No. MX 119
     Midland Ins. Company ‐ Insurance Policy No. XL 1386
     Midland Ins. Company ‐ Insurance Policy No. XL 145822
     Midland Ins. Company ‐ Insurance Policy No. XL 148397
     Midland Ins. Company ‐ Insurance Policy No. XL 148398
     Midland Ins. Company ‐ Insurance Policy No. XL 160202
     Midland Ins. Company ‐ Insurance Policy No. XL 160203
     Midland Ins. Company ‐ Insurance Policy No. XL 706594
     Midland Ins. Company ‐ Insurance Policy No. XL 723765
     Midland Ins. Company ‐ Insurance Policy No. XL 724752
     Midland Ins. Company ‐ Insurance Policy No. XL 724753
     Midland Ins. Company ‐ Insurance Policy No. XL 739784
     Midland Ins. Company ‐ Insurance Policy No. XL 739785
     Midland Ins. Company ‐ Insurance Policy No. XL 739970
     Midland Ins. Company ‐ Insurance Policy No. XL 739971
     Midland Ins. Company ‐ Insurance Policy No. XL 770800
     Midland Ins. Company ‐ Insurance Policy No. XL 770801
     Midland Ins. Company ‐ Insurance Policy No. XL 770802

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     Midland Ins. Company ‐ Insurance Policy No. XL 770803
     Midland Ins. Company ‐ Insurance Policy No. XL 770818
     Mission Ins. Company ‐ Insurance Policy No. M 831914
     Mission Ins. Company ‐ Insurance Policy No. M 887719
     Mission National Ins. Company ‐ Insurance Policy No. MN027390
     Mission National Ins. Company ‐ Insurance Policy No. MN027480
     Mutual Fire, Marine, & Inland Ins. Company ‐ Insurance Policy No. EL 100011
     Mutual Fire, Marine, & Inland Ins. Company ‐ Insurance Policy No. EL 100193
     N.V. Rotterdamse Assurantiekas ‐ Insurance Policy No. 7339178
     N.V. Rotterdamse Assurantiekas ‐ Insurance Policy No. 7339186
     N.V. Rotterdamse Assurantiekas ‐ Insurance Policy No. 7344546
     N.V. Rotterdamse Assurantiekas ‐ Insurance Policy No. 7344554
     N.V. Rotterdamse Assurantiekas ‐ Insurance Policy No. 7352670
     N.V. Rotterdamse Assurantiekas ‐ Insurance Policy No. 7352689
     N.V. Schadeverzekeringsmaatschappij Maas Lloyd ‐ Insurance Policy No. C. 5950619
     National Casualty Company ‐ Insurance Policy No. XU 000074
     National Casualty Company ‐ Insurance Policy No. XU 000184
     National Casualty Company ‐ Insurance Policy No. XU 000185
     National Union Fire Ins. Company ‐ Insurance Policy No. 122 47 99
     National Union Fire Ins. Company ‐ Insurance Policy No. 122 95 32
     National Union Fire Ins. Company ‐ Insurance Policy No. 123 29 73
     National Union Fire Ins. Company ‐ Insurance Policy No. 960 30 54
     National Union Fire Ins. Company ‐ Insurance Policy No. 960 30 54
     National Union Fire Ins. Company ‐ Insurance Policy No. 960 33 73
     National Union Fire Ins. Company ‐ Insurance Policy No. 960 84 73
     National Union Fire Ins. Company ‐ Insurance Policy No. 960 85 19
     National Union Fire Ins. Company ‐ Insurance Policy No. 960 90 12
     National Union Fire Ins. Company ‐ Insurance Policy No. 960 90 12
     National Union Fire Ins. Company ‐ Insurance Policy No. 991 05 19
     National Union Fire Ins. Company ‐ Insurance Policy No. 991 05 39
     New Hampshire Ins. Company ‐ Insurance Policy No. 5178‐0671
     North River Ins. Company ‐ Insurance Policy No. 520 021480 5
     North River Ins. Company ‐ Insurance Policy No. 522 027180 9
     North River Ins. Company ‐ Insurance Policy No. 522 031453 2
     North River Ins. Company ‐ Insurance Policy No. JU 0030
     North River Ins. Company ‐ Insurance Policy No. JU 0030
     North River Ins. Company ‐ Insurance Policy No. JU 0030
     North River Ins. Company ‐ Insurance Policy No. JU 0031
     North River Ins. Company ‐ Insurance Policy No. JU 0031
     North River Ins. Company ‐ Insurance Policy No. JU 0031
     North River Ins. Company ‐ Insurance Policy No. JU 0162
     North River Ins. Company ‐ Insurance Policy No. JU 0163
     North River Ins. Company ‐ Insurance Policy No. JU 0176
     North River Ins. Company ‐ Insurance Policy No. JU 0275
     North River Ins. Company ‐ Insurance Policy No. JU 0276

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     North River Ins. Company ‐ Insurance Policy No. JU 0276
     North River Ins. Company ‐ Insurance Policy No. JU 0276
     North River Ins. Company ‐ Insurance Policy No. JU 0277
     North River Ins. Company ‐ Insurance Policy No. JU 0278
     North River Ins. Company ‐ Insurance Policy No. JU 0453
     North River Ins. Company ‐ Insurance Policy No. JU 0454
     North River Ins. Company ‐ Insurance Policy No. JU 0455
     North River Ins. Company ‐ Insurance Policy No. JU 0465
     North River Ins. Company ‐ Insurance Policy No. JU 0625
     North River Ins. Company ‐ Insurance Policy No. JU 0626
     North River Ins. Company ‐ Insurance Policy No. JU 0627
     North River Ins. Company ‐ Insurance Policy No. JU 0628
     North River Ins. Company ‐ Insurance Policy No. JU 0629
     North River Ins. Company ‐ Insurance Policy No. JU 0629
     North River Ins. Company ‐ Insurance Policy No. JU 0630
     North River Ins. Company ‐ Insurance Policy No. JU 0630
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     North River Ins. Company ‐ Insurance Policy No. JU 0804
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     North River Ins. Company ‐ Insurance Policy No. JU 0807
     North River Ins. Company ‐ Insurance Policy No. JU 0967
     North River Ins. Company ‐ Insurance Policy No. JU 0968
     North River Ins. Company ‐ Insurance Policy No. JU 0969
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     North River Ins. Company ‐ Insurance Policy No. JU 1082
     North River Ins. Company ‐ Insurance Policy No. JU 1083
     North River Ins. Company ‐ Insurance Policy No. JU 1210
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 001 407
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 003 476
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 004 938
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 005 182
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 006 348

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     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 006 349
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 007 515
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 007 516
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 008 347
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 008 348
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 009 325
     Northbrook Excess and Surplus Ins. Company ‐ Insurance Policy No. 63 009 326
     Northeastern Fire Ins. Company of Pennsylvania ‐ Insurance Policy No. 0691
     Northeastern Fire Ins. Company of Pennsylvania ‐ Insurance Policy No. 1535
     Pacific Employers Ins. Company ‐ Insurance Policy No. XCC 01 22 95
     Pacific Employers Ins. Company ‐ Insurance Policy No. XMO 01 72 06
     Prudential Reinsurance Company ‐ Insurance Policy No. DXC 901038
     Prudential Reinsurance Company ‐ Insurance Policy No. DXC DX 0708
     Prudential Reinsurance Company ‐ Insurance Policy No. DXC DX 1226
     Prudential Reinsurance Company ‐ Insurance Policy No. DXC DX 1227
     Prudential Reinsurance Company ‐ Insurance Policy No. DXC DX0025
     Prudential Reinsurance Company ‐ Insurance Policy No. DXC DX0026
     Republic Indemnity Company of America ‐ Insurance Policy No. 4CX 10062
     Republic Ins. Company ‐ Insurance Policy No. CDE 0674
     Republic Ins. Company ‐ Insurance Policy No. CDE 0855
     Republic Ins. Company ‐ Insurance Policy No. CDE 1103
     Republic Western Ins. Company ‐ Insurance Policy No. R10‐002
     Republic Western Ins. Company ‐ Insurance Policy No. R10‐005
     Royal Belge I.R., S.A. d'Assurances ‐ Insurance Policy No. 7335660
     Royal Belge I.R., S.A. d'Assurances ‐ Insurance Policy No. 7339178
     Royal Belge I.R., S.A. d'Assurances ‐ Insurance Policy No. 7344546
     Royal Belge I.R., S.A. d'Assurances ‐ Insurance Policy No. 7345658
     Royal Belge I.R., S.A. d'Assurances ‐ Insurance Policy No. 7352670
     Royal Belge I.R., S.A. d'Assurances ‐ Insurance Policy No. 7357656
     Royal Belge I.R., S.A. d'Assurances ‐ Insurance Policy No. 7357656
     Royal Belge I.R., S.A. d'Assurances ‐ Insurance Policy No. 7357664
     Royal Indemnity Company ‐ Insurance Policy No. ED 101527
     Royal Ins. Company ‐ Insurance Policy No. ED102360
     Royal Ins. Company ‐ Insurance Policy No. ED102360
     Royal Ins. Company ‐ Insurance Policy No. ED102360
     Royal Ins. Company ‐ Insurance Policy No. ED102360
     Safety Mutual Casualty Corporation ‐ Insurance Policy No. UF 1192 NJ
     Seguros La Republica SA ‐ Insurance Policy No. XL 01‐0056
     Southern American Ins. Company ‐ Insurance Policy No. 04‐066 XX800020
     Southern American Ins. Company ‐ Insurance Policy No. 800120
     Transamerica Premier ‐ Insurance Policy No. 13397727
     Transit Casualty Company ‐ Insurance Policy No. SCU 955‐064
     Transit Casualty Company ‐ Insurance Policy No. SCU 955‐424
     Transit Casualty Company ‐ Insurance Policy No. SCU 955‐425
     Transit Casualty Company ‐ Insurance Policy No. SCU 955‐426

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     Transit Casualty Company ‐ Insurance Policy No. SCU 955‐774
     Transit Casualty Company ‐ Insurance Policy No. SCU 955‐775
     Transit Casualty Company ‐ Insurance Policy No. SCU 955‐776
     Transit Casualty Company ‐ Insurance Policy No. SCU 955‐777
     Transit Casualty Company ‐ Insurance Policy No. SCU 956‐086
     Transit Casualty Company ‐ Insurance Policy No. SCU 956‐086
     Transit Casualty Company ‐ Insurance Policy No. SCU 956‐087
     Transit Casualty Company ‐ Insurance Policy No. SCU 956‐088
     Transit Casualty Company ‐ Insurance Policy No. SCU 956‐351
     Transit Casualty Company ‐ Insurance Policy No. SCU 956‐352
     UAP ‐ Insurance Policy No. Unknown
     Union Atlantique d'Assurances S.A. ‐ Insurance Policy No. 7352689
     Union Indemnity Ins. Company of New York ‐ Insurance Policy No. UF 11 00 049
     Union Indemnity Ins. Company of New York ‐ Insurance Policy No. UF 11 00 088
     Union Indemnity Ins. Company of New York ‐ Insurance Policy No. UF 11 00 178
     Union Indemnity Ins. Company of New York ‐ Insurance Policy No. UF 11 00 310
     Westport/Puritan Ins. Company ‐ Insurance Policy No. ML 65 04 17




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                                     EXHIBIT H

                         Talc Personal Injury Trust Agreement
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                    RED RIVER TALC PERSONAL INJURY TRUST AGREEMENT




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                    RED RIVER TALC PERSONAL INJURY TRUST AGREEMENT

           This Red River Talc Personal Injury Trust Agreement (this “Trust Agreement”), dated

   [y], and effective as of the first Business Day following the Confirmation Date, is entered into

   pursuant to the Prepackaged Chapter 11 Plan of Reorganization of the Debtor [Docket No. [y]]

   (as may be further amended or modified, the “Plan”), 1 by:

           (1)       Red River Talc LLC (the “Debtor” and, on and after the Effective Date, the

                     “Reorganized Debtor”), a Texas limited liability company and the debtor and

                     debtor-in-possession whose Chapter 11 Case, known as In re: Red River Talc

                     LLC, is administered in the United States Bankruptcy Court for the [y] District of

                     Texas (“Bankruptcy Court”), Case No. [y]-[y] ([y]) (the “Bankruptcy Case”);

           (2)       Johnson & Johnson, a New Jersey corporation (“J&J”);

           (3)       Johnson & Johnson Holdco (NA) Inc., a New Jersey corporation that was

                     formerly named [y] Inc. (“Holdco”);

           (4)       the members (“TAC Members”) of the Talc Trust Advisory Committee (the

                     “TAC”) identified on the signature pages hereto;

           (5)       the FCR (the “FCR”);

           (6)       the Talc Trustees (the “Trustees”) identified on the signature pages hereto; and

           (7)       [y] (the “Delaware Trustee” and, together with the Debtor, J&J, Holdco, the

                     TAC Members, the FCR, and the Trustees, the “Parties”).




   1
       All capitalized terms used but not defined herein shall have the definitions set forth in the Plan or the TDP (as
       defined below), as applicable, and such definitions are incorporated herein by reference. All terms used but not
       defined herein or in the Plan or the TDP, but defined in the Bankruptcy Code or Bankruptcy Rules, shall have
       the definitions set forth in the Bankruptcy Code and Bankruptcy Rules, and such definitions are incorporated
       herein by reference.

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                                              RECITALS

           WHEREAS, the Debtor expects to reorganize pursuant to the Plan; and

           WHEREAS, the Confirmation Order confirming the Plan pursuant to section 1129 of the

   Bankruptcy Code has been entered by the District Court; and

           WHEREAS, the Plan provides for, among other things, the creation of the Talc Personal

   Injury Trust (the “Talc Trust”) pursuant to this Trust Agreement; and

           WHEREAS, pursuant to the Plan, from and after the Effective Date, the Talc Trust is to

   use its assets and income to resolve all Channeled Talc Personal Injury Claims (“Talc Claims”);

   and

           WHEREAS, it is the intent of the Debtor, J&J, Holdco, the TAC Members, the FCR, and

   the Trustees that the Talc Trust will be administered, maintained and operated at all times

   through mechanisms that provide reasonable assurance that the Trust will value, and be in a

   financial position to pay, Talc Claims that involve similar Channeled Talc Personal Injury

   Claims in substantially the same manner and in accordance with the terms of the Plan, the

   Confirmation Order, this Trust Agreement, and the Trust Distribution Procedures in the form

   attached as Exhibit K to the Plan (the “TDP”); and

           WHEREAS, all rights of the holders of Talc Claims arising under this Trust Agreement

   and the TDP shall vest upon the Effective Date; and

           WHEREAS, pursuant to the Plan, the Talc Trust is intended to qualify as a “qualified

   settlement fund” (a “Qualified Settlement Fund”) within the meaning of section 1.468B-1 et

   seq. of the Treasury Regulations promulgated under section 468B of the Internal Revenue Code

   (the “QSF Regulations”); and




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           WHEREAS, the Bankruptcy Court (and the District Court as applicable) have

   determined that the Talc Trust and the Plan satisfy all the prerequisites for issuance of an

   injunction pursuant to sections 524(g), 1123(b)(6), and/or 105(a) of the Bankruptcy Code with

   respect to any and all Talc Claims, and such injunction has been entered in connection with the

   Confirmation Order.


                                             AGREEMENT

           NOW, THEREFORE, the Parties hereby agree as follows:


                                               ARTICLE I

                                      AGREEMENT OF TRUST

           1.1      Creation and Name.

                    (a)   The Debtor as settlor (“Settlor”) hereby creates the Talc Trust, which is to

   be known as the “Red River Talc Personal Injury Trust.”

                    (b)   It is the intention of the Parties that the Talc Trust constitute a statutory

   trust under chapter 38 of title 12 of the Delaware Code, 12 Del. C. § 3801 et seq. (the “Act”) and

   that this Trust Agreement constitute the governing instrument of the Talc Trust.

                    (c)   The Trustees and the Delaware Trustee are hereby authorized and directed

   to execute and file a Certificate of Trust with the Delaware Secretary of State in the form

   attached hereto as Exhibit 1.

           1.2      Purpose.

                    (a)   The purpose of the Talc Trust is to assume all liabilities, obligations, and

   responsibilities for all Talc Claims and, among other things, to: (i) preserve, hold, manage, and

   maximize the assets of the Talc Trust; and (ii) direct the processing, liquidation, and, if



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   appropriate, payment of all compensable Talc Claims in accordance with the Plan, the

   Confirmation Order, this Trust Agreement, and the TDP.

                    (b)   The Talc Trust will resolve all Talc Claims in accordance with the Plan,

   the Confirmation Order, this Trust Agreement, and the TDP in such a way that holders of Talc

   Claims are treated fairly and equitably, and otherwise comply in all respects with the

   requirements of a trust set forth in section 524(g)(2)(B)(i) of the Bankruptcy Code.

           1.3      Assumption of Talc Claims.

                    (a)   In consideration of the assets delivered, transferred, and assigned to the

   Talc Trust pursuant to, and in accordance with, Article IV of the Plan, and in furtherance of the

   purposes of the Plan, the Confirmation Order, and the Talc Trust, on the Effective Date, the Talc

   Trust shall assume all liabilities, obligations, and responsibilities, financial and otherwise, of the

   Reorganized Debtor, J&J, and the other Protected Parties for all Talc Claims (including Indirect

   Talc Personal Injury Claims and Talc Personal Injury Demands). To effectuate the foregoing, on

   the Effective Date, the Talc Trust shall execute and deliver an instrument of assignment and

   assumption in the form attached hereto as Exhibit 2 (the “Effective Date Assignment and

   Assumption Instrument”).

                    (b)   From and after the Effective Date, other than with respect to obligations to

   fund the Trust as set forth in the Plan, the Reorganized Debtor, J&J, and the other Protected

   Parties shall have no liability, obligation, or responsibility, financial or otherwise, for any Talc

   Claim (including any Indirect Talc Personal Injury Claim and any Talc Personal Injury Demand).

           1.4      Assignment of Defenses to Talc Claims.

                    (a)   Pursuant to, and in accordance with, Section 4.8.2 of the Plan, on the

   Effective Date, upon assumption by the Talc Trust of liabilities, obligations, and responsibilities



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   for Talc Claims as provided in Section 1.3(a) above, the Reorganized Debtor and J&J shall

   transfer and assign to the Talc Trust, and the Talc Trust shall accept, Talc Personal Injury Trust

   Defenses. To effectuate the foregoing, on the Effective Date, each of the Reorganized Debtor,

   J&J, and the Talc Trust shall execute and deliver the Effective Date Assignment and Assumption

   Instrument.

                    (b)    Pursuant to, and in accordance with Section 4.8.3 of the Plan, from and

   after the Effective Date, the Talc Trust shall have control over, and the exclusive right to enforce,

   the Talc Personal Injury Trust Defenses.

           1.5      Cash Contributions. Pursuant to, and in accordance with, Section 4.9.1 of the

   Plan:

                    (a)    on and after the Effective Date, the Reorganized Debtor shall deliver, or

                           cause to be delivered, to the Talc Trust Talc Trust Cash Contributions in

                           accordance with Exhibit C to the Plan, and the Talc Trust shall accept such

                           Cash Contributions; and

                    (b)    on the Effective Date, J&J and Holdco shall execute and deliver to the

                           Talc Trust, and the Talc Trust shall accept and agree to, the Cash

                           Contributions Parent Guarantee in the form attached as Exhibit D to the

                           Plan.

           1.6      Delivery of Talc PI Note and Related Talc PI Pledge. Pursuant to, and in

   accordance with, Section 4.9.2 of the Plan, on the Effective Date:

                    (a)    the Reorganized Debtor shall execute and deliver to the Talc Trust, and

                           the Talc Trust shall accept and agree to, the Talc PI Note in the form

                           attached as Exhibit J to the Plan; and



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                    (b)   Holdco shall execute and deliver to the Talc Trust, and the Talc Trust shall

                          accept and agree to, the Talc PI Pledge Agreement in the form of

                          Exhibit K to the Plan.

             1.7    Assignment of Imerys/Cyprus Related Rights. If either (x) the Imerys/Cyprus

   Settlement Agreement has not been executed prior to or on the Effective Date or (y) if the

   Imerys/Cyprus Settlement Agreement has been executed prior to or on the Effective Date and the

   Imerys/Cyprus Settlement Termination Date occurs, whether prior to, on, or following the

   Effective Date:

                    (a)   Pursuant to, and in accordance with, Section 4.9.3 of the Plan, on the

   Effective Date or, if later, the Imerys/Cyprus Settlement Termination Date, the Reorganized

   Debtor and J&J shall transfer and assign to the Talc Trust, and the Talc Trust shall accept, the

   Imerys/Cyprus Related Rights. To effectuate the foregoing, on the Effective Date, each of the

   Reorganized Debtor, J&J, and the Talc Trust shall execute and deliver the Effective Date

   Assignment and Assumption Instrument.

                    (b)   Pursuant to, and in accordance with, Section 4.9.3 of the Plan, from and

   after the Effective Date or, if later, the Imerys/Cyprus Settlement Termination Date, the Talc

   Trust shall have control over, and the exclusive right to enforce, the Imerys/Cyprus Related

   Rights.

             1.8    Assignment of Talc Insurance Assets.

                    (a)   Pursuant to, and in accordance with, Section 4.9.4 of the Plan, on the

   Effective Date, the Reorganized Debtor shall transfer and assign to the Talc Trust, and the Talc

   Trust shall accept, the Talc Insurance Assets. To effectuate the foregoing, on the Effective Date,




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   each of the Reorganized Debtor and the Talc Trust shall execute and deliver the Effective Date

   Assignment and Assumption Instrument.

                    (b)    Pursuant to, and in accordance with, Section 4.9.4 of the Plan, from and

   after the Effective Date, in consideration of the Reorganized Debtor’s obligations under

   Section 4.9.1, Section 4.9.2, and, if applicable, Section 4.9.3 of the Plan, (i) the Reorganized

   Debtor, as the agent for and subrogee of the Talc Trust, shall have the exclusive right (A) to

   pursue and resolve any Talc In-Place Insurance Coverage, (B) to pursue and resolve any Talc

   Insurance Action, (C) to pursue and obtain any Talc Insurance Recoveries, and (D) to negotiate

   and enter into any Talc Insurance Settlement Agreement and (ii) any of the following received

   by the Talc Trust shall be delivered to, and retained by, the Reorganized Debtor, which may

   thereafter use the same as it may determine in its sole discretion: (A) all proceeds of Talc In-

   Place Insurance Coverage; (B) all proceeds or benefits of any Talc Insurance Action; and (C) all

   amounts payable pursuant to any Talc Insurance Settlement Agreement.

           1.9      Cooperation Agreement. Pursuant to, and in accordance with, Section 4.15 of

   the Plan, on the Effective Date, each of the Reorganized Debtor, J&J, the Custodians, and the

   Talc Trust shall enter into the Cooperation Agreement substantially in the form of Exhibit E of

   the Plan.

           1.10     Indemnification and Reimbursement Obligations. Pursuant to, and in

   accordance with, Section 4.16 of the Plan, from and after the Effective Date, the Talc Trust shall

   indemnify, defend, and hold harmless each of the Reorganized Debtor and the other Protected




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   Parties (other than, if Section 1.7 above is applicable, the Imerys/Cyprus Parties for claims based

   on, arising out of, or in any way relating to the Imery/Cyprus Related Rights).

           1.11     Construction.

                    (a)   The Trustees may transact the business and affairs of the Talc Trust in the

   name of the Talc Trust, and references herein to the Talc Trust shall include the Trustees acting

   on behalf of the Talc Trust.

                    (b)   In the event of a conflict between the terms or provisions of the Plan and

   the Confirmation Order, on the one hand, and this Trust Agreement and the TDP, on the other

   hand, the terms or provisions of the Plan and the Confirmation Order shall control. In the event

   of a conflict between the terms or provisions of the Plan, on the one hand, and the Confirmation

   Order, on the other hand, the terms or provisions of the Confirmation Order shall control. In the

   event of a conflict between the terms or provisions of this Trust Agreement, on the one hand, and

   the TDP, on the other hand, the terms or provisions of this Trust Agreement shall control.

                    (c)   Nothing in this Trust Agreement or in the TDP shall be construed or

   implemented in a manner that would cause the Talc Trust to fail to qualify as a Qualified

   Settlement Fund under the QSF Regulations. Any issue of interpretation of this Trust Agreement

   and the TDP shall be resolved in favor of an interpretation that conforms to the QSF Regulations.

                    (d)   Nothing in this Trust Agreement or in the TDP shall be construed in any

   way to limit (i) the scope, enforceability, or effectiveness of the Injunctions or (ii) the Talc

   Trust’s assumption of all liabilities, obligations, and responsibilities for all Talc Claims.

                    (e)   For purposes of this Trust Agreement and the TDP, (i) the words “must,”

   “will,” and “shall” are intended to have the same mandatory force and effect, while the word




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   “may” is intended to be permissive rather than mandatory and (ii) the words “include” and

   “including” shall be deemed to be followed by the words “without limitation.”

                    (f)   To the extent required by the Act, the beneficial owners (within the

   meaning of the Act) of the Talc Trust shall be deemed to be the holders of Talc Claims;

   provided, however, that (i) the holders of Talc Claims, as such beneficial owners, shall have only

   such rights with respect to the Talc Trust and its assets as are set forth in the TDP, (ii) such rights

   shall exist only from and after the Effective Date, and (iii) no greater or other rights, including

   upon dissolution, liquidation, or winding up of the Talc Trust, shall be deemed to apply to the

   holders of Talc Claims in their capacity as beneficial owners.

                                               ARTICLE II

                              POWERS AND TRUST ADMINISTRATION

           2.1      Powers.

                    (a)   The Trustees are and shall act as fiduciaries to the Talc Trust in

   accordance with the terms and provisions of the Plan, the Confirmation Order, this Trust

   Agreement, and the TDP. The Trustees shall, at all times, administer the Talc Trust and its

   assets in accordance with the purposes set forth in Section 1.2 above. Subject to the limitations

   set forth in this Trust Agreement, the Trustees shall have:

                          (i)     the power to take any and all actions that, in the reasonable

   judgment of the Trustees, are necessary or proper to fulfill the purpose of the Talc Trust,

   including each action required to be taken by the Trustees pursuant to the express terms and

   provisions of the Plan, the Confirmation Order, this Trust Agreement, and the TDP;




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                          (ii)    any power reasonably incidental thereto and not inconsistent with

   the Plan, the Confirmation Order, this Trust Agreement (including Section 2.2 below), or the

   TDP; and

                          (iii)   any trust power now or hereafter permitted under the laws of the

   State of Delaware.

                    (b)   Except as required by applicable law or otherwise specified herein or in

   the TDP, the Trustees need not obtain the order or approval of the Bankruptcy Court or any other

   court in the exercise of any power or discretion conferred hereunder.

                    (c)   Without limiting the generality of Section 2.1(a) above, and except as

   limited by the Plan or the Confirmation Order or otherwise specified herein or in the TDP, the

   Trustees shall have the power to:

                          (i)     receive and hold the Cash Contributions, accept and agree to the

   Cash Contributions Parent Guarantee, the Talc PI Note, and the Talc PI Pledge Agreement,

   accept the Imerys/Cyprus Related Rights (if Section 1.7 above is applicable) and the Talc

   Insurance Assets, and enter into the Cooperation Agreement, and perform all obligations and

   exercise all rights of the Talc Trust with respect to each of them and with respect to the Plan and

   any other Plan Documents;

                          (ii)    invest the monies held from time to time by the Talc Trust;

                          (iii)   enter into leasing and financing agreements with third parties to the

   extent such agreements are reasonably necessary to permit the Talc Trust to operate;

                          (iv)    pay liabilities and expenses of the Talc Trust, including without

   limitation the indemnification and reimbursement obligations set forth in Section 4.16 of the Plan

   and Section 1.10 of this Trust Agreement;



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                          (v)     establish within the Talc Trust estate such accounts and reserves as

   the Trustees, in their reasonable judgment, deem necessary or proper in carrying out the purpose

   of the Talc Trust;

                          (vi)    sue and be sued and participate, as a party or otherwise, in any

   judicial, administrative, arbitrative, or other proceeding solely in their capacities as the Trustees

   of the Talc Trust;

                          (vii)   establish, supervise, and administer the Talc Trust in accordance

   with the Plan, the Confirmation Order, this Trust Agreement, and the TDP, and the terms hereof

   and thereof;

                          (viii) (A) appoint the Talc Trust Claims Administrator and the Talc Trust

   Liens Resolution Administrator, (B) engage the Claims Processor, (C) appoint such officers and

   agents, hire such employees, and engage such Trust Professionals (as defined below) as the

   Trustees, in their reasonable judgment, deem necessary or proper, in conducting the business

   (including alternate dispute resolution activities) of the Talc Trust, and (D) delegate to such

   Persons such powers and authorities as the fiduciary duties of the Trustees permit and as the

   Trustees, in their reasonable judgment, deem necessary or proper in carrying out the purpose of

   the Talc Trust;

                          (ix)    pay reasonable compensation to (A) the Talc Trust Claims

   Administrator, the Talc Trust Liens Resolution Administrator, and the Claims Processor and

   (B) the officers, agents, employees, and Trust Professionals appointed, hired, or engaged by the

   Trustees;

                          (x)     as provided below, (a) compensate the Trustees and the FCR,

   (b) reimburse the Trustees, the TAC Members, and the FCR for all reasonable out-of-pocket



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   costs and expenses incurred by them in connection with the performance of their duties

   hereunder and (c) reimburse the TAC or the FCR (as applicable) for, or pay directly, the fees and

   costs of the TAC Professionals (as defined below) and the FCR Professionals (as defined below);

                          (xi)    execute, deliver, and perform such other agreements and

   instruments as the Trustees, in their reasonable judgment, deem necessary or proper in

   administering the Talc Trust, so long as such agreements and instruments are not inconsistent

   with the Plan, the Confirmation Order, this Trust Agreement, or the TDP;

                          (xii)   enter into such other arrangements with third parties as the

   Trustees, in their reasonable judgment, deem necessary or proper in carrying out the purpose of

   the Talc Trust, so long as such arrangements are not inconsistent with the Plan, the Confirmation

   Order, or any other provision of this Trust Agreement;

                          (xiii) in accordance with Sections 4.4 and 4.6 below, defend, indemnify,

   and hold harmless, and purchase insurance indemnifying, (A) the Trustees, (B) the TAC

   Members, (C) the FCR, (D) the Talc Trust Claims Administrator, the Talc Trust Liens

   Resolution Administrator, and the Claims Processor, (E) the officers, agents, employees, and

   Trust Professionals appointed, hired, or engaged by the Trustees, and (F) the TAC Professionals

   and the FCR Professionals (the Persons described in the foregoing clauses (D), (E), and (F) being

   referred to herein as the “Additional Indemnitees”), to the fullest extent that a statutory trust

   organized under the laws of the State of Delaware is from time to time entitled to defend,

   indemnify, hold harmless, and/or insure such Persons; provided, however, that no Person shall be

   indemnified in any way for any liability, expense, claim, damage, or loss for which such Person

   is liable under Section 4.4 below;




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                          (xiv)   consult with the TAC and the FCR at such times and with respect

   to such issues relating to the purpose, conduct, and affairs of the Talc Trust as the Trustees, in

   their reasonable judgment, deem necessary or proper in administering the Talc Trust;

                          (xv)    after the Effective Date, make, pursue (by litigation or otherwise),

   collect, compromise, or settle, in the name of the Talc Trust, any claim, right, action, or cause of

   action included in the Talc Personal Injury Trust Defenses or the Imerys/Cyprus Related Rights

   (if Section 1.7 above is applicable) or which may otherwise accrue in favor of the Talc Trust,

   before any court of competent jurisdiction;

                          (xvi)   subject to the written consent of the FCR and a supermajority of

   the TAC (consisting of not less than 66% of all TAC Members), take action with respect to the

   common benefit fund established pursuant to that certain Case Management Order No. 7(A)

   entered by the United States District Court for the District of New Jersey in the multidistrict

   litigation In re: Johnson& Johnson Powder Products Marketing, Sales Practices and Products

   Liability Litigation, Civil Action No. 3:16-md-02738 (the “Common Benefit Fund”); and

                          (xvii) exercise any and all other rights, and take any and all other actions

   as are required or permitted, of the Trustees in accordance with the terms and provisions of the

   Plan, the Confirmation Order, this Trust Agreement, and the TDP.

                    (d)   The Trustees shall not have the power to guarantee any debt of other

   Persons.

                    (e)   The Trustees shall take all actions required to be taken by the Talc

   Trustees, and shall cause the Talc Trust to take all actions required to be taken by it, pursuant to

   the terms and conditions of the Plan, the Confirmation Order, this Trust Agreement, and the

   TDP.



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                    (f)   The Trustees shall give the TAC and the FCR prompt notice of any act

   performed or taken pursuant to clause (i), (iii), (vi), or (xvi) of Section 2.1(c) above, and any act

   proposed to be performed or taken pursuant to Section 2.2(f) below.

           2.2      General Administration.

                    (a)   The Trustees shall act in accordance with the Plan, the Confirmation

   Order, this Trust Agreement and the TDP.

                    (b)   The Trustees shall (i) timely file such income tax and other returns and

   statements required to be filed and shall timely pay all taxes required to be paid by the Talc

   Trust, (ii) comply with all applicable reporting and withholding obligations, (iii) satisfy all

   requirements necessary to qualify and maintain qualification of the Talc Trust as a Qualified

   Settlement Fund within the meaning of the QSF Regulations, and (iv) take no action that could

   cause the Talc Trust to fail to qualify as a Qualified Settlement Fund within the meaning of the

   QSF Regulations. Without limiting the generality of the foregoing, one of the Trustees shall be

   designated as the “administrator” of the Talc Trust as such term is used in the QSF Regulations,

   and such Trustee shall take all actions required of him or her as “administrator” with respect to

   the Talc Trust pursuant to the QSF Regulations.

                    (c)   Following the Effective Date, the Trustees shall timely account to the

   Bankruptcy Court as follows:

                          (i)     The Trustees shall cause to be prepared and filed with the

   Bankruptcy Court, as soon as available, and in any event within one hundred and twenty (120)

   days, following the end of each fiscal year, an annual report (the “Annual Report”) containing

   financial statements of the Talc Trust (including a balance sheet of the Talc Trust as of the end of

   such fiscal year and a statement of operations for such fiscal year) audited by a firm of



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   independent certified public accountants selected by the Trustees and accompanied by an opinion

   of such firm as to the fairness of the financial statements’ presentation of the cash and

   investments available for the payment of claims from the Talc Trust. The Trustees shall provide

   a copy of such Annual Report to the TAC, the FCR, the Reorganized Debtor, and J&J when such

   report is filed with the Bankruptcy Court.

                          (ii)    The Trustees shall cause to be prepared and filed with the

   Bankruptcy Court simultaneously with the filing of the Annual Report a report (the “Annual

   Claims Report”) containing a summary regarding the number and type of claims resolved

   during the fiscal year covered by the financial statements contained in the Annual Report.

   Without limiting the generality of the foregoing, the Annual Claims Report shall contain

   reasonable detail regarding Direct Claims resolved during the applicable fiscal year, including

   breakdowns with respect to (A) the types of Direct Claims resolved, (B) the application of (I) the

   Expedited Review Process, (II) the Individual Review Process, (III) the Quickpay Review

   Process, (IV) the ADR Procedures, and (V) litigation as described in the TDP, and (C) the

   average Allowed Claim Amount by (I) type of Direct Claim resolved and (II) specific category

   of injury within the applicable Review Criteria. The Trustees shall provide a copy of such

   Annual Claims Report to the TAC, the FCR, the Reorganized Debtor, and J&J when such report

   is filed with the Bankruptcy Court.

                          (iii)   Except as expressly set forth herein, materials filed with the

   Bankruptcy Court pursuant to this Section 2.2(c) need not be served on any parties in the

   Bankruptcy Case but shall be available for inspection by the public in accordance with

   procedures established by the Bankruptcy Court.




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                    (d)   Following the Effective Date, in addition to providing the TAC, the FCR,

   the Reorganized Debtor, and J&J with the Annual Report and the Annual Claims Report in

   accordance with Section 2.2(c) above, the Trustees shall prepare and deliver information to the

   TAC, the FCR, the Reorganized Debtor, and J&J as follows:

                          (i)     The Trustees shall cause to be prepared and delivered to the TAC,

   the FCR, the Reorganized Debtor, and J&J together with each Annual Claims Report, a

   supplement to such Annual Claims Report containing additional detail regarding Direct Claims

   resolved during the applicable fiscal year, including breakdowns with respect to (A) Claimant’s

   Jurisdiction and (B) counsel to Direct Claimants.

                          (ii)    The Trustees shall cause to be prepared and delivered to the TAC,

   the FCR, the Reorganized Debtor, and J&J as soon as practicable, and in any event within

   forty-five (45) days, following the end of each of the first three fiscal quarters of each fiscal year,

   (A) a quarterly report (the “Quarterly Report”) containing unaudited financial statements of the

   Talc Trust (including a balance sheet of the Talc Trust as of the end of such fiscal quarter and a

   statement of operations for such fiscal quarter) and (B) a report (the “Quarterly Claims

   Report”) containing a summary of the number and type of claims resolved during the fiscal

   quarter covered by the financial statements contained in the Quarterly Report. Without limiting

   the generality of the foregoing, the Quarterly Claims Report shall contain reasonable detail

   regarding Direct Claims resolved during the applicable fiscal quarter, including breakdowns with

   respect to (A) the types of Direct Claims resolved, (B) the application of (I) the Expedited

   Review Process, (II) the Individual Review Process, (III) the Quickpay Review Process, (IV) the

   ADR Procedures, and (V) litigation as described in the TDP, (C) the average Allowed Claim




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   Amount by (I) type of Direct Claim resolved and (II) specific category of injury within the

   applicable Review Criteria, (D) Claimant’s Jurisdiction, and (E) counsel to Direct Claimants.

                          (iii)   The Trustees shall cause to be prepared and delivered to the TAC,

   the FCR, the Reorganized Debtor, and J&J a monthly report (the “Monthly Status Report”)

   containing a summary of the status of claims submitted to the Talc Trust on or prior to the last

   day of the most recently ended month. Without limiting the generality of the foregoing, the

   Monthly Status Report shall contain reasonable detail regarding Direct Claims, including

   breakdowns with respect to (A) the types of Direct Claims and (B) specific category of injury

   within the applicable Review Criteria.

                          (iv)    The Trustees shall cause to be prepared and delivered to the TAC,

   the FCR, the Reorganized Debtor, and J&J as soon as practicable, but in any event prior to the

   commencement of each fiscal year, a budget and cash flow projections covering such fiscal year.

                    (e)   The Trustees shall consult with the TAC and the FCR on: (i) the general

   implementation and administration of the Talc Trust; (ii) the general implementation and

   administration of the TDP; and (iii) such matters as expressly require consultation with the TAC

   or the FCR under this Trust Agreement or the TDP.

                    (f)   In addition to any other consent of the TAC and the FCR expressly

   required under this Trust Agreement or the TDP, except as otherwise provided in this Trust

   Agreement or the TDP, the Trustees shall be required to obtain the consent of the TAC and the

   FCR in order:

                          (i)     to reduce the number of Trustees as provided in Section 4.1 below;

                          (ii)    to change any of the following under the TDP:

                                  (A)    the treatment provided under Section 4.2 of the TDP for
                                         previously resolved Direct Claims;

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                                  (B)     the Claim Submission Procedures, including the Claim
                                          Submission Requirements;

                                  (C)     the Preliminary Evaluation Criteria;

                                  (D)     the Expedited Review Process, including the Expedited
                                          Review Criteria;

                                  (E)     the Individual Review Process, including the Individual
                                          Review Criteria;

                                  (F)     the Quickpay Review Process, including the Quickpay
                                          Review Criteria;

                                  (G)     the Maximum Value;

                                  (H)     the Cash Value of a Point; or

                                  (I)     the forms of Acceptance and Release;

                                  (J)     the first-in-first-out processing procedures; or

                                  (K)     the first-in-first-out payment procedures;

                          (iii)   to terminate the Talc Trust pursuant to Section 7.3 below;

                          (iv)    if Section 1.7 above is applicable, to settle the liability of any

   Imerys/Cyprus Party in respect of the Imerys/Cyprus Related Rights or any legal action related

   thereto;

                          (v)     to change the compensation or expense reimbursement of the TAC,

   the TAC Members, the FCR, or the Trustees, other than to reflect cost-of-living increases or to

   reflect changes approved by the Bankruptcy Court as otherwise expressly provided herein;

                          (vi)    to take actions to minimize any tax on the assets of the Talc Trust;

   provided, however, that no such action may be taken if it prevents the Talc Trust from qualifying

   as a Qualified Settlement Fund within the meaning of the QSF Regulations or requires an

   election for the Talc Trust to be treated as a grantor trust for tax purposes;




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                          (vii)   to amend any provision of this Trust Agreement or the TDP in

   accordance with the terms hereof or thereof; provided, however, that no such amendment shall

   conflict with the Plan or the Confirmation Order;

                          (viii) to acquire an interest in, or to merge any claims resolution

   organization formed by the Talc Trust with, another claims resolution organization that is not

   specifically created by this Trust Agreement or the TDP, or to contract with another claims

   resolution organization or other entity that is not specifically created by this Trust Agreement or

   the TDP, or permit any other party to join in any claims resolution organization that is formed by

   the Talc Trust pursuant to this Trust Agreement or the TDP; provided, however, that no such

   acquisition, merger, contract, or joinder shall (A) subject the Reorganized Debtor or any

   Protected Party to any risk of having any Talc Claim asserted against it, (B) otherwise jeopardize

   the validity or enforceability of the Injunctions or any other injunction or release issued or

   granted in connection with the Plan or the Confirmation Order, (C) permit the surviving

   organization to make decisions about the allowability and value of claims other than in

   accordance with the TDP, or (D) cause the Talc Trust to fail to qualify as a Qualified Settlement

   Fund within the meaning of the QSF Regulations; or

                          (ix)    to delegate any or all of the authority herein conferred with respect

   to the investment of all or any portion of the Talc Trust’s assets to any one or more investment

   advisors or investment managers, except as provided in Section 4.4 below.

                    (g)   The Trustees shall meet with the TAC and the FCR no less often than

   quarterly. The Trustees shall meet with the TAC and the FCR between quarterly meetings when

   so requested by either. Meetings may be held in person, by video conference, by telephone

   conference, or by any combination thereof.



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                    (h)   The Trustees, upon notice from either the TAC or the FCR, shall at their

   next meeting with the TAC or the FCR consider issues submitted by the TAC or the FCR. The

   Trustees shall keep the TAC and the FCR reasonably informed regarding all aspects of the

   administration of the Talc Trust.

           2.3      Claims Administration. Commencing on the Effective Date, the Trustees shall

   promptly proceed to implement the TDP in accordance with the terms thereof. In connection

   with the implementation of the TDP:

                    (a)   the Trustees, with the consent of the TAC and the FCR, shall prepare and

   maintain a list of approved mediators that may be used in connection with the ADR Procedures;

   and

                    (b)   the Trustees, with the consent of the TAC and the FCR, shall establish the

   Individual Review Claims Panel.

           2.4      Medicare Reporting Obligations.

                    (a)   The Talc Trust shall register as a Responsible Reporting Entity (“RRE”)

   under the reporting provisions of section 111 of the Medicare, Medicaid, and SCHIP Extension

   Act of 2007 (Pub. L. 110-173) (“MMSEA”).

                    (b)   The Talc Trust shall, at its sole expense, timely submit all reports that are

   required under MMSEA on account of any claims settled, resolved, paid, or otherwise liquidated

   by the Talc Trust or with respect to contributions to the Talc Trust. The Talc Trust, in its role as

   RRE, shall follow all applicable guidance published by the Centers for Medicare & Medicaid

   Services of the United States Department of Health and Human Services and/or any other agent

   or successor entity charged with responsibility for monitoring, assessing, or receiving reports




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   made under MMSEA (collectively, “CMS”) to determine whether or not, and, if so, how, to

   report to CMS pursuant to MMSEA.

                    (c)   Before remitting funds to claimants’ counsel, or to the claimant if such

   claimant is acting pro se, in respect of any Talc Claim, the Trustees shall obtain a certification

   that such claimant (or such claimant’s authorized representative) has or will provide for the

   payment and/or resolution of any obligations owing or potentially owing under 42 U.S.C.

   § 1395y(b), or any related rules, regulations, or guidance, in connection with, or relating to, such

   Talc Claim.

           2.5      No Common Benefit Fund Payments Shall Be Made. The Trustees are not

   authorized to pay, and shall not pay, any common benefit fees or expenses from the Trust, and

   shall take no action with respect to the Common Benefit Fund, in each case without the written

   consent of the FCR and a supermajority of the TAC (consisting of not less than 66% of all TAC

   Members).

                                              ARTICLE III

                          ACCOUNTS, INVESTMENTS, AND PAYMENTS

           3.1      Accounts.

                    (a)   The Trustees shall include in the reports to be filed with the Bankruptcy

   Court and provided to the TAC and the FCR, the Reorganized Debtor, and J&J pursuant to

   Section 2.2(c)(i) above a reasonably detailed description of the Talc Trust, including (i) the Cash

   Contributions and other deposits made thereto, (ii) the proceeds of and earnings on the assets

   held therein, and (iii) the payments made therefrom.

                    (b)   The Trustees may, from time to time, create such accounts and reserves

   within the Talc Trust as they, in their reasonable judgment, deem necessary or proper in order to



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   provide for the payment of expenses and Talc Claims and may, with respect to any such account

   or reserve, restrict the use of monies therein, and the earnings thereon. The Trustees shall

   include in the reports to be filed with the Bankruptcy Court and provided to the TAC, the FCR,

   the Reorganized Debtor, and J&J pursuant to Section 2.2(c)(i) above a reasonably detailed

   description of (i) the creation of any such account or reserve in accordance with this Section 3.1

   and (ii) with respect to each such account, (A) the transfers made to such account, (B) the

   proceeds of or earnings on the assets held in each such account, and (C) the payments made from

   each such account.

           3.2      Investments. Investment of monies held in the Talc Trust shall be administered

   in a manner consistent with the standards set forth in the Uniform Prudent Investor Act, subject

   to the following limitations and provisions;

                    (a)    With respect to equity investments, the Talc Trust may invest only in

   diversified equity portfolios whose benchmark is a broad equity market index such as, but not

   limited to, the S&P 500 Index, the Russell 1000 Index, the S&P ADR Index, and the MSCI

   EAFE Index. The Talc Trust shall not acquire, directly or indirectly, equity in any entity or

   business enterprise if, immediately following such acquisition, the Talc Trust would hold more

   than 5% of the equity in such entity or business enterprise. The Talc Trust shall not hold,

   directly or indirectly, more than 5% of the equity in any entity or business enterprise.

                    (b)    The Talc Trust shall not acquire or hold any long-term debt securities

   unless (i) such securities are rated “Baa” or higher by Moody’s, “BBB” or higher by Standard &

   Poor’s (“S&P”), or have been given an equivalent investment grade rating by another nationally

   recognized statistical rating agency, or (ii) have been issued or fully guaranteed as to principal

   and interest by the United States of America or any agency or instrumentality thereof. This



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   restriction does not apply to any pooled investment vehicles where pooled assets receive an

   investment grade rating (i.e., “BBB” rating or above) by a nationally recognized rating agency.

                    (c)    The Talc Trust shall not acquire or hold for longer than ninety (90) days

   any commercial paper unless such commercial paper is rated “Prime-l” or higher by Moody’s or

   “A-l” or higher by S&P or has been given an equivalent rating by another nationally recognized

   statistical rating agency.

                    (d)    The Talc Trust shall not acquire any debt securities or other debt

   instruments issued by any entity if, following such acquisition, the aggregate market value of all

   such debt securities and/or other debt instruments issued by such entity held by the Talc Trust

   would exceed 5% of the then current aggregate value of the Talc Trust’s assets. There is no

   limitation on holding debt securities or other debt instruments issued or fully guaranteed as to

   principal and interest by the United States of America or any agency or instrumentality thereof.

                    (e)    The Talc Trust shall not acquire or hold any certificates of deposit in an

   amount exceeding any federal insurance on such certificates of deposit unless all publicly held,

   long-term debt securities, if any, of the financial institution issuing the certificate of deposit and

   the holding company, if any, of which such financial institution is a subsidiary, meet the

   standards set forth in Section 3.2(b) above.

                    (f)    The Talc Trust may acquire and hold any securities or instruments

   (i) delivered to the Talc Trust pursuant to the Plan, (ii) obtained by the Talc Trust in accordance

   with the Talc PI Pledge Agreement, or (iii) obtained by the Talc Trust as proceeds of litigation or

   otherwise to resolve disputes, in each case without regard to the limitations set forth in

   Section 3.2 (a) through Section 3.2(e) above.




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                    (g)   The Talc Trust shall not acquire or hold any repurchase obligations unless,

   in the reasonable judgment of the Trustees, such obligations are adequately collateralized.

                    (h)   The Talc Trust may allow its investment managers to acquire or hold

   derivative instruments, including options, futures, and swaps, in the normal course of portfolio

   management to help hedge, manage, or mitigate portfolio risk, including interest rate risk and

   equity market risk. However, using derivative instruments to speculate or to leverage a portfolio

   at a much greater risk to the portfolio is prohibited.

                    (i)   The Talc Trust may lend securities on a short-term basis, subject to

   adequate, normal, and customary collateral arrangements.

                    (j)   Notwithstanding Section 3.2(a) above, the Talc Trust may acquire and

   hold an equity interest in a claims resolution organization without limitation as to the size of the

   equity interest acquired and held if, prior to such acquisition, the Talc Trust obtains the consent

   of the TAC and the FCR and complies with the other provisions of clause (viii) of Section 2.2(f)

   above with respect to the acquisition.

           3.3      Source of Payments.

                    (a)   Subject to Section 3.4 below and Section 4.9.4(b) of the Plan, all Talc

   Trust expenses and payments and all liabilities with respect to Talc Claims shall be payable

   solely by the Talc Trust out of the Talc Trust’s assets. No other Person (including the Debtor,

   the Reorganized Debtor, or any Protected Party) shall be liable for the payment of any Talc Trust

   expense or any other liability of the Talc Trust, except to the extent expressly provided for in the

   Plan (including Section 4.6 and Section 4.9.4(b) of the Plan) or other Plan Document.

                    (b)   The Trustees shall include in the reports to be filed with the Bankruptcy

   Court and provided to the TAC, the FCR, the Reorganized Debtor, and J&J pursuant to



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   Section 2.2(c)(i) above a reasonably detailed description of any payments made in accordance

   with this Section 3.3.

                    (c)     The Trustees, with the consent of the TAC and the FCR, shall establish

   and implement billing guidelines applicable to the Trustees, the TAC, and the FCR, as well as

   (i) the Talc Trust Claims Administrator, the Talc Trust Liens Resolution Administrator, and the

   Claims Processor and (ii) the respective professionals of the Trustees, the TAC, and the FCR

   who seek compensation or reimbursement or payment of expenses from the Talc Trust.

                                                ARTICLE IV

                                 TRUSTEES; DELAWARE TRUSTEE

           4.1      Number. In addition to the Delaware Trustee appointed pursuant to Section 4.11,

   there shall be two (2) Trustees, who initially shall be those individuals named as such on the

   signature pages hereto. Upon the joint written direction of the TAC and the FCR, the number of

   Trustees may be reduced to one (1) at such time as the TAC and the FCR, in their reasonable

   judgment, may determine. For the avoidance of doubt, the procedures provided in Section 7.1

   shall not apply to the decision of the TAC and the FCR to reduce the number of Trustees; absent

   the joint written consent of the TAC and the FCR to reduce the number of Trustees, the number

   of Trustees shall remain as set forth herein.

           4.2      Term of Service.

                    (a)     The initial Trustees named pursuant to Section 4.1 above shall serve an

   initial term of service of four or five years as indicated on the signature pages hereto. Thereafter,

   each term of service shall be for five (5) years. The initial Trustees shall serve from the date first

   written above until the earliest of (i) the end of his or her term, (ii) his or her death, (iii) his or her

   mandatory retirement at the end of the year in which he or she reaches the age of 70 (unless, and



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   for so long as, this mandatory retirement requirement is waived with the consent of the TAC and

   the FCR), (iv) his or her resignation pursuant to Section 4.2(b) below, (v) his or her removal

   pursuant to Section 4.2(c) below, or (vi) the termination of the Talc Trust pursuant to Section 7.3

   below.

                    (b)   A Trustee may resign at any time by written notice to the TAC and the

   FCR. Such notice shall specify a date when such resignation shall take effect, which shall not be

   less than ninety (90) days after the date such notice is given, where practicable.

                    (c)   A Trustee may be removed by the Bankruptcy Court, on the motion of the

   TAC or the FCR in the event that he or she becomes unable to discharge his or her duties

   hereunder due to accident, physical deterioration, mental incompetence, or for other good cause.

   Good cause shall be deemed to include any substantial failure to comply with the general

   administration provisions of Section 2.2 above, a consistent pattern of neglect and failure to

   perform or participate in performing the duties of a Trustee hereunder, or repeated

   non-attendance at scheduled meetings. Such removal shall take effect at such time as the

   Bankruptcy Court shall determine.

            4.3     Appointment of Successor Trustees.

                    (a)   In the event of a vacancy in a Trustee position, whether by term

   expiration, death, retirement, resignation, or removal, the vacancy shall be filled by the TAC and

   the FCR. In the event that the TAC and the FCR cannot agree on the appointment of a successor

   Trustee, the Bankruptcy Court shall select the successor Trustee.

                    (b)   Immediately upon the appointment of any successor Trustee, all rights,

   titles, duties, powers, and authority of the predecessor Trustee hereunder shall be vested in, and

   undertaken by, the successor Trustee without any further act. No successor Trustee shall be



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   liable personally for any act or omission of his or her predecessor Trustee. No successor Trustee

   shall have any duty to investigate the acts or omissions of his or her predecessor Trustee.

                    (c)   Each successor Trustee shall serve until the earliest of (i) the end of the

   term of five (5) years for which he or she was appointed if his or her immediate predecessor

   Trustee completed his or her term pursuant to Section 4.2(a) above, (ii) the end of the term of the

   Trustee whom he or she replaced if his or her predecessor Trustee did not complete such term,

   (iii) his or her death, (iv) his or her mandatory retirement at the end of the year in which the

   Trustee reaches the age of 70 (unless, and for so long as, this mandatory retirement requirement

   is waived with the consent of the TAC and the FCR), (v) his or her resignation pursuant to

   Section 4.2(b) above, (vi) his or her removal pursuant to Section 4.2(c) above, or (vii) the

   termination of the Talc Trust pursuant to Section 7.3 below.

                    (d)   Nothing in this Trust Agreement shall prevent the reappointment of an

   individual serving as a Trustee for one or more additional terms.

           4.4      No Liability of Trustees, the TAC Members and the FCR. None of the

   Trustees, the TAC Members, or the FCR shall be liable to the Talc Trust, to any holder of a Talc

   Claim, or to any other Person, except in respect of their own acts or omissions that constitute a

   bad faith violation of the implied contractual covenant of good faith and fair dealing within the

   meaning of 12 Del. C. § 3806(e).

           4.5      Compensation and Expenses of the Trustees.

                    (a)   Each Trustee shall receive a retainer from the Talc Trust for his or her

   service as a Trustee in the amount of $[y] per annum, paid annually. Hourly time, as described

   below, shall first be billed and applied to the annual retainer. Hourly time in excess of the annual

   retainer shall be paid by the Talc Trust. For all time expended as Trustees, including attending



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   meetings, preparing for such meetings, and working on authorized special projects, the Trustees

   shall receive the sum of $[y] per hour. For all non-working travel time in connection with Talc

   Trust business, the Trustees shall receive the sum of $[y] per hour. All time shall be computed

   on a decimal (1/10th) hour basis. The Trustees shall record all hourly time to be charged to the

   Talc Trust on a daily basis. The hourly compensation payable to the Trustees hereunder shall be

   reviewed every year by the Trustees and, after consultation with the TAC and the FCR,

   appropriately adjusted for changes in the cost of living.

                    (b)      The Talc Trust will promptly reimburse the Trustees for all reasonable

   out-of-pocket costs and expenses incurred by the Trustees in connection with the performance of

   their duties hereunder.

                    (c)      The Talc Trust shall include in the reports to be filed with the Bankruptcy

   Court and provided to the TAC, the FCR, the Reorganized Debtor, and J&J pursuant to

   Section 2.2(c)(i) above a reasonably detailed description of the amounts paid under this

   Section 4.5.

           4.6      Indemnification of Trustees, the TAC Members, FCR and Others.

                    (a)      The Talc Trust shall indemnify and defend the Trustees, the TAC

   Members, and the FCR in connection with the performance of their duties, and/or actions

   undertaken by them, hereunder to the fullest extent that a statutory trust organized under the laws

   of the State of Delaware (after the application of Section 7.11) is from time to time entitled to

   indemnify and defend such Persons against any and all liabilities, expenses, claims, damages, or

   losses incurred by or on behalf of them in connection with the performance of their duties, and/or

   actions undertaken by them, hereunder and/or in connection with activities undertaken by them

   prior to the date first written above to form and establish the Talc Trust, except in respect of their



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   own acts or omissions that constitute a bad faith violation of the implied contractual covenant of

   good faith and fair dealing within the meaning of 12 Del. C. § 3806(e).

                    (b)   The Talc Trust shall indemnify to the fullest extent permitted by

   applicable law any of the Additional Indemnitees against any and all liabilities, expenses, claims,

   damages, or losses incurred by them as a result of their activities in their capacities hereunder.

                    (c)   Reasonable expenses, costs, and fees (including attorneys’ fees and costs)

   incurred by or on behalf of the Trustees, a TAC Member, the FCR, or any Additional Indemnitee

   in connection with any action, suit, or proceeding, whether civil, administrative, or arbitrative,

   from which such Person is indemnified by the Talc Trust pursuant to Section 1.9 or this Section

   4.6, shall be paid by the Talc Trust in advance of the final disposition thereof upon receipt of an

   undertaking, by or on behalf of such Person, to repay such amount in the event that it shall be

   determined ultimately by final order that such Person is not entitled to be indemnified by the

   Talc Trust.

                    (d)   The Talc Trust must purchase and maintain reasonable amounts and types

   of insurance on behalf of each Person who is indemnified by the Talc Trust pursuant to

   Section 4.6(a) or Section 4.6(b) above, including against liability asserted against or incurred by

   such Person in connection with the performance of their duties, or actions undertaken by them,

   hereunder.

           4.7      Lien. The Trustees, the TAC Members, the FCR, and the Additional Indemnitees

   shall have a first priority lien upon the Talc Trust’s assets to secure the payment of any amounts

   payable to them pursuant to Section 4.6 above or any undisputed compensation.




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           4.8      Trustees’ Employment of Experts and Administrators.

                    (a)     The Trustees may, but are not required to, retain and consult counsel,

   accountants, auditors, experts, financial and investment advisors, and such other parties deemed

   by the Trustees, in their reasonable judgment, to be qualified as experts on the matters submitted

   to them (the “Trust Professionals”) regardless of whether any such party is affiliated with any

   of the Trustees in any manner. In the absence of a bad faith violation of the implied contractual

   covenant of good faith and fair dealing within the meaning of 12 Del. C. § 3806(e), the written

   opinion of or information provided by any Trust Professional deemed by the Trustees, in their

   reasonable judgment, to be an expert on the particular matter submitted to such Trust

   Professional shall be full and complete authorization and protection in respect of any action

   taken or not taken by the Trustees hereunder in good faith and in accordance with the written

   opinion of or information provided by such Trust Professional.

                    (b)     The Trustees, with the consent of the TAC and the FCR, shall appoint a

   Talc Trust Claims Administrator in accordance with this Section 4.8(b). Any qualified party

   may be appointed as such regardless of whether such party is affiliated with any of the Trustees

   in any manner. The initial Talc Trust Claims Administrator shall be [ARCHER Systems, LLC], 2

   which has been appointed with the consent of the TAC and the FCR. Any successor Talc Trust

   Claims Administrator shall be appointed by the Trustees, with the consent of the TAC and the

   FCR. In the event that the Trustees cannot agree on a successor Talc Trust Claims Administrator

   or the TAC and the FCR do not consent, the Bankruptcy Court shall select the successor Talc

   Trust Claims Administrator.




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           Subject to competitive pricing and due diligence.

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                    (c)    The Trustees, with the consent of the TAC and the FCR, shall appoint a

   Talc Trust Liens Resolution Administrator in accordance with this Section 4.8(c). Any qualified

   party may be appointed as such regardless of whether such party is affiliated with any of the

   Trustees in any manner. The initial Talc Trust Liens Resolution Administrator shall be [•],

   which has been appointed with the consent of the TAC and the FCR. Any successor Talc Trust

   Liens Resolution Administrator shall be appointed by the Trustees, with the consent of the TAC

   and the FCR. In the event that the Trustees cannot agree on a successor Talc Trust Liens

   Resolution Administrator or the TAC and the FCR do not consent, the Bankruptcy Court shall

   select the successor Talc Trust Liens Resolution Administrator.

                    (d)    The Trustees, with the consent of the TAC and the FCR, shall engage a

   Claims Processor in accordance with this Section 4.8(d) to assist in the development of

   procedures and protocols to implement the TDP effectively and efficiently. Any qualified party

   may be engaged as such regardless of whether such party is affiliated with any of the Trustees in

   any manner. The initial Claims Processor shall be [•], which has been engaged with the consent

   of the TAC and the FCR. Any successor Claims Processor shall be engaged by the Trustees,

   with the consent of the TAC and the FCR. In the event that the Trustees cannot agree on a

   successor Claims Processor or the TAC and the FCR do not consent, the Bankruptcy Court shall

   select the successor Claims Processor.

           4.9      Trustee Independence. The Trustees shall not, during the term of their service,

   hold a financial interest in, act as attorney or agent for, or serve as an officer or as any other

   professional for the Reorganized Debtor, J&J, or any of their respective Affiliates.

   Notwithstanding the foregoing, the Trustees may serve, without any additional compensation

   other than the compensation to be paid by the Talc Trust pursuant to Section 4.5(a) above, as a



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   manager of the Reorganized Debtor. The Trustees shall not act as an attorney, agent, or other

   professional for any Person who holds a Talc Claim. For the avoidance of doubt, this Section 4.9

   shall not be applicable to the Delaware Trustee.

           4.10     No Bond. Neither the Trustees nor the Delaware Trustee shall be required to post

   any bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.

           4.11     Delaware Trustee.

                    (a)    There shall at all times be a Delaware Trustee to serve in accordance with

   the requirements of the Act. The Delaware Trustee shall either be (i) a natural person who is at

   least 21 years of age and a resident of the State of Delaware or (ii) a legal entity that (A) has its

   principal place of business in the State of Delaware in accordance with section 3807 of the Act,

   (B) otherwise meets the requirements of applicable Delaware law, and (C) shall act through one

   or more individuals authorized to bind such entity. If at any time the Delaware Trustee shall

   cease to be eligible in accordance with the provisions of this Section 4.11, it shall resign

   immediately in the manner and with the effect hereinafter specified in Section 4.11(c) below.

   For the avoidance of doubt, the Delaware Trustee will only have such rights and obligations as

   expressly provided by reference to the Delaware Trustee hereunder.

                    (b)    The Delaware Trustee shall not be entitled to exercise any powers, nor

   shall the Delaware Trustee have any of the duties and responsibilities of the Trustees set forth

   herein. The Delaware Trustee shall be one of the trustees of the Talc Trust for the sole and

   limited purpose of fulfilling the requirements of section 3807 of the Act and for taking such

   actions as are required to be taken by a Delaware Trustee under the Act. The duties (including

   fiduciary duties), liabilities, and obligations of the Delaware Trustee shall be limited to

   (i) accepting legal process served on the Talc Trust in the State of Delaware and (ii) the



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   execution of any certificates required to be filed with the Delaware Secretary of State that the

   Delaware Trustee is required to execute under section 3811 of the Act (acting solely at the

   written direction of the Trustees) and the Delaware Trust shall have no other duties (including

   fiduciary duties) or obligations, express or implied, at law or in equity. To the extent that, at law

   or in equity, the Delaware Trustee has duties (including fiduciary duties) and liabilities relating

   thereto to the Talc Trust, the other Parties hereto, or any beneficiary of the Talc Trust, it is

   hereby understood and agreed by the other Parties hereto that such duties and liabilities are

   replaced by the duties and liabilities of the Delaware Trustee expressly set forth in this Trust

   Agreement.

                    (c)   The Delaware Trustee shall serve until such time as the Trustees remove

   the Delaware Trustee or the Delaware Trustee resigns, and a successor Delaware Trustee is

   appointed by the Trustees in accordance with the terms of Section 4.11(d) below. The Delaware

   Trustee may resign at any time upon the giving of at least sixty (60) days’ advance written notice

   to the Trustees; provided, however, that such resignation shall not become effective unless and

   until a successor Delaware Trustee shall have been appointed by the Trustees in accordance with

   Section 4.11(d) below. If the Trustees do not act within such 60-day period, the Delaware

   Trustee may apply to the Court of Chancery of the State of Delaware for the appointment of a

   successor Delaware Trustee.

                    (d)   Upon the resignation or removal of the Delaware Trustee, the Trustees

   shall appoint a successor Delaware Trustee by delivering a written instrument to the outgoing

   Delaware Trustee. Any successor Delaware Trustee must satisfy the requirements of

   section 3807 of the Act. Any resignation or removal of the Delaware Trustee and appointment

   of a successor Delaware Trustee shall not become effective until a written acceptance of



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   appointment is delivered by the successor Delaware Trustee to the outgoing Delaware Trustee

   and the Trustees and any undisputed fees and expenses due to the outgoing Delaware Trustee are

   paid. Following compliance with the preceding sentence, the successor Delaware Trustee shall

   become fully vested with all of the rights, powers, duties, and obligations of the outgoing

   Delaware Trustee under this Trust Agreement, with like effect as if originally named as

   Delaware Trustee, and the outgoing Delaware Trustee shall be discharged of its duties and

   obligations under this Trust Agreement.

                    (e)   The Delaware Trustee shall neither be required nor permitted to attend

   meetings relating to the Talc Trust.

                    (f)   The Delaware Trustee shall be paid such compensation as agreed to

   pursuant to a separate fee agreement.

                    (g)   The Talc Trust will promptly reimburse the Delaware Trustee for all

   reasonable out-of-pocket costs and expenses incurred by the Delaware Trustee in connection

   with the performance of their duties hereunder.

                    (h)   The Delaware Trustee shall be permitted to retain counsel only in such

   circumstances as required in the exercise of its obligations hereunder, and compliance with the

   advice of such counsel shall be full and complete authorization and protection for actions taken

   or not taken by the Delaware Trustee in good faith in compliance with such advice.

                                             ARTICLE V

                                 TRUST ADVISORY COMMITTEE

           5.1      Members. The TAC shall consist of five (5) TAC Members if no official

   committee is appointed in the Bankruptcy Case and seven (7) TAC Members if an official

   committee is appointed in the Bankruptcy Case. In either case, five (5) TAC Members shall be



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   appointed as follows: (a) one (1) TAC Member (the “Andrews & Thornton Appointee”) shall

   be appointed by Andrews & Thornton, Attorneys At Law, A Law Corporation (“Andrews &

   Thornton”); (b) one (1) TAC Member (the “Pulaski Kherkher Appointee”) shall be appointed

   by Pulaski Kherkher, PLLC (“Pulaski Kherkher”); (c) one (1) TAC Member (the “Watts

   Appointee”) shall be appointed by Watts Law Firm LLP (“Watts”); (d) one (1) TAC Member

   (the “Onder Appointee”) shall be appointed by OnderLaw, LLC (“Onder”); and (e) one (1)

   TAC Member (the “Nachawati Appointee” and, together with the Andrews & Thornton

   Appointee, the Pulaski Kherkher Appointee, the Watts Appointee, and the Onder Appointee, the

   “AHC Appointees”) shall be appointed by Nachawati Law Group, PLLC (“Nachawati” and,

   together with Andrews & Thornton, Pulaski Kherkher, Watts, and Onder, the “AHC Appointing

   Firms”). If an official committee is appointed in the Bankruptcy Case, two (2) TAC Members

   (each, a “TCC Appointee”) shall be appointed by a majority vote of the members of such

   official committee. The initial TAC shall consist of the TAC Members named as such on the

   signature pages hereto.

           5.2      Duties. The TAC Members shall serve in a fiduciary capacity, representing the

   interests of all holders of Existing Direct Claims. The TAC Members shall have no fiduciary

   obligations or duties to any Party or Person other than the holders of Existing Direct Claims.

   The Trustees must consult with the TAC on matters expressly identified in Section 2.2(e) above

   and in other provisions of this Trust Agreement and the TDP and must obtain the consent of the

   TAC on matters expressly identified in Section 2.2(f) above and in other provisions of this Trust

   Agreement and the TDP. Except for the duties and obligations expressed in this Trust

   Agreement and the documents referenced herein (including the TDP), the TAC and the TAC

   Members shall have no other duties (including fiduciary duties) or obligations, express or



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   implied, at law or in equity. To the extent that, at law or in equity, the TAC or the TAC

   Members have duties (including fiduciary duties) and liabilities relating thereto to the Talc Trust,

   the other Parties hereto, or any beneficiary of the Talc Trust, it is hereby understood and agreed

   by the other Parties hereto that such duties and liabilities are replaced by the duties and liabilities

   of the TAC and the TAC Members expressly set forth in this Trust Agreement and the

   documents referenced herein (including the Plan, the Confirmation Order, and the TDP).

           5.3      Term of Office.

                    (a)    The initial TAC Members appointed in accordance with Section 5.1 above

   shall serve the staggered three-, four-, or five-year terms as indicated on the signature pages

   hereto. Thereafter, each term of office shall be five (5) years. Each TAC Member shall serve

   until the earlier of (i) his or her death, (ii) his or her resignation pursuant to Section 5.3(b) below,

   (iii) his or her removal pursuant to Section 5.3(c) below, (iv) the end of his or her term as

   provided above, or (v) the termination of the Talc Trust pursuant to Section 7.3 below.

                    (b)    A TAC Member may resign at any time by written notice to the Trustees,

   the other TAC Members, and the FCR. Such notice shall specify a date when such resignation

   shall take effect, which shall not be less than ninety (90) days after the date such notice is given,

   where practicable.

                    (c)    A TAC Member may be removed in the event that he or she becomes

   unable to discharge his or her duties hereunder due to accident, physical deterioration, mental

   incompetence, or a consistent pattern of neglect and failure to perform or to participate in

   performing the duties of a TAC Member hereunder, such as repeated non-attendance at

   scheduled meetings, or for other good cause. Such removal may be made by the Bankruptcy

   Court on the motion of a majority of the other TAC Members.



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           5.4      Appointment of Successors.

                    (a)   In the event of a TAC Member vacancy, (i) if the vacancy has occurred

   with respect to the Andrews & Thornton Appointee, Andrews & Thornton shall appoint a

   successor TAC Member, (ii) if the vacancy has occurred with respect to the Pulaski Kherkher

   Appointee, Pulaski Kherkher shall appoint a successor TAC Member, (iii) if the vacancy has

   occurred with respect to the Watts Appointee, Watts shall appoint a successor TAC Member, (iv)

   if the vacancy has occurred with respect to the Onder Appointee, Onder shall appoint a successor

   TAC Member, (v) if the vacancy has occurred with respect to the Nachawati Appointee,

   Nachawati shall appoint a successor TAC Member, and (vi) if the vacancy has occurred with

   respect to a TCC Appointee, the remaining TCC Appointee shall appoint a successor TAC

   Member; provided, however, that, if a successor TAC Member is not appointed in accordance

   with the preceding provisions of this Section 5.4(a) within thirty (30) days following the

   occurrence of such vacancy, (A) if such vacancy relates to the Andrews & Thornton Appointee,

   Pulaski Kherkher, Watts, Onder, and Nachawati shall appoint the successor TAC Member, (B) if

   such vacancy relates to the Pulaski Kherkher Appointee, Andrews & Thornton, Watts, Onder,

   and Nachawati shall appoint the successor TAC Member, (C) if such vacancy relates to the

   Watts Appointee, Andrews & Thornton, Pulaski Kherkher, Onder, and Nachawati shall appoint

   the successor TAC Member, (D) if such vacancy relates to the Onder Appointee, Andrews &

   Thornton, Pulaski Kherkher, Watts, and Nachawati shall appoint the successor TAC Member,

   (E) if such vacancy relates to the Nachawati Appointee, Andrews & Thornton, Pulaski Kherkher,

   Watts, and Onder shall appoint the successor TAC Member, and (F) if such vacancy relates to a

   TCC Appointee, the Trustees shall appoint the successor TAC Member; provided further,

   however, that, if a successor TAC Member is not appointed in accordance with the preceding



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   provisions of this Section 5.4(a) within sixty (60) days following the occurrence of such vacancy,

   the Bankruptcy Court may appoint the successor TAC Member on motion of the Trustees. Any

   appointment of a successor TAC Member in accordance with the foregoing sentence (other than

   appointment by the Bankruptcy Court) shall be subject to the consent of at least fifty percent

   (50%) of the TAC Members in place following the occurrence of such vacancy; provided,

   however, that if such consent is withheld, the party seeking to appoint such successor TAC

   Member may seek a ruling from the Bankruptcy Court that the consent was unreasonably

   withheld and that the successor TAC Member is appointed.

                    (b)   Nothing in this Trust Agreement shall prevent the reappointment of an

   individual serving as a TAC Member for an additional term, and there shall be no limit on the

   number of terms that a TAC Member may serve.

                    (c)   Each successor TAC Member shall serve until the earlier of (i) the end of

   the full term for which he or she was appointed, (ii) the end of the term of the TAC Member

   whom he or she replaced if his or her predecessor TAC Member did not complete such term, (iii)

   his or her death, (iv) his or her resignation pursuant to Section 5.3(b) above, (v) his or her

   removal pursuant to Section 5.3(c) above, or (vi) the termination of the Talc Trust pursuant to

   Section 7.3 below.

                    (d)   No successor TAC Member shall be liable personally for any act or

   omission of his or her predecessor TAC Member. No successor TAC Member shall have any

   duty to investigate the acts or omissions of his or her predecessor TAC Member. No TAC

   Member shall be required to post any bond or other form of surety or security unless otherwise

   ordered by the Bankruptcy Court.




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           5.5      TAC’s Employment of Professionals.

                    (a)   The TAC may, but is not required to, retain and consult counsel,

   accountants, auditors, experts, financial and investment advisors, and such other parties deemed

   by the TAC to be qualified to assist the TAC in connection with its rights or duties as may be

   requested on the matters submitted to them (the “TAC Professionals”). The TAC and the TAC

   Professionals shall at all times have complete access to the Trustees’ and the Talc Trust’s

   officers, agents, and employees, as well as to any Trust Professionals, and shall also have

   complete access to all non-privileged information generated by them or otherwise available to

   the Talc Trust or the Trustees. In the absence of a bad faith violation of the implied contractual

   covenant of good faith and fair dealing within the meaning of 12 Del. C. § 3806(e), the written

   opinion of or information provided by any TAC Professional or Trust Professional deemed by

   the TAC to be an expert on the particular matter submitted to such TAC Professional or Trust

   Professional shall be full and complete authorization and protection in respect of any action

   taken or not taken by the TAC and the TAC Members in good faith and in accordance with the

   written opinion or other advice or information provided by such TAC Professional or Trust

   Professional.

                    (b)   The Talc Trust shall promptly reimburse the TAC for, or if so instructed,

   pay directly for the benefit of the TAC, all reasonable fees and costs of the TAC Professionals

   retained and consulted by the TAC pursuant to this Section 5.5.

                    (c)   In the event that the TAC retains counsel in connection with any matter,

   whether or not related to any claim that has been or might be asserted against the TAC or the

   TAC Members and irrespective of whether the Talc Trust pays such counsel’s fees and related

   expenses, any communications between the TAC and such counsel shall be deemed to be within



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   the attorney-client privilege and protected by section 3333 of title 12 of the Delaware Code,

   regardless of whether such communications are related to any claim that has been or might be

   asserted by or against the TAC or the TAC Members and regardless of whether the Talc Trust

   pays such counsel’s fees and related expenses.

           5.6      Compensation and Expenses of the TAC. The TAC Members shall not be

   entitled to compensation for their services, but the Talc Trust will promptly reimburse each TAC

   Member for, or, if so instructed, pay directly for the benefit of such TAC Member, all reasonable

   out-of-pocket costs or expenses incurred by such TAC Member in connection with the

   performance of his or her duties hereunder including without limitation the premiums of any

   liability insurance policy the TAC Members obtain to cover the TAC Members’ duties and

   actions in connection with the Talc Trust. Such reimbursement or direct payment shall be

   deemed a Talc Trust Expense. The Talc Trust shall include a description of the amounts

   reimbursed or paid under this Section 5.6 in the Annual Report to be filed with the Bankruptcy

   Court and provided to the TAC, the FCR, the Reorganized Debtor, and J&J pursuant to Section

   2.2(c)(i).

                                              ARTICLE VI

                                                THE FCR

           6.1      Duties. The initial FCR shall be the individual identified as such on the signature

   pages hereto. He or she shall serve in a fiduciary capacity, representing the interests of the

   holders of future Talc Claims for the purpose of protecting the rights of such Persons. The FCR

   shall have no fiduciary obligations or duties to any Party or Person other than holders of future

   Talc Claims. The Trustees must consult with the FCR on matters expressly identified in

   Section 2.2(e) above and in other provisions of this Trust Agreement or the TDP and must obtain



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   the consent of the FCR on matters expressly identified in Section 2.2(f) above and in other

   provisions of this Trust Agreement and the TDP. Except for the duties and obligations expressed

   in this Trust Agreement and the documents referenced herein (including the TDP), the FCR shall

   have no other duties (including fiduciary duties) or obligations, express or implied, at law or in

   equity. To the extent that, at law or in equity, it is determined that the FCR has duties (including

   fiduciary duties) and liabilities relating thereto to the Talc Trust, the other Parties hereto, or any

   beneficiary of the Talc Trust, it is hereby understood and agreed by the other Parties hereto that

   such duties and liabilities are replaced by the duties and liabilities of the FCR expressly set forth

   in this Trust Agreement and the documents referenced herein (including the Plan, and

   Confirmation Order, and the TDP).

           6.2      Term of Office.

                    (a)    The FCR shall serve until the earlier of (i) his or her death, (ii) his or her

   resignation pursuant to Section 6.2(b) below, (iii) his or her removal pursuant to Section 6.2(c)

   below, or (iv) the termination of the Talc Trust pursuant to Section 7.3 below.

                    (b)    The FCR may resign at any time by written notice to the Trustees and the

   TAC. Such notice shall specify a date when such resignation shall take effect, which shall not be

   less than ninety (90) days after the date such notice is given, where practicable.

                    (c)    The FCR may be removed in the event that he or she becomes unable to

   discharge his or her duties hereunder due to accident, physical deterioration, mental

   incompetence, or a consistent pattern of neglect and failure to perform or to participate in

   performing the duties hereunder, such as repeated non-attendance at scheduled meetings, or for

   other good cause. Such removal may be made by the Trustees with consent of the TAC, or by

   the Bankruptcy Court on the motion of the Trustees or the TAC.



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           6.3      Appointment of Successor.

                    (a)   A vacancy caused by resignation or death of the FCR shall be filled with

   an individual nominated by the FCR prior to the effective date of such resignation or death. A

   vacancy caused by removal of the FCR based on inability of the FCR to discharge his or her

   duties due to accident, physical deterioration, or mental incompetence shall be filled with an

   individual nominated by the FCR prior to such inability. In the event (i) a vacancy was caused

   as provided above and the FCR did not nominate his or her successor as provided above or (ii) a

   vacancy was caused by removal of the FCR for other reasons, the successor FCR shall be

   selected by the Trustees in consultation with the TAC.

                    (b)   No successor FCR shall be liable personally for any act or omission of his

   or her predecessor. No successor FCR shall have any duty to investigate the acts or omissions of

   his or her predecessor. No FCR shall be required to post any bond or other form of surety or

   security unless otherwise ordered by the Bankruptcy Court.

           6.4      FCR’s Employment of Professionals.

                    (a)   The FCR may, but is not required to, retain and consult counsel,

   accountants, auditors, experts, financial and investment advisors, and such other parties deemed

   by the FCR to be qualified to assist the FCR in connection with his or her duties as may be

   requested on the matters submitted to them (the “FCR Professionals”). The FCR and the FCR

   Professionals shall at all times have complete access to the Trustees’ and the Talc Trust’s

   officers, agents, and employees, as well as to any Trust Professionals, and shall also have

   complete access to all non-privileged information generated by them or otherwise available to

   the Talc Trust or the Trustees. In the absence of a bad faith violation of the implied contractual

   covenant of good faith and fair dealing within the meaning of 12 Del. C. § 3806(e), the written



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   opinion of or information provided by any FCR Professional or Trust Professional deemed by the

   FCR to be an expert on the particular matter submitted to such FCR Professional or Trust

   Professional shall be full and complete authorization and protection in respect of any action

   taken or not taken by the FCR in good faith and in accordance with the written opinion or other

   advice or information provided by such FCR Professional or Trust Professional.

                    (b)   The Talc Trust shall promptly reimburse the FCR for, or, if so instructed,

   pay directly for the benefit of the FCR, all reasonable fees and costs of the FCR Professionals

   retained and consulted by the FCR pursuant to this Section 6.4.

                    (c)   In the event that the FCR retains counsel in connection with any matter,

   whether or not related to any claim that has been or might be asserted against the FCR and

   irrespective of whether the Talc Trust pays such counsel’s fees and related expenses, any

   communications between the FCR and such counsel shall be deemed to be within the attorney-

   client privilege and protected by section 3333 of title 12 of the Delaware Code, regardless of

   whether such communications are related to any claim that has been or might be asserted by or

   against the FCR and regardless of whether the Talc Trust pays such counsel’s fees and related

   expenses.

           6.5      Compensation and Expenses of the FCR. The FCR shall receive compensation

   from the Talc Trust in the form of payment at the FCR’s normal hourly rate for services

   performed, as such may be adjusted from time to time. The Talc Trust will promptly reimburse

   the FCR for, or, if so instructed, pay directly for the benefit of the FCR, all reasonable out-of-

   pocket costs and expenses incurred by the FCR in connection with the performance of his or her

   duties hereunder including without limitation the premiums of any liability insurance policy the

   FCR obtains to cover the FCR’s duties and actions in connection with the Talc Trust. Such



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   reimbursement or direct payment shall be deemed a Talc Trust expense. The Talc Trust shall

   include a description of the amounts reimbursed or paid under this Section 6.5 in the Annual

   Report to be filed with the Bankruptcy Court and provided to the TAC, the FCR, the

   Reorganized Debtor, and J&J pursuant to Section 2.2(c)(i).

                                            ARTICLE VII

                                      GENERAL PROVISIONS

            7.1     Procedures for Consulting with or Obtaining Consent of the TAC, the FCR,

   the Reorganized Debtor, or J&J.

                    (a)   In the event the Trustees are expressly required to consult with the TAC,

   the FCR, the Reorganized Debtor, or J&J pursuant to any provision of this Trust Agreement

   (including without limitation Section 2.2(e) above) or the TDP, the following procedures shall

   apply:

                          (i)    The Trustees shall provide the TAC, the FCR, the Reorganized

   Debtor, or J&J (as applicable) with written advance notice of the matter under consideration and

   the scope of the action the Trustees propose to take along with all relevant information

   concerning the matter as is reasonably practicable under the circumstances. The Trustees shall

   also provide the TAC, the FCR, the Reorganized Debtor, or J&J (as applicable) with such

   reasonable access to the Talc Trust’s officers, agents, and employees, as well as any Trust

   Professionals, as the TAC, the FCR, the Reorganized Debtor, or J&J (as applicable) may

   reasonably request during the time that the Trustees are considering such matter, and shall also

   provide the TAC, the FCR, the Reorganized Debtor, or J&J (as applicable) the opportunity, at

   reasonable times and for reasonable periods of time, to discuss and comment on such matter with

   the Trustees.



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                          (ii)    In determining when to take definitive action on any matter subject

   to the consultation process set forth in this Section 7.1(a), the Trustees shall take into

   consideration the time required for the TAC, the FCR, the Reorganized Debtor, or J&J (as

   applicable), if they so wish, to retain and consult with their own advisors as to such matter. In

   any event, the Trustees shall not take definitive action on any such matter until at least ten (10)

   Business Days after providing the TAC, the FCR, the Reorganized Debtor, or J&J (as applicable)

   with the initial written notice that such matter is under consideration by the Trustees, unless such

   period is waived by the TAC, the FCR, the Reorganized Debtor, or J&J (as applicable).

                    (b)   In the event the Trustees are expressly required to obtain the consent of

   the TAC, the FCR, the Reorganized Debtor, or J&J (as applicable) pursuant to any other

   provision of this Trust Agreement (including without limitation Section 2.2(f) above) or the

   TDP, the following procedures shall apply:

                          (i)     The Trustees shall provide the TAC, the FCR, the Reorganized

   Debtor, or J&J (as applicable) with a written notice stating that their consent is being sought

   pursuant to that provision, describing in detail the nature and scope of the action the Trustees

   propose to take and explaining in detail the reasons why the Trustees desire to take such action.

   The Trustees shall provide the TAC, the FCR, the Reorganized Debtor, or J&J (as applicable)

   with as much relevant additional information concerning the proposed action as is reasonably

   practicable under the circumstances. The Trustees shall also provide the TAC, the FCR, the

   Reorganized Debtor, or J&J (as applicable) with such reasonable access to the Talc Trust’s

   officers, agents, and employees, as well as any Trust Professionals, as the TAC, the FCR, the

   Reorganized Debtor, or J&J (as applicable) may reasonably request during the time that the

   Trustees are considering such action, and shall also provide the TAC, the FCR, the Reorganized



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   Debtor, or J&J (as applicable) the opportunity, at reasonable times and for reasonable periods of

   time, to discuss and comment on such action with the Trustees.

                          (ii)    The TAC, the FCR, the Reorganized Debtor, or J&J (as applicable)

   must advise the Trustees in writing of their consent or objection to the proposed action within ten

   (10) Business Days of receiving the original request for consent from the Trustees, or within

   such additional time as the Trustees, the TAC, the FCR, the Reorganized Debtor, or J&J (as

   applicable) may agree. If the TAC, the FCR, the Reorganized Debtor, or J&J (as applicable)

   does not advise the Trustees in writing of its consent or objection to the proposed action within

   ten (10) Business Days of receiving notice regarding such request (or any additional time period

   agreed to as provided above), then consent of the TAC, the FCR, the Reorganized Debtor, or J&J

   (as applicable) to the proposed action shall be deemed to have been affirmatively granted.

                          (iii)   The TAC and the FCR may not unreasonably withhold, delay, or

   condition their consent hereunder. If the TAC or the FCR decides to withhold consent, they

   must explain in reasonable detail their objection to the proposed action. If, after following the

   procedures specified in this Section 7.1(b), the TAC or the FCR continues to object to the

   proposed action and to withhold its consent to the proposed action, the Trustees and the TAC or

   the FCR (as applicable) shall resolve their dispute pursuant to Section 7.13. The TAC or the

   FCR (as applicable) shall have the burden of proving that it reasonably withheld its consent. If

   the TAC or the FCR (as applicable) meets that burden, the Talc Trust shall then have the burden

   of showing why it should be permitted to take the proposed action notwithstanding the

   reasonable objection of the TAC or the FCR (as applicable).

                          (iv)    Each of the Reorganized Debtor and J&J may withhold its consent

   hereunder in its sole and absolute discretion.



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           7.2       Irrevocability. To the fullest extent permitted by applicable law, the Talc Trust

   is irrevocable.

           7.3       Term; Termination.

                     (a)    The term for which the Talc Trust is to exist shall commence on the date

   of the filing of the Certificate of Trust and shall terminate pursuant to the provisions of

   Section 7.3(b) through Section 7.3(d) below.

                     (b)    The Talc Trust shall automatically dissolve on (i) the date on which the

   Confirmation Order is vacated by the Bankruptcy Court or (ii) if the Effective Date shall have

   occurred, the date ninety (90) days after the first occurrence of any of the following events (as

   applicable, the “Dissolution Date”):

                            (i)     the date on which the Trustees decide, with the consent of the TAC

   and the FCR, to dissolve the Talc Trust because (A) the Trustees, in their reasonable judgment,

   deem it unlikely that new Talc Claims will be filed against the Talc Trust, (B) all Talc Claims

   duly filed with the Talc Trust have been liquidated and paid or otherwise resolved, and (C)

   twelve (12) consecutive months have elapsed during which no new Talc Claim has been filed

   with the Talc Trust;

                            (ii)    if the Trustees, with the consent of the TAC and the FCR, have

   procured and have in place irrevocable insurance policies and have established claims handling

   agreements and other necessary arrangements with suitable third parties adequate to discharge all

   expected remaining obligations and expenses of the Talc Trust in a manner consistent with this

   Trust Agreement and the TDP, the date on which the Bankruptcy Court enters an order

   approving such insurance and other arrangements and such order becomes a Final Order; or




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                          (iii)   to the extent that any rule against perpetuities shall be deemed

   applicable to the Talc Trust, the date on which twenty-one (21) years less ninety-one (91) days

   pass after the death of the last survivor of all the descendants of the late Joseph P. Kennedy, Sr.,

   father of the late President John F. Kennedy, living on the date hereof.

                    (c)   If the Effective Date shall have occurred, on the Dissolution Date (or as

   soon thereafter as is reasonably practicable), after the wind-up of the Talc Trust’s affairs by the

   Trustees and payment of all the Talc Trust’s liabilities has been provided for as required by

   applicable law including Section 3808 of the Act, all monies remaining in the Talc Trust shall be

   given to charitable organization(s) exempt from federal income tax under section 501(c)(3) of

   the Internal Revenue Code, which tax-exempt organization(s) shall be selected by the Trustees in

   their reasonable discretion; provided, however, that (i) if practicable, the activities of the selected

   tax-exempt organization(s) shall be related to the treatment of, research on the cure of, or other

   relief for individuals suffering from, ovarian cancer, or other gynecological disease and (ii) the

   tax-exempt organization(s) shall not bear any relationship to the Reorganized Debtor within the

   meaning of section 468B(d)(3) of the Internal Revenue Code. Notwithstanding any contrary

   provision of any Plan Document, this Section 7.3(c) cannot be modified or amended.

                    (d)   Following the dissolution and, if the Effective Date shall have occurred,

   distribution of the assets of the Talc Trust, the Talc Trust shall terminate and the Trustees and the

   Delaware Trustee (acting solely at the written direction of the Trustees) shall execute and cause a

   Certificate of Cancellation of the Certificate of Trust of the Talc Trust to be filed in accordance

   with the Act. Notwithstanding anything to the contrary contained in this Trust Agreement, the

   existence of the Talc Trust as a separate legal entity shall continue until the filing of such

   Certificate of Cancellation.



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           7.4      Amendments.

                    (a)   Prior to the Effective Date, this Trust Agreement may be modified or

   amended only by mutual agreement of the Parties. From and after the Effective Date, the

   Trustees, subject to the consent of the TAC and the FCR, may modify or amend this Trust

   Agreement (except with respect to Section 7.3(c), which by its own terms is expressly not

   subject to modification or amendment); provided, however, that with respect to any requirement

   in this Trust Agreement that consent of the TAC be made pursuant to a supermajority of the

   TAC, any modification or amendment of such supermajority requirement shall be subject to the

   consent of a supermajority of the TAC (consisting of not less than 66% of all TAC Members).

   From and after the Effective Date, the Trustees, subject to the consent of the TAC and the FCR,

   may modify or amend the TDP; provided, however, that no modification or amendment to the

   TDP shall be inconsistent with the provisions of the TDP limiting amendments or modifications

   to the TDP. Any modification or amendment made pursuant to this Section 7.4 must be in

   writing.

                    (b)   Notwithstanding anything contained in this Trust Agreement or the TDP

   to the contrary:

                           (i)    Neither this Trust Agreement, the TDP, nor any document annexed

   hereto or thereto shall be modified or amended in any way that could jeopardize, impair, or

   modify: (A) the applicability of section 524(g), section 1123(b)(6) and/or section 105 of the

   Bankruptcy Code to the Plan, the Confirmation Order, or the Talc Trust; (B) the enforceability,

   the scope, or the terms of the discharge, releases, injunctions, and exculpation included in

   Article XI of the Plan; or (C) the Talc Trust’s status as a Qualified Settlement Fund within the

   meaning of the QSF Regulations.



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                               (ii)    Any modification or amendment of this Trust Agreement affecting

   the rights, duties, immunities, or liabilities of the Delaware Trustee shall require the Delaware

   Trustee’s written consent.

                               (iii)   Any modification or amendment of this Trust Agreement or the

   TDP affecting the rights of the Reorganized Debtor or J&J, including rights with respect to

   (A) the applicability of section 524(g), section 1123(b)(6) and/or section 105 of the Bankruptcy

   Code to the Plan, the Confirmation Order, or the Talc Trust; (B) the enforceability, the scope, or

   the terms of the discharge, releases, injunctions, and exculpation included in Article XI of the

   Plan; or (C) the Talc Trust’s status as a Qualified Settlement Fund within the meaning of the

   QSF Regulations, shall require the written consent of the Reorganized Debtor or J&J (as

   applicable). For the avoidance of doubt, any modification or amendment to clause (i) or clause

   (iii) of this Section 7.4(b) shall require the written consent of the Reorganized Debtor and J&J.

           7.5      Severability. Should any provision in this Trust Agreement be determined to be

   unenforceable, such determination shall in no way limit or affect the enforceability and operative

   effect of any other provision of this Trust Agreement.

           7.6      Notices.

                    (a)    Notices to Persons asserting claims shall be given by first class mail,

   postage prepaid, at the address of such Person, or, where applicable, such Person’s

   representative, in each case as provided on such Person’s claim form submitted to the Talc Trust

   in accordance with the TDP with respect to his or her Talc Claim, or by such other means,

   including electronic notice, as may be implemented by the Trustees, with the consent of the TAC

   and the FCR.




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                    (b)    Any notices or other communications required or permitted hereunder to

   the following Parties shall be in writing and delivered to the addresses or email addresses

   designated below, or to such other addresses or email addresses as may hereafter be furnished in

   writing to each of the other Parties listed below in compliance with the terms hereof.

                    To the Talc Trust or the Trustees:

                           Red River Talc Personal Injury Trust
                           c/o
                           Scott Freeman
                           1775 Saint James Place #200
                           Houston, TX 77056

                           Fouad Kurdi
                           30 Monument Square, Suite 245
                           Concord, MA 01742

                    With a copy to:

                           [y]

                    To the TAC or the TAC Members:

                           Andrews & Thornton
                           4701 Von Karman Ave. Suite 300
                           Newport Beach, CA 92660
                           Attn: Anne Andrews
                           Email: aa@andrewsthornton.com

                           Pulaski Kherkher, PLLC
                           2925 Richmond Avenue, Suite 1725
                           Houston, TX 77098
                           Attn: Adam Pulaski
                           Email: adam@pulaskilawfirm.com

                           Watts Law Firm LLP
                           811 Barton Springs Road #725
                           Austin, TX 78704
                           Attn: Mikal Watts
                           Email: mikal@wattsllp.com

                           OnderLaw, LLC
                           110 E. Lockwood Ave
                           St. Louis, MO 63119

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                           Attn: James Onder
                           Email: Onder@onderlaw.com

                           Nachawati Law Group
                           5489 Blair Road
                           Dallas, TX 75231
                           Attn: Majed Nachawati
                           Email: mn@ntrial.com

                           [y]

                    With a copy to:

                           [y]

                    To the FCR:

                           [y]

                    With a copy to:

                           [y]

                    To the Debtor or the Reorganized Debtor:

                           [y]

                    With a copy to:

                           Jones Day
                           2727 N. Harwood Street
                           Dallas, Texas 75201
                           Attention: Dan Prieto
                           Email:      dbprieto@jonesday.com

                    To J&J or Holdco:

                           c/o Johnson & Johnson
                           One Johnson & Johnson Plaza
                           New Brunswick, New Jersey 08933
                           Attention: [y]
                           Email:     [y]




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                    With copies to:

                           Barnes & Thornburg LLP
                           2029 Century Park East
                           Suite 300
                           Los Angeles, California 90067
                           Attention: Jim Murdica
                           Email:     jmurdica@btlaw.com

                           and

                           White & Case LLP
                           1221 Avenue of Americas
                           New York, New York 10020
                           Attention: Jessica C. Lauria (Boelter)
                           Email:     jessica.boelter@whitecase.com

                    To the Delaware Trustee;

                           [y]

                    (c)    All such notices and communications if mailed shall be effective when

   physically delivered at the designated addresses or, if electronically transmitted, when the

   communication is received at the designated addresses and confirmed by the recipient by return

   transmission.

           7.7      Successors and Assigns. The provisions of this Trust Agreement shall be

   binding upon and inure to the benefit of the Trustees, the TAC Members, the FCR, the Debtor,

   the Reorganized Debtor, J&J, and Holdco and their respective successors and assigns, except that

   none of them may assign or delegate any of their rights or obligations under this Trust

   Agreement except: (a) in the case of the Trustees, in accordance with Section 4.3 above; (b) in

   the case of the TAC Members, in accordance with Section 5.4 above; and (c) in the case of the

   FCR, in accordance to Section 6.3 above.

           7.8      Limitation on Claim Interests for Securities Laws Purposes. Talc Claims and

   any interests therein: (a) shall not be assigned, conveyed, hypothecated, pledged, or otherwise


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   transferred, voluntarily or involuntarily, directly or indirectly, except by will or under the laws of

   descent and distribution; (b) shall not be evidenced by a certificate or other instrument; (c) shall

   not possess any voting rights; and (d) shall not be entitled to receive any dividends or interest;

   provided, however, that the foregoing clause (a) shall not apply to subrogation resulting from

   payments made by a third party in respect of such Talc Claim.

           7.9      Entire Agreement; No Waiver. The entire agreement of the Parties relating to

   the subject matter of this Trust Agreement is contained herein and in the documents referred to

   herein (including the Plan), and this Trust Agreement and such documents supersede any prior

   oral or written agreements concerning the subject matter hereof. No failure to exercise or delay

   in exercising any right, power, or privilege hereunder shall operate as a waiver thereof, nor shall

   any single or partial exercise of any right, power, or privilege hereunder preclude any further

   exercise thereof or of any other right, power, or privilege. The rights and remedies herein

   provided are cumulative and are not exclusive of rights under law or in equity.

           7.10     Headings. The headings used in this Trust Agreement are inserted for

   convenience only and do not constitute a portion of this Trust Agreement, nor in any manner

   affect the construction of the provisions of this Trust Agreement.

           7.11     Governing Law. The validity and construction of this Trust Agreement and all

   amendments hereto and thereto shall be governed by the laws of the State of Delaware, and the

   rights of all Parties hereto and the effect of every provision hereof shall be subject to and

   construed according to the laws of the State of Delaware without regard to the conflicts of law

   provisions thereof that would purport to apply the law of any other jurisdiction; provided,

   however, that the Parties hereto intend that the provisions hereof shall control and there shall not

   be applicable to the Talc Trust, this Trust Agreement, or the Parties, any provision of the laws



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   (statutory or common) of the State of Delaware pertaining to trusts that relate to or regulate in a

   manner inconsistent with the terms hereof: (a) the filing with any court or governmental body or

   agency of Trustees accounts or schedules of Trustees fees and charges; (b) affirmative

   requirements to post bonds for the Trustees, officers, agents, employees, or professionals of a

   trust; (c) the necessity for obtaining court or other governmental approval concerning the

   acquisition, holding, or disposition of real or personal property; (d) fees or other sums payable to

   the Trustees, officers, agents, employees, or professionals of a trust; (e) the allocation of receipts

   and expenditures to income or principal; (f) restrictions or limitations on the permissible nature,

   amount, or concentration of trust investments or requirements relating to the titling, storage, or

   other manner of holding of trust assets; (g) the existence of rights or interests (beneficial or

   otherwise) in trust assets; (h) the ability of beneficial owners or other Persons to terminate or

   dissolve a trust; or (i) the establishment of fiduciary or other standards or responsibilities or

   limitations on the acts or powers of the Trustees or beneficial owners that are inconsistent with

   the limitations on liability or authorities and powers of Trustees, the Delaware Trustee, the TAC,

   the TAC Members, or the FCR set forth or referenced in this Trust Agreement. Section 3540 of

   the Act shall not apply to the Talc Trust.

            7.12    Settlors’ Representative and Cooperation. The Debtor is hereby irrevocably

   designated as the Settlor and is hereby authorized to take any action required of the Settlor by the

   Trustees in connection with the Trust Agreement. The Reorganized Debtor agrees to cooperate

   in implementing the goals and objectives of this Trust Agreement at the sole expense of the Talc

   Trust.

            7.13    Enforcement and Administration. The provisions of this Trust Agreement and

   the TDP shall be enforced by the Bankruptcy Court pursuant to the Plan and the Confirmation



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   Order. The Parties hereby acknowledge and agree that the Bankruptcy Court shall have

   continuing exclusive jurisdiction over the settlement of the accounts of the Trustees and over any

   disputes that arise under this Trust Agreement or the TDP.

           7.14     Effectiveness. This Trust Agreement shall not become effective until the later of

   (a) the Confirmation Date and (b) the date on which this Trust Agreement has been executed and

   delivered by all the Parties hereto.

           7.15     Counterpart Signatures. This Trust Agreement may be executed in any number

   of counterparts and by different Parties on separate counterparts, and each such counterpart shall

   be deemed to be an original, but all such counterparts shall together constitute one and the same

   instrument. Electronic signatures and original signatures delivered electronically, in PDF or

   otherwise, shall be deemed to be original signatures.

                               [Remainder of page intentionally left blank]




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           IN WITNESS WHEREOF, the Parties have executed this Trust Agreement as of the date

   first written above.


    SETTLOR:

    RED RIVER TALC LLC


    By: _________________________________
    Name: _______________________________
    Title: ________________________________


    JOHNSON & JOHNSON


    By:
    Name:
    Title:


    JOHNSON & JOHNSON HOLDCO (NA) INC.


    By:
    Name:
    Title:




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    TRUSTEES                                          DELAWARE TRUSTEE:
                                                      [y]


    ______________________________________            By: _______________________________
    Name: Scott Freeman                                   Name: _________________________
    Expiration Date of Initial Term:                      Title: __________________________
    [y] anniversary of the date first written above


    ______________________________________
    Name: Fouad Kurdi
    Expiration Date of Initial Term:
    [y] anniversary of the date first written above




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    INITIAL TALC TRUST ADVISORY
    COMMITTEE MEMBERS

    Andrews & Thornton Appointee:                 First TCC Appointee:



    Name: Anne Andrews                            Name: [y]
    Expiration Date of Initial Term: [y]          Expiration Date of Initial Term: [y]
    anniversary of the date first written above   anniversary of the date first written above


    Pulaski Kherkher Appointee:                   Second TCC Appointee:



    Name: Adam Pulaski                            Name: [y]
    Expiration Date of Initial Term: [y]          Expiration Date of Initial Term: [y]
    anniversary of the date first written above   anniversary of the date first written above


    Watts Appointee:



    Name: Mikal C. Watts
    Expiration Date of Initial Term: [y]
    anniversary of the date first written above


    Onder Appointee:



    Name: James G. Onder
    Expiration Date of Initial Term: [y]
    anniversary of the date first written above


    Nachawati Appointee:



    Name: Majed Nachawati
    Expiration Date of Initial Term: [y]
    anniversary of the date first written above


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    FCR



    Name: Randi S. Ellis




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                                     Exhibit 1

                                 Certificate of Trust

                                    See attached.




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                                       CERTIFICATE OF TRUST

                                                    OF

                          RED RIVER TALC PERSONAL INJURY TRUST

           This Certificate of Trust of the Red River Talc Personal Injury Trust (this “Trust”) is

   being executed and filed by the undersigned, as the trustees of the Trust, to form a statutory trust

   under the Delaware Statutory Trust Act (12 Del. Code, § 3801 et. seq.) (the “Act”).

           1.       Name. The name of the statutory trust formed hereby is Red River Talc Personal

   Injury Trust.

           2.       Delaware Trustee. The name and business address of the trustee of the Trust in

   the State of Delaware are [●].

           3.       Effective Date. This Certificate of Trust shall be effective upon filing.


                                [Remainder of page intentionally left blank]




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           IN WITNESS WHEREOF, the undersigned have duly executed this Certificate of Trust

   in accordance with section 3811(a) of the Act.


                                                    RED RIVER TALC PERSONAL INJURY
                                                    TRUST



                                                    By:
                                                    Name: Scott Freeman, solely as Trustee,
                                                           and not in his/her individual capacity


                                                    By:
                                                    Name: Fouad Kurdi, solely as Trustee,
                                                           and not in his/her individual capacity




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                                        Exhibit 2

                    Effective Date Assignment and Assumption Instrument

                                       See attached.




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                      INSTRUMENT OF ASSIGNMENT AND ASSUMPTION

           This Instrument of Assignment and Assumption (this “Instrument”), dated [●], is

   entered into by (1) Red River Talc LLC, a Texas limited liability company (the “Reorganized

   Debtor”), (2) Johnson & Johnson, a New Jersey corporation (“J&J”), and (3) the Red River

   Talc Personal Injury Trust (the “Talc Trust” and, together with the Reorganized Debtor, J&J,

   and Holdco, the “Parties”) established pursuant to the Red River Talc Personal Injury Trust

   Agreement dated [●] (the “Trust Agreement”), as contemplated by Section 1.3(a), Section

   1.4(a), Section 1.7(a) and Section 1.8(a) of the Trust Agreement. All capitalized terms used but

   not defined herein shall have the definitions set forth (or incorporated by reference) in the Trust

   Agreement.

           1.       Effective Date. Each of the Parties hereby acknowledges that the Effective Date

   has occurred.

           2.       Talc Claims. As contemplated by Section 1.3(a) of the Trust Agreement,

   pursuant to, and in accordance with, Section 4.8.1 of the Plan, the Talc Trust hereby assumes all

   liabilities, obligations, and responsibilities, financial and otherwise, of the Reorganized Debtor

   and the other Protected Parties for all Talc Claims (including Indirect Talc Personal Injury

   Claims and Talc Personal Injury Demands).

           3.       Talc Personal Injury Trust Defenses. As contemplated by Section 1.4(a) of the

   Trust Agreement, pursuant to, and in accordance with, Section 4.8.2 of the Plan, the Reorganized

   Debtor and J&J hereby transfer and assign to the Talc Trust, and the Talc Trust hereby accepts,

   the Talc Personal Injury Trust Defenses.

           4.       Imerys/Cyprus Related Rights. If Section 1.7(a) of the Trust Agreement is

   applicable, as contemplated by such Section 1.7(a), pursuant to, and in accordance with, Section

   4.9.3 of the Plan, the Reorganized Debtor and J&J hereby transfer and assign to the Talc Trust,

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   and the Talc Trust hereby accepts, the Imerys/Cyprus Related Rights, effective as of the

   Effective Date or, if later, the Imerys/Cyprus Settlement Termination Date (without the need for

   any further action by the Reorganized Debtor, J&J, the Talc Trust, or any other Person).

           5.       Talc Insurance Assets. As contemplated by Section 1.8(a) of the Trust

   Agreement, pursuant to, and in accordance with, Section 4.9.4 of the Plan, the Reorganized

   Debtor hereby transfer and assigns to the Talc Trust, and the Talc Trust hereby accepts, the Talc

   Insurance Assets.

           6.       Construction. This Instrument is being executed solely to give effect to the

   transactions contemplated by the Plan, the Confirmation Order, and the Trust

   Agreement. Nothing in this Instrument, express or implied, is intended to, or will be construed

   to, modify, expand, or limit in any way the terms of the Plan, the Confirmation Order, and the

   Trust Agreement.

           7.       Governing Law. The validity and construction of this Instrument shall be

   governed by the laws of the State of Delaware, and the rights of all Parties and the effect of every

   provision hereof shall be subject to and construed according to the laws of the State of Delaware

   without regard to the conflicts of law provisions thereof that would purport to apply the law of

   any other jurisdiction.

           8.       Counterparts. This Instrument may be executed in any number of counterparts

   and by different Parties on separate counterparts, and each such counterpart shall be deemed to

   be an original, but all such counterparts shall together constitute one and the same instrument.

   Electronic signatures or original signatures delivered electronically, in PDF or otherwise, shall be

   deemed to be original signatures.


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           IN WITNESS WHEREOF, the Parties have executed this Instrument as of the date first
   written above.


    RED RIVER TALC LLC


    By: _________________________________
    Name: _______________________________
    Title: ________________________________


    JOHNSON & JOHNSON


    By:
    Name:
    Title:


    RED RIVER TALC PERSONAL INJURY
    TRUST



    By: ____________________________________
    Name: Scott Freeman, solely as Trustee, and
           not in his/her individual capacity


    By:
    Name: Fouad Kurdi, solely as Trustee, and
           not in his/her individual capacity




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                                    EXHIBIT I

                                   Talc PI Note
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   THIS NOTE HAS BEEN ISSUED PURSUANT TO SECTION 1145 OF THE U.S.
   BANKRUPTCY CODE, WHICH PROVIDES AN EXEMPTION FROM THE REGISTRATION
   REQUIREMENTS OF THE SECURITIES ACT OF 1933, AS AMENDED, AND APPLICABLE
   STATE STATUTES.

                                SECURED NON-RECOURSE NOTE

                                                   [y]

          This SECURED NON-RECOURSE NOTE (this “Note”) is issued pursuant to the
   Prepackaged Chapter 11 Plan of Reorganization (the “Plan”) of Red River Talc LLC, debtor in the
   chapter 11 case captioned In re: Red River Talc LLC, Case No. [y] ([y]) pending in the United
   States Bankruptcy Court for the [y] District of Texas. All capitalized terms used herein and not
   otherwise defined herein shall have the meanings ascribed to them in the Plan.

           Red River Talc LLC, a Texas limited liability company (“Maker”), hereby promises to pay
   the RED RIVER TALC TALC PERSONAL INJURY TRUST (together with its successors and
   registered assigns, “Payee”) the principal sum of $400,000,000.00 on the terms set forth herein.

           SECTION 1. Payments in Cash. All payments to be made to Payee under this Note
   shall be made in the lawful money of the United States of America in immediately available
   funds to the following trust account established and maintained by Payee to hold Talc Personal
   Injury Trust:

                                                         [y]

           SECTION 2. Security. This Note is secured by a pledge of 100% of the ownership
   interests in Maker, pursuant to that certain pledge agreement, executed by New Holdco in favor
   of Payee (the “Pledge Agreement”), as further described therein and subject to the terms thereof.

          SECTION 3. Optional Prepayments. Maker may, at any time and from time to time,
   prepay all or any portion of this Note in accordance with Section 1 above.

           SECTION 4. Payment at Maturity. Maker shall repay all outstanding amounts due
   under this Note on or before the later of (a) the seventh anniversary of the Petition Date and
   (b) the first anniversary of the Effective Date (the “Maturity Date”). In any event, the entire
   principal balance of this Note shall be due and payable on the Maturity Date.

          SECTION 5. Non-Recourse Obligations; Payment Default. If Maker fails to pay the
   principal balance of this Note on the Maturity Date (a “Payment Default”), then Payee shall be
   permitted to exercise its rights under the Pledge Agreement. Payee’s sole remedy for
   nonpayment hereunder shall be to exercise its rights under the Pledge Agreement with respect to
   the Pledged Collateral (as defined therein). Payee shall only have recourse to the Pledged
   Collateral for payment of this Note, and no other assets of Maker shall be subject to levy,




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   execution, or other enforcement procedure for satisfaction or payment of amounts owing under
   this Note.

           SECTION 6.      Interest. This Note will bear no interest.

           SECTION 7. Partial Payments. Any payment of this Note that is made in an amount
   less than the aggregate amount of the entire principal balance shall reduce the principal amount.

            SECTION 8. Record of Payment; Business Day. Payee shall record the amount of any
   payment received by it hereunder and the applicable dates with respect thereto, by such method
   as Payee may generally employ, and such records of Payee shall be rebuttably presumptive
   evidence of the amounts that remain owing and unpaid hereunder; provided, however, that
   failure to make any such entry shall in no way affect Maker’s obligations hereunder. Whenever
   any payment to be made hereunder is due on a day that is not a Business Day, such payment
   shall be made on the next succeeding Business Day.

            SECTION 9. Notices. Any notice or other communication hereunder shall be by hand
   delivery, overnight delivery via nationally recognized overnight delivery service, or registered or
   certified United States mail with return receipt, postage prepaid, addressed to the receiving party
   at its address specified below (or at any other address that the receiving party may hereafter
   specify to the delivering party in writing), and unless otherwise provided herein shall be deemed
   to have been given or made when delivered or, if sent via United States mail, when the return
   receipt therefor is signed by the receiving party:

           Payee:         Red River Talc Personal Injury Trust
                          [y]
                          [y]
                          Attention: [y]

           Maker:         Red River Talc LLC
                          [y]
                          [y]
                          Attention: [y]

          SECTION 10. Governing Law. This Note shall be deemed a contract made under the
   laws of the State of Texas without regard to principles of conflicts of laws.

           SECTION 11. Severability. If any one or more of the provisions contained in this Note
   are invalid, illegal, or unenforceable in any respect, the validity, legality, or enforceability of all
   the remaining provisions will not in any way be affected or impaired. If any one or more
   provisions contained in this Note are deemed invalid, illegal, or unenforceable because of their
   scope or breadth, such provisions shall be reformed and replaced with provisions whose scope
   and breadth are valid under applicable law.

           SECTION 12. Assignment; Note Register. This Note shall bind Maker and Maker’s
   successors and assigns and shall inure to the benefit of Payee and its successors and assigns.
   This Note may be assigned, in whole or in part, by Payee and Payee shall provide written notice
   of any such assignment to Maker. Maker shall maintain a written register setting forth the name

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   and address of Payee and each of its assigns, and the amounts owing to each hereunder. This
   Note may be assigned, in whole or in part, by Maker, but Maker shall not be relieved of any of
   its obligations hereunder.

           SECTION 13. Tax Forms. By accepting this Note, Payee (including any assignee
   thereof) agrees to deliver to Maker upon or prior to its receipt of this Note, a duly completed
   Internal Revenue Service Form W-9 (or applicable Form W-8) establishing a complete
   exemption from withholding tax, including backup withholding tax, and to subsequently provide
   to Maker an updated form upon the obsolescence or invalidity of any previously delivered form.

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           IN WITNESS WHEREOF, Maker has executed and delivered this Note on the date first
   written above.

                                                     RED RIVER TALC LLC


                                                     By: ____________________________________
                                                     Name: _________________________________
                                                     Title: __________________________________


    The foregoing is agreed to and accepted as of
    the date first written above by the following:

    RED RIVER TALC PERSONAL INJURY
    TRUST

    By: _________________________________
    Name: ______________________________
    Title: _______________________________




                                   [Signature Page to Talc PI Note]
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                                    EXHIBIT J

                              Talc PI Pledge Agreement
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           This PLEDGE AGREEMENT, dated as of [y] (as amended, amended and restated,
   supplemented, or otherwise modified from time to time in accordance with the provisions hereof,
   this “Agreement”), made by JOHNSON & JOHNSON HOLDCO (NA) INC., a New Jersey
   corporation, as pledgor (in such capacity and together with any successors and assigns in such
   capacity, “Pledgor”), in favor of the RED RIVER TALC PERSONAL INJURY TRUST (together
   with its successors and assigns, “Payee”).

                                              RECITALS

           A.     Red River Talc LLC, a Texas limited liability company (“Maker”), has entered into
   that certain Secured Non-Recourse Note, dated as of date hereof (as amended, amended and
   restated, supplemented, or otherwise modified from time to time, the “Note”), in favor of Payee.

           B.     This Agreement is given by Pledgor in favor of Payee to secure the payment of all
   of the Secured Obligations (as defined below).

                                            $*5((0(17

          NOW, THEREFORE, in consideration of the foregoing premises and other good and
   valuable consideration, the receipt and sufficiency of which are hereby acknowledged, Pledgor
   and Payee hereby agree as follows:

                                            ARTICLE I
                                          DEFINED TERMS

           SECTION 1.1 Certain Terms Defined in UCC. Unless otherwise defined herein,
   capitalized terms used herein that are defined in the UCC have the meanings assigned to them in
   the UCC.

           SECTION 1.2       Certain Terms Defined in Note. Unless otherwise defined herein,
   capitalized terms used herein that are not defined in the UCC have the meanings ascribed to them
   in the Note.

          SECTION 1.3        Terms Defined Herein. The following terms used herein have the
   following meanings:

          “Additional Pledged Ownership Interests” means any additional ownership interests in
   Maker, or options, warrants or similar rights to acquire additional ownership interests in Maker, in
   each case together with all rights, privileges and powers relating thereto under any Organizational
   Document of Maker, and the certificates, instruments and agreements representing the same, if
   any, acquired by Pledgor after the date hereof.

           “Business Day” means any day other than a Saturday, a Sunday, or a day on which
   commercial banks in Dallas, Texas are authorized or obligated by law, executive order or
   regulation to be closed.

          “Distributions” means any dividends, distributions, returns of capital, or other property,
   including cash and securities (debt or equity), from time to time received or receivable by Pledgor


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   in respect of, or in exchange for, any of the Securities Collateral, including as a result of a revision,
   reclassification or other like change of the Securities Collateral.

          “Initial Pledged Ownership Interests” means the outstanding ownership interests in Maker,
   representing a 100% share of the profits and losses of Maker and of the right to receive
   Distributions of Maker’s assets, together with all rights, privileges and powers relating thereto
   under any Organizational Document, held by Pledgor on the date hereof.

         “Organizational Documents” means the certificate of formation and limited liability
   company agreement of Maker.

          “Pledged Ownership Interests” means, collectively, the Initial Pledged Ownership Interests
   and the Additional Pledged Ownership Interests.

          “Secured Obligations” means all payment obligations due and owing to Payee by Maker
   under the Note.

          “Securities Collateral” means, collectively, the Pledged Ownership Interests and the
   Successor Interests.

           “Successor Interests” means any ownership interests or options, warrants, or similar rights
   to acquire ownership interests in any successor limited liability company, corporation, partnership,
   or other entity formed by or resulting from any consolidation or merger in which Maker or other
   issuer of the Pledged Ownership Interests is involved but does not survive.

            “UCC” means the Uniform Commercial Code as in effect from time to time in the State of
   Texas.

                                          ARTICLE II
                          GRANT OF SECURITY AND SECURED OBLIGATIONS

           SECTION 2.1 Grant of Security Interest. As collateral security for the payment in full of
   all the Secured Obligations, Pledgor hereby pledges and grants to Payee, a lien on and security
   interest in and to all of the right, title and interest of Pledgor in, to and under the following property,
   wherever located, whether now existing or hereafter arising or acquired from time to time
   (collectively, the “Pledged Collateral”):

                    (a)     all Securities Collateral; and

                    (b)     all Proceeds of the Securities Collateral.

          SECTION 2.2 UCC Filings. Pledgor hereby irrevocably authorizes Payee at any time and
   from time to time to file in Pledgor’s jurisdiction of formation an initial financing statement (and
   any continuation statement in respect thereof or amendment thereto) that contains the information
   required by Article 9 of the Uniform Commercial Code of such jurisdiction for the filing of any
   financing statement, continuation statement, or amendment covering only the Pledged Collateral.



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                                      ARTICLE III
                    PERFECTION; SUPPLEMENTS; FURTHER ASSURANCES;
                             USE OF PLEDGED COLLATERAL

           SECTION 3.1 Delivery of Certificated Securities Collateral. Pledgor represents and
   warrants that there are no certificates, agreements, or instruments representing or evidencing the
   Securities Collateral in existence on the date hereof. Pledgor shall, upon obtaining any certificates,
   agreements or instruments representing or evidencing Securities Collateral after the date hereof,
   accept the same for the benefit of Payee and promptly (and in any event within ten Business Days)
   deliver such certificates, agreement, or instruments to Payee. Any certificated Securities
   Collateral, if any, shall be in suitable form for transfer by delivery or shall be accompanied by duly
   executed instruments of transfer or assignment in blank, all in form and substance reasonably
   satisfactory to Payee.

           SECTION 3.2 Supplements; Further Assurances. Pledgor shall take such further actions,
   and execute and deliver to Payee such additional assignments, agreements, supplements, powers,
   and instruments, as Payee may in its reasonable judgment deem necessary, wherever required by
   applicable law, in order to perfect the security interest in the Pledged Collateral as provided herein
   and/or permit Payee to exercise and enforce its rights, powers, and remedies hereunder with respect
   to any Pledged Collateral.

                                     ARTICLE IV
                CERTAIN PROVISIONS CONCERNING SECURITIES COLLATERAL

          SECTION 4.1 Pledge of Additional Securities Collateral. Pledgor shall, upon obtaining
   any Securities Collateral after the date hereof, accept the same for the benefit of Payee and
   promptly (and in any event within ten Business Days thereafter) deliver to Payee any certificates,
   agreements, or instruments representing or evidencing such Securities Collateral in accordance
   with Section 3.1 above.

           SECTION 4.2 Voting Rights; Distributions. Unless a Payment Default has occurred and
   is continuing and Payee has delivered notice to Pledgor providing that its rights under clauses (a)
   or (b) below shall cease:

                   (a)    Pledgor shall be entitled to exercise any and all voting and other consensual
   rights pertaining to the Securities Collateral or any part thereof for any purpose not inconsistent
   with the terms or purposes hereof; and

                    (b)     Pledgor shall be entitled to receive and retain, upon receipt, and to utilize
   free and clear of the lien hereof, any and all Distributions; provided, however, that any and all such
   Distributions in the form of Securities Collateral shall be accepted for the benefit of Payee and any
   certificates, agreements, or instruments representing or evidencing such Securities Collateral shall
   promptly (and in any event within ten Business Days thereafter) delivered to Payee in accordance
   with Section 3.1 above.




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                                               ARTICLE V
                                               REMEDIES

          Upon the occurrence and during the continuance of any Payment Default, Payee may from
   time to time exercise in respect of the Pledged Collateral, in addition to the other rights and
   remedies provided for herein or otherwise available to it, the following remedies:

                  (a)     sell, assign, or otherwise liquidate, or direct Pledgor to sell, assign or
   otherwise liquidate, any and all Pledged Collateral or any part thereof, and take possession of the
   proceeds of any such sale, assignment, or liquidation;

                    (b)   receive, retain, and apply any Distributions to the Secured Obligations;

                   (c)    exercise any and all rights as beneficial and legal owner of the Pledged
   Collateral, including perfecting assignment of and exercising any and all voting, consensual, and
   other rights and powers with respect to any Pledged Collateral; and

                (d)     exercise any other rights and remedies of a secured party on default under
   the UCC (whether or not the UCC applies to the affected Pledged Collateral).

                                             ARTICLE VI
                                           MISCELLANEOUS

            SECTION 6.1 Continuing Security Interest; Assignment. This Agreement shall create a
   continuing security interest in the Pledged Collateral and shall (a) be binding upon Pledgor and its
   successors and assigns and (b) inure, together with the rights and remedies of Payee hereunder, to
   the benefit of Payee and each of its successors and assigns under the Note. No other person or
   entity (including any other creditor of Pledgor) shall have any interest herein or any right or benefit
   with respect hereto.

           SECTION 6.2 Termination Release. This Agreement shall terminate and the Pledged
   Collateral shall be released from the lien of this Agreement when the Secured Obligations shall
   have been paid in full. Upon termination hereof, the security interests granted hereby shall
   terminate and all rights to the Pledged Collateral shall revert to Pledgor or to such other person or
   entity as may be entitled thereto pursuant to any applicable law. Upon termination hereof, Payee
   shall promptly, upon the written request and at the sole cost and expense of Pledgor, (a) file (or
   authorize Pledgor or its designee to file) amendments to all financing statements filed pursuant to
   Section 2.2 above, which amendments shall terminate such financing statements and (b) assign,
   transfer, and deliver to Pledgor, against receipt and without recourse to or warranty by Payee
   except to the extent that Payee has not assigned or otherwise transferred its security interest in the
   Pledged Collateral, all of the Pledged Collateral as may be in possession of Payee and shall not
   have been applied in satisfaction of the Secured Obligations.

           SECTION 6.3 Modification in Writing. No amendment, modification, supplement,
   termination, or waiver of or to any provision hereof, nor consent to any departure by Pledgor
   therefrom, shall be effective unless in writing and signed by Payee and Pledgor. Any amendment,
   modification, or supplement of or to any provision hereof, any waiver of any provision hereof and
   any consent to any departure by Pledgor from the terms of any provision hereof shall be effective

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   only in the specific instance and for the specific purpose for which made or given. Except where
   notice is specifically required by this Agreement, no notice to or demand on Pledgor in any case
   shall entitle Pledgor to any other or further notice or demand in similar or other circumstances.

           SECTION 6.4           Notices. Unless otherwise provided herein, any notice or other
   communication herein required or permitted to be given shall be given in the manner and become
   effective as set forth in the Note, as to Pledgor, addressed to it at the address of Maker set forth in
   the Note and as to Payee, addressed to it at the address set forth in the Note, or in each case at such
   other address as shall be designated by such party in a written notice to the other party complying
   as to delivery with the terms of this Section 6.4.

          SECTION 6.5 Governing Law. This Agreement shall be deemed a contract made under
   the laws of the State of Texas without regard to principles of conflicts of laws.

           SECTION 6.6 Severability of Provisions. Any provision hereof which is prohibited or
   unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
   prohibition or unenforceability without invalidating the remaining provisions hereof or affecting
   the validity or enforceability of such provision in any other jurisdiction.

           SECTION 6.7 Execution in Counterparts. This Agreement and any amendments, waivers,
   consents, or supplements hereto may be executed in any number of counterparts and by different
   parties hereto in separate counterparts, each of which when so executed and delivered shall be
   deemed to be an original, but all such counterparts together shall constitute one and the same
   agreement. Delivery of an executed counterpart of a signature page of this Agreement by
   electronic transmission shall be effective as delivery of a manually executed counterpart of this
   Agreement.

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   duly executed and delivered by their duly authorized officers as of the date first above written.


                                                       JOHNSON & JOHNSON HOLDCO (NA) INC.,
                                                       as Pledgor


                                                       By:
                                                       Name:
                                                       Title:


                                                       RED RIVER TALC PERSONAL INJURY
                                                       TRUST, as Payee


                                                       By:
                                                       Name:
                                                       Title:




                    [Signature Page to Johnson & Johnson Holdco (NA) Inc. Talc PI Pledge Agreement]
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                                    EXHIBIT K

                            Trust Distribution Procedures
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                       TRUST DISTRIBUTION PROCEDURES

                                      FOR

                    RED RIVER TALC PERSONAL INJURY TRUST




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                               TRUST DISTRIBUTION PROCEDURES

          These Trust Distribution Procedures (these “TDP”) provide the means for resolving all
   Channeled Talc Personal Injury Claims as provided in and required by the Prepackaged Chapter 11
   Plan of Reorganization of the Debtor dated [y] (the “Plan”), and the Talc Personal Injury Trust
   Agreement attached thereto as Exhibit K (the “Trust Agreement”).

          The Plan and the Trust Agreement establish the Red River Talc Personal Injury Trust (the
   “Trust”). The trustee(s) of the Trust (the “Trustees”) shall implement and administer these TDP
   in accordance with the Trust Agreement.

                                          Article 1
                                INTRODUCTION AND OVERVIEW

   1.1     Purpose

           These TDP have been adopted pursuant to the Plan and Trust Agreement and are intended
   to provide reasonable assurance that the Trust will evaluate, value, and pay similar Channeled Talc
   Personal Injury Claims in substantially the same manner, and otherwise comply with the
   requirements of a trust set forth in section 524(g) of the Bankruptcy Code. To achieve this goal,
   these TDP set forth procedures for (i) processing, evaluating, resolving, and paying Direct Claims
   through the Expedited Review Process, the Individual Review Process, or the Quickpay Review
   Process and (ii) liquidating and paying Indirect Claims. These TDP are designed to be consistent
   with characteristics known to be relevant to the valuation of Channeled Talc Personal Injury
   Claims in the tort system, including disease type and age at diagnosis, and/or the theories
   promulgated by plaintiffs’ experts in the MDL, including time since last talc use.

   1.2     Vesting of Rights

          Except as expressly provided herein, nothing in these TDP shall be deemed to create a
   substantive right for the holder of any Channeled Talc Personal Injury Claim. To the extent these
   TDP provide rights and benefits to holders of Channeled Talc Personal Injury Claims, such rights
   and benefits shall vest in such holders as of the Effective Date.

   1.3     Exclusivity

         These TDP shall be the sole and exclusive method by which a party may seek allowance
   and payment of a Channeled Talc Personal Injury Claim (other than a Master Settlement
   Agreement Claim or a Judgment Claim).

   1.4     General Principles

           These TDP are founded on the following principles: (i) the efficient resolution of all
   Channeled Talc Personal Injury Claims (including both Direct Claims and Indirect Claims) and
   equitable valuation of all similarly situated Channeled Talc Personal Injury Claims; (ii) clear and
   objective qualification and valuation criteria; (iii) clear and reliable evidentiary requirements; (iv)
   a rigorous review and evaluation process requiring the Trustees to determine the appropriate values


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   for Direct Claims in accordance with these TDP and applicable law; (v) independence of the Trust
   and the Trustees; (vi) administrative transparency; and (vii) fraud detection and prevention.

                                         Article 2
                              INTERPRETATION AND DEFINITIONS

   2.1     Interpretation

         The terms of the Plan and Confirmation Order shall prevail if there is any discrepancy
   between the terms of the Plan or Confirmation Order and the terms of these TDP.

   2.2     Definitions

            (1)     “Acceptance and Release” shall mean the document pursuant to which the holder
                    of an Allowed Claim accepts an offer from the Trust for payment of such Allowed
                    Claim and provides the requisite releases required as a condition of payment as
                    described in Section 7.2.1(A) (in the case of Direct Claims) or Section 8.1.3 (in
                    the case of Indirect Claims).

            (2)     “Adjusted Scheduled Point Value” shall mean, with respect to any Direct Claim
                    evaluated under the Expedited Review Process, the claim-specific Point Value of
                    such Direct Claim resulting from adjustment of the Initial Scheduled Point Value
                    of such Direct Claim, as determined in accordance with Section 5.3.3.

            (3)     “ADR Procedures” shall mean the alternative dispute resolution procedures set
                    forth in Section 6.1.2.

            (4)     “Allowed Claim” shall mean (a) a Direct Claim that has been determined to
                    satisfy the Expedited Review Criteria under Section 4.6.4, the Individual Review
                    Criteria under Section 4.6.5, or the Quickpay Review Criteria under Section 4.6.6,
                    as applicable, or (b) an Indirect Claim that has been determined to satisfy the
                    Indirect Claim Review Criteria under Section 8.1.2.

            (5)     “Allowed Claim Amount” shall mean: (a) with respect to a Direct Claim
                    evaluated under the Expedited Review Process, the dollar value determined by
                    multiplying (i) the Cash Value of a Point by (ii) the Final Scheduled Point Value
                    of such Direct Claim as determined pursuant to Section 5.3; (b) with respect to a
                    Direct Claim evaluated under the Individual Review Process, the dollar value
                    determined by multiplying (i) the Cash Value of a Point by (ii) the Final Scheduled
                    Point Value of such Direct Claim as determined pursuant to Section 5.4; (c) with
                    respect to a Direct Claim evaluated under the Quickpay Review Process, the dollar
                    value determined pursuant to Section 5.5; and (d) with respect to an Indirect Claim,
                    the dollar value determined pursuant to Section 8.1.2.

            (6)     “Allowed Claim Notice” shall mean a written notice delivered by the Trustees to
                    a Direct Claimant or an Indirect Claimant informing such Direct Claimant or
                    Indirect Claimant that her Direct Claim or Indirect Claim, as applicable, has
                    become an Allowed Claim and indicating the proposed Allowed Claim Amount.

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            (7)     “Allowed Judgment Amount” shall have the meaning set forth in Section 6.1.3.

            (8)     “Atypical Use Factor” shall have the meaning set forth in Section 5.3.4.

            (9)     “Auditor” shall mean [y] and/or any other Auditor subsequently appointed
                    pursuant to the Trust Agreement and these TDP.

            (10)    “Bankruptcy Code” shall have the meaning set forth in the Plan.

            (11)    “Bankruptcy Court” shall have the meaning set forth in the Plan.

            (12)    “Cash Value of a Point” shall mean the dollar value assigned to a point by the
                    Trustees in accordance with Section 7.1.2.

            (13)    “Channeled Talc Personal Injury Claims” shall have the meaning set forth in
                    the Plan.

            (14)    “Claim Submission Deadline” shall mean: (a) with respect to a Direct Claim,
                    the applicable deadline to submit such Direct Claim to the Trust under Section 4.4;
                    and (b) with respect to an Indirect Claim, the deadline to submit an Indirect Claim
                    to the Trust under Section 8.1.1.

            (15)    “Claim Submission Form” shall mean the form that Direct Claimants must
                    complete and submit to the Trust pursuant to the Claim Submission Procedures for
                    Direct Claims adopted by the Trustees as set forth in Section 4.5.

            (16)    “Claim Submission Materials” shall mean, with respect to a Direct Claim, all
                    evidence and other materials submitted to the Trust in support of such Direct
                    Claim, including the information and documentation required to be so submitted
                    pursuant to Section 4.5.4.

            (17)    “Claim Submission Procedures” shall mean: (a) with respect to a Direct Claim,
                    the procedures for the submission of Direct Claims to the Trust adopted by the
                    Trustees as set forth in Section 4.5; and (b) with respect to an Indirect Claim, the
                    procedures for the submission of Indirect Claims to the Trust adopted by the
                    Trustees as set forth in Section 8.1.

            (18)    “Claim Submission Requirements” shall have the meaning set forth in
                    Section 4.5.4.

            (19)    “Claimant’s Jurisdiction” shall mean, with respect to a Direct Claim, either
                    (a) the jurisdiction in which such Direct Claim was filed against the Debtor and/or
                    any Debtor Corporate Party in the tort system prior to the Petition Date or (b) if
                    such Direct Claim was not filed against the Debtor and/or any Debtor Corporate
                    Party in the tort system prior to the Petition Date, then at the relevant Direct
                    Claimant’s election (i) the jurisdiction in which such Direct Claimant resided on
                    the Date of Relevant Diagnosis; (ii) the jurisdiction in which such Direct Claimant
                    resides at the time she submits her Direct Claim to the Trust; or (iii) the principal

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                       jurisdiction in which such Direct Claimant engaged in Regular Perineal Use of
                       J&J Talc Products.

               (20)    “Claims Administrator” shall mean [ARCHER Systems, LLC] 1 and/or any other
                       qualified party subsequently appointed pursuant to the Plan, Trust Agreement, and
                       these TDP to assist the Trustees in processing, reviewing, administering, and
                       evaluating claims submitted pursuant to these TDP.

               (21)    “Claims Processor” shall mean [•] which shall be engaged by the Claims
                       Administrator with the consent of the Trustees, the TAC, and the FCR to assist in
                       the development of procedures and protocols to implement these TDP effectively
                       and efficiently, and/or any other qualified party subsequently engaged by the
                       Claims Administrator with the consent of the Trustees, the TAC, and the FCR for
                       such purpose pursuant to the Plan, the Trust Agreement, and these TDP.

               (22)    “Common Benefit Fund” shall mean the common benefit fund established
                       pursuant to Case Management Order No. 7(A) entered by the United States District
                       Court for the District of New Jersey in the MDL.

               (23)    “Confirmation Order” shall have the meaning set forth in the Plan.

               (24)    “Confirmed Claim” shall mean any Submitted Claim which the Trustees
                       determine with the assistance of the Claims Administrator has satisfied the
                       Preliminary Evaluation Criteria under Section 4.6.2.

               (25)    “Cross-Trust Audit Program” shall mean the audit program developed and
                       implemented by the Trust pursuant to Section 9.1.1.

           (26)       “Date of First Diagnosis” shall mean, with respect to a Direct Claim, the date on
                      which the relevant Direct Claimant received the original pathologic diagnosis for
                      Ovarian Cancer or Gynecological Cancer that she alleges was caused by her use of
                      J&J Talc Products.

           (27)       “Date of Relevant Diagnosis” shall mean, with respect to a Direct Claim, the date
                      on which the relevant Direct Claimant received either (i) the original pathologic
                      diagnosis for Ovarian Cancer or Gynecological Cancer or (ii) a diagnosis of a
                      recurrence of such Ovarian Cancer or Gynecological Cancer after remission,
                      whichever is the basis of such Direct Claim.

               (28)    “Debtor” shall have the meaning set forth in the Plan.

               (29)    “Debtor Corporate Party” shall have the meaning set forth in the Plan.

               (30)    “Deferral Request” shall have the meaning set forth in Section 4.5.3.



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                      Subject to competitive pricing and due diligence.

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            (31)    “Deficiency Notice” shall have the meaning set forth in Section 4.5.5.

            (32)    “Diagnostic Adjustment” shall mean the percentage by which the Initial
                    Scheduled Point Value determined pursuant to Section 5.3.2 is to be adjusted to
                    account for the claim-specific disease subtype as set forth in Section 5.3.3.

            (33)    “Direct Claim” shall mean any Channeled Talc Personal Injury Claim that is a
                    Direct Talc Personal Injury Claim.

            (34)    “Direct Claimant” shall mean any holder of a Direct Claim. For the avoidance
                    of doubt, to the extent that a Direct Claim is being asserted by the estate, legal
                    counsel, relative, assignee, or other representative of an injured or deceased
                    individual, the term Direct Claimant shall refer to (a) such estate, legal counsel,
                    relative, assignee, or other representative, (b) such injured or deceased individual,
                    or (c) both, as the context requires.

            (35)    “Direct Talc Personal Injury Claim” shall have the meaning set forth in the
                    Plan.

            (36)    “Disallowed Claim” shall mean: (a) any Direct Claim that (i) pursuant to
                    Section 4.5.5, is not entitled to progress to a Preliminary Evaluation, (ii) pursuant
                    to Section 4.6.2, is not entitled to become a Confirmed Claim, or (iii) is a
                    Confirmed Claim but is not entitled to become an Allowed Claim pursuant to
                    Section 4.6.4, Section 4.6.5, Section 4.6.6, or Section 6.1.3; or (b) any Indirect
                    Claim that is not entitled to become an Allowed Claim pursuant to Article 8.

            (37)    “Disallowed Claim Notice” shall mean a written notice delivered by the Trustees
                    to a Direct Claimant or an Indirect Claimant informing such Direct Claimant or
                    Indirect Claimant that the applicable Direct Claim or Indirect Claim has become a
                    Disallowed Claim.

            (38)    “Effective Date” shall have the meaning set forth in the Plan.

            (39)    “Exigent Financial Hardship” means the financial status of a Direct Claimant
                    that leads the Trustees or the Individual Review Claims Panel to determine that (a)
                    the Direct Claimant needs financial assistance on an immediate basis based on the
                    Direct Claimant’s expenses and all sources of available income, and (b) there is a
                    causal connection between the Direct Claimant’s dire financial condition and the
                    Direct Claimant’s talc-related disease.

            (40)    “Existing Direct Claims” shall mean all Direct Claims with a Date of First
                    Diagnosis prior to the Petition Date.

            (41)    “Expedited Review Criteria” shall mean the criteria that must be satisfied in
                    order for a Confirmed Claim evaluated under the Expedited Review Process to
                    become an Allowed Claim, as set forth in Section 4.6.4.



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            (42)    “Expedited Review Process” shall mean the claims-evaluation process in which
                    a Direct Claim is evaluated as described in Section 4.6.4.

            (43)    “FCR” shall mean Randi S. Ellis or such successor future claims representative
                    appointed in accordance with the Plan, the Trust Agreement, and these TDP.

            (44)    “FIFO Payment Queue” shall mean, with respect to a particular Review Track,
                    the first-in-first-out processing queue for the payment of Direct Claims that
                    become Allowed Claims under such Review Track, as described in Section 7.6.1.

            (45)    “FIFO Processing Queue” shall mean, with respect to a particular Review Track,
                    the first-in-first-out processing queue for the evaluation of Submitted Claims
                    under such Review Track, as described in Section 4.5.1.

            (46)    “Final Scheduled Point Value” shall mean (a) with respect to any Direct Claim
                    evaluated under the Expedited Review Process, the final claim-specific Point
                    Value of such Direct Claim resulting from further adjustment of the Adjusted
                    Scheduled Point Value of such Direct Claim, as determined in accordance with
                    Section 5.3.4 and Section 5.3.5, and (b) with respect to any Direct Claim evaluated
                    under the Individual Review Process, the final claim-specific Point Value of such
                    Direct Claim, as determined in accordance with Section 5.4.2.

            (47)    “Fraudulent Claim Submission” has the meaning set forth in Section 4.6.3.

            (48)    “Fraudulent Claimant” has the meaning set forth in Section 4.6.3.

            (49)    “Future Direct Claims” shall mean all Direct Claims that are not Existing Direct
                    Claims.

            (50)    “Gynecological Claim” shall mean any Direct Claim involving allegations that
                    the relevant Direct Claimant developed a Gynecological Cancer.

            (51)    “Gynecological Cancer” has the meaning set forth in the Plan.

            (52)    “Identifying Information” shall mean with respect to any Direct Claim: (a) the
                    relevant Direct Claimant’s (i) full legal name, (ii) date of birth, (iii) physical and
                    email address (if applicable), and (iv) social security number; and (b) the name,
                    email address, and physical address of the law firm and attorney serving as the
                    relevant Direct Claimant’s representative (if any). For the avoidance of doubt, to
                    the extent that a Direct Claim is being asserted by the estate, legal counsel, relative,
                    assignee, or other representative of an injured or deceased individual, Identifying
                    Information shall refer to the foregoing information for both (A) such estate, legal
                    counsel, relative, assignee, or other representative and (B) such injured or
                    deceased individual, in each case to the extent applicable.

            (53)    “Indirect Claim” means any Channeled Talc Personal Injury Claim that is an
                    Indirect Talc Personal Injury Claim.


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            (54)    “Indirect Claim Judicial Review Election Deadline” shall have the meaning set
                    forth in Section 8.2.

            (55)    “Indirect Claim Judicial Review Election Notice” shall have the meaning set
                    forth in Section 8.2.

            (56)    “Indirect Claim Review Criteria” shall mean the criteria that an Indirect Claim
                    must satisfy in order to become an Allowed Claim, as set forth in Section 8.1.2.

            (57)    “Indirect Claimant” means a holder of an Indirect Claim.

            (58)    “Indirect Talc Personal Injury Claim” shall have the meaning set forth in the
                    Plan.

            (59)    “Individual Review Claims Panel” shall have the meaning set forth in
                    Section 4.6.5(A).

            (60)    “Individual Review Criteria” shall mean the criteria that must be satisfied for a
                    Confirmed Claim evaluated under the Individual Review Process to become an
                    Allowed Claim, as set forth in Section 4.6.5.

            (61)    “Individual Review Process” shall mean the claims-evaluation process in which
                    a Direct Claim is evaluated as described in Section 4.6.5.

            (62)    “Initial Cash Value of a Point” shall have the meaning set forth in
                    Section 7.1.2(A).

            (63)    “Initial Scheduled Point Value” shall mean, with respect to a Direct Claim
                    evaluated under the Expedited Review Process, the initial Point Value of such
                    Direct Claim, as determined in accordance with Section 5.3.2.

            (64)    “Initial Submission Acceptance Date” shall mean the date on which the Trust
                    first begins to accept the submission of Channeled Talc Personal Injury Claims.

            (65)    “J&J” means Johnson & Johnson, a New Jersey corporation.

            (66)    “J&J Talc Products” shall mean all products formulated, manufactured,
                    distributed, and/or sold by the Debtor and/or any Debtor Corporate Party
                    containing talcum powder, including Johnson’s Baby Powder and Johnson &
                    Johnson’s Shower to Shower.

            (67)    “Judgment Claim” shall have the meaning set forth in the Plan.

            (68)    “Length of Perineal Use Factor” shall have the meaning set forth in
                    Section 5.3.4.




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            (69)    “Lien Resolution Administrator” shall mean [•] and/or any other qualified party
                    subsequently appointed pursuant to the Plan, Trust Agreement, and these TDP to
                    assist in the resolution of Direct Claimants’ relevant medical liens.

            (70)    “LLT” shall have the meaning set forth in the Plan.

            (71)    “Master Settlement Agreement Claim” shall have the meaning set forth in the
                    Plan.

            (72)    “Master Settlement Agreements” shall have the meaning set forth in the Plan.

            (73)    “Maximum Value” shall mean: (a) with respect to any Direct Claim evaluated
                    under the Expedited Review Process, three times (3x) the amount determined by
                    multiplying (i) the Cash Value of a Point by (ii) the Final Scheduled Point Value
                    of such Direct Claim; and (b) with respect to any Direct Claim evaluated under the
                    Individual Review Process, three times (3x) the amount determined by multiplying
                    the (i) Cash Value of a Point by (ii) the Underlying Scheduled Point Value of such
                    Direct Claim.

            (74)    “Maximum Years of Regular Perineal Use” shall have the meaning set forth in
                    Section 5.3.4.

            (75)    “MDL” shall mean In re: Johnson & Johnson Talcum Powder Products Marking,
                    Sales Practices and Products Liability Litigation (D.N.J.) (MDL No. 2738).

            (76)    “Mediator” shall have the meaning set forth in Section 6.1.2.

            (77)    “Medical Risk Factor” shall have the meaning set forth in Section 5.3.4.

            (78)    “Net Award Amount” shall mean, with respect to a Direct Claim, the total
                    Allowed Claim Amount of such Direct Claim, less amounts payable upon the
                    resolution of the issues set forth in Section 7.3, Section 7.4 and Section 7.5.

            (79)    “Non-J&J Talc Products” shall mean products containing talcum powder that
                    are not J&J Talc Products.

            (80)    “Non-J&J Talc Use Factor” shall have the meaning set forth in Section 5.3.4.

            (81)    “Other Disease Talc Personal Injury Claims” shall have the meaning set forth
                    in the Plan.

            (82)    “Ovarian Cancer” shall have the meaning set forth in the Plan.

            (83)    “Ovarian Cancer Claim” shall mean any Direct Claim involving allegations that
                    the relevant Direct Claimant developed Ovarian Cancer.

            (84)    “Petition Date” shall have the meaning set forth in the Plan.

            (85)    “Plan” shall have the meaning set forth in the preamble.
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            (86)    “Plan Support Agreements” shall mean those certain Plan Support Agreements,
                    dated on or after January 1, 2024, executed by LLT, J&J, and law firms
                    representing certain holders of Channeled Talc Personal Injury Claims, as such
                    agreements may have been and may be amended, modified, or supplemented
                    pursuant to the terms thereof.

            (87)    “Point Value” shall mean, with respect to a Direct Claim, the value of such Direct
                    Claim expressed as a number of points, as determined in accordance with
                    Article 5.

            (88)    “Preliminary Evaluation” shall mean the preliminary evaluation of Submitted
                    Claims described in Section 4.6.2, pursuant to which the Trustees with the
                    assistance of the Claims Administrator shall determine whether a Submitted Claim
                    constitutes a Confirmed Claim.

            (89)    “Preliminary Evaluation Criteria” shall mean the criteria that Submitted Claims
                    must satisfy in order to become a Confirmed Claim, as set forth in Section 4.6.2.

            (90)    “Protected Party” shall have the meaning set forth in the Plan.

            (91)    “Quickpay Review Criteria” shall mean the criteria that must be satisfied for a
                    Confirmed Claim evaluated under the Quickpay Review Process to become an
                    Allowed Claim, as set forth in Section 4.6.6.

            (92)    “Quickpay Review Process” shall mean the claims-evaluation process in which
                    a Direct Claim is evaluated as described in Section 4.6.6.

            (93)    “Reconsideration Decision Notice” shall have the meaning set forth in
                    Section 6.1.1(D).

            (94)    “Reconsideration Denial Notice” shall have the meaning set forth in
                    Section 6.1.1(D).

            (95)    “Reconsideration Grant Notice” shall have the meaning set forth in
                    Section 6.1.1(D).

            (96)    “Reconsideration Request” shall mean a written request submitted to the Trust
                    by a Direct Claimant that the Trustees or Individual Review Claim Panel, as
                    applicable, reconsider a Disallowed Claim Notice, a Secondary Election
                    Activation Notice, or, solely with respect to Direct Claims that become Allowed
                    Claims under the Expedited Review Process or the Individual Review Process, an
                    Allowed Claim Notice, as set forth in Section 6.1.1 and Section 6.2, as applicable.

            (97)    “Regular J&J Talc Perineal Use” shall mean a Direct Claimant’s Regular
                    Perineal Use of J&J Talc Products.

            (98)    “Regular Non-J&J Talc Perineal Use” shall mean a Direct Claimant’s Regular
                    Perineal Use of Non-J&J Talc Products.

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            (99)    “Regular Perineal Use” shall mean, with respect to the use of J&J Talc Products
                    or Non-J&J Talc Products, as applicable, a Direct Claimant’s consistent use
                    thereof on her own perineal area after puberty for a minimum of four (4)
                    consecutive years, established by sworn testimony or affidavit.

            (100) “Reorganized Debtor” shall have the meaning set forth in the Plan.

            (101) “Review Criteria” shall mean: (a) with respect to a Direct Claim, the Expedited
                  Review Criteria, the Individual Review Criteria, or the Quickpay Review Criteria,
                  as applicable, and (b) with respect to an Indirect Claim, the Indirect Claim Review
                  Criteria.

            (102) “Review Tracks” shall mean, collectively, the Expedited Review Process, the
                  Individual Review Process, and the Quickpay Review Process.

            (103) “Secondary Election” shall have the meaning set forth in Section 4.5.4.

            (104) “Secondary Election Activation Notice” shall have the meaning set forth in
                  Section 4.6.5(B).

            (105) “Submitted Claim” shall mean any Direct Claim that has been submitted to the
                  Trust and determined by the Trustees with the assistance of the Claims
                  Administrator to have been submitted with substantially complete information and
                  documentation under Section 4.5.4.

            (106) “TAC” shall mean the Talc Trust Advisory Committee appointed and serving in
                  accordance with the Plan and the Trust Agreement.

            (107) “TDP” shall have the meaning set forth in the preamble.

            (108) “Time Since Last Use Factor” shall have the meaning set forth in Section 5.3.4.

            (109) “Trust” shall have the meaning set forth in the preamble.

            (110) “Trust Agreement” shall have the meaning set forth in the preamble.

            (111) “Trustees” shall have the meaning set forth in the preamble.

            (112) “Underlying Scheduled Point Value” shall mean, with respect to any Direct
                  Claim evaluated under the Individual Review Process, the initial claim-specific
                  Point Value of such Direct Claim, as determined in accordance with Section 5.4.1.

            (113) “Years of Regular J&J Talc Perineal Use” shall have the meaning set forth in
                  Section 5.3.




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                                             Article 3
                                       TDP ADMINISTRATION

   3.1     General Administration

           3.1.1    Coordination

          The Trustees shall implement these TDP to resolve any and all Channeled Talc Personal
   Injury Claims pursuant to the Plan and Trust Agreement with the assistance of the Claims
   Administrator and the Claims Processor.

           The Trustees, the Claims Administrator, and the Claims Processor shall consult and
   coordinate with each other to promptly develop and implement comprehensive systems and
   processes intended to (i) provide the Trustees with all information necessary to implement these
   TDP, (ii) streamline the Claim Submission Procedures, (iii) ensure maximally efficient evaluation
   of the Channeled Talc Personal Injury Claims and, where applicable, Reconsideration Requests,
   (iv) ensure proper application of the Review Criteria and the audit provisions contained herein,
   (v) limit the use of the Trust’s assets to uses permitted by the Plan, and (vi) promote prompt
   payment of Allowed Claims.

           3.1.2    Consultation and Consent

          The Trustees shall implement these TDP to resolve any and all Channeled Talc Personal
   Injury Claims pursuant to the Plan and Trust Agreement in consultation with the TAC and the
   FCR.

          The Trustees shall not proceed with any matter that expressly requires consultation with or
   consent of the TAC, the FCR, the Reorganized Debtor, or J&J under these TDP unless and until
   the applicable procedures for such consultation or consent set forth in Section 7.1 of the Trust
   Agreement have been complied with.

   3.2     Review of Costs

           The Trustees shall seek to ensure that the costs incurred by the Trust with respect to
   evaluating and investigating the validity of Claim Submission Materials submitted by a Direct
   Claimant are necessary and reasonable in light of the obligations of the Trust under the Plan, the
   Trust Agreement, and these TDP. Nothing herein, however, shall prevent the Trustees from either
   (i) contesting the validity of any Direct Claim, whatever the costs, or (ii) declining to accept Claim
   Submission Materials from sources determined to be deceptive, fraudulent, or otherwise
   unreliable.

           The Trustees shall periodically, and at least annually, review the cost of evaluating and
   investigating Claim Submission Materials submitted by Direct Claimants and take steps to reduce
   such costs where feasible and appropriate, while still ensuring that the Trust’s obligations under
   the Plan, the Trust Agreement, and these TDP are appropriately satisfied.




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   3.3     Publication of Claim Submission Procedures

           Within sixty (60) days following entry of the Confirmation Order, the Trustees shall
   publish detailed Claim Submission Procedures required by these TDP to the Trust’s website.
   Publication of the Claim Submission Procedures shall occur no later than sixty (60) days prior to
   the Initial Submission Acceptance Date.

   3.4     Adoption of Procedures for Notice of Trust Determinations

          Following entry of the Confirmation Order, the Trustees shall, with the assistance of the
   Claims Administrator and the Claims Processor, develop procedures for providing notices,
   including, without limitation, Allowed Claim Notices, Deficiency Notices, Disallowed Claim
   Notices, Reconsideration Decision Notices, Reconsideration Denial Notices, Reconsideration
   Grant Notices, and Secondary Election Activation Notices, with respect to determinations made
   pursuant to these TDP and, with the consent of the TAC and the FCR, adopt such procedures.

   3.5     Adoption of Procedures for Execution and Delivery of Acceptance and Release

           Following entry of the Confirmation Order, the Trustees shall, with the assistance of the
   Claims Administrator and the Claims Processor, develop procedures for the execution and delivery
   of an Acceptance and Release by a Direct Claimant or Indirect Claimant that decides to accept an
   offer of payment from the Trust as described in Section 7.2.1(A) (in the case of Direct Claims) or
   Section 8.1.3 (in the case of Indirect Claims) and, following consultation with the Reorganized
   Debtor and J&J and with the consent of the TAC and the FCR, adopt such procedures. Such
   procedures shall make the Acceptance and Release available for completion and execution
   electronically via Adobe Sign, DocuSign, or a similar electronic signature program or other
   simplified and expedient means. Any Acceptance and Release provided with an Allowed Claim
   Notice as described in Section 7.2.1(A) (in the case of Direct Claims) or Section 8.1.3 (in the case
   of Indirect Claims) shall be in a form adopted by the Trustees with the consent of the Reorganized
   Debtor, J&J, the TAC, and the FCR.

   3.6     Potential Adoption of Procedures for Other Disease Talc Personal Injury Claims

          These TDP provide detailed procedures for processing, evaluating, valuing, and paying
   Ovarian Cancer Claims and Gynecological Claims. The TDP are also intended to provide Direct
   Claimants with Other Disease Talc Personal Injury Claims an opportunity for consideration and
   evaluation of such Other Disease Talc Personal Injury Claims. For such consideration and
   evaluation of Other Disease Talc Personal Injury Claims, a Direct Claimant must first provide the
   Trust with the following:

                    (1)   a disease diagnosis acceptable to the Trustees, the TAC, and the FCR and
                          accompanied by evidence establishing that such diagnosis occurred at least
                          ten (10) years following such Direct Claimant’s first use of J&J Talc
                          Products;

                    (2)   medical records sufficient to demonstrate that such Direct Claimant was
                          treated for the diagnosed disease;


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                    (3)    detailed evidence of such Direct Claimant’s use of J&J Talc Products,
                           established by sworn testimony or affidavit;

                    (4)    a medical report or affidavit by a board-certified medical doctor, doctor of
                           osteopathy, oncologist, or pathologist with qualified expertise to diagnose
                           the disease that is being asserted establishing such Direct Claimant’s
                           exposure to J&J Talc Products as a contributing factor in causing the disease
                           identified in the diagnosis, which report or affidavit shall include citation to
                           peer-reviewed medical or scientific literature recognizing a causal
                           association between talc exposure and the diagnosed disease asserted;

                    (5)    evidence acceptable to the Trustees, the TAC, and the FCR that the medical
                           or scientific community recognizes a causal link between exposure to J&J
                           Talc Products and the diagnosed disease asserted; and

                    (6)    evidence acceptable to the Trustees, the TAC, and the FCR establishing that
                           such Direct Claimant had no significant occupational or industrial exposure
                           (whether direct or bystander) to asbestos.

   If, based upon the foregoing, the Trustees, the TAC, and the FCR are satisfied that a Direct
   Claimant has presented an Other Disease Talc Personal Injury Claim that would be cognizable and
   valid in the tort system, the Trustees shall, in conjunction with the Claims Administrator and the
   Claims Processor, develop procedures for processing, evaluating, valuing, and paying Other
   Disease Talc Personal Injury Claims asserting the relevant disease and, with the consent of the
   TAC and the FCR, adopt such procedures; provided, however, that in no event may the Trust offer
   payment of more than one thousand dollars and zero cents ($1,000.00) to resolve any such Other
   Disease Talc Personal Injury Claim. In the event that the Trustees, the TAC, and the FCR cannot
   agree on (i) whether a Direct Claimant has presented an Other Disease Talc Personal Injury Claim
   that would be cognizable and valid in the tort system or (ii) procedures for processing, evaluating,
   valuing, and paying any Other Disease Talc Personal Injury Claim, the Bankruptcy Court shall
   resolve any such dispute.

                                       Article 4
                          ALLOWANCE PROCESS FOR DIRECT CLAIMS

   4.1     Single Direct Claim Limitation

          A Direct Claimant may submit no more than one Direct Claim to the Trust, and may
   recover from the Trust only in respect of such Direct Claim.

   4.2     Treatment of Previously Resolved Direct Claims

           4.2.1    Direct Claims Previously Released and Paid

           Any Direct Claimant who previously submitted a release and received payment in full with
   respect to her Direct Claim may not receive any payment from the Trust. Promptly following the
   Effective Date, the Reorganized Debtor will provide the Trust with a list of all Direct Claimants


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   who submitted a release and received payment in full with respect to Direct Claims prior to the
   Effective Date.

           4.2.2    Direct Claims Subject to the Terms of a Master Settlement Agreement

           For any Direct Claim that is subject to the terms of a Master Settlement Agreement as of
   the Petition Date, the following limitations apply:

                    (i)     If there has not yet been a final determination between the parties to such
                            Master Settlement Agreement or by the special master appointed pursuant
                            to such Master Settlement Agreement regarding whether such Direct Claim
                            qualifies for settlement and compensation pursuant to the terms of such
                            Master Settlement Agreement, then the relevant Direct Claimant may not
                            submit such Direct Claim to the Trust for evaluation and resolution pursuant
                            to these TDP;

                    (ii)    If there has been a final determination between the parties to such Master
                            Settlement Agreement or by the special master appointed pursuant to such
                            Master Settlement Agreement that such Direct Claim qualifies for
                            settlement and compensation pursuant to the terms of such Master
                            Settlement Agreement, then (a) the relevant Direct Claimant may not
                            submit such Direct Claim to the Trust for evaluation and resolution pursuant
                            to these TDP and may not receive any payment from the Trust and (b) such
                            Direct Claim may be resolved and paid only pursuant to the terms of such
                            Master Settlement Agreement; and

                    (iii)   If there has been a final determination between the parties to such Master
                            Settlement Agreement or by the special master appointed pursuant to such
                            Master Settlement Agreement that the Direct Claim does not or cannot
                            qualify for settlement and compensation pursuant to the terms of such
                            Master Settlement Agreement, then the relevant Direct Claimant may
                            submit such Direct Claim to the Trust for evaluation and resolution pursuant
                            to these TDP.

           For the avoidance of doubt, if any Direct Claim was subject to the terms of a Master
   Settlement Agreement but, prior to the Petition Date, such Direct Claim was withdrawn from
   consideration pursuant to the terms of such Master Settlement Agreement by the applicable Direct
   Claimant’s law firm and a different Direct Claim was substituted in place thereof under the terms
   of such Master Settlement Agreement, then the Direct Claimant whose Direct Claim was
   withdrawn from consideration may submit her Direct Claim to the Trust for evaluation and
   resolution pursuant to these TDP.

          The limitation set forth in clause (ii) above shall apply regardless of whether any individual
   Direct Claimant: (i) has accepted her settlement allocation under the applicable Master Settlement
   Agreement; (ii) has finalized the resolution of her Direct Claim pursuant to the terms of the Master
   Settlement Agreement, including through the submission of her legally binding and enforceable
   individual release agreement and/or compliance with any other settlement administration

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   requirements set forth in the Master Settlement Agreement; (iii) has resolved any and all medical
   or other liens associated with her Direct Claim; and/or (iv) has actually received payment in respect
   of her Direct Claim.

            Promptly following the Effective Date and monthly thereafter, the Reorganized Debtor will
   provide the Trust with a list of all Direct Claimants who have Direct Claims that, as of the Effective
   Date are, or following the Effective Date become, subject to the terms of a Master Settlement
   Agreement, indicating for each such Direct Claim that: (i) there has been no final determination
   regarding whether such Direct Claim qualifies for settlement and compensation under a Master
   Settlement Agreement; (ii) there has been a final determination that such Direct Claim qualifies
   for settlement and compensation under a Master Settlement Agreement; (iii) there has been a final
   determination that such Direct Claim does not or cannot qualify for settlement and compensation
   under a Master Settlement Agreement; or (iv) such Direct Claim has been withdrawn from
   consideration for settlement and compensation under a Master Settlement Agreement.

           4.2.3    Individual Direct Claims Previously Rejected or Dismissed

          Any individual who filed a Direct Claim in any state or federal court prior to the Petition
   Date and whose Direct Claim was thereafter dismissed with prejudice shall not be eligible to
   recover any payment whatsoever from the Trust.

           Direct Claims which were filed in any state or federal court prior to the Petition Date and
   thereafter dismissed without prejudice may be submitted to the Trust for evaluation pursuant to
   these TDP, but, during such evaluation, such Direct Claims shall be subject to such heightened
   scrutiny as the Trustees with the assistance of the Claims Administrator deem appropriate.

          Direct Claims which were individually submitted to J&J, the Debtor, and/or any other
   Debtor Corporate Party for settlement consideration prior to the Petition Date but were rejected by
   J&J, the Debtor, and/or such other Debtor Corporate Party may be submitted to the Trust for
   evaluation and resolution pursuant to these TDP. For the avoidance of doubt, nothing in this
   paragraph shall apply to Direct Claims that were subject to the terms of a Master Settlement
   Agreement as of or prior to the Petition Date, which Direct Claims are addressed in Section 4.2.2.

           4.2.4    Direct Claims Subject to Final Judgment

                    (A)   Favorable Final Judgment

           Any individual who filed a Direct Claim in any state or federal court and whose Direct
   Claim was adjudicated and resulted in a final, non-appealable favorable judgment (e.g., a jury
   verdict for money damages) prior to the Effective Date shall not be eligible to recover any payment
   whatsoever from the Trust and any such Judgment Claim shall be the responsibility of the relevant
   judgment debtor. In the event that the relevant judgment debtor is the Debtor, J&J, or any other
   Debtor Corporate Party, the Debtor, J&J, or such other Debtor Corporate Party, as applicable, shall
   indemnify and hold the Trust harmless from such Judgment Claim. For the avoidance of doubt,
   nothing contained in the Plan will impair the rights of such individual to seek to enforce and collect
   on such Judgment Claim against any judgment debtor. For the avoidance of doubt, this
   Section 4.2.4(A) shall not apply to any Direct Claim subject to litigation pursuant to Section 6.1.3.


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                    (B)   Unfavorable Final Judgment

          Any individual who filed a Direct Claim in any state or federal court and whose Direct
   Claim was adjudicated and resulted in a final, non-appealable unfavorable judgment (e.g., a
   defense verdict) prior to the Effective Date shall not be eligible to recover any payment whatsoever
   from the Trust.

           4.2.5    Direct Claims Subject to Appealable Judgment

            Any individual who filed a Direct Claim in any state or federal court and whose Direct
   Claim was adjudicated and resulted in a favorable judgment subject to appeal as of the Effective
   Date shall not be eligible to recover any payment whatsoever from the Trust and any such
   Judgment Claim and the defense of any appeal thereof shall be the responsibility of the relevant
   judgment debtor. In the event that the relevant judgment debtor is the Debtor, J&J, or any other
   Debtor Corporate Party, the Debtor, J&J, or such other Debtor Corporate Party, as applicable, shall
   indemnify and hold the Trust harmless from such Judgment Claim and the defense of any appeal
   thereof. For the avoidance of doubt, nothing contained in the Plan will impair the rights of such
   individual to seek to enforce and collect on such Judgment Claim against any judgment debtor,
   including through the defense or prosecution of appellate litigation related to such Judgment
   Claim. For the avoidance of doubt, this Section 4.2.5 shall not apply to any Direct Claim subject
   to litigation pursuant to Section 6.1.3 hereof.

   4.3     Claim Submission Materials

          All Claim Submission Materials must be signed under the pains and penalties of perjury.
   Direct Claimants may sign all Claim Submission Materials electronically via Adobe Sign,
   DocuSign, or a similar electronic signature program or other simplified and expedient means, and
   Direct Claimants shall not be required to have any Claim Submission Materials notarized. The
   submission of deceptive or fraudulent Claim Submission Materials to the Trust may violate the
   criminal laws of the United States, including the criminal provisions applicable to Bankruptcy
   Crimes, 18 U.S.C. § 152, and may subject those responsible to criminal prosecution.

   4.4     Claim Submission Deadlines

           4.4.1    Deadline to Submit Existing Direct Claims

            Existing Direct Claims must be submitted to the Trust prior to the date that is one hundred
   twenty (120) days after the Initial Submission Acceptance Date, which date shall be posted on the
   Trust’s website no later than the date that is thirty (30) days prior thereto. If a Direct Claimant
   fails to submit her Existing Direct Claim within this time period, such Direct Claimant shall be
   deemed to have waived the right to submit her Existing Direct Claim or otherwise seek
   compensation from the Trust.




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           4.4.2    Effect of Statutes of Limitations

                    (A)    Existing Direct Claims Previously Filed in Tort System

           For each Existing Direct Claim submitted to the Trust that was filed in the tort system
   against the Debtor and/or any other Protected Party prior to the Petition Date, to be considered
   timely and therefore eligible to pursue compensation via the procedures set forth in these TDP, the
   Existing Direct Claim must have been timely filed in the tort system under the applicable federal
   or state statutes of limitations that were in effect at the time the Direct Claim was filed in the tort
   system.

                    (B)    Unfiled Existing Direct Claims

           For each Existing Direct Claim submitted to the Trust that was not filed in the tort system
   against the Debtor and/or any other Protected Party prior to the Petition Date, to be considered
   timely and therefore eligible to pursue compensation via the procedures set forth in these TDP, the
   Direct Claim must not be time-barred under the applicable federal or state statutes of limitations.
   The applicable federal or state statutes of limitations shall be deemed to have begun running as of
   May 19, 2020, the date that J&J publicly announced the discontinuation of the sale of talc-
   containing products.

                    (C)    Tolling and Timeliness

                           (i)    Existing Direct Claims

           The running of the applicable statute of limitations with respect to any Existing Direct
   Claim shall be considered tolled as of the earliest of: (a) the Petition Date; (b) the actual filing of
   such Existing Direct Claim against the Debtor and/or any other Protected Party in the tort system
   prior to the Petition Date; or (c) the date specified in any tolling agreement between the relevant
   Direct Claimant and the Debtor, J&J, or any other Debtor Corporate Party; provided, however, that
   such tolling was still in effect as of the Petition Date. Any Existing Direct Claim that meets any
   of these three tolling provisions shall be treated as timely filed so long as (i) the Direct Claim was
   not barred by the applicable federal or state statute of limitations at the time of the relevant tolling
   event, and (ii) the Direct Claim is submitted to the Trust within one hundred twenty (120) days
   after the Initial Submission Acceptance Date.

                           (ii)   Future Direct Claims

           Any Future Direct Claim shall be treated as timely if it is submitted to the Trust: (a) within
   three (3) years of the Initial Submission Acceptance Date, (b) within two (2) years of the Date of
   First Diagnosis, or (c) within applicable state statutes of limitations, whichever is later.

   4.5     Claim Submission Procedures

           The Claim Submission Procedures for Direct Claims shall be developed by the Trustees
   with the assistance of the Claims Administrator and Claims Processor and adopted by the Trustees
   with the consent of the TAC and the FCR. The Claim Submission Procedures for Direct Claims
   shall include, but not be limited to, the following:

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           4.5.1    FIFO Processing

           For processing purposes, the Trust shall order all Direct Claims in a particular Review
   Track on a first-in-first-out basis in the order each Direct Claim is submitted to the Trust, except
   as otherwise provided herein.

           For all Direct Claims submitted to the Trust on or before the date that is one hundred and
   twenty (120) days after the Initial Submission Acceptance Date, a Direct Claim’s position in the
   applicable FIFO Processing Queue shall be determined based on the earliest of: (i) the date on
   which the law firm representing the relevant Direct Claimant first identified such Direct Claimant
   in Exhibit A to a Plan Support Agreement (or any earlier plan support agreement executed by LLT,
   J&J, and such law firm) or in a supplement to such an Exhibit A delivered in accordance with the
   terms of a Plan Support Agreement (or any earlier plan support agreement executed by LLT, J&J,
   and such law firm); (ii) the date prior to the Petition Date that a Direct Claim was filed by the
   relevant Direct Claimant against the Debtor or any other Protected Party in any state or federal
   court; (iii) the date prior to the Petition Date that a Direct Claim was filed by the relevant Direct
   Claimant against another defendant in any state or federal court, if, at the time, such Direct Claim
   was subject to a tolling agreement with the Debtor or any Debtor Corporate Party; (iv) the date a
   ballot was properly submitted in respect of such Direct Claim in connection with the solicitation
   of votes on the Plan; and (v) the date such Direct Claim is submitted to the Trust.

           For all Direct Claims where the position in the applicable FIFO Processing Queue is based
   on the date the Direct Claim is submitted to the Trust, such Direct Claim’s position in the
   applicable FIFO Processing Queue shall be determined based on the date that such Direct Claim
   was properly and completely submitted to the Trust. If any Direct Claims are submitted to the
   Trust on the same date, a Direct Claim’s position in the applicable FIFO Processing Queue vis-à-
   vis such other Direct Claims shall be determined based on the Date of Relevant Diagnosis with
   respect to each Direct Claim, with the earlier Date of Relevant Diagnosis having priority over the
   later Date of Relevant Diagnosis. In the event that two or more such Direct Claims are submitted
   to the Trust on the same date and also have the same Date of Relevant Diagnosis, the priority of
   such Direct Claims in the FIFO Processing Queue shall be determined based on the dates of birth
   of the relevant Direct Claimants, with the earlier dates of birth receiving priority over later dates
   of birth.

           4.5.2    Withdrawal of Submitted Claims

            A Direct Claimant may, at any time after submitting her Direct Claim to the Trust, but prior
   to receiving a Disallowed Claim Notice or an Allowed Claim Notice, withdraw her Submitted
   Claim by providing written notice to the Trust. The related Direct Claimant shall retain the right
   to re-submit her Direct Claim after such withdrawal; provided, however, that any such re-submitted
   Direct Claim shall be evaluated the same as any new Submitted Claim and shall be unaffected by
   the prior submission of such Direct Claim to the Trust, except that (i) during its evaluation, such
   Direct Claim shall be subject to such heightened scrutiny as the Trustees with the assistance of the
   Claims Administrator deem appropriate and (ii) the Direct Claim’s place in the FIFO Processing
   Queue shall be determined based on the most recent date that the Direct Claim was submitted to
   the Trust (i.e., the Direct Claim is moved to the end of the applicable FIFO Processing Queue upon
   its re-submission). The one hundred and twenty (120) day deadline to submit an Existing Direct

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   Claim pursuant to Section 4.4.1 shall apply to any Existing Direct Claim submitted by the Direct
   Claimant, including a Submitted Claim that was previously withdrawn.

           4.5.3    Deferral of Submitted Claims

            A Direct Claimant is entitled to defer processing of her Submitted Claim for up to three (3)
   years from the date the Direct Claim was submitted to the Trust (a “Deferral Request”) so long
   as the Deferral Request is received by the Trust in writing pursuant to any procedures adopted by
   the Trust for such requests (i) within thirty (30) days after the date the Direct Claims was submitted
   to the Trust and (ii) in any event, before the Trustees provide a Disallowed Claim Notice,
   Deficiency Notice, or an Allowed Claim Notice to the Direct Claimant. A Direct Claimant may
   rescind the Deferral Request at any time by informing the Trust in writing pursuant to any
   procedures adopted by the Trust for such notices, and the Direct Claim shall thereupon be returned
   to its original place in the applicable FIFO Processing Queue. A Direct Claimant may make only
   one Deferral Request.

           The Trust shall approve any properly submitted Deferral Request; provided, however, that
   the Trust may only defer a Submitted Claim for a maximum of three (3) years from the date the
   Direct Claim was submitted to the Trust. Any Direct Claimant who makes a Deferral Request
   shall retain her original place in the applicable FIFO Processing Queue.

           4.5.4    Claim Submission Requirements

            Any Direct Claimant who wishes to submit her respective Direct Claim to the Trust must
   satisfy the following requirements with respect to information and documentation in order to show
   that the Direct Claim should be processed pursuant to these TDP. Every Direct Claimant seeking
   compensation from the Trust must provide to the Trust the following information and
   documentation at the time her Direct Claim is submitted to the Trust (the “Claim Submission
   Requirements”):

                    (1)   Citizenship/Residency: Proof that the Direct Claimant (and, to any extent
                          applicable, the minor, incapacitated or deceased individual represented by
                          such Direct Claimant) is a United States citizen or a lawful permanent
                          resident of the United States (or is otherwise lawfully residing in the United
                          States), which proof may be in the form of sworn testimony or affidavit and
                          may be included as part of the Claims Submission Form;

                    (2)   Claimant Information: All claimant information required under the Claim
                          Submission Procedures for Direct Claims adopted by the Trustees as set
                          forth herein, including the Direct Claimant’s Identifying Information;

                    (3)   Claim Submission Form: A properly completed Claim Submission Form,
                          which shall include complete information for where notices to the Direct
                          Claimant should be sent and where payments to the Direct Claimant should
                          be sent (including if such payments should be sent directly to counsel for
                          the Direct Claimant); the Claim Submission Form shall also include a
                          requirement that the Direct Claimant elect whether to proceed under the
                          Expedited Review Process, Individual Review Process, or Quickpay
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                          Review Process, a requirement that a Direct Claimant electing the
                          Individual Review Process also indicate such Direct Claimant’s preference
                          as to whether, in the event that her Direct Claim fails to satisfy the
                          conditions set forth in Section 4.6.5(B)(2) (as determined by the Trustees,
                          with the assistance of the Claims Administrator and Claims Processor)
                          under the Individual Review Process, the Submitted Claim should be
                          processed under either the Expedited Review Process or Quickpay Review
                          Process (the “Secondary Election”); and a requirement that the Direct
                          Claimant identify and, if necessary, elect her Claimant’s Jurisdiction; the
                          Claim Submission Form template shall be adopted by the Trustees, with the
                          consent of the TAC and the FCR, no later than the date that is sixty (60)
                          days prior to the Initial Submission Acceptance Date and attached to the
                          Claim Submission Procedures for Direct Claims;

                    (4)   Talc Use Evidence: Evidence of the Direct Claimant’s use, and extent and
                          specific years of use, of any and all talc and talc-containing products
                          (including both J&J Talc Products and Non-J&J Talc Products), including
                          whether the Direct Claimant engaged in Regular Perineal Use of such
                          products, established by sworn testimony or affidavit; and

                    (5)   Medical Evidence: (a) Medical records that the Direct Claimant reasonably
                          believes are sufficient to (i) satisfy the applicable Review Criteria pursuant
                          to these TDP and (ii) provide the Claims Administrator with all information
                          necessary to accurately determine the appropriate Final Scheduled Point
                          Value and resulting Allowed Claim Amount or (b) a statement of the Direct
                          Claimant in the Claim Submission Form attesting, under the pains and
                          penalties of perjury, to the fact that all available relevant documentation has
                          been submitted, which statement must show proof of the Direct Claimant’s
                          MyChart or similar patient portal, identifying the Direct Claimant’s
                          treatment providers and her prior medical history.

           While the precise extent of medical records required by the above Claim Submission
   Requirements may vary from claim to claim, depending on the particular types of Direct Claims
   involved, diseases alleged, and other factors relevant to the valuation of Direct Claims pursuant to
   these TDP, in general, production of (i) all pathology reports and contemporaneous treatment
   records or (ii) admission and discharge notes from any biopsy or other procedure indicating disease
   type, in either case, along with records sufficient to establish a Direct Claimant’s relevant medical
   history, would be satisfactory for any Direct Claimant regardless of the type of Direct Claim
   asserted or Review Track elected.

         Only Direct Claims that are submitted with substantially complete information and
   documentation at the time of submission (as determined by the Claims Administrator) shall be
   deemed Submitted Claims and be subjected to the Preliminary Evaluation Process set forth below.




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           4.5.5    Deficient Submissions

           In the event that a Direct Claimant submits information and documentation that are
   insufficient (as determined by the Claims Administrator) to satisfy the Claim Submission
   Requirements, the Trustees shall provide a notice indicating each deficiency (a “Deficiency
   Notice”) to such Direct Claimant and automatically defer further action on the relevant Direct
   Claim for one hundred twenty (120) days to ensure the Direct Claimant a fair opportunity to cure
   any such deficiencies. If the Direct Claimant fails to either timely supplement her Direct Claim
   with information and documentation sufficient to resolve any deficiencies identified, or timely
   respond to the Deficiency Notice requesting further relief, upon expiration of the one hundred
   twenty (120)-day period, the Direct Claim at issue shall become a Disallowed Claim and the
   Trustees shall send a Disallowed Claim Notice to the relevant Direct Claimant. If the Direct
   Claimant timely responds with a request for further relief, the applicable deadline to supplement
   her Direct Claim with information and documentation sufficient to resolve any deficiencies
   identified shall automatically be extended until (i) if such request for further relief is denied by the
   Claims Administrator, the date that is the later of (a) ten (10) days after such denial and (b) the last
   day of the applicable one hundred twenty (120) day deadline set forth in this paragraph, and (ii) if
   such request for further relief is granted by the Claims Administrator, such date as may be specified
   by the Claims Administrator.

            In the event that the medical evidence submitted pursuant to Section 4.5.4 is deemed
   insufficient by the Claims Administrator to establish a Direct Claimant’s relevant medical history,
   the Direct Claimant may submit an affidavit from her counsel (or the Direct Claimant herself if
   she is not represented by counsel) attesting, under the pains and penalties of perjury, to the fact
   that all available relevant documentation has been submitted, which affidavit must show proof of
   the Direct Claimant’s MyChart or similar patient portal, identifying the Direct Claimant’s
   treatment providers and her prior medical history. The Claims Administrator shall have the sole
   discretion to determine whether such affidavit is sufficient to resolve the deficiency as to the
   medical evidence submitted. However, medical evidence that does not include either a pathology
   report related to the Direct Claimant’s alleged disease or, for Ovarian Cancer Claims only, the
   Direct Claimant’s treating physician’s detailed report as to the Direct Claimant’s pathologic
   diagnosis, shall not be deemed satisfactory evidence to establish an Allowed Claim. Direct
   Claimants who are unable to satisfy these requirements may, however, still be eligible to proceed
   under the Quickpay Review Process.

           If the Direct Claim becomes a Disallowed Claim on that basis, the Trustees will not conduct
   a Preliminary Evaluation of such Direct Claim in accordance with Section 4.6.

           If the Direct Claimant adequately cures all deficiencies identified by supplementing her
   Direct Claim within the one hundred twenty (120)-day deferral period (as determined by the
   Claims Administrator), the Direct Claim will become a Submitted Claim and shall be subjected to
   the Preliminary Evaluation Process in accordance with Section 4.6.

   4.6     Claim Evaluation Procedures

           To assist the Trustees to determine whether each Direct Claim submitted to the Trust is
   either (i) compensable and therefore should be processed pursuant to these TDP or (ii) is not

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   compensable and therefore should be a Disallowed Claim, the Claims Administrator, in
   conjunction with the Claims Processor, shall act according to the following uniform procedures
   and guidelines to thoroughly and individually evaluate all Submitted Claims.

           4.6.1    Efficient and Expeditious Processing

           The Trustees shall take all reasonable steps to resolve Direct Claims as efficiently and
   expeditiously as possible at each stage of claims processing, including with respect to any
   Reconsideration Requests and/or pursuant to the ADR Procedures, which steps may include, in
   the Trustees’ sole discretion, conducting settlement discussions with representatives with respect
   to more than one Direct Claim at a time, provided, however, that the relevant Direct Claimants’
   respective positions in the applicable FIFO Processing Queues are maintained and that each Direct
   Claim is individually evaluated pursuant to the valuation factors set forth in Article 5.

           4.6.2    Preliminary Evaluation of Claim Submission Materials

           Within sixty (60) days of each Direct Claim being deemed a Submitted Claim, the Claims
   Administrator shall conduct a Preliminary Evaluation of the related Claim Submission Materials
   to determine that:

                    (i)     the Submitted Claim was timely submitted to the Trust pursuant to
                            Section 4.4;

                    (ii)    the Submitted Claim has not previously been submitted to the Trust
                            pursuant to these TDP or otherwise (except for Direct Claims that were
                            submitted and later formally withdrawn pursuant to Section 4.5.2);

                    (iii)   the Submitted Claim has not previously been resolved through litigation
                            and/or settlement (including settlement under a Master Settlement
                            Agreement), other than as described in Section 4.2;

                    (iv)    the Submitted Claim is not then subject to consideration for potential
                            settlement under a Master Settlement Agreement; and

                    (v)     the Direct Claimant’s Claim Submission Materials are substantially and
                            substantively completed and signed under penalty of perjury.

           Submitted Claims that satisfy the Preliminary Evaluation Criteria (as determined by the
   Claims Administrator) shall be deemed Confirmed Claims and thereafter routed to either the
   Expedited Review Process, the Individual Review Process, or the Quickpay Review Process, as
   elected by the Direct Claimant in her Claim Submission Form. A Submitted Claim that fails to
   satisfy one or more of the Preliminary Evaluation Criteria (as determined by the Claims
   Administrator) shall become a Disallowed Claim, and the Trustees shall provide a Disallowed
   Claim Notice to the relevant Direct Claimant.

          In the event that a Submitted Claim becomes a Disallowed Claim because it was previously
   submitted to the Trust with different counsel, the Trust shall provide notice to the Direct Claimant
   regarding the duplicative submission and such Direct Claimant shall have thirty (30) days from

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   the date of such notice to submit to the Trust a certification signed by such Direct Claimant, and
   all counsel who purported to represent the Direct Claimant in submissions to the Trust, confirming
   which counsel shall be representing the Direct Claimant with respect to the original Submitted
   Claim and withdrawing any later Submitted Claim. If the Direct Claimant satisfies this
   requirement, her Direct Claim will retain its place in the applicable FIFO Processing Queue based
   on the original Submitted Claim and the Direct Claim may proceed through the evaluation
   processes set forth in these TDP. Failure to timely submit such certification shall result in (i) the
   original Submitted Claim being indefinitely deferred pending clarification from the Direct
   Claimant and her counsel as to who represents the Direct Claimant and (ii) any later Submitted
   Claim being deemed withdrawn.

           4.6.3    Evaluation of Confirmed Claims

            For each Confirmed Claim, the Claims Administrator shall, in conjunction with the Claims
   Processor, individually evaluate the Claim Submission Materials with respect to such Confirmed
   Claim to assist the Trustees to determine whether such Confirmed Claim should be an Allowed
   Claim. Regardless of the Review Track selected, this process shall involve (i) a thorough review
   and consideration of all the Claim Submission Materials with respect to such Confirmed Claim,
   (ii) a full evaluation and determination as to the credibility of such Claim Submission Materials,
   and (iii) determination as to whether such Claim Submission Materials satisfy the applicable
   Review Criteria.

           If the Trustees determine with the assistance of the Claims Administrator that (i) a
   Confirmed Claim satisfies the applicable Review Criteria and (ii) the Claim Submission Materials
   with respect to such Confirmed Claim are not deceptive or fraudulent, then the Confirmed Claim
   shall be deemed an Allowed Claim. If, on the other hand, the Trustees determine with the
   assistance of the Claims Administrator that (i) the Claim Submission Materials with respect to
   such Confirmed Claim are not deceptive or fraudulent, but (ii) the Confirmed Claim does not
   satisfy the applicable Review Criteria, then the Claims Administrator has the discretion to either
   (a) make the Confirmed Claim a Disallowed Claim, in which case the Trustees shall provide a
   Disallowed Claim Notice to the relevant Direct Claimant, or (b) provide a Deficiency Notice to
   the relevant Direct Claimant, which shall request that the Direct Claimant submit to the Trust
   supplemental Claim Submission Materials sufficient to resolve any deficiency within one hundred
   twenty (120) days of the date of the Deficiency Notice. Extensions of time to submit supplemental
   Claim Submission Materials may be requested by the Direct Claimant to the Claims Administrator
   so long as made within such one hundred twenty (120)-day period, and the Claims Administrator
   retains full discretion to either grant or deny any such request. If such supplemental Claim
   Submission Materials are not received by the Claims Administrator prior to the expiration of the
   one hundred twenty (120)-day period (as extended, if applicable), the Confirmed Claim shall
   become a Disallowed Claim, and the Trustees shall provide a Disallowed Claim Notice to the
   relevant Direct Claimant. If the Direct Claimant timely requests an extension of time to submit
   supplemental Claim Submission Materials, the applicable deadline to submit such supplemental
   Claim Submission Materials shall automatically be extended until (i) if such request for extension
   is denied by the Claims Administrator, the date that is the later of (a) ten (10) days after such denial
   and (b) the last day of the applicable one hundred twenty (120) day deadline set forth in this
   paragraph, and (ii) if such request for extension is granted by the Claims Administrator, such date
   as may be specified by the Claims Administrator.

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           In the event, however, that the Trustees determine with the assistance of the Claims
   Administrator that any portion of the Claim Submission Materials with respect to a Direct Claim
   are deceptive or fraudulent (each, a “Fraudulent Claim Submission”), then such Direct Claim
   shall become a Disallowed Claim, and the Trustees shall provide a Disallowed Claim Notice to
   the relevant Direct Claimant (each, a “Fraudulent Claimant”). The Claim Submission
   Procedures shall set forth the criteria that the Claims Administrator will evaluate in making
   determinations with respect to a Fraudulent Claim Submission. Further, if the Trustees determine
   that any individual attorney or law firm is continually representing Fraudulent Claimants and
   submitting Fraudulent Claim Submissions to the Trust, the Direct Claims of other Direct Claimants
   who are represented by such attorney or law firm, in their evaluation under these TDP, shall be
   subject to such heightened scrutiny as the Trustees with the assistance of the Claims Administrator
   deem appropriate; provided, however, that such other Direct Claimants that may be subject to such
   heightened scrutiny shall not otherwise be prejudiced with respect to the processing of their Direct
   Claims.

           4.6.4    Expedited Review Process

                    (A)   In General

           For each Confirmed Claim electing to proceed under the Expedited Review Process, the
   Claims Administrator shall, in conjunction with the Claims Processor, thoroughly review and
   evaluate the Claim Submission Materials with respect to such Confirmed Claim to assist the
   Trustees to determine whether the Expedited Review Criteria are satisfied. If, in undertaking the
   Expedited Review Process, the Trustees determine with the assistance of the Claims Administrator
   that a Confirmed Claim satisfies such Expedited Review Criteria, then such Confirmed Claim shall
   become an Allowed Claim and shall proceed to the valuation processes set forth in Section 5.3. If
   the Trustees determine with the assistance of the Claims Administrator that a Confirmed Claim
   does not satisfy such Expedited Review Criteria, then such Confirmed Claim shall become a
   Disallowed Claim, and the Trustees shall provide a Disallowed Claim Notice to the relevant Direct
   Claimant.

                    (B)   Expedited Review Criteria

          Confirmed Claims that are Ovarian Cancer Claims proceeding under the Expedited Review
   Process and that satisfy the following Expedited Review Criteria shall become Allowed Claims,
   and Confirmed Claims that are Ovarian Cancer Claims proceeding under the Expedited Review
   Process but that fail to satisfy the following Expedited Review Criteria shall become Disallowed
   Claims:

                          (1)    Proof of Regular J&J Talc Perineal Use: the Direct Claimant
                                 establishes Regular J&J Talc Perineal Use; and

                          (2)    Date of First Diagnosis: the Direct Claimant’s Date of First
                                 Diagnosis for Ovarian Cancer was at least ten (10) years following
                                 the first day of her Regular J&J Talc Perineal Use.




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           4.6.5    Individual Review Process

                    (A)   In General

           The Individual Review Process is available for any Direct Claimant who (i) elects to have
   her Direct Claim evaluated under the Individual Review Process on her Claim Submission Form
   and (ii) pays to the Trust a one-time, non-refundable administrative fee in the amount of one
   thousand dollars and zero cents ($1,000.00) with her Claim Submission Form. If a Direct Claimant
   fails to include the administrative fee with her Claim Submission Form, her Direct Claim shall
   automatically be evaluated under the Expedited Review Process or the Quickpay Review Process,
   whichever is indicated by the Direct Claimant as her Secondary Election on her Claim Submission
   Form, rather than under the Individual Review Process.

           For each Confirmed Claim electing to proceed under the Individual Review Process as to
   which the applicable fee has been paid, the Trustees shall, with the assistance of the Claims
   Administrator and Claims Processor, review and evaluate the Claim Submission Materials with
   respect to such Confirmed Claim to determine whether the Individual Review Criteria are satisfied.

          A Direct Claimant who initially elected on her Claim Submission Form to have her Direct
   Claim evaluated under the Quickpay Review Process may not later request to have her Direct
   Claim evaluated under the Individual Review Process.

           A Direct Claimant who initially elected on her Claim Submission Form to have her Direct
   Claim evaluated pursuant to the Individual Review Process may, at any time after the date her
   Direct Claim was submitted to the Trust, but before such Direct Claimant receives a Disallowed
   Claim Notice or an Allowed Claim Notice, as applicable, request to have her Direct Claim
   evaluated under either the Expedited Review Process or the Quickpay Review Process instead by
   providing written notice to the Trust. A Direct Claimant who initially elected to proceed under
   the Individual Review Process and paid the required administrative fee, but later switches Review
   Tracks, shall not recover the administrative fee.

                    (B)   Individual Review Criteria

         A Confirmed Claim evaluated under the Individual Review Process shall become an
   Allowed Claim if it satisfies the following Individual Review Criteria:

                          (1)    the Confirmed Claim satisfies either the applicable Expedited
                                 Review Criteria (if the Direct Claimant indicated the Expedited
                                 Review Process as her Secondary Election) or the Quickpay Review
                                 Criteria (if the Direct Claimant indicated the Quickpay Review
                                 Process as her Secondary Election); and

                          (2)    the Confirmed Claim satisfies at least one of the following: (a) the
                                 Direct Claimant has little likelihood of substantial recovery
                                 elsewhere; (b) the Direct Claimant is experiencing Exigent Financial
                                 Hardship; or (c) the Confirmed Claim exhibits other extraordinary
                                 characteristics that merit the Confirmed Claim becoming an
                                 Allowed Claim.

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           A Direct Claimant seeking evaluation under the Individual Review Process may submit
   any Claim Submission Materials she deems relevant to satisfy the conditions set forth in clause (2)
   of the preceding sentence.

          If, in undertaking the Individual Review Process, the Trustees, with the assistance of the
   Claims Administrator and Claims Processor, determine that a Confirmed Claim satisfies the
   Individual Review Criteria in Section 4.6.5(B)(1) and Section 4.6.5(B)(2), then such Confirmed
   Claim shall be an Allowed Claim and shall proceed to the valuation processes set forth in
   Section 5.4.

            If the Trustees, with the assistance of the Claims Administrator and Claims Processor,
   determine that a Confirmed Claim fails to satisfy the conditions set forth in Section 4.6.5(B)(2),
   but determine that such Confirmed Claim satisfies the conditions set forth in Section 4.6.5(B)(1)
   (i.e., the Expedited Review Criteria (if the Direct Claimant indicated the Expedited Review
   Process as her Secondary Election) or the Quickpay Review Criteria (if the Direct Claimant
   indicated the Quickpay Review Process as her Secondary Election)), such Confirmed Claim shall
   be an Allowed Claim but shall not proceed to the valuation processes set forth in Section 5.4 and
   instead shall proceed to the valuation processes set forth in Section 5.3 (if the Direct Claimant
   indicated the Expedited Review Process as her Secondary Election) or Section 5.5 (if the Direct
   Claimant indicated the Quickpay Review Process as her Secondary Election), and the Trustees
   shall provide a written notice to that effect to the relevant Direct Claimant (a “Secondary Election
   Activation Notice”).

          If the Trustees, with the assistance of the Claims Administrator and Claims Processor,
   determine that a Confirmed Claim fails to satisfy the Individual Review Criteria in
   Section 4.6.5(B)(1) and Section 4.6.5(B)(2), such Confirmed Claim shall be deemed a Disallowed
   Claim, and the Trustees shall provide a Disallowed Claim Notice to the relevant Direct Claimant.

           4.6.6    Quickpay Review Process

                    (A)   In General

            For each Confirmed Claim electing to proceed under the Quickpay Review Process, the
   Claims Administrator, with a focus on efficiency, shall, in conjunction with the Claims Processor,
   review and evaluate the Claim Submission Materials with respect to such Confirmed Claim to
   assist the Trustees to determine whether the Quickpay Review Criteria are satisfied. If in doing
   so the Trustees determine with the assistance of the Claims Administrator that a Confirmed Claim
   satisfies the Quickpay Review Criteria, then such Confirmed Claim shall be deemed an Allowed
   Claim and shall proceed to the valuation processes set forth in Section 5.5. If the Trustees
   determine with the assistance of the Claims Administrator that a Confirmed Claim does not satisfy
   the Quickpay Review Criteria, then such Confirmed Claim shall become a Disallowed Claim, and
   the Trustees shall provide a Disallowed Claim Notice to the relevant Direct Claimant.

            A Direct Claimant who initially elected on her Claim Submission Form to have her Direct
   Claim evaluated pursuant to the Expedited Review Process or the Individual Review Process may,
   at any time after the date her Direct Claim was submitted to the Trust, but before such Direct Claim



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   becomes a Disallowed Claim or is paid, as applicable, request to have her Direct Claim evaluated
   under the Quickpay Review Process in this Section 4.6.6 instead.

                    (B)   Quickpay Review Criteria

           Confirmed Claims that are Ovarian Cancer Claims or Gynecological Claims and that
   satisfy the following Quickpay Review Criteria shall become Allowed Claims, and Confirmed
   Claims that are Ovarian Cancer Claims or Gynecological Claims but fail to satisfy the following
   Quickpay Review Criteria shall be Disallowed Claims:

                          (1)    Proof of Regular J&J Talc Perineal Use: the Direct Claimant
                                 establishes Regular J&J Talc Perineal Use; and

                          (2)    Date of First Diagnosis: the Direct Claimant’s Date of First
                                 Diagnosis for Ovarian Cancer or Gynecological Cancer was at least
                                 ten (10) years following the first day of her Regular J&J Talc
                                 Perineal Use.

                                         Article 5
                                VALUATION OF DIRECT CLAIMS

   5.1     In General

            The Claims Administrator, in conjunction with the Claims Processor, shall identify and
   utilize the appropriate valuation process, as described in this Article 5, to assist the Trustees to
   determine the value for every Direct Claim that becomes an Allowed Claim. These valuation
   processes are intended to be a direct continuation of the resolution process for Direct Claimants,
   commencing immediately upon determination by the Trustees that her Direct Claim has become
   an Allowed Claim under the applicable Review Process. Promptly after determination of the value
   for an Allowed Claim under this Article 5, the Trustees shall provide an Allowed Claim Notice to
   the relevant Direct Claimant, which Allowed Claim Notice shall indicate (i) the determination that
   her Direct Claim has become an Allowed Claim and (ii) the proposed Allowed Claim Amount of
   her Direct Claim.

   5.2     Punitive and Other Non-Compensable Damages

           No punitive or exemplary damages shall be payable with respect to any Direct Claim
   litigated against the Trust in the tort system pursuant to Article 6 herein.

   5.3     Determination of Scheduled Point Values Under Expedited Review Process

           5.3.1    Valuation Process

          Upon determination by the Trustees that an Ovarian Cancer Claim submitted to the Trust
   by a Direct Claimant that elected to proceed under the Expedited Review Process is an Allowed
   Claim, the Claims Administrator, in conjunction with the Claims Processor, shall undertake the
   following seven (7)-stage valuation process with respect to such Ovarian Cancer Claim. This
   process requires the Claims Administrator:

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                    (1)      To identify the Initial Scheduled Point Value based on the Direct Claimant’s
                             age on the Date of Relevant Diagnosis and specific category of injury; then

                    (2)      To establish the Adjusted Scheduled Point Value based on the Initial
                             Scheduled Point Value and the Diagnostic Adjustment as determined by the
                             disease subtypes; then

                    (3)      To further adjust the Adjusted Scheduled Point Value based on the length
                             of Regular J&J Talc Perineal Use; then

                    (4)      To further adjust the Adjusted Scheduled Point Value based on the length
                             of time between the end of the Direct Claimant’s Regular J&J Talc Perineal
                             Use and the Date of First Diagnosis; then

                    (5)      To further adjust the Adjusted Scheduled Point Value based on atypical
                             perineal use of J&J Talc Products, if applicable; then

                    (6)      To further adjust the Adjusted Scheduled Point Value by a certain
                             percentage discount based on the existence of certain medical risk factors
                             as set forth in Section 5.3.4(D) below, if applicable; and finally

                    (7)      To further adjust the Adjusted Scheduled Point Value based on the extent
                             of the Direct Claimant’s Regular Non-J&J Talc Perineal Use, if applicable.

           5.3.2    Initial Scheduled Point Value

           The Initial Scheduled Point Values for Ovarian Cancer Claims that have become Allowed
   Claims, prior to the application of any of the listed adjustments and/or reductions, will be
   determined based on the Direct Claimant’s age and stage of cancer as detailed in the chart below.
   The relevant age shall be determined based on a Direct Claimant’s age on the Date of Relevant
   Diagnosis. The relevant stage of cancer shall be determined by the most advanced stage of Ovarian
   Cancer the Direct Claimant received a diagnosis for, as established by the medical evidence
   included in the Claim Submission Materials with respect to the relevant Ovarian Cancer Claim.
   Such medical evidence must be (i) provided by a board-certified medical doctor, doctor of
   osteopathy, oncologist, or pathologist with qualified expertise to diagnose Ovarian Cancer and
   (ii) documented in contemporaneous medical records. 2




            2
                     The Trustees shall determine the applicable stage of cancer in accordance with the meanings and
   definitions thereof that are generally accepted in the medical community.

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      Age on        Stage IV OR          Stage III           Stage I-II           Stage II            Stage I
     Date of          Related             (with or             (with              (without           (without
     Relevant          Death              without           recurrence)         recurrence)        recurrence)
    Diagnosis                           recurrence)
    (in years)
    Under 45            1,200                840                 420                 240                120
    45-49               1,020                715                 355                 205                100
    50-54                780                 545                 275                 155                 80
    55-59                660                 460                 230                 130                 65
    60-64                480                 335                 170                  95                 50
    65-69                360                 250                 125                  70                 35
    70+                  300                 210                 105                  60                 30

           5.3.3    Adjusted Scheduled Point Value

           Each Ovarian Cancer Claim’s Initial Scheduled Point Value will then be adjusted by
   multiplying such Initial Scheduled Point Value by the applicable Diagnostic Adjustment set forth
   in the chart below. 3 The resulting claim-specific Point Value shall be referred to as the Adjusted
   Scheduled Point Value.

               Ovarian Cancer Diagnostic Subtypes                                Diagnostic Adjustment
    Serous Carcinoma                                                                     100%
    Endometrioid Carcinoma                                                                90%
    Clear Cell Carcinoma                                                                  75%
    Mixed Epithelial Carcinoma                                                         See below
    x Each subtype identified is a qualifying subtype (e.g.,
                                                                                            100%
        serous with clear cell)
    x Primary subtype is a qualifying subtype (i.e., serous,
        endometrioid, clear cell) but other subtypes are non-                                65%
        qualifying (e.g., serous with mucinous)
    Undifferentiated Epithelial Carcinoma                                                   100%
    Ovarian Carcinoma with Epithelial Component of
    Unknown or Unidentified Subtype                                                          50%
    (e.g., “ovarian adenocarcinoma”)
    Borderline Ovarian Tumors with Serous, Endometrioid, or
                                                                                             30%
    Clear Cell Subtypes

           5.3.4    Further Adjustments to Adjusted Scheduled Point Value

          Each Ovarian Cancer Claim’s Adjusted Scheduled Point Value will then be further
   adjusted based on a series of multiplicative talc usage and medical risk factors to determine the



           3
                    The Trustees shall determine the applicable Ovarian Cancer diagnostic subtype in accordance with
   the meanings and definitions thereof that are generally accepted in the medical community.

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   Final Scheduled Point Value for the Ovarian Cancer Claim, as set forth in this Section 5.3.4 and
   Section 5.3.5.

                    (A)      Step I Adjustment: Length of Perineal Use

            Each Ovarian Cancer Claim’s Adjusted Scheduled Point Value shall be adjusted based on
   the total length of the Direct Claimant’s Regular J&J Talc Perineal Use (i.e., the number of years
   of Regular Perineal Use of J&J Talc Products in her perineal area). Specifically, the Adjusted
   Scheduled Point Value shall be reduced proportional to the Years of Regular J&J Talc Perineal
   Use relative to the Maximum Years of Regular Perineal Use where “Years of Regular J&J Talc
   Perineal Use” shall mean the lesser of (i) the number of full years of Regular J&J Talc Perineal
   Use after the Direct Claimant reached puberty and prior to the Date of First Diagnosis 4 or (ii) forty
   (40) years, and “Maximum Years of Regular Perineal Use” shall mean the lesser of (i) the
   number of years elapsed between puberty and the Direct Claimant’s Date of First Diagnosis or
   (ii) forty (40) years.
                                                                (ܻ݁ܽ‫) ݁ݏܷ ݈ܽ݁݊݅ݎ݁ܲ ݈ܿܽܶ ܬ&ܬ ݎ݈ܽݑܴ݃݁ ݂݋ ݏݎ‬
   ܵ‫ = ݁ݑ݈ܸܽ ݐ݊݅݋ܲ ݀݁ݐݏݑ݆݀ܣ ݂݋ ݐ݊݁݉ݐݏݑ݆݀ܣ ܫ ݌݁ݐ‬1 െ
                                                               (‫) ݁ݏܷ ݈ܽ݁݊݅ݎ݁ܲ ݎ݈ܽݑܴ݃݁ ݂݋ ݏݎܻܽ݁ ݉ݑ݉݅ݔܽܯ‬

          This reduction factor shall be referred to as the “Length of Perineal Use Factor” and
   expressed as a percentage, and shall not be less than 0% or exceed 100%.

           By way of example, if a Direct Claimant was forty-three (43) years old when first
   diagnosed with the Ovarian Cancer, which diagnosis is the subject of her Direct Claim, the
   Maximum Years of Regular Perineal Use is thirty (30) years. If she regularly used J&J Talc
   Products in her perineal area for twenty (20) full years between ages thirteen (13) and forty-three
   (43), then the Adjusted Scheduled Point Value would be subject to a Length of Perineal Use Factor
   adjustment of 1-(20 years/30 years) = 33.33%.

                    (B)      Step II Adjustment: Time Since Last Perineal Use

          Next, the Adjusted Scheduled Point Value shall be further adjusted based on the length of
   time between the Direct Claimant’s last Regular J&J Talc Perineal Use and her Date of First
   Diagnosis, as set forth in the following table:

                    Time Since Last Regular                                Reduction of Adjusted
                      J&J Talc Perineal Use                                Scheduled Point Value
        0 to <6 years                                                               0%
        6 to <30 years                                                         2% per year 5
        30+ years                                                                  55%



           4
                   For purposes of evaluating claims pursuant to these TDP, a Direct Claimant shall be assumed to
   have reached puberty on her thirteenth birthday.
           5
                    A Direct Claimant who was diagnosed with a qualifying disease ten (10) years after her last
   Regular J&J Talc Perineal Use would be subject to a Time Since Last Use Factor discount of (10– 6) x 2% = 8%.

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   This reduction factor shall be referred to as the “Time Since Last Use Factor” and expressed as
   a percentage, and shall not be less than 0% or exceed 55%.

                     (C)     Step III Adjustment: Atypical Perineal Use

           Next, if the Claims Administrator and/or Claims Processor determines that a Direct
   Claimant’s perineal use of J&J Talc Products varies substantially from the use pattern of the typical
   qualifying claim, the Trustees may, with the consent of the TAC and the FCR, conduct an
   individual review of the Claim Submission Materials with respect to the Ovarian Cancer Claim
   and reasonably reduce the Adjusted Scheduled Point Value based on the frequency the Direct
   Claimant’s perineal talc use of J&J Talc Products, as compared to what would constitute normal
   use based on other submissions. This discretionary reduction factor shall be referred to as the
   “Atypical Use Factor” and expressed as a percentage, and, if applicable, shall not be less than 0%
   or exceed 100%.

           By way of example, if 5% of Ovarian Cancer Claims allege monthly exposure to J&J Talc
   Products through lining tampons or other feminine hygiene products with J&J Talc Product prior
   to application on the Direct Claimant’s body, the Trustees may determine that such use is not a
   typical use of J&J Talc Products. The Adjusted Scheduled Point Value would be subject to an
   Atypical Use Factor adjustment in a percentage determined by the Trustees, with the consent of
   the TAC and the FCR.

                     (D)     Step IV Adjustment: Medical Risk Factors

           Next, the Adjusted Scheduled Point Value shall be further reduced based on the Direct
   Claimant’s family history and genetic predisposition to ovarian cancer, based on the table below.
   If more than one medical risk factor is present, only the greatest of the reductions for applicable
   medical risk factors shall apply. Discounts applicable pursuant to this Section 5.3.4(D) are not
   applied cumulatively (i.e., if a Direct Claimant has BRCA 1 as well as a family history of ovarian
   cancer, the total reduction is 45%, not 80%).

                                  Risk Factor                   Reduction of Adjusted
                                                                Scheduled Point Value
                    BRCA 1 or BRCA 2                                    45%
                    Family history of Ovarian Cancer                    35%
                    (in 1st degree relative)
                    Personal or family history (in 1st degree            20%
                    relative) of colon or breast cancer

   This reduction factor shall be referred to as the “Medical Risk Factor” and expressed as a
   percentage, and, if applicable, shall be 20%, 35%, or 45%, and no other percentage.

                     (E)     Step V Reductions: Non-J&J Talc Perineal Use

           Next, the Adjusted Scheduled Point Value shall be further adjusted based on a Direct
   Claimant’s Regular Non-J&J Talc Perineal Use (if applicable and established by sworn testimony
   or affidavit).

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                            Discounts                               Reduction of Adjusted
                                                                    Scheduled Point Value
        Other Talc Use                                                         25%
        (applies only if Regular Non-J&J Talc Perineal         (increasing to the total percentage
        Use)                                                     of Regular Perineal Use that is
                                                                 Regular Non-J&J Talc Perineal
                                                                              Use)

   This reduction factor shall be referred to as the “Non-J&J Talc Use Factor” and expressed as a
   percentage, and, if applicable, shall not be less than 25% or exceed 100%.

           By way of example, if a Direct Claimant used J&J Talc Products every morning in her
   perineal area and used Non-J&J Talc Products every evening in her perineal area for thirty (30)
   years (i.e., half of her perineal area applications were J&J Talc Products and half were Non-J&J
   Talc Products), then the Adjusted Scheduled Point Value of her Ovarian Cancer Claim will be
   reduced by 50% = 30 years of Regular Non-J&J Talc Perineal Use / (30 years of Regular J&J Talc
   Perineal Use + 30 years of Regular Non-J&J Talc Perineal Use). If, instead, she had used Non-
   J&J Talc Products in her perineal area once a day for four (4) years and used J&J Talc Products in
   her perineal area once a day for twenty (20) years (i.e., one-sixth of the Regular Perineal Use of
   talc-based products in her perineal area was use of Non-J&J Talc Products), then the Adjusted
   Scheduled Point Value of her claim will be reduced by the minimum 25%.

           5.3.5    Final Scheduled Point Value

          The Final Scheduled Point Value of each Ovarian Cancer Claim shall be determined based
   on the Initial Scheduled Point Value multiplied by the relevant Diagnostic Adjustment and any
   applicable reduction factors outlined in Steps I–V (rounded to the nearest whole number), as
   follows:

          ‫݁ݑ݈ܸܽ ݐ݊݅݋ܲ ݈݀݁ݑ݄݀݁ܿܵ ݈ܽ݊݅ܨ‬
                       = (‫)ݐ݊݁݉ݐݏݑ݆݀ܣ ܿ݅ݐݏ݋݊݃ܽ݅ܦ( × )݁ݑ݈ܸܽ ݐ݊݅݋ܲ ݈݀݁ݑ݄݀݁ܿܵ ݈ܽ݅ݐ݅݊ܫ‬
                       × (1 െ ‫)݊݋݅ݐܿݑܴ݀݁ ݎ݋ݐܿܽܨ ݁ݏܷ ݂݋ ݄ݐ݃݊݁ܮ‬
                       × (1 െ ܶ݅݉݁ ܵ݅݊ܿ݁ ‫)݊݋݅ݐܿݑܴ݀݁ ݎ݋ݐܿܽܨ ݁ݏܷ ݐݏܽܮ‬
                       × (1 െ ‫)݊݋݅ݐܿݑܴ݀݁ ݎ݋ݐܿܽܨ ݁ݏܷ ݐ݊݁ݐݏ݅ݏ݊݋ܿ݊ܫ‬
                       × (1 െ ‫)݊݋݅ݐܿݑܴ݀݁ ݎ݋ݐܿܽܨ ݇ݏܴ݅ ݈ܽܿ݅݀݁ܯ‬
                       × (1 െ ܰ‫)݊݋݅ݐܿݑܴ݀݁ ݎ݋ݐܿܽܨ ݁ݏܷ ݈ܿܽܶ ܬ&ܬ ݊݋‬

           By way of example, if a Direct Claimant with an Ovarian Cancer Claim was diagnosed
   with the Stage IV clear cell carcinoma, which diagnosis is the basis of her Direct Claim, at age
   fifty-three (53), had thirty (30) years of Regular J&J Talc Perineal Use, stopped using J&J Talc
   Products in her perineal area ten (10) years before the Date of First Diagnosis, has a family history
   of colon cancer in her mother, and never used Non-J&J Talc Products in her perineal area, then
   the Final Scheduled Point Value of her Ovarian Cancer Claim would be 323 points.




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    Initial Scheduled Point Value                                                    780
    Diagnostic Adjustment                       Clear cell ovarian              ×    75%
                                                carcinoma = 75%
    Adjusted Scheduled Point Value                                                   585
    Adjustment for Length of Regular            1–(30÷40) = 25%                 ×    75% = 1 – 25%
    Perineal Use Factor                                                              438.75
    Adjustment for Time Since Last Use          (10–6)×2% = 8%                  ×    92% = 1 – 8%
    Factor                                                                           403.65
    Adjustment for Atypical Use Factor          Discretionary (not applied)     ×    n/a
    Adjustment for Medical Risk Factor          Colon cancer in family          ×    80% = 1 – 20%
                                                history = 20%                        322.92
    Adjustment for Non-J&J Talc Use             0 years of total use = 0%       ×    100% = 1 – 0%
    Factor                                                                           322.92
    Final Scheduled Point Value                                                 =    322.92
                                                                                     (rounded to 323)


   5.4     Determination of Final Scheduled Point Values Under Individual Review Process

           5.4.1    Underlying Scheduled Point Value

          Upon determination by the Trustees that an Ovarian Cancer Claim submitted to the Trust
   by a Direct Claimant that elected to proceed under the Individual Review Process is an Allowed
   Claim, the Claims Administrator, in conjunction with the Claims Processor, shall undertake the
   seven (7)-stage valuation process set forth in Section 5.3 with respect to such Ovarian Cancer
   Claim to determine the Point Value of such Allowed Claim that would have resulted if such Direct
   Claimant had elected to proceed under the Expedited Review Process. The resulting claim-specific
   Point Value shall be referred to as the Underlying Scheduled Point Value.

           5.4.2    Final Scheduled Point Value

           To determine the Final Scheduled Point Value of such Allowed Claim, the Trustees shall
   then apply to the Underlying Scheduled Point Value a multiplier on account of the extraordinary
   nature of such Allowed Claim not to exceed three times (3x), as the Trustees shall determine in
   their sole discretion.

           The Trustees shall take into consideration factors that affect the amount of damages and
   values in the tort system, including credible evidence of: (i) the degree to which the characteristics
   of a Direct Claim allowed under the Individual Review Process differ from a Direct Claim
   processed under the Expedited Review Process; and (ii) factors such as (a) the Direct Claimant’s
   age, disabilities, dependents, and employment status, (b) disruption of the Direct Claimant’s
   household, family, or recreational activities, and (c) the Direct Claimant’s pain and suffering.

   5.5     Determination of Allowed Claim Amounts Under Quickpay Review Process

         Gynecological Claims shall only be eligible to receive amounts based on the Quickpay
   Review Process below in this Section 5.5.


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          Upon determination by the Trustees that a Direct Claim submitted to the Trust is an
   Allowed Claim under the Quickpay Review Process, the Claims Administrator, in conjunction
   with the Claims Processor, shall determine the Allowed Claim Amount for such Allowed Claim
   pursuant to Section 5.5.1 or Section 5.5.2, as applicable. For the avoidance of doubt, the Allowed
   Claim Amounts under Section 5.5.1 and Section 5.5.2 are fixed and may not be challenged by a
   Reconsideration Request under Article 6, or otherwise.

           5.5.1    Direct Claims For Which Expedited Review Process Available

          If a Direct Claimant could have appropriately elected to submit her Direct Claim to the
   Trust pursuant to the Expedited Review Process, but for whatever reason chose instead to elect the
   Quickpay Review Process, the resulting Allowed Claim shall have an Allowed Claim Amount of
   one thousand five hundred dollars and zero cents ($1,500.00).

           5.5.2    Gynecological Claims

           Gynecological Claims that become Allowed Claims shall have an Allowed Claim Amount
   of one thousand five hundred dollars and zero cents ($1,500.00).

                                       Article 6
                    RECONSIDERATION REQUESTS BY DIRECT CLAIMANTS

   6.1     Reconsideration of Determinations Other Than Individual Review Process
           Determinations

           6.1.1    Reconsideration Requests

                    (A)   Requirements for Reconsideration Requests

           Following receipt of (i) a Disallowed Claim Notice or (ii) solely with respect to Direct
   Claims that become Allowed Claims under the Expedited Review Process, an Allowed Claim
   Notice, a Direct Claimant may submit to the Trust a Reconsideration Request pursuant to this
   Section 6.1.1; provided, however, that, for the avoidance of doubt, the procedures set forth in this
   Section 6.1.1 shall be inapplicable to (a) any Disallowed Claim Notice or Secondary Election
   Activation Notice provided to a Direct Claimant under Section 4.6.5 and (b) any Allowed Claim
   Notice with respect to a Direct Claim that becomes an Allowed Claims under the Individual
   Review Process. For a Reconsideration Request to be considered, it must be properly submitted
   to the Trust in accordance with the process therefor set forth in the Claim Submission Procedures
   for Direct Claims. Each Reconsideration Request submitted to the Trust pursuant to this
   Section 6.1.1 must include:

                    (1)   a completed Reconsideration Request form, the template for which shall be
                          attached to the Claim Submission Procedures for Direct Claims; and

                    (2)   payment of five hundred dollars and zero cents ($500.00) as an
                          administrative reconsideration fee.



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                    (B)   Forfeiture of Right to Request Reconsideration

          Direct Claimants found to have submitted deceptive or fraudulent Claim Submission
   Materials to the Trust shall be deemed to have forfeited their right to request reconsideration
   pursuant to this Section 6.1.1.

                    (C)   Failure to Request Reconsideration Deemed Acceptance

           The deadline to submit a Reconsideration Request pursuant to this Section 6.1.1 shall be
   sixty (60) days after the date of a Disallowed Claim Notice or Allowed Claim Notice. Any Direct
   Claimant who fails to properly submit a Reconsideration Request to the Trust prior to the
   expiration of such sixty (60)-day period shall be deemed to accept the determination set forth in
   the applicable Disallowance Claim Notice or Allowed Claim Notice, which determination shall
   thereupon become final and non-appealable.

                    (D)   Reconsideration Request Procedures

           Upon receipt of a properly submitted Reconsideration Request, the Trustees shall proceed
   with a re-evaluation of the Direct Claim. The Trustees will have the sole discretion whether to
   grant or deny the Reconsideration Request and will provide written notice of their decision to grant
   or deny the Reconsideration Request within thirty (30) days of receiving the Reconsideration
   Request, as described below.

           If a Reconsideration Request is denied, the administrative fee will not be returned, and the
   Trustees will provide timely written notice to the relevant Direct Claimant that it will not
   reconsider the Direct Claim (a “Reconsideration Denial Notice”). The Direct Claimant shall
   retain the ability to pursue her Direct Claim in mediation or litigation pursuant to the ADR
   Procedures and litigation procedures set forth below in Sections 6.1.2 and Section 6.1.3,
   respectively.

           If a Reconsideration Request is granted, the Trustees will provide timely written notice to
   the relevant Direct Claimant that they are reconsidering her Direct Claim (a “Reconsideration
   Grant Notice”). The Trustees will then reconsider the Direct Claim, including all new Claim
   Submission Materials provided by the Direct Claimant to the Trust in the Reconsideration Request,
   and will have the discretion to maintain or revise the original determination, or alternatively to
   request supplemental Claim Submission Materials as necessary to reach a final conclusion. The
   Trustees will use their best efforts to provide the Direct Claimant written notice of their decision
   to affirm or revise the original determination within sixty (60) days of having sent the applicable
   Reconsideration Grant Notice.

           To the extent the Trustees determine that a Submitted Claim, upon reconsideration is an
   Allowed Claim (if it was previously a Disallowed Claim) or should receive a higher or lower
   proposed Final Scheduled Point Value, the Trustees shall provide an Allowed Claim Notice and,
   unless the Trustees determine that such Submitted Claim should receive a lower proposed Final
   Scheduled Point Value, return the administrative fee to the Direct Claimant. If, however, the
   Trustees decide that no change to the original determination is warranted, that the Allowed Claim
   should receive a lower proposed Final Scheduled Point Value, or that the Claims Submission
   Materials provided by the Direct Claimant were insufficient to reach a final conclusion, then the
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   administrative fee shall not be returned and either (i) the earlier allowance determination and/or
   Final Scheduled Point Value shall stand or (ii) if the Trustees decided that the Allowed Claim
   should receive a lower proposed Final Scheduled Point Value, such lower proposed Final
   Scheduled Point Value shall apply. The Trustees will use their best efforts to provide written
   notice of their decision within sixty (60) days of the Trust having sent the applicable
   Reconsideration Grant Notice (a “Reconsideration Decision Notice”).

           6.1.2    ADR Procedures

          If (i) a Reconsideration Request is denied or (ii) the Direct Claimant remains unsatisfied
   with the Trustees’ determination upon reconsideration, then the Direct Claimant may elect to
   proceed to mediation by providing written notice to the Claims Administrator within sixty (60)
   days of the date of the applicable Reconsideration Denial Notice, Allowed Claim Notice, or
   Reconsideration Decision Notice. If the Direct Claimant does not timely provide such written
   notice requesting mediation, then the applicable Disallowed Claim Notice or Allowed Claim
   Notice shall be final and non-appealable.

           The Trustees shall, with the consent of the TAC and the FCR, prepare and maintain a list
   of approved mediators, which shall be made available to all Direct Claimants who submit their
   Direct Claims to the Trust. The Claims Administrator and the Direct Claimant shall jointly choose
   a mediator (the “Mediator”) from the list maintained by the Trustees. If the Claims Administrator
   and the Direct Claimant are unable to reach agreement regarding the Mediator, the TAC shall
   select one from the list maintained by the Trustees.

           The Mediator will work with the Claims Administrator and the Direct Claimant to reach a
   settlement of the Direct Claim that is mutually acceptable to the Trustees and the Direct Claimant;
   provided, however, that the settlement amount may not exceed the Maximum Value of the Direct
   Claim. The Mediator shall not have the authority to unilaterally impose a settlement upon the
   parties. The Direct Claimant and Trust shall split the fees and expenses incurred by the Mediator
   equally; provided, however, that the Direct Claimant’s share of the Mediator’s fees and expenses
   shall be capped at two thousand five hundred dollars and zero cents ($2,500.00). The parties shall
   otherwise bear their own costs, including legal fees.

          If the mediation results in a settlement agreement, the agreed-upon amount shall constitute
   the Direct Claimant’s Allowed Claim Amount and payment of such Allowed Claim shall be
   processed in the same manner as payments made to Direct Claimants who did not submit a
   Reconsideration Request. If the mediation concludes with no settlement, the Mediator will
   formally conclude mediated discussions and the Direct Claimant may proceed to litigation
   pursuant to Section 6.1.3.

           6.1.3    Litigation

           A Direct Claimant who has exhausted his or her rights pursuant to Sections 6.1.1 and
   Section 6.1.2 shall retain the right to institute a lawsuit in the tort system against the Trust in the
   Claimant’s Jurisdiction in order to determine the compensatory amount of her Direct Claim. Such
   lawsuit may not name the Debtor, J&J, or any other Debtor Corporate Party, or any other Protected
   Party and must only be filed against the Trust as defendant. Any such lawsuit must be filed by the

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   Direct Claimant in her own right and name and not as a member or representative of a class or
   acting in the public interest pursuant to a statute allowing for a private right of action or otherwise,
   and no such lawsuit may be consolidated with any other lawsuit. For the avoidance of doubt, an
   Indirect Claimant may not pursue litigation pursuant to the provisions contained in this
   Section 6.1.3.

           A Direct Claimant seeking to commence litigation pursuant to this Section 6.1.3 must
   notify the Trust of her intention to seek judicial review within sixty (60) days following the
   conclusion of ADR Procedures pursuant to Section 6.1.2. Direct Claimants who seek judicial
   review of the Trust’s determination of the Final Scheduled Point Value of a Direct Claim must pay
   a fee of two thousand five hundred dollars and zero cents ($2,500.00) to the Trust, and Direct
   Claimants who seek judicial review of the Trust’s determination that the Direct Claim is a
   Disallowed Claim must pay a fee of ten thousand dollars and zero cents ($10,000.00) to the Trust.

           Both the Direct Claimant and the Trust shall have all appropriate defenses available to them
   (including, with respect to the Trust, all defenses which could have been asserted by any Protected
   Party). Further, the Trust may use any and all Claim Submission Materials with respect to a Direct
   Claim in its defense of any lawsuit in the tort system, including evidence of deceptive or fraudulent
   behavior. The Trustees shall have authority to settle such lawsuits in the exercise of their business
   judgment. However, the settlement amount of such settlement agreement may not exceed the
   Maximum Value of the Direct Claim.

           In the event a Direct Claimant elects to pursue a lawsuit pursuant to this Section 6.1.3
   which results, after waiver and/or exhaustion of any party’s rights of appeal, in a final judgment
   for monetary damages, then such Direct Claimant shall be eligible to receive payment from the
   Trust of the portion of such judgment that constitutes compensatory damages, up to the Maximum
   Value of such Direct Claim (the “Allowed Judgment Amount”). Payment of the Allowed
   Judgment Amount shall be processed in the same manner as payments made to Direct Claimants
   who did not submit a Reconsideration Request, except that upon reaching the front of the FIFO
   Payment Queue, the Trust shall distribute to the Direct Claimant only an initial payment equal to
   Trust’s last offer, if any, to the Direct Claimant (provided, however, that in no event shall such
   payment amount exceed the amount of the judgment obtained in the tort system). The balance of
   the judgment, up to the Allowed Judgment Amount for the Direct Claim, if any, shall be paid to
   the Direct Claimant in five (5) equal installments in years six (6) through ten (10) following the
   year of the initial payment. Under no circumstances shall any non-compensatory monetary
   damages or any interest be paid under any statute on any judgments obtained in the tort system.

           In the event that the Direct Claimant prevails at trial but is awarded a judgment less than
   the Trust’s last offer, if any, the Allowed Judgment Amount shall be reduced on a dollar-for-dollar
   basis by all fees, costs, and expenses the Trust incurred in defending against the Direct Claimant’s
   lawsuit; provided, however, that such dollar-for-dollar reduction shall not exceed the Allowed
   Judgment Amount. In the event that the Direct Claimant does not prevail at trial, the Direct Claim
   shall be a Disallowed Claim.




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   6.2     Reconsideration of Individual Review Process Determinations

          Following receipt of (i) a Disallowed Claim Notice or a Secondary Election Activation
   Notice provided under Section 4.6.5 or (ii) solely with respect to Confirmed Claims that become
   Allowed Claims under the Individual Review Process, an Allowed Claim Notice, a Direct
   Claimant may submit to the Trust a Reconsideration Request pursuant to this Section 6.2. For
   such a Reconsideration Request to be considered, it must be properly submitted to the Trust in
   accordance with the process set forth in the Claim Submission Procedures for Direct Claims. Each
   Reconsideration Request submitted to the Trust pursuant to this Section 6.2 must include a
   completed Reconsideration Request form, the template for which shall be attached to the Claim
   Submission Procedures for Direct Claims.

          The deadline to submit a Reconsideration Request pursuant to Section 6.2 shall be sixty
   (60) days after the date of a Disallowed Claim Notice, a Secondary Election Activation Notice, or
   an Allowed Claim Notice. Any Direct Claimant who fails to properly submit a Reconsideration
   Request to the Trust prior to the expiration of such sixty (60)-day period shall be deemed to accept
   the determination set forth in the applicable Disallowed Claim Notice, Secondary Election
   Activation Notice, or Allowed Claim Notice, which determination shall thereupon become final
   and non-appealable.

           In the event that a Direct Claimant submits a Reconsideration Request to the Trust
   consistent with this Section 6.2, such Reconsideration Request shall be submitted to a special panel
   of individuals established by the Trustees with the consent of the TAC and the FCR (the
   “Individual Review Claims Panel”) for resolution. Upon receipt of a properly submitted
   Reconsideration Request, the Individual Review Claims Panel shall proceed with a re-evaluation
   of the Direct Claim. The Individual Review Claims Panel will have the sole discretion whether to
   grant or deny the Reconsideration Request and will provide written notice of their decision to grant
   or deny the Reconsideration Request within thirty (30) days of receiving the Reconsideration
   Request, as described below.

            If a Reconsideration Request is denied by the Individual Review Claims Panel, the
   Individual Review Claims Panel will provide timely written notice to the relevant Direct Claimant
   that it will not reconsider the Direct Claim. The decision of the Individual Review Claims Panel
   to deny the Reconsideration Request shall be final and binding, and not subject to any further
   administrative or judicial review, including pursuant to Section 6.1.2 or Section 6.1.3.

             If a Reconsideration Request is granted by the Individual Review Claims Panel, the
   Individual Review Claims Panel will provide timely written notice to the relevant Direct Claimant
   that it is reconsidering her Direct Claim. The Individual Review Claims Panel will then reconsider
   the Direct Claim, including all new Claim Submission Materials provided by the Direct Claimant
   to the Trust in the Reconsideration Request, and will have the discretion to maintain or revise the
   original determination, or alternatively to request supplemental Claim Submission Materials as
   necessary to reach a final conclusion. The Individual Review Claims Panel will use its best efforts
   to provide the Direct Claimant written notice of its decision to affirm or revise the original
   determination within sixty (60) days of having sent the Direct Claimant written notice that it is
   reconsidering her Direct Claim. All decisions of the Individual Review Claims Panel shall be final


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   and binding, and not subject to any further administrative or judicial review, including pursuant to
   Section 6.1.2 or Section 6.1.3.

                                           Article 7
                              PAYMENT PROCESS FOR DIRECT CLAIMS

   7.1      Points-Based Monetary Values

            7.1.1    Uncertainty of Liabilities

           Litigation arising from the use of talc or talc-containing products is a relatively new mass
   tort and the total number of Direct Claims that may be paid over time by the Trust pursuant to
   these TDP is uncertain. As a result of this uncertainty, in undertaking to ensure substantially
   equitable treatment of all similar Existing Claims and Future Claims, the Trustees must from time
   to time determine or redetermine the Cash Value of a Point.

            7.1.2    Points Valuation System

                     (A)      Initial Cash Value of a Point

           To provide reasonable assurance that the Trust will value, and be in a financial position to
   pay, Existing Direct Claims and Future Direct Claims that involve similar Channeled Talc Personal
   Injury Claims in substantially the same manner, within thirty (30) days after the Claim Submission
   Deadline, and in any event prior to any distributions from the Trust, the Trustees, with the consent
   of the TAC and the FCR, shall establish an initial Cash Value of a Point (the “Initial Cash Value
   of a Point”). The Trustees shall base their determination of the Cash Value of a Point on (i) current
   estimates as to the number, types, and Final Scheduled Point Values for Existing Direct Claims,
   Future Direct Claims, and Indirect Claims (ii) the value of the assets available to the Trust for
   payment of Allowed Claims, including without limitation a determination by the Trustees that the
   Trust will have sufficient assets as of the date the Initial Cash Value of a Point is established to
   pay Existing Direct Claims and Future Direct Claims that involve similar Channeled Talc Personal
   Injury Claims in substantially the same manner, (iii) all anticipated administrative and legal
   expenses, and (iv) any other matters that are reasonably likely to affect the sufficiency of funds to
   pay all Existing Direct Claims and Future Direct Claims based on the same application of these
   TDP to all similar Direct Claims and the points awarded for each Direct Claim. When making
   these determinations, the Trustees shall evaluate all relevant factors to determine a conservative
   Cash Value of a Point with the goal of assuring that the Trust will be able to treat all similar
   Existing Direct Claims and Future Direct Claims in substantially the same manner while taking in
   to account the value of Indirect Claims. 6 Under no circumstances shall the Trustees seek to set the
   Initial Cash Value of a Point such that it would result in the Trust having a present or projected
   negative balance at any time.

           The Initial Cash Value of a Point and any later determined Cash Value of a Point, as in
   effect at the beginning of each calendar year, will be adjusted for inflation annually, beginning as

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                     In determining the Initial Cash Value of a Point, the Trustees are not bound by the range provided
   in the Disclosure Statement.

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   of January 1, 20___ (the “Inflation Adjustment”). The amount of each such Inflation Adjustment
   shall equal the increase for the preceding year in the Consumer Price Index for All Urban
   Consumers (“CPI-U”), but such Inflation Adjustment for any year shall not exceed 5%. The Trust
   shall rely upon CPI-U as published by the United States Department of Labor, Bureau of Labor
   Statistics (“BLS”); provided, however, that if BLS ceases to publish CPI-U, the Trustees, subject
   to the consent of the TAC and FCR, shall select the most comparable index of inflation published
   by BLS or another reputable and established source.

                    (B)   Redetermination of Cash Value of a Point

            To provide continued reasonable assurance that the Trust will value, and be in a financial
   position to pay Existing Direct Claims and Future Direct Claims that involve similar Channeled
   Talc Personal Injury Claims in substantially the same manner, the Cash Value of a Point shall be
   subject to change pursuant to the terms of these TDP and the Trust Agreement. No less than
   annually beginning on the first (1st) anniversary of the date when the Initial Cash Value of a Point
   is established, the Trustees shall review the then-applicable Cash Value of a Point as it deems
   necessary to assure that it is based on accurate, current information, and shall compare (i) the
   claims and liability estimation on which the then-applicable Cash Value of a Point was based with
   the actual Channeled Talc Personal Injury Claims submission and payment experience of the Trust,
   (ii) the projected assets of the Trust on which the then-applicable Cash Value of a Point was based
   with the current assets and any updated projections of asset values, and (iii) any other matters that
   are reasonably likely to affect the sufficiency of funds to pay all Existing Direct Claims and Future
   Direct Claims based on (a) the application of these TDP in substantially the same manner to all
   similar Direct Claims and (b) the points awarded for each Direct Claim that is an Allowed Claim.
   If the results of the comparisons indicate that the Trust will be unable to value, and be in a financial
   position to pay, Existing Direct Claims and Future Direct Claims that involve similar Channeled
   Talc Personal Injury Claims in substantially the same manner, the Trustees shall propose a change
   in the Cash Value of a Point; provided, however, that any adjustment to the Cash Value of a Point
   must be made with the consent of the TAC and the FCR. In the event that the Trustees determine
   to adjust the Cash Value of a Point, the Trustees shall provide written notice to the TAC and FCR
   at least thirty (30) days prior to any requested change in the Cash Value of a Point. If the adjusted
   Cash Value of a Point is adopted, the Trust shall publicly disclose the adjusted Cash Value of a
   Point on its website.

                    (C)   Supplemental Payments

           If at any point the Trustees, with the consent of the TAC and the FCR, determine to increase
   the Cash Value of a Point, then the Trustees shall cause the Trust to make supplemental payments
   in respect of Ovarian Cancer Claims that have previously received a payment from the Trust based
   on the valuation thereof pursuant to Section 5.3 or Section 5.4. The supplemental payment in
   respect of any such Ovarian Cancer Claim shall be (i) an amount equal to the Net Award Amount
   of such Direct Claim as recalculated (a) based on the Allowed Claim Amount of such Direct Claim
   as recalculated using the increased Cash Value of a Point and (b) taking into account any additional
   reductions to the Allowed Claim Amount, less (ii) all payments previously made by the Trust in
   respect of such Direct Claim. Notwithstanding the foregoing, supplemental payments that are less
   than one hundred dollars and zero cents ($100.00) shall not be payable; provided, however, that
   supplemental payments shall accrue such that, if sequential supplemental payments owed to a

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   Direct Claimant in the aggregate equal or exceed one hundred dollars and zero cents ($100.00),
   the relevant Direct Claimant shall receive payment of such aggregate amount. For the avoidance
   of doubt, the amount of the Final Scheduled Point Value of the applicable Ovarian Cancer Claim
   shall not be re-determined or otherwise reconsidered in connection with any supplemental payment
   in respect thereof.

           Checks issued by the Trust in respect of any supplemental payments shall be mailed to the
   last address the Direct Claimant provided to the Trust for the Trust to send payments, which
   address may be the Direct Claimant’s attorney. Checks issued by the Trust in respect of any
   supplemental payments shall be null and void if not negotiated within 180 days after the date of
   issuance thereof. If the Direct Claimant does not request reissuance of such un-negotiated check
   within 180 days thereafter (i.e., within 360 days from the date of issuance), the amount represented
   by such voided check shall irrevocably revert to the Trust. Any Allowed Claim in respect of such
   voided check shall be discharged and forever barred from assertion against the Trust, and the Direct
   Claimant shall not be entitled to any future payments from the Trust, including future supplemental
   payments.

           Notwithstanding anything contained herein to the contrary, if a change to the Cash Value
   of a Point has been proposed in writing by the Trustees to the TAC and FCR but has not yet been
   adopted, the Direct Claimant shall receive the lower of the current Cash Value of a Point or the
   proposed Cash Value of a Point. If the proposed Cash Value of a Point is the lower amount but is
   not subsequently adopted, the Direct Claimant shall thereafter receive the difference between the
   lower proposed amount and the higher current amount. Conversely, if the proposed Cash Value
   of a Point is the higher amount and is subsequently adopted, the Direct Claimant shall thereafter
   receive the difference between the lower current amount and the higher adopted amount. In either
   event, however, no supplemental payments will be made to a Direct Claimant in the event the
   payment in question would be less than one hundred dollars and zero cents ($100.00).

   7.2     Guidelines for Paying Allowed Claims

           7.2.1    Documentation Requirements

                    (A)   Acceptance and Release

           A Direct Claimant who decides to accept an offer of payment from the Trust based on the
   proposed Allowed Claim Amount of her Allowed Claim shall complete and execute an Acceptance
   and Release, a copy of which shall be provided with the Allowed Claim Notice. The Acceptance
   and Release provided with the Allowed Claim Notice shall include a release of all claims against
   the Debtor, the Reorganized Debtor, J&J, the other Debtor Corporate Parties, and the other
   Protected Parties, to the extent any such claims arise from or are related to the alleged use of or
   other exposure to talc or talc-containing products, including J&J Talc Products, and resulting
   injury.

                    (B)   Documents Establishing Legal Representation

          Direct Claimants asserting a Direct Claim on behalf of a minor, incapacitated, or deceased
   person must, before any funds related to such Direct Claim may be distributed from the Trust,
   submit to the Trust appropriate documentation confirming the Direct Claimant’s legal authority to
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   resolve the Direct Claim on behalf of the minor, incapacitated, or deceased person. Such
   documentation should generally be in the form of a court order, letters of administration, power of
   attorney, or the like.

           7.2.2    Deadline For Acceptance of Offers From Trust

           Direct Claimants (other than Direct Claimants who (i) have submitted a Reconsideration
   Request or (ii) (a) hold Submitted Claims as a representative of an injured or deceased individual
   and (b) are required to obtain court approval before accepting any Final Scheduled Point Value
   proposed by Trust) shall have one hundred eighty (180) days from the date of the applicable
   Allowed Claim Notice to accept such offer by causing the Trust to receive a fully completed and
   executed Acceptance and Release. The Trustees, in their sole discretion, may, but are not required
   to, extend this deadline upon a showing of good cause by the Direct Claimant that additional time
   is necessary to obtain the required authority or approval to accept an offer of payment from the
   Trust.

           7.2.3    Offsets

           Notwithstanding anything to the contrary contained in these TDP, the Trust shall have the
   right to offset or reduce payment of an Allowed Claim Amount on a dollar-for-dollar basis based
   on any amounts paid, or to be paid, to the relevant Direct Claimant on account of her Direct Claim
   from any source other than Trust.

           7.2.4    Contribution, Indemnity, Reimbursement, and Subrogation

          In the event that the Trust pays a Direct Claim for which another party, other than a
   Protected Party, may be partially or entirely liable, the Trust shall have a claim for contribution,
   indemnity, reimbursement, or subrogation, whether contractual or implied by law, against such
   other party that it may assert.

   7.3     Lien Resolution

            With respect to any Direct Claim that becomes an Allowed Claim pursuant to these TDP,
   all related medical liens shall be paid from amounts that otherwise would be paid by the Trust to
   the Direct Claimant in respect of such Allowed Claim, with a corresponding reduction to the Net
   Award Amount.

           On or as soon as practicable following the submission of any Direct Claim to the Trust, the
   Lien Resolution Administrator shall begin working to quantify any and all known medical liens
   arising from or related to such Direct Claim, with the goal of negotiating the satisfaction of any
   such liens by the time the Allowed Claim Amount of such Direct Claim, if it becomes an Allowed
   Claim, has been determined.

           The Lien Resolution Administrator shall be responsible for the satisfaction of any and all
   such known and valid medical liens. The Lien Resolution Administrator shall provide written
   verification of the same to the Trustees and the TAC before any portion of an Allowed Claim
   Amount is paid to the relevant Direct Claimant and/or her counsel. Neither the Debtor, the
   Reorganized Debtor, J&J, nor any other Debtor Corporate Party shall bear any responsibility for

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   payment of any Direct Claimant’s liens. The Trust shall not bear any responsibility for payment
   of any Direct Claimant’s liens to the extent such liens are for amounts in excess of amounts
   otherwise payable by the Trust to such Direct Claimant in respect of her Direct Claim.

           For the avoidance of doubt, the medical liens arising from or relating to Direct Claims that
   are to be resolved by the Lien Resolution Administrator as described above are not Indirect Claims
   and are not subject to resolution under Article 8.

   7.4     No Common Benefit Fund Payments Shall Be Made

           The Trustees are not authorized to pay, and shall not pay, any common benefit fees or
   expenses from the Trust, and shall take no action with respect to the Common Benefit Fund, in
   each case without the written consent of the FCR and a supermajority of the members of the TAC
   (consisting of not less than 66% of all members of the TAC).

   7.5     Payment of Claims

           7.5.1    Allowed Claim Amounts Held in Escrow

           Promptly upon receipt of a Direct Claimant’s properly completed and executed Acceptance
   and Release, the Allowed Claim Amount for such Direct Claimant’s Allowed Claim shall be set
   aside and remain segregated within the Trust pending the final resolution of various administrative
   issues involving the resolution of the relevant Direct Claim, including issues related to applicable
   medical liens, fees and expenses of counsel, fees, expenses and obligations related to
   administration of the Trust, probate, guardianship/conservatorship, and personal bankruptcy
   filings, and the final payment of the Net Award Amount to such Direct Claimant and/or her
   counsel.

           7.5.2    Payment of Net Award Amount

           Upon (i) the Trust’s receipt of a Direct Claimant’s properly completed and executed
   Acceptance and Release and (ii) resolution of any lien, attorney fees, expenses, and obligations
   related to administration of the Trust, and any other issues involving resolution of the relevant
   Direct Claim, payment to such Direct Claimant and/or her respective counsel shall be made in the
   Net Award Amount. If a Direct Claimant elected to receive her payment pursuant to these TDP
   through her retained counsel, the Trustees shall transfer the Net Award Amount to the payee
   identified on such Direct Claimant’s Claim Submission Form.

           Notwithstanding anything to the contrary contained herein, the Trustees, with the consent
   of the TAC and the FCR, may pay part of the Allowed Claim Amount that has been set aside and
   segregated for a Direct Claimant as provided in Section 7.5.1 to such Direct Claimant and/or her
   counsel prior to resolution of all issues applicable to such Direct Claim, including the resolution
   of medical liens and obligations related to administration of the Trust. In such event, the Trustees
   will cause the Trust to continue to hold, on a segregated basis, a portion of such Allowed Claim
   Amount that the Trustees, with the consent of the TAC and the FCR, determine to be appropriate
   to satisfy any unresolved issues applicable to resolution of such Direct Claimant’s Direct Claim.
   Upon the resolution of such unresolved issues and the final determination of such Direct
   Claimant’s Net Award Amount, the Trustees shall pay to the Direct Claimant and/or her counsel,

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   from the portion of her Allowed Claim Amount that the Trust continues to hold on a segregated
   basis, the remaining balance of her Net Award Amount.

   7.6     Payment Processing

           7.6.1    FIFO Payment Processing

           Direct Claims that have become Allowed Claims under a particular Review Track and
   liquidated in accordance with the terms herein shall be paid in first-in-first-out order based on the
   date the Trust received a Direct Claimant’s properly completed and executed Acceptance and
   Release, subject to the sequencing adjustments provided for herein.

           As to any particular FIFO Payment Queue, in the event that the Trust receives more than
   one relevant Acceptance and Release on a particular date, each Direct Claim’s position in such
   FIFO Payment Queue shall be determined by the Date of Relevant Diagnosis, with an earlier Date
   of Relevant Diagnosis having priority over a later Date of Relevant Diagnosis. In the unlikely
   event that the Trust receives more than one relevant Acceptance and Release on a particular date
   and the relevant Direct Claims also have the same Date of Relevant Diagnosis, the positions of
   these Direct Claims in the particular FIFO Payment Queue shall be determined based on the
   relevant Direct Claimants’ dates of births, with earlier dates of birth given priority over later dates
   of birth.

           7.6.2    Discretion to Vary Order and Amounts of Payments

            Consistent with the provisions hereof and subject to the applicable FIFO Processing Queue
   and FIFO Payment Queue, the Trustees shall proceed as quickly as possible to liquidate Allowed
   Claims and to make payments to relevant Direct Claimants in accordance with these TDP on an
   ongoing basis, as funds become available and while maintaining sufficient resources to pay Future
   Direct Claims that are determined to be Allowed Claims in the same amount as Existing Direct
   Claims. If the properly executed and completed Acceptance and Release forms for a group of
   Direct Claimants represented by the same law firm have been received by the Trust, the Trustees,
   in their sole discretion, may simultaneously issue payments to all such Direct Claimants regardless
   of their individual placement in the FIFO Payment Queue.

           Because the Trust’s assets and liabilities over time remain uncertain, and decisions about
   payments must be based on estimates that cannot be made precisely, such decisions may have to
   be revised in light of experiences over time, and there can be no guarantee of any specific level of
   payment to Direct Claimants. The Trustees shall, however, use their best efforts to treat similar
   Direct Claims in substantially the same manner, consistent with their duties as Trustees, the
   purposes of the Trust, and the practical limitations imposed by the inability to predict the future
   with precision.

           In the event that the Trust faces issues with respect to liquidity that cannot be resolved
   based on adjustments to the Cash Value of a Point, the Trustees may, with the consent of the TAC
   and FCR, (i) suspend the normal order of payment or (ii) temporarily limit or suspend payments
   altogether.



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                                         Article 8
                              RESOLUTION OF INDIRECT CLAIMS

   8.1     Claim Submission Procedures for Indirect Claims

           The Claim Submission Procedures for Indirect Claims shall be developed by the Trustees
   with the assistance of the Claims Administrator and Claims Processor and adopted by the Trustees
   with the consent of the TAC and the FCR. These Claim Submission Procedures shall include, but
   shall not be limited to, the following:

           8.1.1    Indirect Claim Submission Deadline

          Indirect Claimants must submit their Indirect Claims to the Trust within one hundred
   twenty (120) days of the Initial Submission Acceptance Date. If an Indirect Claimant fails to
   submit his/her/its Indirect Claim within this time period, such Indirect Claimant shall be deemed
   to have waived the right to submit his/her/its Indirect Claim or otherwise seek compensation from
   the Trust.

           8.1.2    Indirect Claim Review Criteria

         An Indirect Claim shall become an Allowed Claim if it satisfies the following Indirect
   Claim Review Criteria:

                    (1)   the Indirect Claim is not subject to (a) disallowance under section 502 of
                          the Bankruptcy Code, including subsection (e) thereof (subject to the right
                          of the holder of the Indirect Claim to seek reconsideration by the Trustees
                          under section 502(j) of the Bankruptcy Code), or is not otherwise legally
                          invalid, or (b) subordination under sections 509(c) or 510 of the Bankruptcy
                          Code, or otherwise under applicable law;

                    (2)   the Indirect Claim has not been previously submitted to, or paid by, the
                          Trust, or previously resolved through litigation and/or settlement involving
                          the Debtor, the Reorganized Debtor, J&J, or any other Debtor Corporate
                          Party;

                    (3)   the Indirect Claim is entitled to contribution, reimbursement, subrogation,
                          or indemnity (as those terms are defined by applicable non-bankruptcy law
                          of the relevant jurisdiction) from the Trust on account of a payment made
                          by the Indirect Claimant;

                    (4)   the Indirect Claim is not subject to a valid defense, including, without
                          limitation, that such Indirect Claim is barred by a statute of limitations or
                          by other applicable law; and

                    (5)   the Indirect Claimant does not have an obligation to indemnify the Trust
                          from the liability that was the basis of the payment made by the Indirect
                          Claimant.


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           For each Indirect Claim submitted to the Trust, the Claims Administrator shall, in
   conjunction with the Claims Processor, thoroughly review and evaluate such Indirect Claim to
   assist the Trustees to determine whether the Indirect Claim Review Criteria are satisfied. If, in
   undertaking such review and evaluation, the Trustees determine with the assistance of the Claims
   Administrator that an Indirect Claim satisfies the Indirect Claim Review Criteria, then such
   Indirect Claim shall be an Allowed Claim and the Trustees with the assistance of the Claims
   Administrator shall determine the Allowed Claim Amount of such Allowed Claim, which shall be
   the amount necessary to pay such Allowed Claim in full. If the Trustees determine with the
   assistance of the Claims Administrator that an Indirect Claim does not satisfy the Indirect Claim
   Review Criteria, then such Indirect Claim shall become a Disallowed Claim, and the Trustees shall
   provide a Disallowed Claim Notice to the relevant Indirect Claimant.

           8.1.3    Payments on Account of Allowed Claims

           As promptly as practicable following a determination by the Trustees with the assistance
   of the Claims Administrator that an Indirect Claim is an Allowed Claim, the Trustees shall provide
   the relevant Indirect Claimant an Allowed Claim Notice, which Allowed Claim Notice will
   indicate (i) the determination that such Indirect Claim is an Allowed Claim and (ii) the proposed
   Allowed Claim Amount of such Indirect Claim.

          An Indirect Claimant that decides to accept an offer of payment from the trust based on the
   proposed Allowed Claim Amount of his/her/its Allowed Claim shall complete and execute an
   Acceptance and Release, a copy of which shall be provided with the Allowed Claim Notice. The
   Acceptance and Release provided with the Allowed Claim Notice shall include a release of all
   claims against the Debtor, the Reorganized Debtor, J&J, the other LTL Corporate Parties, and the
   other Protected Parties, to the extent any such claims arise from or are related to the Indirect
   Claimant’s Allowed Claim.

         Upon the Trust’s receipt of an Indirect Claimant’s properly completed and executed
   Acceptance and Release, payment to such Indirect Claimant shall be made by the Trust in the
   Allowed Claim Amount of the relevant Indirect Claim as promptly as practicable.

   8.2     Court Review

           Within thirty (30) days after the date of a Disallowed Claim Notice or Allowed Claim
   Notice (the “Indirect Claim Judicial Review Election Deadline”), an Indirect Claimant may
   notify the Trust of its intention to seek a de novo review of the Trust’s determination as to its
   Indirect Claim in accordance with Section 8.1 by the Bankruptcy Court. Such notification shall
   be made by submitting a written notice to the Trustees (an “Indirect Claim Judicial Review
   Election Notice”) by the Indirect Claim Judicial Review Election Deadline. Extensions of the
   Indirect Claim Judicial Review Election Deadline may be requested by the Indirect Claimant from
   the Trustees so long as requested prior to the Indirect Claim Judicial Review Election Deadline,
   and the Trustees retain full discretion to either grant or deny any such request. If an Indirect Claim
   Judicial Review Election Notice is not received by the Trustees prior to the Indirect Claim Judicial
   Review Election Deadline (as extended, if applicable), then the applicable Disallowed Claim
   Notice or Allowed Claim Notice shall be final and binding.


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           An Indirect Claimant that commences a legal proceeding following submission to the
   Trustees of an Indirect Claim Judicial Review Election Notice may not seek costs or expenses
   against the Trust in any such judicial proceeding, and the Trust may not seek costs or expenses
   against the Indirect Claimant in such proceeding.

            In no event shall the submission of an Indirect Claim Judicial Review Election Notice
   entitle the holder of an Indirect Claim to request or receive treatment different than the treatment
   provided for under these TDP, including Section 8.1. The de novo review provided for herein shall
   be solely to determine whether an Indirect Claim is an Allowed Claim and, if so, to determine the
   Allowed Claim Amount of the Indirect Claim, all under and in accordance with these TDP. All
   defenses shall be available to both the Indirect Claimant and the Trust in any judicial proceeding
   commenced following submission to the Trustees of an Indirect Claim Judicial Review Election
   Notice. Upon entry of final non-appealable order of a court competent jurisdiction that establishes
   the Allowed Claim Amount of an Indirect Claim, such Indirect Claim shall be paid in accordance
   with this Article 8.

                                          Article 9
                               TRUST AUDITING AND REPORTING

   9.1     Trust Auditing

           9.1.1    Cross-Trust Audit Program

            The Trustees, with the consent of the TAC and the FCR, shall develop and implement a
   Cross-Trust Audit Program that shall be overseen by the Auditor, which program shall include
   methods for auditing the reliability of medical evidence, as well as the reliability of evidence of
   usage of talc or talc-containing products for which the Trust has legal responsibility and the
   reliability of reporting on other asbestos exposure. This Cross-Trust Audit Program will be
   designed to compare Direct Claims submitted to the Trust against claims filed with any other
   bankruptcy or mass-tort trusts. Further, as part of its coordination with other bankruptcy or mass-
   tort trusts, the Trust shall fully comply with reasonable subpoenas served against it by other
   bankruptcy or mass-tort trusts seeking to conduct a similar audit.

          By submitting a Direct Claim to the Trust, regardless of the treatment sought, a Direct
   Claimant shall be deemed to have affirmatively consented to (i) any release by the Trust of
   necessary and sufficient information sought either through the Cross-Trust Audit Program or in
   response to any subpoena served against the Trust; (ii) any release by any other bankruptcy or
   mass-tort trusts that participate in the Cross-Trust Audit Program or the Trust has served a
   subpoena on, to the Auditor of all information submitted to such other trusts by or on behalf of the
   relevant Direct Claimant pursuant to the provisions of the Cross-Trust Audit Program, or
   subpoena, if applicable, and (iii) disclosure by or to the Auditor of the status, amount, and date of
   payment made with respect to the claim asserted or filed by the relevant Direct Claimant to the
   Trust or any other bankruptcy or mass-tort trust.

           To the extent that the Trustees believe it is relevant, nothing herein shall preclude the Trust
   or the Auditor, in the Trustees’ sole discretion, from reviewing or taking into consideration filed
   state or federal court complaints, available discovery from any such case, or other claims filed

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   against other bankruptcy or mass-tort trusts. Any Direct Claimant shall cooperate with and provide
   the Trust with (i) any non-privileged information reasonably requested by the Trust and (ii) upon
   request by the Trust, authorization to obtain from other bankruptcy or mass-tort trusts any
   information such Direct Claimant has provided to such other trusts.

           9.1.2    Consequences of Audit Program

           In the event that the Trustees determine that an audit under the Cross-Trust Audit Program
   reveals that deceptive or fraudulent Claim Submission Materials have been provided to the Trust
   with respect to a Direct Claim, the Trust may penalize the relevant Direct Claimant and her counsel
   by: (i) disallowing the Direct Claim, (ii) seeking to require the source of such deceptive or
   fraudulent Claim Submission Materials, including the Direct Claimant and her counsel, to
   reimburse the Trust for all costs incurred in connection with such audit and any future audit or
   audits of the Direct Claim, (iii) reordering the priority of payment of the Direct Claim, and (iv)
   taking any other appropriate action, including seeking sanctions or informing law enforcement
   agencies.

           The Trust may also place reasonable restrictions, limitations, or affirmative requirements
   on Direct Claims submitted to the Trust in the future by Direct Claimants represented by any
   attorney and/or law firm who previously represented a Direct Claimant that was determined to
   have submitted deceptive or fraudulent Claim Submission Materials to the Trust, including
   (i) requiring that the attorney and/or law firm representing such Direct Claimants pay a $1,000.00
   penalty for each new Direct Claim submitted to the Trust and (ii) subjecting all such Direct Claims
   to audit under the Cross-Trust Audit Program, provided, however, that such audit shall not
   prejudice the relevant Direct Claimant with respect to the processing or evaluation of her Direct
   Claim or, to the extent such Direct Claim is deemed an Allowed Claim, as to the timing of payment
   to the relevant Direct Claimant.

          Direct Claims that are subject to heightened scrutiny pursuant to Section 4.2.3,
   Section 4.2.5, Section 4.5.2, or Section 4.6.3 shall be automatically subject to audit under the
   Cross-Trust Audit Program.

           9.1.3    Detection and Prevention of Fraud

          The Trustees shall, with the assistance of the Claims Administrator, develop and institute
   auditing and other procedures to detect and prevent the allowance of Direct Claims involving
   Fraudulent Claim Submissions. Among other things, such procedures will permit the Trustees or
   Claims Administrator to conduct random audits to verify information and documentation included
   in randomly selected Claim Submission Materials, as well as targeted audits of Claim Submission
   Materials, any of which may include an examination requested by the Trustees (including by
   healthcare professionals selected by the Trustees).

   9.2     Trust Reporting

          Periodically, and at least annually, the Trust shall publish a report summarizing the Direct
   Claims resolved pursuant to these TDP, including breakdowns with respect: to (i) the types of
   Direct Claim involved; (ii) application of the Expedited Review Process, Individual Review
   Process, Quickpay Review Process, and/or any ADR Procedures, litigations, or settlements, and
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   (iii) the average Allowed Claim Amount by type of Direct Claim and specific category of injury.
   The Trustees also shall simultaneously provide the TAC and the FCR with (i) a more detailed
   version of the above-mentioned report that also includes breakdowns as to Claimant’s Jurisdiction
   and the counsel representing Direct Claims submitted to the Trust and (ii) detailed monthly status
   reports regarding the evaluation status of Submitted Claims, as well as the valuation and payment
   status of all Allowed Claims for which the Allowed Claim Amount has been determined.

                                              Article 10
                                          MISCELLANEOUS

   10.1    Non-Binding Effect of Trust and/or Litigation Outcome

           Notwithstanding any other provision of these TDP, the Trust’s determination to pay or not
   to pay any claim shall not be binding on, or have any res judicata, collateral estoppel, or other
   preclusive effect in any lawsuit or other proceeding against, the Debtor, the Reorganized Debtor,
   J&J, the other Debtor Corporate Parties, the other Protected Parties, or any other person or entity
   other than the Trust.

   10.2    Independence of Trust

           Except as otherwise specifically provided in the Plan, the Trust Agreement or these TDP,
   (i) none of the Debtor, the Reorganized Debtor, J&J, or any other Debtor Corporate Party shall
   have any rights or involvement whatsoever in the implementation or operation of these TDP, (ii)
   none of the Debtor, Reorganized Debtor, J&J, or any Debtor Corporate Party is a third-party
   beneficiary of the Trust or these TDP, and (iii) nothing herein creates any rights or obligations that
   may give rise to a claim or cause of action by the Debtor, the Reorganized Debtor, J&J, or any
   other Debtor Corporate Party against the Trust, any Direct Claimant, or any Indirect Claimant.

   10.3    Amendments

           The Trustees, subject to the consent of the TAC and the FCR, may modify or amend these
   TDP; provided, however, that no modification or amendment to these TDP shall be inconsistent
   with the provisions of the Trust Agreement or these TDP limiting amendments or modifications
   to these TDP; provided, further, however, that with respect to any requirement in these TDP that
   consent of the TAC be made pursuant to a supermajority of the members of the TAC, any
   modification or amendment of such supermajority requirement shall be subject to the consent of a
   supermajority of the members of the TAC (consisting of not less than 66% of all members of the
   TAC). Any modification or amendment made pursuant to this Section 10.3 shall be in writing and
   shall be publicly disclosed on the Trust’s website. Notwithstanding anything contained in the Trust
   Agreement or these TDP to the contrary: (i) neither these TDP, nor any document annexed hereto,
   shall be modified or amended in any way that could jeopardize, impair, or modify: (a) the
   applicability of section 524(g), section 1123(b)(6), and/or section 105 of the Bankruptcy Code to
   the Plan, the Confirmation Order, or the Trust; (b) the enforceability, the scope, or the terms of the
   discharge, releases, injunctions, and exculpation included in Article XI of the Plan; or (c) the
   Trust’s status as a qualified settlement fund within the meaning of regulations governing qualified
   settlement funds; and (ii) any modification or amendment of these TDP affecting the rights of the
   Reorganized Debtor or J&J shall require the prior written consent of the Reorganized Debtor or

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   J&J (as applicable). For the avoidance of doubt, any modification or amendment to clause (i) or
   clause (ii) of the immediately preceding sentence shall require the prior written consent of the
   Reorganized Debtor and J&J.

   10.4    Severability

           Should any provision contained in these TDP be determined to be unenforceable, such
   determination shall in no way limit or affect the enforceability and operative effect of any and all
   other provisions of these TDP.

   10.5    Governing Law

          These TDP shall be construed in accordance with the laws of the State of Texas, without
   giving effect to any choice or conflict of law provision or rule that would cause the application of
   laws of another jurisdiction. Notwithstanding the foregoing, the review and evaluation of Direct
   Claims under these TDP and the law governing mediation or litigation in the tort system shall be
   the law of the Claimant’s Jurisdiction.




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                                             None




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                                          SCHEDULE 1

                                    Debtor Corporate Parties


   3Dintegrated ApS
   ABD Holding Company, Inc.
   ABIOMED R&D, Inc.
   ABIOMED, Inc.
   Acclarent, Inc.
   Actelion Ltd
   Actelion Pharmaceuticals Ltd
   Actelion Pharmaceuticals Trading (Shanghai) Co., Ltd.
   Actelion Pharmaceuticals US, Inc.
   Actelion Treasury Unlimited Company
   Albany Street LLC
   ALZA Corporation
   Alza Land Management, Inc.
   AMO (Hangzhou) Co., Ltd.
   AMO (Shanghai) Medical Devices Trading Co., Ltd.
   AMO ASIA LIMITED
   AMO Australia Pty Limited
   AMO Canada Company
   AMO Denmark ApS
   AMO Development, LLC
   AMO France
   AMO Germany GmbH
   AMO Groningen B.V.
   AMO International Holdings Unlimited Company
   AMO Ireland
   AMO Italy SRL
   AMO Japan K.K.
   AMO Manufacturing USA, LLC
   AMO Netherlands BV
   AMO Nominee Holdings, LLC
   AMO Norway AS
   AMO Puerto Rico Manufacturing, Inc.
   AMO Sales and Service, Inc.
   AMO Singapore Pte. Ltd.
   AMO Spain Holdings, LLC
   AMO Switzerland GmbH
   AMO United Kingdom, Ltd.
   AMO Uppsala AB
   Anakuria Therapeutics, Inc.
   AorTx, Inc.
   Apsis SAS
   Aragon Pharmaceuticals, Inc.

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   Asia Pacific Holdings, LLC
   Atrionix, Inc.
   AUB Holdings LLC
   Auris Health, Inc.
   Backsvalan 6 Handelsbolag
   Beijing Dabao Cosmetics Co., Ltd.
   BeneVir BioPharm, Inc.
   Berna Rhein B.V.
   BioMedical Enterprises, Inc.
   Biosense Webster (Israel) Ltd.
   Biosense Webster, Inc.
   Breethe, Inc.
   C Consumer Products Denmark ApS, n/k/a Coloplast Konsumerntvarer A/S
   Carlo Erba OTC S.r.l.
   Centocor Biologics, LLC
   Centocor Research & Development, Inc.
   Cerenovus, Inc.
   ChromaGenics B.V.
   Ci:z. Labo Co., Ltd.
   Cilag AG
   Cilag GmbH International
   Cilag Holding AG
   Cilag Holding Treasury Unlimited Company
   Cilag-Biotech, S.L.
   Coherex Medical, Inc.
   ColBar LifeScience Ltd.
   Consumer Test Entity
   Cordis de Mexico, S.A. de C.V.
   Corimmun GmbH
   CoTherix Inc.
   CRES Holdings, Inc.
   CrossRoads Extremity Systems, LLC
   CSATS, Inc.
   Debs-Vogue Corporation (Proprietary) Limited
   DePuy Hellas SA
   DePuy International Limited
   DePuy Ireland Unlimited Company
   DePuy Mexico, S.A. de C.V.
   DePuy Mitek, LLC
   DePuy Orthopaedics, Inc.
   DePuy Products, Inc.
   DePuy Spine, LLC
   DePuy Synthes Institute, LLC
   DePuy Synthes Products, Inc.
   DePuy Synthes Sales, Inc.
   DePuy Synthes, Inc.

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   Dutch Holding LLC
   ECL7, LLC
   EES Holdings de Mexico, S. de R.L. de C.V.
   EES, S.A. de C.V.
   EIT Emerging Implant Technologies GmbH
   Ethicon Endo-Surgery (Europe) GmbH
   Ethicon Endo-Surgery, Inc.
   Ethicon Endo-Surgery, LLC
   Ethicon LLC
   Ethicon Sarl
   Ethicon US, LLC
   Ethicon Women’s Health & Urology Sarl
   Ethicon, Inc.
   Ethnor (Proprietary) Limited
   Ethnor del Istmo S.A.
   Ethnor Farmaceutica, S.A.
   Finsbury (Development) Limited
   Finsbury (Instruments) Limited
   Finsbury Medical Limited
   Finsbury Orthopaedics International Limited
   Finsbury Orthopaedics Limited
   FMS Future Medical System SA
   GATT Technologies B.V.
   GH Biotech Holdings Limited
   Global Investment Participation B.V.
   GMED Healthcare BV
   Guangzhou Bioseal Biotech Co., Ltd.
   Hansen Medical Deutschland GmbH
   Hansen Medical International, Inc.
   Hansen Medical UK Limited
   Hansen Medical, Inc.
   Healthcare Services (Shanghai) Ltd.
   >+ROGFR 7H[DV //&@
   I.D. Acquisition Corp.
   Innomedic Gesellschaft für innovative Medizintechnik und Informatik mbH
   J & J Company West Africa Limited
   J&J Argentina S.A.
   J&J Pension Trustees Limited
   J&J Productos Medicos & Farmaceuticos del Peru S.A.
   J.C. General Services BV
   Janssen Biologics (Ireland) Limited
   Janssen Biologics B.V.
   Janssen BioPharma, LLC
   Janssen Biotech, Inc.
   Janssen Cilag Farmaceutica S.A.
   Janssen Cilag S.p.A.

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   Janssen Cilag SPA
   Janssen Cilag, C.A.
   Janssen Development Finance Unlimited Company
   Janssen Egypt LLC
   Janssen Farmaceutica Portugal Lda
   Janssen France Treasury Unlimited Company
   Janssen Global Services, LLC
   Janssen Holding GmbH
   Janssen Inc.
   Janssen Irish Finance Unlimited Company
   Janssen Japan Treasury Unlimited Company
   Janssen Korea Ltd.
   Janssen Mexico Treasury Unlimited Company
   Janssen Oncology, Inc.
   Janssen Ortho LLC
   Janssen Pharmaceutica (Proprietary) Limited
   Janssen Pharmaceutica NV
   Janssen Pharmaceutica S.A.
   Janssen Pharmaceutical K.K.
   Janssen Pharmaceutical Sciences Unlimited Company
   Janssen Pharmaceutical Unlimited Company
   Janssen Pharmaceuticals, Inc.
   Janssen Products, LP
   Janssen R&D Ireland Unlimited Company
   Janssen Research & Development, LLC
   Janssen Sciences Ireland Unlimited Company
   Janssen Scientific Affairs, LLC
   Janssen Supply Group, LLC
   Janssen Vaccines & Prevention B.V.
   Janssen Vaccines Corp.
   Janssen-Cilag
   Janssen-Cilag (New Zealand) Limited
   Janssen-Cilag A/S
   Janssen-Cilag AG
   Janssen-Cilag Aktiebolag
   Janssen-Cilag AS
   Janssen-Cilag B.V.
   Janssen-Cilag d.o.o. Beograd
   Janssen-Cilag de Mexico S. de R.L. de C.V.
   Janssen-Cilag Farmaceutica Lda.
   Janssen-Cilag Farmaceutica Ltda.
   Janssen-Cilag GmbH
   Janssen-Cilag International NV
   Janssen-Cilag Kft.
   Janssen-Cilag Limited
   Janssen-Cilag Manufacturing, LLC

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   Janssen-Cilag NV
   Janssen-Cilag OY
   Janssen-Cilag Pharma GmbH
   Janssen-Cilag Pharmaceutical S.A.C.I.
   Janssen-Cilag Polska, Sp. z o.o.
   Janssen-Cilag Pty Ltd
   Janssen-Cilag S.A.
   Janssen-Cilag s.r.o.
   Janssen-Cilag, S.A.
   Janssen-Cilag, S.A. de C.V.
   Janssen-Pharma, S.L.
   J-C Health Care Ltd.
   Jevco Holding, Inc.
   JJ Surgical Vision Spain, S.L.
   JJC Acquisition Company B.V.
   JJHC, LLC
   JJSV Belgium BV
   JJSV Manufacturing Malaysia SDN. BHD.
   JJSV Norden AB
   JJSV Produtos Oticos Ltda.
   JNJ Global Business Services s.r.o.
   JNJ Holding EMEA B.V.
   JNJ International Investment LLC
   JNTL (APAC) HoldCo 2 LLC
   JNTL (APAC) HoldCo 3 Pte. Ltd.
   JNTL (APAC) HoldCo LLC
   JNTL (APAC) HoldCo Pte. Ltd.
   JNTL (Japan) HoldCo Inc.
   JNTL (Malaysia) Sdn. Bhd.
   JNTL (Middle East) HoldCo LLC
   JNTL (Puerto Rico) HoldCo GmbH
   JNTL (Shanghai) Investment Co., Ltd.
   JNTL (Switzerland) HoldCo GmbH
   JNTL (Thailand) HoldCo LLC
   JNTL (UK) HoldCo Limited
   JNTL Consumer Health (Belgium) BV
   JNTL Consumer Health (Brazil) Ltda.
   JNTL Consumer Health (Czech Republic) s.r.o.
   JNTL Consumer Health (Dominican Republic), S.A.S.
   JNTL Consumer Health (Finland) Oy
   JNTL Consumer Health (France) SAS
   JNTL Consumer Health (Hungary) Kft
   JNTL Consumer Health (India) Private Limited
   JNTL Consumer Health (New Zealand) Limited
   JNTL Consumer Health (Norway) AS
   JNTL Consumer Health (Philippines) Inc.

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   JNTL Consumer Health (Poland) sp. z o.o.
   JNTL Consumer Health (Portugal) Limitada
   JNTL Consumer Health (Services) LLC
   JNTL Consumer Health (Slovakia), s.r.o.
   JNTL Consumer Health (Spain), S.L.
   JNTL Consumer Health (Taiwan) Limited
   JNTL Consumer Health (Vietnam) Co. Ltd.
   JNTL Consumer Health General Services BV
   JNTL Consumer Health I (Ireland) Limited
   JNTL Consumer Health I (Switzerland) GmbH
   JNTL Consumer Health II (Switzerland) GmbH
   JNTL Consumer Health LLC
   JNTL Consumer Health Mexico, S. de R.L. de C.V.
   JNTL Consumer Health Middle East FZ-LLC
   JNTL HoldCo 2 LLC
   JNTL HoldCo 3 LLC
   JNTL HoldCo 4 LLC
   JNTL HoldCo 5 LLC
   JNTL HoldCo 6 LLC
   JNTL HoldCo 7 LLC
   JNTL HoldCo 8 LLC
   JNTL HoldCo LLC
   JNTL Holdings 2, Inc.
   JNTL Holdings 3, Inc.
   JNTL Holdings B.V.
   JNTL Holdings, Inc.
   JNTL Ireland HoldCo 2 B.V.
   JNTL Netherlands HoldCo B.V.
   JNTL Turkey Tüketici Sağlığı Limited Şirketi
   Johnson & Johnson
   Johnson & Johnson - Societa’ Per Azioni
   Johnson & Johnson (Angola), Limitada
   Johnson & Johnson (Australia) Pty Ltd
   Johnson & Johnson (Canada) Inc.
   Johnson & Johnson (China) Investment Ltd.
   Johnson & Johnson (Ecuador) S.A.
   Johnson & Johnson (Egypt) S.A.E.
   Johnson & Johnson (Hong Kong) Limited
   Johnson & Johnson (Ireland) Limited
   Johnson & Johnson (Jamaica) Limited
   Johnson & Johnson (Kenya) Limited
   Johnson & Johnson (Middle East) Inc.
   Johnson & Johnson (Mozambique), Limitada
   Johnson & Johnson (Namibia) (Proprietary) Limited
   Johnson & Johnson (New Zealand) Limited
   Johnson & Johnson (Philippines), Inc.

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   Johnson & Johnson (Private) Limited
   Johnson & Johnson (Singapore) Holdco LLC
   Johnson & Johnson (Thailand) Ltd.
   Johnson & Johnson (Trinidad) Limited
   Johnson & Johnson (Vietnam) Co., Ltd
   Johnson & Johnson AB
   Johnson & Johnson AG
   Johnson & Johnson Bulgaria EOOD
   Johnson & Johnson China Ltd.
   Johnson & Johnson Consumer (Hong Kong) Limited
   Johnson & Johnson Consumer (Thailand) Limited
   Johnson & Johnson Consumer B.V.
   Johnson & Johnson Consumer Holdings France
   Johnson & Johnson Consumer Inc.
   Johnson & Johnson Consumer NV
   Johnson & Johnson Consumer Saudi Arabia Limited
   Johnson & Johnson Consumer Services EAME Ltd.
   Johnson & Johnson d.o.o.
   Johnson & Johnson de Argentina S.A.C. e. I.
   Johnson & Johnson de Chile S.A.
   Johnson & Johnson de Colombia S.A.
   Johnson & Johnson de Mexico, S.A. de C.V.
   Johnson & Johnson de Uruguay S.A.
   Johnson & Johnson de Venezuela, S.A.
   Johnson & Johnson del Ecuador, S.A.
   Johnson & Johnson Del Paraguay, S.A.
   Johnson & Johnson del Peru S.A.
   Johnson & Johnson do Brasil Industria E Comercio de Produtos Para Saude Ltda.
   Johnson & Johnson Dominicana, S.A.S.
   Johnson & Johnson Enterprise Innovation Inc.
   Johnson & Johnson European Treasury Unlimited Company
   Johnson & Johnson Finance Corporation
   Johnson & Johnson Finance Limited
   Johnson & Johnson Financial Services GmbH
   Johnson & Johnson for Export and Import LLC
   Johnson & Johnson Gateway, LLC
   Johnson & Johnson Gesellschaft m.b.H.
   Johnson & Johnson GmbH
   Johnson & Johnson GT, Sociedad Anónima
   Johnson & Johnson Guatemala, S.A.
   Johnson & Johnson Health and Wellness Solutions, Inc.
   Johnson & Johnson Health Care Systems Inc.
   Johnson & Johnson Hellas Commercial and Industrial S.A.
   Johnson & Johnson Hellas Consumer Products Commercial Societe Anonyme
   Johnson & Johnson Hemisferica S.A.
   Johnson & Johnson Holdco (NA) Inc.

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   Johnson & Johnson Holdco (NA) Inc.
   Johnson & Johnson Holding GmbH
   Johnson & Johnson Holdings (Austria) GmbH
   Johnson & Johnson Inc.
   Johnson & Johnson Industrial Ltda.
   Johnson & Johnson Innovation - JJDC, Inc.
   Johnson & Johnson Innovation Limited
   Johnson & Johnson Innovation LLC
   Johnson & Johnson International
   Johnson & Johnson International (Singapore) Pte. Ltd.
   Johnson & Johnson International Financial Services Unlimited Company
   Johnson & Johnson Irish Finance Company Limited
   Johnson & Johnson K.K.
   Johnson & Johnson Kft.
   Johnson & Johnson Korea Selling & Distribution LLC
   Johnson & Johnson Korea, Ltd.
   Johnson & Johnson Limited
   Johnson & Johnson LLC
   Johnson & Johnson Luxembourg Finance Company Sarl
   Johnson & Johnson Management Limited
   Johnson & Johnson Medical (China) Ltd.
   Johnson & Johnson Medical (Proprietary) Ltd
   Johnson & Johnson Medical (Shanghai) Ltd.
   Johnson & Johnson Medical (Suzhou) Ltd.
   Johnson & Johnson Medical B.V.
   Johnson & Johnson Medical Devices & Diagnostics Group - Latin America, L.L.C.
   Johnson & Johnson Medical GmbH
   Johnson & Johnson Medical Greece Single Member S.A.
   Johnson & Johnson Medical Korea Ltd.
   Johnson & Johnson Medical Limited
   Johnson & Johnson Medical Mexico, S.A. de C.V.
   Johnson & Johnson Medical NV
   Johnson & Johnson Medical Products GmbH
   Johnson & Johnson Medical Pty Ltd
   Johnson & Johnson Medical S.A.
   Johnson & Johnson Medical S.p.A.
   Johnson & Johnson Medical SAS
   Johnson & Johnson Medical Saudi Arabia Limited
   Johnson & Johnson Medical Taiwan Ltd.
   Johnson & Johnson Medical, S.C.S.
   Johnson & Johnson Medikal Sanayi ve Ticaret Limited Sirketi
   Johnson & Johnson MedTech (Thailand) Ltd.
   Johnson & Johnson Medtech Colombia S.A.S.
   Johnson & Johnson Middle East FZ-LLC
   Johnson & Johnson Morocco Societe Anonyme
   Johnson & Johnson Nordic AB

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   Johnson & Johnson Pacific Pty Limited
   Johnson & Johnson Pakistan (Private) Limited
   Johnson & Johnson Panama, S.A.
   Johnson & Johnson Personal Care (Chile) S.A.
   Johnson & Johnson Pharmaceutical Ltd.
   Johnson & Johnson Poland Sp. z o.o.
   Johnson & Johnson Private Limited
   Johnson & Johnson Pte. Ltd.
   Johnson & Johnson Pty. Limited
   Johnson & Johnson Romania S.R.L.
   Johnson & Johnson S.E. d.o.o.
   Johnson & Johnson S.E., Inc.
   Johnson & Johnson Sante Beaute France
   Johnson & Johnson SDN. BHD.
   Johnson & Johnson Services, Inc.
   Johnson & Johnson Surgical Vision India Private Limited
   Johnson & Johnson Surgical Vision, Inc.
   Johnson & Johnson Taiwan Ltd.
   Johnson & Johnson UK Treasury Company Limited
   Johnson & Johnson Ukraine LLC
   Johnson & Johnson Urban Renewal Associates
   Johnson & Johnson Vision Care (Australia) Pty Ltd
   Johnson & Johnson Vision Care (Shanghai) Ltd.
   Johnson & Johnson Vision Care Ireland Unlimited Company
   Johnson & Johnson Vision Care, Inc.
   Johnson & Johnson Vision Korea, Ltd.
   Johnson & Johnson, Lda
   Johnson & Johnson, S.A.
   Johnson & Johnson, S.A. de C.V.
   Johnson & Johnson, s.r.o.
   Johnson & Johnson, s.r.o.
   Johnson and Johnson (Proprietary) Limited
   Johnson and Johnson Sihhi Malzeme Sanayi Ve Ticaret Limited Sirketi
   Johnson Y Johnson de Costa Rica, S.A.
   JOM Pharmaceutical Services, Inc.
   Kenvue Inc.
   La Concha Land Investment Corporation
   LLT Management LLC
   McNeil AB
   McNeil Consumer Pharmaceuticals Co.
   McNeil Denmark ApS
   McNeil Healthcare (Ireland) Limited
   McNeil Healthcare (UK) Limited
   McNeil Healthcare LLC
   McNeil Iberica S.L.U.
   McNeil LA LLC

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   McNEIL MMP, LLC
   McNeil Nutritionals, LLC
   McNeil Panama, LLC
   McNeil Products Limited
   McNeil Sweden AB
   Medical Device Business Services, Inc.
   Medical Devices & Diagnostics Global Services, LLC
   Medical Devices International LLC
   Medos International Sarl
   Medos Sarl
   MegaDyne Medical Products, Inc.
   Menlo Care De Mexico, S.A. de C.V.
   Mentor B.V.
   Mentor Deutschland GmbH
   Mentor Medical Systems B.V.
   Mentor Partnership Holding Company I, LLC
   Mentor Texas GP LLC
   Mentor Texas L.P.
   Mentor Worldwide LLC
   Middlesex Assurance Company Limited
   Momenta Ireland Limited
   Momenta Pharmaceuticals, Inc.
   NeoStrata Company, Inc.
   NeoStrata UG (haftungsbeschränkt)
   Netherlands Holding Company
   Neuravi Limited
   NeuWave Medical, Inc.
   [1HZ+ROGFR 7H[DV //&@
   [1HZ,QWHUPHGLDWH+ROGLQJ&RUS@
   Novira Therapeutics, LLC
   NuVera Medical, Inc.
   Obtech Medical Mexico, S.A. de C.V.
   OBTECH Medical Sarl
   OGX Beauty Limited
   OMJ Holding GmbH
   OMJ Pharmaceuticals, Inc.
   Omrix Biopharmaceuticals Ltd.
   Omrix Biopharmaceuticals NV
   Omrix Biopharmaceuticals, Inc.
   Ortho Biologics LLC
   Ortho Biotech Holding LLC
   Orthospin Ltd.
   Orthotaxy SAS
   Patriot Pharmaceuticals, LLC
   Pecos River Talc LLC
   Peninsula Pharmaceuticals, LLC

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   Percivia LLC
   Pharmadirect Ltd.
   Pharmedica Laboratories (Proprietary) Limited
   preCARDIA, Inc.
   Princeton Laboratories, Inc.
   Productos de Cuidado Personal y de La Salud de Bolivia S.R.L.
   Proleader S.A.
   Prosidyan, Inc.
   PT Integrated Healthcare Indonesia
   PT Johnson & Johnson Indonesia
   PT Johnson and Johnson Indonesia Two
   Pulsar Vascular, Inc.
   Regency Urban Renewal Associates
   RespiVert Ltd.
   Review Manager Test Entity 2
   Royalty A&M LLC
   Royalty A&M LLC
   Rutan Realty LLC
   Scios LLC
   Serhum S.A. de C.V.
   Shanghai Elsker Mother & Baby Co., Ltd
   Shanghai Johnson & Johnson Ltd.
   Shanghai Johnson & Johnson Pharmaceuticals Ltd.
   Sodiac ESV
   Spectrum Vision Limited Liability Company
   Spectrum Vision Limited Liability Partnership
   SterilMed, Inc.
   Surgical Process Institute Deutschland GmbH
   Synthes Costa Rica S.C.R., Limitada
   SYNTHES GmbH
   Synthes GmbH
   Synthes Holding AG
   Synthes Holding Limited
   SYNTHES Medical Immobilien GmbH
   Synthes Medical Surgical Equipment & Instruments Trading LLC
   Synthes Produktions GmbH
   Synthes Proprietary Limited
   Synthes S.M.P., S. de R.L. de C.V.
   Synthes Tuttlingen GmbH
   Synthes USA Products, LLC
   Synthes USA, LLC
   Synthes, Inc.
   TARIS Biomedical LLC
   TearScience, Inc.
   The Anspach Effort, LLC
   The Vision Care Institute, LLC

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   Tibotec, LLC
   Torax Medical, Inc.
   UAB “Johnson & Johnson”
   Vania Expansion
   Verb Surgical Inc.
   Vision Care Finance Unlimited Company
   Vogue International LLC
   WH4110 Development Company, L.L.C.
   Xian Janssen Pharmaceutical Ltd.
   XO1 Limited
   Zarbee’s, Inc.




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                                   SCHEDULE 2

                               ,PHU\V&\SUXV3DUWLHV

                              ,PHU\V&RUSRUDWH3DUWLHV

   &855(17$)),/,$7(6

   x   AKROTIRIO THAHILAS DYO S.A.
   x   ALMATECH MINERAL INTERNATIONAL LTD
   x   ALUMICA CANADA INC.
   x   AMERICARB, INC.
   x   ARDOISIERES D’ANGERS
   x   ARTEMYN
   x   ARTEMYN ARG S.A.
   x   ARTEMYN ASIA PACIFIC PTE. LTD.
   x   ARTEMYN GELGIUM
   x   ARTEMYN BRAZIL LTDA
   x   AUSTRALIAN VERMICULITE INDUSTRIES (PTY) LTD
   x   BERG MINERALS CANADA INC.
   x   BERG MINERALS TRADING (SHANGHAI) CO., LTD
   x   BERG MINERALS UK LIMITED
   x   CALDERYS ALGERIE SPA
   x   CALDERYS REFRACTARIOS VENEZOLANOS SA
   x   CALDERYS USA, INC.
   x   CEBO HOLLAND B.V.
   x   CEBO INTERNATIONAL B.V.
   x   CEBO MARINE B.V.
   x   CEBO UK LIMITED
   x   DONBASSKERAMIKA
   x   DONKAOLIN
   x   ECCA HOLDINGS (PTY) LTD
   x   ECCA MINERALS (PTY) LTD
   x   ECO-BOS DEVELOPMENT LIMITED
   x   FOKIS MINING PARK
   x   GEORGIA PROPPANTS LLC (f.k.a. US CERAMICS LLC)
   x   GIMPEX-IMERYS INDIA PRIVATE LTD
   x   GUIYANG JIANAI SPECIAL ALUMINATES
   x   HARBORLITE AEGEAN ENDUSTRI MINERALLERI SANAYI A.S.
   x   IMERTECH
   x   IMERYS
   x   IMERYS (SHANGHAI) INVESTMENT MANAGEMENT CO., LTD
   x   IMERYS ADMINISTRATIVE GERMANY GMBH
   x   IMERYS AL ZAYANI FUSED MINERALS CO. W.L.L.
   x   IMERYS ALMERIA, SA DE CV
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   x   IMERYS ALMERIA DIATOMITA CONCESIONES ZACOALCO S.A. de C.V.
   x   IMERYS ALUMINATES CORPORATE (f.k.a. KERNEOS CORPORATE SAS)
   x   IMERYS ALUMINATES GROUPE (f.k.a. KERNEOS GROUP SAS)
   x   IMERYS ALUMINATES LIMITED
   x   IMERYS ALUMINATES SA
   x   IMERYS ASIA PACIFIC PTE LTD
   x   IMERYS BAUXITE SA (f.k.a. ELMIN BAUXITES SA)
   x   IMERYS BELGIUM SA
   x   IMERYS BENTONITE GEORGIA LTD
   x   IMERYS BENTONITE HUNGARY KFT
   x   IMERYS CANADA INC.
   x   IMERYS CARBONATES (THAILAND), LTD
   x   IMERYS CARBONATES AUSTRIA GMBH
   x   IMERYS CARBONATES INDIA LIMITED
   x   IMERYS CARBONATES USA, INC.
   x   IMERYS CERAMICS (INDIA) PRIVATE LIMITED
   x   IMERYS CERAMICS (THAILAND) LTD
   x   IMERYS CERAMICS BRASIL MINERAIS PARA CERAMICAS LTDA
   x   IMERYS CERAMICS EGYPT
   x   IMERYS CERAMICS FRANCE
   x   IMERYS CERAMICS ITALY S.R.L.
   x   IMERYS CERAMICS MEXICO SA DE CV
   x   IMERYS CERAMICS NEW ZEALAND
   x   IMERYS CERAMICS PORTUGAL, SA
   x   IMERYS CLAYS, INC.
   x   IMERYS CLERAC (f.k.a. IMERYS REFRACTORY MINERALS CLERAC)
   x   IMERYS CZECH REPUBLIC S.R.O.
   x   IMERYS DIATOMITA ALICANTE, S.A.
   x   IMERYS DO BRASIL COMERCIO DE EXTRAÇAO DE MINÉRIOS
   x   IMERYS DOMODOSSOLA S.P.A. (f.k.a. IMERYS FUSED MINERALS
       DOMODOSSOLA S.P.A.)
   x   IMERYS DORTMUND GMBH (f.k.a. S&B HOLDING GMBH)
   x   IMERYS FILTRATION FRANCE
   x   IMERYS FILTRATION MINERALS, INC.
   x   IMERYS FUSED MINERALS (YINGKOU) CO., LTD
   x   IMERYS FUSED MINERALS FRANCE SARL
   x   IMERYS FUSED MINERALS GUIZHOU CO. LTD
   x   IMERYS FUSED MINERALS SALTO LTDA
   x   IMERYS GLOMEL (f.k.a. IMERYS REFRACTORY MINERALS GLOMEL)
   x   IMERYS GRAPHITE & CARBON BELGIUM SA
   x   IMERYS GRAPHITE & CARBON CANADA INC.
   x   IMERYS GRAPHITE & CARBON JAPAN KK
   x   IMERYS GRAPHITE & CARBON KOREA
   x   IMERYS GRAPHITE & CARBON SWITZERLAND SA

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   x   IMERYS GREENELLE ONE
   x   IMERYS GREENELLE TWO
   x   IMERYS GREENEVILLE, INC. (f.k.a. IMERYS FUSED MINERALS GREENEVILLE,
       INC.)
   x   IMERYS HIGH RESISTANCE MINERALS JAPAN KK
   x   IMERYS INDUSTRIAL MINERALS DENMARK A/S
   x   IMERYS INDUSTRIAL MINERALS GREECE S.A.
   x   IMERYS KAOLIN, INC.
   x   IMERYS KILN FURNITURE (THAILAND) CO. LTD
   x   IMERYS KILN FURNITURE HUNGRY KFT.
   x   IMERYS KILN FURNITURE ESPAÑA, SA
   x   IMERYS LAUFENBURG GMBH (f.k.a. IMERYS FUSED MINERALS LAUFENBURG
       GMBH)
   x   IMERYS LITHIUM FRANCE (f.k.a. PARNASSE TRENTE DEUX)
   x   IMERYS MICA KINGS MOUTAIN, INC.
   x   IMERYS MIDDLE EAST HOLDING COMPANY W.L.L.
   x   IMERYS MINERAL AB
   x   IMERYS MINERAL ARABIA LLC
   x   IMERYS MINERALES ARGENTINA S.A.
   x   IMERYS MINERALES CHILE SPA
   x   IMERYS MINERALES PERU SAC
   x   IMERYS MINERALI CORSICO SRL
   x   IMERYS MINERALI SPA
   x   IMERYS MINERALS (INDIA) PRIVATE LIMITED
   x   IMERYS MINERALS (TAIWAN) LTD
   x   IMERYS MINERALS (THAILAND) LTD
   x   IMERYS MINERALS BULGARIA AD
   x   IMERYS MINERALS CHINA, INC.
   x   IMERYS MINERALS GMBH
   x   IMERYS MINERALS HOLDING LIMITED
   x   IMERYS MINERALS INTERNATIONAL SALES.
   x   IMERYS MINERALS JAPAN KK
   x   IMERYS MINERALS KOREA LTD
   x   IMERYS MINERALS LTD
   x   IMERYS MINERALS MALAYSIA SDN. BHD.
   x   IMERYS MINERALS NETHERLANDS B.V.
   x   IMERYS MINERALS OY
   x   IMERYS MINERALS VIETNAM LIMITED
   x   IMERYS MINERAUX BELGIQUE SA
   x   IMERYS MINÉRAUX FRANCE
   x   IMERYS MURG GMBH (f.k.a. IMERYS FUSED MINERALS MURG GMBH)
   x   IMERYS NEWQUEST (INDIA) PRIVATE LIMITED
   x   IMERYS NIAGARA FALLS, INC. (f.k.a. IMERYS FUSED MINERALS NIAGARA
       FALLS, INC.)

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   x   IMERYS NORFOLK, INC. (f.k.a. KERNEOS INC.)
   x   IMERYS OILFIELD MINERALS, INC.
   x   IMERYS PACIFIC LTD
   x   IMERYS PCC FRANCE
   x   IMERYS PCC UK
   x   IMERYS PERFORMANCE AND FILTRATION MINERALS PRIVATE LIMITED
   x   IMERYS PERFORMANCE MINERALS AMERICAS, INC. (f.k.a. IMERTECH USA,
       INC.)
   x   IMERYS PERLITA BARCELONA, S.A.
   x   IMERYS PERLITE SARDINIA S.R.L.
   x   IMERYS PERLITE USA, INC.
   x   IMERYS PIGMENTS (QINGYANG) CO., LTD
   x   IMERYS PIGMENTS (WUHU) CO., LTD
   x   IMERYS POLAND S.P. Z.O.O.
   x   IMERYS RE
   x   IMERYS REFRACTORY MINERALS SOUTH AFRICA (PTY) LTD
   x   IMERYS REFRACTORY MINERALS USA, INC.
   x   IMERYS RICHARDS BAY (PTY) LTD (f.k.a. KERNEOS SOUTHERN AFRICA PTY
       LTD)
   x   IMERYS RIO CAPIM CAULIM S.A.
   x   IMERYS ROCA RODANDO CONCESIONES HMO, S.A. de C.V.
   x   IMERYS SERAMIK HAMMADDELERI SANAYI VE TICARET LIMITED SIRKETI
   x   IMERYS SERVICES
   x   IMERYS SERVICES GERMANY GMBH & CO. KG
   x   IMERYS SERVICES GREECE
   x   IMERYS SOUTH AFRICA (PTY) LTD
   x   IMERYS SOUTH EUROPE, S.L.
   x   IMERYS SPECIALITIES JAPAN CO., LTD
   x   IMERYS TABLEWARE DEUTSCHLAND GMBH
   x   IMERYS TABLEWARE FRANCE
   x   IMERYS TALC AMERICA, INC.
   x   IMERYS TALC AUSTRALIA PTY LTD
   x   IMERYS TALC AUSTRIA GMBH
   x   IMERYS TALC BELGIUM
   x   IMERYS TALC CANADA INC.
   x   IMERYS TALC EUROPE
   x   IMERYS TALC FINLAND OY
   x   IMERYS TALC GERMANY GMBH
   x   IMERYS TALC ITALY S.P.A. 1
   x   IMERYS TALC LUZENAC FRANCE
   x   IMERYS TALC MEXICO, SA DE CV
   x   IMERYS TALC UK HOLDING LTD

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       Imerys Talc Italy S.p.A. is only an Imerys/Cyprus Party to the extent it does not commence a bankruptcy case.

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   x   IMERYS TALC VERMONT, INC.
   x   IMERYS TEUTSCHENTAL (f.k.a. IMERYS FUSED MINERALS TEUTSCHENTHAL
       GMBH)
   x   IMERYS TRADING MINERALS EGYPT
   x   IMERYS TRUSTEES LTD
   x   IMERYS UK FINANCE LIMITED
   x   IMERYS UK LTD
   x   IMERYS UK PENSION FUND TRUSTEES LTD
   x   IMERYS USA, INC.
   x   IMERYS VILLACH GMBH (f.k.a. IMERYS FUSED MINERALS VILLACH GMBH)
   x   IMERYS VIZAG PRIVATE LIMITED (f.k.a. KERNEOS INDIA ALUMINATE
       TECHNOLOGIES PRIVATE LIMITED)
   x   IMERYS WOLLASTONITE USA, LLC
   x   IMERYS ZHEJIANG ZIRCONIA CO., LTD
   x   IMERYS ZSCHORNEWITZ GMBH (f.k.a. IMERYS FUSED MINERALS
       ZSCHORNEWITZ GMBH)
   x   INDUSTRIA MACINAZIONE MINERALI PER L’INDUSTRIA CERAMICA S.P.A
   x   INDUSTRIAL MINERALS OF GREECE
   x   INSTALACIONES REFRACTARIAS C.A.
   x   ISOCON S.A.
   x   KENTUCKY-TENNESSEE CLAY COMPANY
   x   KERNEOS (CHINA) ALUMINATE TECHNOLOGIES CO., LTD
   x   KERNEOS AUSTRALIA PTY LTD
   x   KERNEOS INDIA ALUMINATE PRIVATE LIMITED
   x   KINTA POWDERTEC SDN. BHD
   x   LATOMIA N. KORAKAS SA
   x   LAVIOSA CHIMICA MINERARIA SPA
   x   LAVIOSA PROMASA S.A.
   x   LINJIANG IMERYS DIATOMITE CO., LTD
   x   LIQUID QUIMICA MEXICANA, SA DE CV
   x   LLC IMERYS ALUMINATES
   x   METALLEION METALLEYMATON
   x   MICRON-ITA MINERACAO LTDA
   x   MIKRO MINERAL ENDUSTRIYEL MINERALLER SANAYI VE TICARET A.S.
   x   MILOS INITIATIVE
   x   MILOS MINING MUSEUM
   x   MINERA ROCA RODANDO S.DE R.L. DE C.V.
   x   MINERAL RESOURCES DEVELOPMENT (M.R.D.) CO. LTD
   x   MINVEN - (C-E MINERALES DE VENEZUELA)
   x   MIRCAL
   x   MIRCAL BRESIL
   x   MIRCAL DE MEXICO SA DE CV
   x   MIRCAL ITALIA SPA
   x   MONREFCO GMBH

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   x   MRD-ECC CO. LTD
   x   MSL MINERAIS S.A.
   x   NIIGATA GCC LTD
   x   NIPPON POWER GRAPHITE CO., LTD
   x   NORTH AFRICAN INDUSTRIAL MINERAL EXPLORATION SARL - NAIMEX
   x   NYCO MINERALS, LLC
   x   PARIMETAL
   x   PERAMIN AB
   x   PLIBRICO INSTALLACIONES REFRACTARIAS
   x   PPSA
   x   PT ESENSINDO CIPTA CEMERLANG
   x   PT IMERYS CERAMICS INDONESIA
   x   PYRAMAX CERAMICS SOUTHEAST, LLC
   x   QUARTZ CORP (SHANGHAÏ) CO., LTD
   x   RECLAYM LIMITED
   x   REFRACTORY MINERALS (PTY) LTD
   x   RESEARCH BY BRITISH LITHIUM LIMITED
   x   S&B INDUSTRIAL MINERALS MOROCCO S.A.R.L.
   x   S&B INDUSTRIAL MINERALS SPAIN S.L.U.
   x   S&B MINERALS FINANCE SARL
   x   S&B MINERALS PARTICIPATIONS SARL
   x   SAMREC (PTY) LTD
   x   SHANDONG IMERYS MOUNT TAI CO., LTD
   x   SIBIMIN OVERSEAS LTD
   x   THE QUARTZ CORP AS
   x   THE QUARTZ CORP SAS
   x   THE QUARTZ CORP USA
   x   TYGERKLOOF MINING (PTY) LTD
   x   VATUTINSKY KOMBINAT VOGNETRYVIV
   x   VERMICULITA Y DERIVADOS, SL
   x   VOUGIOUKLI QUARRIES AVEE
   x   XINYANG ATHENIAN MINING CO., LTD
   x   YBB CALCIUM PRODUCTS CO. LTD
   x   YUEYANG IMERYS ANTAI MINERALS CO., LTD
   x   ZAPATOS DE MEXICALI, S.A. DE C.V.
   x   ZHENGZHOU JIANAI SPECIAL ALUMINATES CO., LTD

   )250(5$)),/,$7(6

   x   000 CALDERYS
   x   11656490 CANADA INC.
   x   ADVANCED MINERALS CORPORATION
   x   AFRICA REFRACTORY CONSULTANTS (PTY) LTD
   x   AKROTIRIO TRAHILAS TRIA S.A.

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   x   AMERICAN TRIPOLI, INC.
   x   AMMIN HOLDINGS, INC.
   x   ANADOLU PERLIT MEDENCILIK SANAYI
   x   ARC FUSED ALUMINA
   x   ARDOISE ET JARDIN
   x   AREFCON B.V.
   x   AREFCON HISMA B.V.
   x   ASSOS MERMER SANAYI VE TICARET LTD SIRKETI
   x   B & B REFRACTORY SERVICES PTY LTD
   x   BAOTOU JINGYUAN GRAPHITE CO., LTD
   x   BLX TRADING SAS
   x   CALDERYS ALGERIE SERVICES SPA
   x   CALDERYS AUSTRALIA PTY LTDCALDERYS AUSTRIA GMBH
   x   CALDERYS BELGIUM
   x   CALDERYS CHINA
   x   CALDERYS CHINA CO., LTD
   x   CALDERYS CZECH S.R.O
   x   CALDERYS DANMARK A/S
   x   CALDERYS DE MEXICO SA DE CV
   x   CALDERYS DEUTSCHLAND GMBH
   x   CALDERYS FINLAND OY
   x   CALDERYS FRANCE
   x   CALDERYS IBERICA REFRACTARIOS, SA
   x   CALDERYS INDIA REFRACTORIES LIMITED
   x   CALDERYS ITALIA SRL
   x   CALDERYS JAPAN CO., LTD
   x   CALDERYS KOREA CO. LTD
   x   CALDERYS MAGYARORSZAG K.F.T. (HUNGARY)
   x   CALDERYS NGJ LIMITED
   x   CALDERYS NORDIC AB
   x   CALDERYS NORWAY AS
   x   CALDERYS POLSKA SP. Z.O.O.
   x   CALDERYS SOUTH AFRICA (PTY) LTD
   x   CALDERYS TAIWAN CO LTD
   x   CALDERYS THE NETHERLANDS B.V.
   x   CALDERYS UKRAINE LTD
   x   CALDERYS UK LTD
   x   CALDERYS USA LLC
   x   CAPTELIA
   x   CARBONATOS ANDINOS SA
   x   C-E NEWELL, INC.
   x   CELITE MEXICANA, SA DE CV
   x   CHANGBAI CELITE DIATOMITE CO., LTD
   x   CHARGES MINERALES DU PERIGORD - CMP

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   x   CHOICEWISE LIMITED
   x   CONDIMENTUM OY
   x   COVEO
   x   DALIAN JINSHENG FINE CHEMICAL INDUSTRY CO., LTD
   x   DAMOLIN ETRECHY
   x   DAMOLIN GMBH
   x   DAMOLIN INVESTMENT A/S
   x   DOLPHIN FELDSPAR PRIVATE LIMITED
   x   DOYET TERRE CUITE
   x   ECC OVERSEAS INVESTMENTS LTD
   x   ECC PACIFIC (AUSTRALIA) PTY LTD
   x   ECCA CALCIUM PRODUCTS, INC.
   x   EDWIN H. BRADLEY HOLDINGS LTD
   x   ELMIN BAUXITES S.R.L.
   x   ENGLISH CHINA CLAYS LTD
   x   EUROARGILLE
   x   EUROPE COMMERCE REFRACTORY
   x   FAGERSTA ELDFASTA AB
   x   FEL-MAC COMPANY LLC
   x   FIBERLEAN TECNOLOGIA E SOLUCOES EIRELI
   x   FIBERLEAN TECHNOLOGIE LIMITED
   x   FIBERLEAN TECHNOLOGIE NA INC.
   x   GOONAMARRIS LIMITED
   x   GRAN BIANCO CARRARA SRL
   x   GUIZHOU S&B NEW-TYPE MATERIALS CO., LTD
   x   GUIZHOU STAR MINERALS CO., LTD
   x   GUNUNG IMBANGAN SDN. BHD
   x   HARBORLITE (UK) LTD
   x   HAZNEDAR DURER DI? T?CARET A.? (f.k.a. VENDER ENDÜSTRIYEL
       MALZEMELERI TICARET A.S.)
   x   HAZNEDAR DURER REFRAKTER MALZEMELERI SANAYI VE TICARET A.S.
   x   HAZNEDAR GMBH
   x   HJM INDUSTRIES SDN. BHD
   x   IGM FOR FIBRE GLASS
   x   IMERPLAST UK LIMITED
   x   IMERYS (SHANGHAÏ) FILTRATION MINERALS TRADING CO., LTD
   x   IMERYS ADVANCED MATERIALS (YINGKOU) CO., LTD
   x   IMERYS ALÜMINÄT DIS TICARET
   x   IMERYS ALUMINATES ASIA PACIFIC PTE LTD
   x   IMERYS ALUMINATES GMBH
   x   IMERYS ALUMINATES ITALIA S.R.L.
   x   IMERYS ALUMINATES NORDIC AB
   x   IMERYS ARGENTINA SRL
   x   IMERYS BENTONITE ITALY S.P.A.

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   x   IMERYS BENTONITE USA, LLC
   x   IMERYS CALCIUM SOLUTIONS AUSTRIA GMBH
   x   IMERYS CANADA 2004, INC.
   x   IMERYS CANADA LP
   x   IMERYS CARBONATES LLC
   x   IMERYS CERAMICS ESPAÑA
   x   IMERYS CERAMICS ITALIA
   x   IMERYS CSI SWITZERLAND SAGL
   x   IMERYS DIATOMITA MEXICO, SA DE CV
   x   IMERYS FINE CHEMICAL (CHANGSHU) CO., LTD
   x   IMERYS FUSED MINERALS (TAICANG) CO., LTD
   x   IMERYS FUSED MINERALS (ZIBO) CO., LTD
   x   IMERYS FUSED MINERALS HULL LIMITED
   x   IMERYS GECKO GRAPHITE (NAMIBIA) (PTY) LTD
   x   IMERYS GECKO HOLDING (NAMIBIA) (PTY) LTD
   x   IMERYS GECKO OKANJANDE MINING (PTY) LTD
   x   IMERYS GRAPHITE & CARBON (CHANGZHOU) CO., LTD
   x   IMERYS GRAPHITE & CARBON GERMANY GMBH
   x   IMERYS GRAPHITE & CARBON USA, INC.
   x   IMERYS ITATEX SOLUCOES MINERAIS LTDA
   x   IMERYS KAOLIN BELGIUM
   x   IMERYS KILN FURNITURE FRANCE
   x   IMERYS METALCASTING FRANCE SARL
   x   IMERYS METALCASTING GERMANY GMBH
   x   IMERYS MICA SUZORITE INC.
   x   IMERYS MINERALES ESPANA, S.L.
   x   IMERYS MINERALES PERU S.A.C.
   x   IMERYS MINERALES SANTIAGO LIMITADA
   x   IMERYS MINERALI GAMALERO SRL
   x   IMERYS MINERALS (HEZHOU) CO., LTD
   x   IMERYS MINERALS AUSTRALIA PTY LTD
   x   IMERYS MINERALS CALIFORNIA, INC.
   x   IMERYS MINERALS HONG KONG LIMITED
   x   IMERYS MINERALS USA, INC.
   x   IMERYS MINERAUX DE TUNISIE “IMT”
   x   IMERYS MINING DEVELOPMENT (QINGYANG) CO., LTD
   x   IMERYS PAPER CARBONATES LLC
   x   IMERYS PARTICIPACOES LTDA
   x   IMERYS PERLITA PAULINIA MINERAIS LTDA
   x   IMERYS PIGMENTS TRADING (SHANGHAI) CO., LTD
   x   IMERYS PIGMENTS, INC.
   x   IMERYS REFRACTARIOS PARTICIPACOES MONTE DOURADO LTDA
   x   IMERYS REFRACTORY MINERALS INTERNATIONAL SALES
   x   IMERYS REFRACTORY MINERALS JAPAN KK

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   x   IMERYS STEELCASTING DO BRASIL LTDA
   x   IMERYS STEELCASTING INDIA PRIVATE LIMITED
   x   IMERYS STEELCASTING USA, INC.
   x   IMERYS TABLEWARE BALKANS SRL
   x   IMERYS TABLEWARE CR S.R.O.
   x   IMERYS TABLEWARE GUANGZHOU CO., LTD
   x   IMERYS TABLEWARE NEW ZEALAND LTD
   x   IMERYS TALC CALIFORNIA, INC.
   x   IMERYS TALC DELAWARE, INC.
   x   IMERYS TALC OHIO, INC.
   x   IMERYS TALC SPAIN, S.A.
   x   IMERYS TC
   x   IMERYS TCSI SWITZERLAND SAGK
   x   IMERYS TECHNOLOGY CENTER AUSTRIA GMBH
   x   IMERYS TOITURE BELGIE N.V.
   x   IMERYS VOSTOK
   x   IMERYS WINDFARM PROJECT LTD
   x   IMERYS YILONG ANDALUSITE (XINJIANG) CO, LTD
   x   IMPALA ADMINCO LTD
   x   INDUSTRIALMIN
   x   ITACA S.R.L.
   x   KAOLIN AUSTRALIA PTY LTD
   x   KAOLINS DE NOZAY (SOCIÉTÉ ANONYME DES)
   x   KAOPOLITE, INC.
   x   KERAPLAN GMBH
   x   KERN TECH 1
   x   KERN TECH 2
   x   KERN TECH 3
   x   KERNEOS DE MEXICO SA DE CV
   x   KERNEOS DO BRASIL COMERCIAL LTDA
   x   KERNEOS ESPANA SL
   x   KERNEOS HOLDING GROUP SAS
   x   KERNEOS HOLDING NORTH AMERICA, INC.
   x   KERNEOS HOLDING NORTHERN EUROPE LIMITED
   x   KERNEOS POLSKA SP. Z.O.O.
   x   KERNEOS SERVICIOS SA DE CV
   x   KILITEAM V
   x   KORUND D.O.O.
   x   KPCL K.V.S.
   x   LA FRANCAISE DES TUILES ET BRIQUES
   x   L-IMERYS INDUSTRIA E COMERCIO DE CAL LTDA
   x   LUXOL PHOTOVOLTAICS SN
   x   LUZENAC MICRO MILLING LIMITED
   x   MAGEMO SCI

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   x   MASSA MINERALI SRL
   x   MATISCO DEVELOPPEMENT
   x   METRAMCO (PTY) LTD
   x   MICRON-ITA INDUSTRIA E COMERCIO DE MINERAIS LTDA
   x   MINERAL HOLDINGS, INC.
   x   MINERALIEN SCHIFFAHRT SPEDITION UND TRANSPORT GMBH - MST
   x   MINERALS MILLING TUNISIA
   x   MINERALS TRADING, INC.
   x   MIRCAL ARGENTINA SRL
   x   MIRCAL ASIA
   x   MIRCAL AUSTRALIA PTY LTD
   x   MIRCAL CHILI
   x   MIRCAL EUROPE
   x   MIRCAL TALC HOLDING
   x   MSL OVERSEAS LTD
   x   MULLITE COMPANY OF AMERICA - MULCOA
   x   N.G. JOHNSON (NORTHERN) HOLDINGS LIMITED
   x   N.G. JOHNSON LIMITED
   x   NIZEROLLES
   x   NYCO MINERALS CANADA, INC.
   x   ORGANIK MADENCILIK AS
   x   PABALK MADEN SANAYI VE TICARET A.S.
   x   PANSHI HUANYU WOLLASTONITE CO., LTD
   x   PARNASSE TRENTE ET UN
   x   PARNASSE TRENTE TROIS
   x   PARNASSE VINGT DEUX
   x   PERGEM MINERAL MADENCILIK SANAYI VE TICARET AS
   x   PERU MINERALS CORPORATION
   x   PERUCO, INC.
   x   PGB SA
   x   PLIBRICO LTD
   x   PLR REFRACTAIRES SAS U
   x   PPSA OVERSEAS LTD
   x   PROFIMO
   x   PROPERTY COMPANY ONE
   x   PROPERTY COMPANY TWO
   x   PT BINAH SURINDAH CEMERLANG
   x   PT INDOPORLEN
   x   PT INDOPORLEN SAKTI
   x   PT STOLLBERG - SAMIL INDONESIA
   x   PYRAMAX CERAMICS ARKANSAS, LLC
   x   PYRAMAX CERAMICS, LLC
   x   QA REFRACTORIES (PTY) LTD
   x   QINGDAO STOLLBERG & SAMIL CO., LTD

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   x   QS ABRASIVI MARENGO SRL
   x   QUARTZ DE MAURITANIE SA
   x   RECURSOS MINERALES DEL NORTE, SA DE CV
   x   RT 043 MINERACAO LTDA
   x   RUMICO FEUERFESTE BAUSTOFFE GMBH
   x   S&B BENTONITE CHAOYANG CO., LTD
   x   S&B ENDUSTRIYEL MINERALLER A.S.
   x   S&B INDUSTRIAL MINERALS (HENAN) CO., LTD
   x   S&B INDUSTRIAL MINERALS (SHANGHAI) CO., LTD
   x   S&B INDUSTRIAL MINERALS (TIANJIN) CO., LTD
   x   S&B MINERALS LIMITED
   x   S&B MINERALS PARTICIPATIONS 2 SARL
   x   S&B MINERALS PARTICIPATIONS LLC
   x   S&B MINERALS US HOLDING GMBH
   x   S&B MINERALS VERWALTUNG GMBH
   x   S&B WINES S.A.
   x   SAMREC VERMICULITE (ZIMBABWE) ( PRIVATE) LTD
   x   SCEA STE COLOMBE
   x   SCOVER PLUS
   x   SEG
   x   SET LININGS GMBH
   x   SIDEX MONOLITHIQUES SRL
   x   SILLA DE PAITA S.A.C.
   x   SLS BAUSTOFFE GESELLSCHAFT MBH
   x   SOCIEDAD MINERA CELITE DEL PERU SA
   x   SOCIETE DE VALORISATION DES MINERAUX INDUSTRIELS SAS
   x   SOTRIVAL
   x   SPRINDEALS SIX PTY LTD
   x   STOLLBERG & SAMI CO., LTD
   x   SUNWARD REFRACTORIES CO., LTD.
   x   TALIMMO
   x   TENNESSEE ELECTRO MINERALS, INC. - TECO
   x   TERMORAK AB
   x   TERMORAK OY
   x   TERMORAK (THAILAND) CO LTD
   x   TOKAI CERAMICS CO., LTD
   x   TREIBACHER SCHLEIFMITTEL ABRASIVES KAILI CO., LTD
   x   TREIBACHER SCHLEIFMITTEL ASIA LTD
   x   TREIBACHER SCHLEIFMITTEL INTERNATIONALE VERTRIEBS MBH
   x   TREIBACHER SCHLEIFMITTEL ITALIA P. MAROZZI & CO SAS
   x   UCM GROUP LTD
   x   UCM MAGNESIA, INC.
   x   UNITEC CERAMICS LIMITED
   x   VERMICULITE INTERNATIONAL SALES

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   x   WORLD MINERALS AMERICA LATINA, SA
   x   WORLD MINERALS USD LLC
   x   WORLD MINERALS USD SARL
   x   ZHENGZHOU TREIBACHER SCHLEIFMITTEL TENGDA ABRASIVES CO., LTD




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                                  Rio Tinto Corporate Parties

   x   10029734 Canada Inc.
   x   1043802 Ontario Ltd
   x   10676276 Canada Inc.
   x   10676284 Canada Inc.
   x   11091905 Canada Inc.
   x   1109723 B.C. Ltd.
   x   201 Logistics Center, LLC
   x   46106 YUKON INC.
   x   46117 YUKON INC.
   x   535630 YUKON INC.
   x   7600 West Center, LLC
   x   7999674 CANADA INC.
   x   AGM Holding Company Pte. Ltd.
   x   Alcan Alumina Ltda.
   x   Alcan Asia Limited
   x   Alcan Betriebs- und Verwaltungsgesellschaft GmbH
   x   Alcan Chemicals Limited
   x   Alcan Composites Brasil Ltda
   x   Alcan Corporation
   x   Alcan Farms Limited
   x   Alcan Finances USA LLC
   x   Alcan Gove Development Pty Limited
   x   Alcan Holdings Australia Pty Limited
   x   Alcan Holdings Europe B.V.
   x   Alcan Holdings Nederland B.V.
   x   Alcan Holdings Switzerland AG (SA/Ltd.)
   x   Alcan International Network U.S.A. Inc.
   x   Alcan Lebensmittelverpackungen GmbH
   x   Alcan Management Services (Shanghai) Co., Ltd.
   x   Alcan Management Services Canada Limited / Societe de Services de Gestion Alcan Canada
       Limitee
   x   Alcan Northern Territory Alumina Pty Limited
   x   Alcan Packaging Mühltal Gmbh & Co. KG
   x   Alcan Primary Metal Australia Pty Ltd
   x   Alcan Primary Products Company LLC
   x   Alcan Primary Products Corporation
   x   Alcan Realty Limited / Societe Immobiliere Alcan Limitee
   x   Alcan South Pacific Pty Ltd
   x   Alcan Trading AG (SA/Ltd.)
   x   Alufluor AB
   x   Aluminerie Alouette Inc.
   x   Aluminerie De Bécancour, Inc.

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   x   Aluminium & Chemie Rotterdam B.V.
   x   Aluminium Pechiney
   x   Aluminum Company of Canada Limited / Aluminium du Canada Limitee
   x   AML Properties Pty Ltd
   x   Anglesey Aluminium Metal Limited
   x   AP Service
   x   Argyle Diamond Mines Pty Limited
   x   Argyle Diamonds Limited
   x   Ashton Mining Pty Ltd
   x   Ashton Nominees Pty Limited
   x   Asia Gold Mongolia LLC
   x   Asia Naran Bulag LLC
   x   Asia Now Resources Corp
   x   Australian Coal Holdings Pty. Limited
   x   Australian Mining & Smelting Pty Ltd
   x   Balkhash Saryshagan LLP
   x   Bao-HI Ranges Joint Venture
   x   Beasley River Joint Venture
   x   Beasley River Management Pty Limited
   x   Beasley River Marketing Pty Ltd
   x   Beasley River Mining Pty Limited
   x   Beijing Iron Ore Trading Centre Corporation
   x   Bektau B.V.
   x   Boké Investment Company
   x   Boke Personnel Limited
   x   Boké Services Company SA
   x   Boké Services Management, Inc.
   x   Boké Trading Inc.
   x   Borax España, S.A.
   x   Borax Europe Limited
   x   Borax Francais
   x   Borax Malaysia Sdn Bhd
   x   Borax Rotterdam N.V.
   x   Boyne Smelters Limited
   x   British Alcan Aluminium Limited
   x   C.V.G. Bauxilum C.A.
   x   Canning Resources Pty Limited
   x   CanPacific Potash Inc.
   x   Cape Bougainville Joint Venture
   x   Capricorn Diamonds Investments Pty Limited
   x   Carol Lake Company Ltd.
   x   Cathjoh Holdings Pty Limited
   x   Champlain Reinsurance Company Ltd.
   x   Channar Management Services Pty Limited

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   x   Channar Mining Joint Venture
   x   Channar Mining Pty Ltd
   x   Chinalco Rio Tinto Exploration Co. Ltd
   x   Chlor Alkali Unit Pte Ltd
   x   CIA. Inmobiliaria e Inversiones Cosmos S.A.C.
   x   Compagnie des Bauxites de Guinée
   x   Compania de Transmision Sierraoriente S.A.C.
   x   Consórcio de Alumínio do Maranhão
   x   CRA Investments Pty. Limited
   x   CRA Pty Ltd
   x   Dampier Salt Limited
   x   Daybreak Development LLC
   x   Daybreak Property Holdings LLC
   x   Daybreak Secondary Water Distribution Company
   x   Daybreak Water Holding LLC
   x   DB Medical I LLC
   x   DBVC1 LLC
   x   Diamond Producers Association Limited
   x   Diavik Diamond Mines (2012) Inc.
   x   Diavik Joint Venture
   x   Donkerpoort Iron Ltd
   x   East Kalimantan Coal Pte. Ltd
   x   Eastland Management Inc.
   x   Electric Power Generation Limited
   x   Elysis Limited Partnership / Elysis Societe en Commandite
   x   Empresa de Mineracao Finesa Ltda.
   x   Enarotali Gold Project Limited
   x   Endurvinnslan Ltd.
   x   Energy Resources of Australia Ltd
   x   Entrée Resources Ltd.
   x   Exeltium
   x   EXELTIUM 2
   x   Fabrica De Plasticos Mycsa, S.A.
   x   Falcon Insurance Ltd.
   x   Flambeau Mining Company
   x   Fondation Rio Tinto
   x   Foundation for Australia-Japan Studies
   x   France Aluminium Recyclage Sa
   x   Fundsprops Pty. Limited
   x   Gladstone Infrastructure Pty Ltd
   x   Gladstone Power Station Joint Venture
   x   Global Coal Limited
   x   Global Hubco BV
   x   Globalore Pte. Ltd.

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   x   Gove Aluminium Ltd
   x   GPS Energy Pty Limited
   x   GPS Nominee Pty Limited
   x   GPS Power Pty. Limited
   x   Green Mountain Mining Venture
   x   Groupement pour la Gestion de Pensions Complementaires
   x   Gulf Power Company / La Compagnie Gulf Power
   x   Halco (Mining) Inc.
   x   Hamersley Exploration Pty Limited
   x   Hamersley HMS Pty Ltd
   x   Hamersley Holdings Limited
   x   Hamersley Iron - Yandi Pty Limited
   x   Hamersley Iron Pty. Limited
   x   Hamersley Resources Limited
   x   Hamersley WA Pty Ltd
   x   Henlopen Manufacturing Co., Inc.
   x   Heruga Exploration LLC
   x   High Purity Iron Inc.
   x   HIsmelt Corporation Pty Limited
   x   Hope Downs Joint Venture
   x   Hope Downs Marketing Company Pty Ltd
   x   Hunter Valley Resources Pty Ltd
   x   IAL Holdings Singapore Pte. Ltd.
   x   IEA Coal Research Limited
   x   IEA Environmental Projects Limited
   x   Industrias Metalicas Castello S.A.
   x   Integrity Land and Cattle LLC
   x   InterEmballage
   x   IOC Sales Limited
   x   Iron Ore Company of Canada
   x   Itallumina Srl
   x   Johcath Holdings Pty Limited
   x   Juna Station Pty Ltd
   x   Kalimantan Gold Pty Limited
   x   Kelian Pty. Limited
   x   Kembla Coal & Coke Pty. Limited
   x   Kennecott Barneys Canyon Mining Company
   x   Kennecott Exploration Company
   x   Kennecott Exploration Mexico, S.A. de C.V.
   x   Kennecott Holdings Corporation
   x   Kennecott Land Company
   x   Kennecott Land Investment Company LLC
   x   Kennecott Molybdenum Company
   x   Kennecott Nevada Copper Company

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   x   Kennecott Ridgeway Mining Company
   x   Kennecott Royalty Company
   x   Kennecott Services Company
   x   Kennecott Uranium Company
   x   Kennecott Utah Copper LLC
   x   Kennecott Water Distribution LLC
   x   Korgantas LLP
   x   Kutaibar Holdings Pty Ltd
   x   Lao Sanxai Minerals Company Limited
   x   Lawson Mardon Flexible Limited
   x   Lawson Mardon Smith Brothers Ltd.
   x   Magma Arizona Railroad Company
   x   Metallwerke Refonda AG
   x   Metals & Minerals Insurance Pte. Limited
   x   Minera Escondida Ltda
   x   Minera IRL Limited
   x   Minera Kennecott, S.A. de C.V.
   x   Mineração Rio do Norte S.A.
   x   Mineracao Tabuleiro Ltda
   x   Minmetals Rio Tinto Exploration Company Limited
   x   Mitchell Plateau Bauxite Co. Pty. Limited
   x   Mitchell Plateau Joint Venture
   x   Mount Bruce Mining Pty Limited
   x   Mount Pleasant Pty Ltd
   x   Movele
   x   Mutamba Mineral Sands S.A.
   x   NBH Pty Ltd
   x   New Zealand Aluminium Smelters Ltd
   x   Nhulunbuy Corporation Limited
   x   Norgold Pty Limited
   x   North Gold (W.A.) Pty Ltd
   x   North Insurances Pty. Ltd.
   x   North IOC (Bermuda) Holdings Limited
   x   North IOC (Bermuda) Limited
   x   North IOC Holdings Pty Ltd
   x   North Limited
   x   North Mining Limited
   x   Northern Land Company Ltd
   x   Nozalela Mineral Sands (Pty) Ltd
   x   NZAS Retirement Fund Trustee Limited
   x   Oyu Tolgoi LLC
   x   Oyu Tolgoi Netherlands BV
   x   Pacific Aluminium (New Zealand) Limited
   x   Pacific Aluminium Pty. Limited

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   x   Pacific Coast Mines, Inc.
   x   Pechiney Aviatube Limited
   x   Pechiney Bâtiment
   x   Pechiney Bécancour, Inc.
   x   Pechiney Cast Plate, Inc.
   x   Pechiney Consolidated Australia Pty Limited
   x   Pechiney Holdings, Inc.
   x   Pechiney Metals LLC
   x   Pechiney Philippines Inc.
   x   Pechiney Plastic Packaging, Inc.
   x   Pechiney Reynolds Quebec, Inc.
   x   Pechiney Sales Corporation
   x   Peko Exploration Pty Ltd.
   x   Peko-Wallsend Pty Ltd
   x   Pilbara Iron Company (Services) Pty Ltd
   x   Pilbara Iron Pty Ltd
   x   Port d’Ehoala S.A.
   x   Procivis Savoie
   x   Project Generation Group Pty Ltd
   x   PT Hutan Lindung Kelian Lestari
   x   PT Kelian Equatorial Mining
   x   PT Rio Tinto Consultants
   x   QIT Madagascar Minerals Ltd
   x   QIT Madagascar Minerals SA
   x   Quebec North Shore and Labrador Railway Company / Compagnie de Chemin de Fer du
       Littoral Nord de Quebec et du Labrador Inc.
   x   Queensland Alumina Limited
   x   Queensland Coal Pty. Limited
   x   Química e Metalúrgica Mequital Ltda.
   x   Ranges Management Company Pty Ltd
   x   Ranges Mining Pty Ltd
   x   Resolution Copper Company
   x   Resolution Copper Mining LLC
   x   Rhodes Ridge Joint Venture
   x   Richards Bay Mining (Proprietary) Limited
   x   Richards Bay Mining Holdings (Proprietary) Limited
   x   Richards Bay Prefco (Pty) Ltd
   x   Richards Bay Titanium (Proprietary) Limited
   x   Richards Bay Titanium Holdings (Proprietary) Limited
   x   Rightship Pty Ltd
   x   Rio de Contas Desenvolvimentos Minerais Ltda
   x   Rio Santa Rita Empreenimentos e-Particiacoes Ltda
   x   Rio Sava Exploration DOO
   x   Rio Tinto (Commercial Paper) Limited

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   x   Rio Tinto (Hong Kong) Ltd
   x   Rio Tinto Advisory Services Pty Limited
   x   Rio Tinto Alcan Fund Inc.
   x   Rio Tinto Alcan Inc.
   x   Rio Tinto Alcan International Ltd. / Rio Tinto Alcan International Ltee
   x   Rio Tinto Alcan Middle East DMCC
   x   Rio Tinto Alcan Technology Pty Ltd
   x   Rio Tinto Aluminium (Bell Bay) Limited
   x   Rio Tinto Aluminium (Holdings) Limited
   x   Rio Tinto Aluminium Bell Bay Sales Pty Limited
   x   Rio Tinto Aluminium Limited
   x   Rio Tinto Aluminium Pechiney
   x   Rio Tinto Aluminium Services Pty Limited
   x   Rio Tinto America Holdings Inc.
   x   Rio Tinto America Inc.
   x   Rio Tinto Asia Ltd
   x   Rio Tinto Asia Pty. Limited.
   x   Rio Tinto AuM Company
   x   Rio Tinto Australian Holdings Limited
   x   Rio Tinto Bahia Holdings Limited
   x   Rio Tinto Base Metals Pty. Limited
   x   Rio Tinto Brazilian Holdings Limited
   x   Rio Tinto Brazilian Investments Limited
   x   Rio Tinto Canada Diamond Operation Management Inc.
   x   Rio Tinto Canada Inc
   x   Rio Tinto Canada Management Inc./ Rio Tinto Gestion Canada Inc.
   x   Rio Tinto Canada Uranium Corporation
   x   Rio Tinto Chile S.A.S.
   x   Rio Tinto Coal (Clermont) Pty Ltd
   x   Rio Tinto Coal Australia Pty Limited
   x   Rio Tinto Coal Investments Pty Limited
   x   Rio Tinto Coal NSW Holdings Limited
   x   Rio Tinto Commercial Americas Inc.
   x   Rio Tinto Commercial GmbH
   x   Rio Tinto Commercial Pte. Ltd.
   x   Rio Tinto Desenvolvimentos Minerais LTDA.
   x   Rio Tinto Diamonds and Minerals Canada Holding Inc.
   x   Rio Tinto Diamonds Limited
   x   Rio Tinto Diamonds Netherlands B.V.
   x   Rio Tinto Diamonds NV
   x   Rio Tinto Eastern Investments B.V.
   x   Rio Tinto Energy America Inc.
   x   Rio Tinto Energy Limited
   x   Rio Tinto Escondida Limited

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   x   Rio Tinto European Holdings Limited
   x   Rio Tinto Exploration (Asia) Holdings Pte. Ltd.
   x   Rio Tinto Exploration (PNG) Limited
   x   Rio Tinto Exploration and Mining (India) Private Limited
   x   Rio Tinto Exploration Canada Inc.
   x   Rio Tinto Exploration Dunav d.o.o. Beograd-Vracar
   x   Rio Tinto Exploration Finland OY
   x   Rio Tinto Exploration India Private Limited
   x   Rio Tinto Exploration Kazakhstan LLP
   x   Rio Tinto Exploration Pty Limited
   x   Rio Tinto Exploration Zambia Limited
   x   Rio Tinto FalCon Diamonds Inc.
   x   Rio Tinto Fer et Titane inc.
   x   Rio Tinto Finance (USA) Inc.
   x   Rio Tinto Finance (USA) Limited
   x   Rio Tinto Finance (USA) plc
   x   Rio Tinto Finance Limited
   x   Rio Tinto Finance plc
   x   Rio Tinto France S.A.S.
   x   Rio Tinto Global Employment Company Pte. Ltd.
   x   Rio Tinto Guinée S.A.
   x   Rio Tinto Holdings LLC
   x   Rio Tinto Hydrogen Energy LLC
   x   Rio Tinto Iceland Ltd.
   x   Rio Tinto India Private Limited
   x   Rio Tinto Indonesian Holdings Limited
   x   Rio Tinto International Holdings Limited
   x   Rio Tinto Investments One Pty Limited
   x   Rio Tinto Investments Two Pty Limited
   x   Rio Tinto Iron & Titanium (Suzhou) Co., Ltd
   x   Rio Tinto Iron & Titanium GmbH
   x   Rio Tinto Iron & Titanium Holdings GmbH
   x   Rio Tinto Iron & Titanium Limited
   x   Rio Tinto Iron and Titanium Canada Inc. / Rio Tinto Fer et Titane Canada Inc.
   x   Rio Tinto Iron Ore Atlantic Limited
   x   Rio Tinto Iron Ore Europe S.A.S.
   x   Rio Tinto Iron Ore Trading China Limited
   x   Rio Tinto Japan Ltd
   x   Rio Tinto Jersey Holdings 2010 Limited
   x   Rio Tinto Korea Ltd
   x   Rio Tinto Limited
   x   Rio Tinto London Limited
   x   Rio Tinto Management Services South Africa (Proprietary) Ltd
   x   Rio Tinto Marketing Pte. Ltd.

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   x   Rio Tinto Marketing Services Limited
   x   Rio Tinto Medical Plan Trustees Limited
   x   Rio Tinto Metals Limited
   x   Rio Tinto Minera Peru Limitada SAC
   x   Rio Tinto Mineracao do Brasil Ltda
   x   Rio Tinto Minerals Asia Pte Ltd
   x   Rio Tinto Minerals Development Limited
   x   Rio Tinto Minerals Exploration (Beijing) Co., Ltd
   x   Rio Tinto Minerals Inc.
   x   Rio Tinto Mining and Exploration Inc.
   x   Rio Tinto Mining and Exploration Limited
   x   Rio Tinto Mining and Exploration S.A.C.
   x   Rio Tinto Mining Commercial (Shanghai) Co., Ltd.
   x   Rio Tinto Mongolia LLC
   x   Rio Tinto Nominees Limited
   x   Rio Tinto Orissa Mining Private Ltd
   x   Rio Tinto OT Management Limited
   x   Rio Tinto Overseas Holdings Limited
   x   Rio Tinto PACE Australia Pty Limited
   x   Rio Tinto PACE Canada Inc. / Gestion Rio Tinto PACE Canada Inc.
   x   Rio Tinto Pension 2009 Trustees Limited
   x   Rio Tinto Pension Fund Trustees Limited
   x   Rio Tinto Pension Investments Limited
   x   Rio Tinto Peru Limited
   x   Rio Tinto plc
   x   Rio Tinto Potash Management Inc. / Rio Tinto Potasse Management Inc.
   x   Rio Tinto Procurement (Singapore) Pte Ltd
   x   Rio Tinto Pte Ltd
   x   Rio Tinto Saskatchewan Management Inc.
   x   Rio Tinto Saskatchewan Potash Holdings General Partner Inc.
   x   Rio Tinto Saskatchewan Potash Holdings Limited Partnership
   x   Rio Tinto Secretariat Limited
   x   Rio Tinto Services Inc.
   x   Rio Tinto Services Limited
   x   Rio Tinto Shared Services Pty Limited
   x   Rio Tinto Shipping (Asia) Pte. Ltd.
   x   Rio Tinto Shipping Pty. Limited.
   x   Rio Tinto Simfer UK Limited
   x   Rio Tinto Singapore Holdings Pte Ltd
   x   Rio Tinto Sohar Logistics LLC
   x   Rio Tinto South East Asia Limited
   x   Rio Tinto Staff Fund (Retired) Pty Limited
   x   Rio Tinto Sulawesi Holdings Limited
   x   Rio Tinto Technological Resources Inc.

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   x   Rio Tinto Technological Resources UK Limited
   x   Rio Tinto Trading (Shanghai) Co., Ltd.
   x   Rio Tinto Uranium Limited
   x   Rio Tinto Western Holdings Limited
   x   Rio Tinto Winu Pty Limited
   x   Riversdale Connections (Proprietary) Ltd
   x   Robe River Iron Associates Joint Venture
   x   Robe River Limited
   x   Robe River Mining Co. Pty. Ltd.
   x   Robe River Ore Sales Pty. Ltd.
   x   Rocklea Station Pty Ltd
   x   RTA AAL Australia Limited
   x   RTA Boyne Limited
   x   RTA Gove Pty Limited
   x   RTA Holdco 1 Limited
   x   RTA Holdco 4 Limited
   x   RTA Holdco 7 Limited
   x   RTA Holdco 8 Limited
   x   RTA Holdco Australia 1 Pty Ltd
   x   RTA Holdco Australia 3 Pty Ltd
   x   RTA Holdco Australia 5 Pty Ltd
   x   RTA Holdco Australia 6 Pty Ltd
   x   RTA HOLDCO FRANCE 1 S.A.S.
   x   RTA HOLDCO FRANCE 2 S.A.S.
   x   RTA Pacific Pty Limited
   x   RTA Sales Pty Ltd
   x   RTA Smelter Development Pty Limited
   x   RTA Weipa Pty Ltd
   x   RTA Yarwun Pty Ltd
   x   RTAlcan 1 LLC
   x   RTAlcan 2 LLC
   x   RTAlcan 3 LLC
   x   RTLDS Aus Pty. Ltd
   x   RTLDS UK Limited
   x   RTPDS Aus Pty Ltd
   x   Saryarka B.V.
   x   Scheuch Unterstuetzungskasse GmbH
   x   SGLS LLC
   x   Sharp Strategic Funding Pte. Ltd.
   x   Simfer Jersey Finance 1 Ltd
   x   Simfer Jersey Finance 2 Ltd
   x   Simfer Jersey Limited
   x   Simfer Jersey Nominee Limited
   x   SIMFER S.A.

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   x   Singapore Metals Pte. Ltd.
   x   Skymont Corporation
   x   Société De Financement Des Risques Industriels
   x   Société Départementale De Développement 65
   x   Société Minière Et De Participations Guinée-Alusuisse
   x   Sohar Aluminium Co. L.L.C.
   x   Sohio Western Mining Company
   x   Solutions Strategiques Funding LLC
   x   Southern Copper Pty. Limited
   x   Swift Current Land & Cattle LLC
   x   Swiss Aluminium Australia Limited
   x   TBAC Limited
   x   Technological Resources Pty. Limited
   x   The Barrier Corporation (Vic.) Pty. Limited
   x   The Kelian Community and Forest Protection Trust
   x   The Pyrites Company, Inc.
   x   The Roberval and Saguenay Railway Company/ La Compagnie du Chemin de Fer Roberval
       Saguenay
   x   The Zinc Corporation Pty Ltd
   x   Thos. W. Ward Limited
   x   THR Aruba Holdings LLC A.V.V.
   x   THR Delaware Holdings, LLC
   x   THR Kharmagtai Pte. Ltd.
   x   THR MINES (BC) LTD.
   x   THR Mines Services Co. Ltd.
   x   THR OYU TOLGOI LTD.
   x   THR Ulaan Pte. Ltd.
   x   Three Crowns Insurance Company, formerly known as Three Crowns Insurance Company
       Limited
   x   Tinto Holdings Australia Pty. Limited
   x   Tisand (Proprietary) Limited
   x   Tomago Aluminium Company Pty Limited
   x   Tomago Aluminium Joint Venture
   x   Trans Territory Pipeline Pty Limited
   x   TRQ Australia Pty. Ltd.
   x   Turquoise Hill (Beijing) Services Company Ltd
   x   Turquoise Hill Netherlands Cooperatief U.A.
   x   Turquoise Hill Resources Ltd.
   x   Turquoise Hill Resources Philippines Inc.
   x   Turquoise Hill Resources Singapore Pte Ltd.
   x   Twin Falls Power Corporation Ltd
   x   U.S. Borax Inc.
   x   Victoria Technology Inc.
   x   Waste Solutions and Recycling LLC

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   x   West Kutai Foundation Limited
   x   Wimmera Industrial Minerals Pty. Limited
   x   Winchester South Development Company Proprietary Limited
   x   Winter Road Joint Venture
   x   Wright Mgmt Services Pte. Ltd.
   x   Wyoming Coal Resources Company
   x   Yalleen Pastoral Co. Pty. Ltd.
   x   Yarraloola Pastoral Co
   x   Zululand Titanium (Pty) Ltd




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                                     Cyprus Corporate Parties

   x   Ajo Improvement Company [AZ]
   x   Amax Arizona, Inc. [NV]
   x   Amax Energy Inc. [DE]
   x   Amax Exploration, Inc. [DE]
   x   Amax Metals Recovery Inc. [DE]
   x   Amax Nickel Overseas Ventures, Inc. [DE]
   x   Amax Research & Development, Inc. [DE]
   x   Amax Specialty Coppers Corporation [DE]
   x   Amax Specialty Metals (Driver), Inc. [DE]
   x   Amax Zinc (Newfoundland) Limited [DE]
   x   American Metal Climax, Inc. [DE]
   x   Ametalco Limited [UK]
   x   Ametalco, Inc. [DE]
   x   Apache Nitrogen Products, Incorporated [AZ]
   x   Arguello Inc. [DE]
   x   Arroyo Grande Land Company LLC [DE]
   x   Asarel-Exploration AD [Bulgaria]
   x   Atlantic Copper, S.L.U. [Spain]
   x   AZ Big Sandy, LLC [NV]
   x   Bagdad Fire and Rescue, Inc. [DE]
   x   Balkan Metals and Minerals EOOD [Bulgaria]
   x   Bisbee Queen Mining Co. [DE]
   x   Blackwell Zinc Company, Inc. [DE]
   x   Byner Cattle Company [NV]
   x   Cane River Development LLC [DE]
   x   Capital Gestao de Negocios LTDA. [Brazil]
   x   Carollite Holdings B.V. [The Netherlands]
   x   Cattierite Holdings Coöperatief U.A. [The Netherlands]
   x   Chino Acquisition LLC [DE]
   x   Climax Canada LTD. [DE]
   x   Climax Engineered Materials, LLC [CO]
   x   Climax Molybdenum Asia Corporation [DE]
   x   Climax Molybdenum B.V. [The Netherlands]
   x   Climax Molybdenum China Corporation [DE]
   x   Climax Molybdenum Company [DE]
   x   Climax Molybdenum GMBH [Germany]
   x   Climax Molybdenum Marketing Corporation [DE]
   x   Climax Molybdenum U.K. Limited [UK]
   x   Cobaltite Holdings Limited [Bermuda]
   x   Compania Exploradora De La Isla, S.A. [Cuba]
   x   Copper Market Inc. [AZ]
   x   Copper Overseas Service Company [DE]

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   x   CuAu International Holdings (BVI) LTD. [BVI]
   x   Cukaru Peki B.V. [The Netherlands]
   x   Cyprus Amax Indonesia Corporation [DE]
   x   Cyprus Amax Minerals Company [DE]
   x   Cyprus Climax Metals Company [DE]
   x   Cyprus Copper Marketing Corporation [DE]
   x   Cyprus Copperstone Gold Corporation [DE]
   x   Cyprus El Abra Corporation [DE]
   x   Cyprus Exploration and Development Corporation [DE]
   x   Cyprus Gold Company [DE]
   x   Cyprus Gold Exploration Corporation [DE]
   x   Cyprus Metals Company [DE]
   x   Cyprus Mines Corporation [DE]
   x   Cyprus Pinos Altos Corporation [DE]
   x   Cyprus Specialty Metals Company [DE]
   x   Cyprus Tohono Corporation [DE]
   x   Discovery Metals Kazakhstan LLP [Kazakhstan]
   x   Drum Mountains Mineral Properties LLC [DE]
   x   Eastern Mining Company, Inc. [DE]
   x   Enarotali Gold Project Limited [Isle of Jersey]
   x   Exploraciones Antakana S.A.C. [Peru]
   x   FCX Investment LLC [DE]
   x   FCX Investment LTD [Cayman Islands]
   x   FCX Oil & Gas LLC [DE]
   x   Flobarco S.A. de C.V. [Mexico]
   x   FM Chile Holdings Inc. [DE]
   x   FM Myanmar Holding LTD. [Bermuda]
   x   FM O&G Mexico Holdings B.V. [The Netherlands]
   x   FM O&G Mexico Intermediate Holdings B.V. [The Netherlands]
   x   FM Services Company [DE]
   x   FNS Holdings, LLC [AZ]
   x   Freeport Asia Holdings PTE. LTD. [Singapore]
   x   Freeport Azufre Limitada [Chile]
   x   Freeport Canadian Exploration Company [DE]
   x   Freeport Cobalt Americas LLC [DE]
   x   Freeport Cobalt Asia LTD. [Taiwan]
   x   Freeport Cobalt Europe GMBH [Germany]
   x   Freeport Cobalt Japan Inc. [Japan]
   x   Freeport Cobalt OY [Finland]
   x   Freeport Cobalt Trading (Shanghai) Co., LTD. [China]
   x   Freeport Copper Company [DE]
   x   Freeport Finance Company B.V. [Netherlands]
   x   Freeport International, Inc. [DE]
   x   Freeport Minerals Corporation [DE]

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   x   Freeport Overseas Service Company [DE]
   x   Freeport Research and Engineering Company [DE]
   x   Freeport Sulphur Company [DE]
   x   Freeport Warim Inc. [DE]
   x   Freeport-McMoRan Inc. [DE]
   x   Freeport-McMoRan Australasia Inc. [DE]
   x   Freeport-McMoRan Bagdad Inc. [DE]
   x   Freeport-McMoRan Bulgaria B.V. [The Netherlands]
   x   Freeport-McMoRan Chino Inc. [DE]
   x   Freeport-McMoRan Chino Mines Company [NM]
   x   Freeport-McMoRan Cobalt Holdings Limited [Bermuda]
   x   Freeport-McMoRan Copper & Gold China Corporation [Cayman Islands]
   x   Freeport-McMoRan Copper & Gold Energy Services LLC [DE]
   x   Freeport-McMoRan Copper & Gold Investment Co., S.A. [Cayman Islands]
   x   Freeport-McMoRan do Brasil Mineração LTDA. [Brazil]
   x   Freeport-McMoRan Energy LLC [DE]
   x   Freeport-McMoRan Exploration & Production LLC [DE]
   x   Freeport-McMoRan Exploration Australia PTY LTD [Australia]
   x   Freeport-McMoRan Exploration Corporation [DE]
   x   Freeport-McMoRan Mercantile Company Inc. [DE]
   x   Freeport-McMoRan Miami Inc. [DE]
   x   Freeport-McMoRan Mineral Properties Canada Inc. [Canada]
   x   Freeport-McMoRan Mineral Properties Inc. [DE]
   x   Freeport-McMoRan Morenci Inc. [DE]
   x   Freeport-McMoRan Nevada LLC [DE]
   x   Freeport-McMoRan of Canada Limited [DE]
   x   Freeport-McMoRan Oil & Gas Inc. [DE]
   x   Freeport-McMoRan Oil & Gas LLC [DE]
   x   Freeport-McMoRan Safford Inc. [DE]
   x   Freeport-McMoRan Sales Company Inc. [DE]
   x   Freeport-McMoRan Shelf Properties LLC [DE]
   x   Freeport-McMoRan Sierrita Inc. [DE]
   x   Freeport-McMoRan Spain Inc. [DE]
   x   Freeport-McMoRan Tyrone Inc. [DE]
   x   Freeport-McMoRan Tyrone Mining LLC [NM]
   x   Fundacion Freeport-McMoRan Chile [Chile]
   x   Gaviota Gas Plant Company [CA]
   x   Grand Ecaille Land Company, Inc. [LA]
   x   Gulf Coast Ultra Deep Royalty Trust [DE]
   x   Habirshaw Cable and Wire Corporation [DE]
   x   Hidalgo Mining, LLC [NM]
   x   International Administrative Services Company [DE]
   x   International Air Capital Inc. [DE]
   x   International Asaz LLC [DE]

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   x   International Mining Investments, LLC [DE]
   x   International Purveyors Inc. [DE]
   x   International Support LLC [DE]
   x   James Douglas Insurance Company, LTD. [Bermuda]
   x   Jenny East Holdings LTD. [Bermuda]
   x   JRTW Holdings Inc. [DE]
   x   Kameni Potok Coöperatief U.A. [The Netherlands]
   x   Kisanfu Holdings LTD. [Bermuda]
   x   K-Mc Venture I LLC [DE]
   x   Koboltti Chemicals Holdings Limited [Bermuda]
   x   Las Quintas Serenas Water Co. [AZ]
   x   LHD Ventures, LLC [DE]
   x   Lompoc Land Company LLC [DE]
   x   Main Pass Energy Hub LLC [DE]
   x   McMoRan Exploration LLC [DE]
   x   Mcmoran Oil & Gas LLC [DE]
   x   Midwest Land Acquisition Company LLC [DE]
   x   Minera Cuicuilco S.A. de C.V. [Mexico]
   x   Minera Freeport-McMoRan South America Limitada [Chile]
   x   Minera Freeport-McMoRan South America S.A.C. [Peru]
   x   Missouri Lead Smelting Company [DE]
   x   Molinos Corporation [AZ]
   x   Montebello Land Company LLC [DE]
   x   MSS Properties, LLC [DE]
   x   Mt. Emmons Mining Company [DE]
   x   Nabire Bakti LLC [DE]
   x   Nicaro Nickel Company [DE]
   x   Nuevo Energy Company [DE]
   x   Overseas Service Company [DE]
   x   Pacific Western Land Company [CA]
   x   PD Peru, Inc. [DE]
   x   PD Receivables, LLC [DE]
   x   PDM Energy, LLC [AZ]
   x   PDRC Laurel Hill 9, LLC [DE]
   x   PDRC Laurel Hill Development, LLC [DE]
   x   Phelps Dodge Ajo, Inc. [DE]
   x   Phelps Dodge Congo S.A.R.L. [DRC]
   x   Phelps Dodge Development Corporation [DE]
   x   Phelps Dodge Hidalgo, Inc. [DE]
   x   Phelps Dodge High Performance Conductors of NJ, Inc. [NJ]
   x   Phelps Dodge Holdings Mexico, S.A. de C.V. [Mexico]
   x   Phelps Dodge Industries, Inc. [DE]
   x   Phelps Dodge Katanga Corporation [DE]
   x   Phelps Dodge Mining (Zambia) Limited [Zambia]

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   x   Phelps Dodge Molybdenum Corporation [DE]
   x   Phelps Dodge of Africa, LTD. [DE]
   x   Phelps Dodge Refining Corporation [DE]
   x   Plains Acquisition Corporation [DE]
   x   Plains Offshore LLC [DE]
   x   Plains Offshore Operations Inc. [DE]
   x   Plains Vietnam LTD. [Cayman Islands]
   x   Pogo Partners, Inc. [TX]
   x   Point Arguello Natural Gas Line Company [CA]
   x   Point Arguello Pipeline Company [CA]
   x   PT Airfast Aviation Facilities Company [Indonesia]
   x   PT Eksplorasi Nusa Jaya [Indonesia]
   x   PT Freeport Indonesia [Indonesia]
   x   PT Freeport Management Indonesia [Indonesia]
   x   PT IRJA Eastern Minerals [Indonesia]
   x   PT Kencana Infra Nusakarya [Indonesia]
   x   PT Kencana Wisata Nusakarya [Indonesia]
   x   PT Manyar Maju Refinery [Indonesia]
   x   PT Mineserve International [Indonesia]
   x   PT Mitradaya Vulkanisindo [Indonesia]
   x   PT Nabire Bakti Mining [Indonesia]
   x   PT Papua Utama Mitra [Indonesia]
   x   PT Puncakjaya Power [Indonesia]
   x   PT Rio Tinto Indonesia [Indonesia]
   x   PT Smelting [Indonesia]
   x   PXP Aircraft LLC [DE]
   x   PXP Gulf Coast LLC [DE]
   x   PXP Louisiana LLC [DE]
   x   PXP Louisiana Operations LLC [DE]
   x   PXP Luxembourg S.A.R.L. [Luxembourg]
   x   PXP Morocco B.V. [The Netherlands]
   x   PXP Oil & Gas Inc. [DE]
   x   PXP Producing Company LLC [DE]
   x   PXP Resources LLC [DE]
   x   Rakita Exploraton DOO BOR [Serbia]
   x   Red Metal Limited [Australia]
   x   Servicios Especiales Nacionales, SA de CV a.k.a. “PD SENSA” [El Salvador]
   x   Silver Springs Ranch, Inc. [CO]
   x   Sociedad Contractual Minera El Abra [Chile]
   x   Sociedad Minera Cerro Verde S.A.A. [Peru]
   x   Southern Bayou Holdings, LLC [DE]
   x   Southern Discovery Metals LTD. [BVI]
   x   Southern Pearl Holdings, LLC [DE]
   x   Suva Reka (BVI) LTD. [BVI]

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   x   Tank Barge LLC [DE]
   x   The Morenci Water & Electric Company [AZ]
   x   Timok JVSA (BVI) LTD. [BVI]
   x   Timok Metals D.O.O. BOR [Serbia]
   x   Tucson, Cornelia and Gila Bend Railroad Company [AZ]
   x   United States Metals Refining Company [DE]
   x   Warren Company [AZ]
   x   Western Nuclear, Inc. [DE]




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                                  5HWDLOHUVDQG,QGHPQLILHG3DUWLHV
      7-Eleven
      7-Eleven, Inc.
      Acme Markets, Inc.
      Ahold Delhaize USA, Inc.
      Albertsons Companies, Inc.
      Alpha Beta Company
      Associated Wholesaler Grocers, Inc.
      Bartell Drug Company
      Bashas’, Inc.
      Bausch & Lomb Americas Inc.
      Bausch & Lomb Incorporated
      Bausch + Lomb Corporation
      Bausch Health Americas, Inc.
      Bausch Health Companies Inc.
      Bausch Health US, LLC
      BCW LLC
      Best Market of Astoria, Inc.
      BI-LO, LLC
      Bi-Mart Corporation
      BJ’s Wholesale Club, Inc.
      C&S Wholesale Grocers
      C&S Wholesale Grocers, Inc.
      Classic Pharmacy, Inc.
      Cosentino Enterprises, Inc.
      Cosentino Group, Inc.
      Cosentino Price Chopper
      Cosentino’s Food Stores
      Costco Wholesale Corporation
      CVS Health Corporation
      CVS Pharmacy, Inc.
      Demoulas Super Markets, Inc.
      Dierbergs Markets, Inc.
      Discount Drug Mart, Inc.
      Dollar Tree Stores, Inc.
      DRI I, Inc.
      Duane Reade, Inc.
      Eckerd Corporation of Florida, Inc.
      Family Dollar Stores
      Fleming Companies, Inc.
      Food 4 Less of California
      Food 4 Less of Southern California, Inc.
      Foodland
      Foodland Super Market, LTD
      Food Lion, LLC (subsidiary of Ahold Delhaize USA)
      Foot Locker Specialties, Inc., individually and as successor-in-interest to F.W. Woolworth Co.
      Foot Locker Specialty, Inc.
      Foot Locker, Inc./Woolworth Corporation
      Four B Corporation d/b/a Balls Food Stores
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      Fruth Pharmacy, Inc.
      Gerlands Food Fair, LLC
      Gerlands, LLC
      Gerlands, LLC/Lewis Food Town, Inc.
      Giant Eagle, Inc.
      Giant Food of Maryland, LLC
      Giant Food Stores, LLC
      Grocery Outlet Holding Corporation
      Grocery Outlet Inc.
      Grocery Outlet, Inc.
      HAC, Inc.
      H-E-B, LP
      HSBC Finance Corporation
      Hughes Markets, Inc.
      Hy-Vee, Inc.
      Jewel Food Stores
      Jewel Osco
      Jewel Osco Southwest
      K&B Corporation
      K&B Louisiana Corporation
      Kings Park Slope, Inc.
      Kings Pharmacy
      Kings Pharmacy Holdings, LLC
      Kings Third Ave. Pharmacy, Inc.
      Knorr Street ShopRite, Inc.
      La Luz Market, LTD. Co.
      Lewis Food Town, Inc.
      Longs Drug Stores California, L.L.C
      Longs Drug Stores of Southern California, L.L.C.
      Longs Drug Stores, L.L.C.
      Lucky Stores, Inc.
      Marc Glassman Inc.
      Marc Glassman, Inc. d/b/a Marc’s Store & Pharmacy
      MBF Healthcare Holdings, Inc.
      MBF Healthcare Management, LLC
      Meijer, Inc.
      MMG Equity Partners
      Navarro Discount Pharmacies No. 5, LLC
      Navarro Discount Pharmacies, LLC
      New Seasons Market
      Owens & Minor Distribution, Inc.
      Owens & Minor, Inc.
      Piggly Wiggly Carolina Co.
      Piggly Wiggly Carolina Co., Inc.
      Piggly Wiggly Companies, Inc.
      Piggly Wiggly, LLC
      Piggly Wiggly, LLC (subsidiary of C&S Wholesale Grocers)
      Port Jervis Laboratories, Inc., f/k/a Kolmar Laboratories, Inc.
      PTI
      PTI Royston LLC, a Georgia Limited Liability Co., d/b/a Pharma Tech Industries
                                                   3-2
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      Publix Super Markets, Inc.
      Raley’s
      Ralphs Grocery Company
      Randall’s Food & Drug LP
      Randall’s Food Markets, Inc.
      Rite Aid
      Rite Aid Corporation
      Rite Aid Hdqtrs. Corp.
      Rite Aid of New York City, Inc.
      Rite Aid of New York, Inc.
      Rite Aid of Pennsylvania, Inc.
      Rite Aid of South Carolina, Inc.
      Rouse’s Enterprises, L.L.C.
      Rouse’s Enterprises, L.L.C. d/b/a Rouses Market
      Safeway Inc.
      Save Mart Supermarkets, Inc.
      Save Mart Supermarkets, Inc./Lucky Stores
      Schnuck Markets
      Schnuck Markets, Inc.
      Sedano’s Market, Inc.
      Shanti Pharmacy Corp.
      Shaw’s Supermarkets, Inc.
      Shop-Rite Supermarkets, Inc. a/k/a Shop Rite of Knorr Street
      Smith Food and Drug Center, Inc.
      Southeastern Grocers, Inc.
      Star Markets Company, Inc.
      Stater Bros. Markets
      Super Center Concepts, Inc. d/b/a Superior Grocers
      Superior Grocers
      SuperValu, Inc.
      T. Levy Associates, d/b/a Beauty Land Enterprises
      T. Levy Associates, Inc. d/b/a Beauty Land Enterprises/Beautyland
      Target Corporation
      The Bartell Drug Company
      The Kroger Company
      The Stop & Shop Supermarket Company LLC
      The Vons Companies, Inc.
      Thrifty Payless, Inc.
      Thrifty White Drug
      Tops Holding, LLC
      Valeant Pharmaceuticals International
      Valeant Pharmaceuticals International, Inc.
      Valeant Pharmaceuticals North America LLC
      Wakefern Food Corp.
      Walgreen Co.
      Walgreen Eastern Co., Inc.
      Walgreen Pharmacy Strategies, LLC
      Walgreens Boots Alliance, Inc.
      Walmart Inc.
      Wegmans Food Markets, Inc.
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      Woolworth Corporation




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                          EXHIBIT C
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                                                                   Page 1

        1
        2          UNITED STATES BANKRUPTCY COURT OF NEW JERSEY
                                 Case No. 23-12825
        3                                                      X
                In re:
        4
                LTL MANAGEMENT LLC,
        5
                                                   Debtor,
        6                                                     -x
                LTL MANAGEMENT LLC,
        7
                                            Plaintiff,
        8
                             v.
        9
                THOSE PARTIES LISTED ON APPENDIX A
       10       TO COMPLAINT and JOHN AND JANE DOES:
                1-1000,
       11
                                             Defendants.
       12                                             - -x
       13                                              April 17, 2023
                                                       1:12 p.m.
       14                                              7 Times Square
                                                       New York, NY
       15
       16
       17
       18
       19
       20                  VIDEOTAPED AND REMOTE DEPOSITION UPON
       21       ORAL EXAMINATION OF ANDY BIRCHFIELD, ESQ., held
       22       at the above-mentioned time and place, before
       23       Randi Friedman, a Registered Professional
       24       Reporter, within and for the State of New York.
       25

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                                                                Page 2

       1                         A. Birchfield, Esq.
       2       APPEARANCES:
       3                  OTTERBOURG, P.C.
                          Attorneys for Proposed counsel for the
       4                  official committee of talc claimants
       5                  230 Park Avenue
                          New York, New York 10169
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       8
                           GOLOMB SPIRT GRUNFELD
       9                   Attorneys for TCC
      10                   1835 Market Street, Suite 2900
                           Philadelphia, Pennsylvania 19103
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                           BY:   RICHARD M. GOLOMB, ESQ.
      12
      13
                           LEVIN PAPANTONIO RAFFERTY
      14                   Attorneys for William Henry
      15                   316 South Baylen Street
                           Pensicola, Florida 32502
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                           BY:   CHRISTOPHER V. TISI, ESQ.
      17
      18
                           BEASLEY ALLEN
      19                   Attorneys for Alishia Landrum
      20                   218 Commerce Street
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      21
                           BY:   LEIGH O'DELL, ESQ.
      22
      23
      24
      25        (Appearances continued.)

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                                                                 Page 3

        1                       A. Birchfield, Esq.
        2       (Appearances continued.)
        3                  COHEN, PLACITELLA & ROTH
                           Attorneys for Estate of Kimberly
        4                  Naranjo
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       10                   1 Johnson & Johnson Plaza
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                            SKADDEN ARPS SLATE MEAGHER & FLOM, LLP
       14                   Attorneys for LTL Management
       15                   One Manhattan West
                            New York, New York 10001
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       18
                            WHITE & CASE, LLP
       19                   Attorneys for Johnson & Johnson
       20                   555 South Flower Street, Sute 2700
                            Los Angeles, California 90071
       21
                            BY:   GREGORY STARNER, ESQ.
       22                         KATHRYN KUETHMAN, ESQ.
       23
       24
       25        (Appearances continued.)

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                                                                Page 4

       1                        A. Birchfield, Esq.
       2        (Appearances continued.)
       3
                           KLEHR HARRISON HARVEY BRANZBURG, LLP
       4                   Attorneys for Andy Birchfield, Esq.
       5                   10000 Lincoln Drive East, Suite 201
                           Marlton, New Jersey 08053
       6
                           BY:    CAROL ANN SLOCUM, ESQ.
       7
                                          * * *
       8
       9
      10
      11
      12
      13
      14
      15
      16
      17
      18
      19
      20       ALSO PRESENT:
      21                   Paul Baker - Videographer
                           Jerry Curran - Concierge
      22                   Ted Meadows, Esq.
                           Jim Murdica, Esq.
      23
      24
      25

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                                                                 Page 5

        1                         A. Birchfield, Esq.
        2                            STIPULATIONS
        3                  IT IS HEREBY STIPULATED AND AGREED, by
        4       and among counsel for the respective parties
        5       hereto, that the filing,         sealing and
        6       certification of the within deposition shall be
        7       and the same are hereby waived;
        8                  IT IS FURTHER STIPULATED AND AGREED
        9       that all objections, except as to form of the
       10       question, shall be reserved to the time of the
       11       trial;
       12                  IT IS FURTHER STIPULATED AND AGREED
       13       that the within deposition may be signed before
       14       any Notary Public with the same force and effect
       15       as if signed and sworn to before the Court.
       16                                 * * *
       17
       18
       19
       20

       21
       22
       23

       24
       25

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                                                                              Page 6

       1                        A. Birchfield, Esq.
       2                       MR. VIDEOGRAPHER:            Good afternoon.     13:12:46

       3             We are going on the record at 1:12 p.m.                    13:12:47

       4             Eastern Daylight Time on Monday, April 17th,               13:12:51

       5             2023.                                                      13:12:54

       6                        Please note that the microphones                13:12:56

       7             are sensitive and may pick up whispering and               13:12:58

       8             private conversation.         Please mute all              13:13:02

       9             cellphones at this time.                                   13:13:04

      10                        This is Media Unit 1 of the                     13:13:05

      11             video-recorded deposition of Andy Birchfield               13:13:06

      12              in the matter of LTL Management LLC, filed                13:13:08

      13              in the United States Bankruptcy Court,                    13:13:13

      14             District of New Jersey, Case No. 23-12825.                 13:13:14

      15              This deposition is being held at Brown                    13:13:21

      16             Rudnick LLP, located at 7 Times Square, New                13:13:23

      17              York, New York.                                           13:13:26

      18                        My name is Paul Baker and I am the              13:13:28

      19              videographer.     The court reporter is Randi             13:13:29

      20              Friedman, and we are both from Veritext.                  13:13:31

      21              Appearances have been noted on the                        13:13:34

      22              stenographic record.                                      13:13:36

      23                        Will the court reporter please                  13:13:38

      24              swear in the witness.                                     13:13:47

      25                                                                        13:13:47

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                                                                           Page 28

       1                           A. Birchfield, Esq.

       2       BY MR. HAAS:                                                   13:36:50

       3              Q    So to summarize, Beasley Allen would               13:36:51

       4       be entitled to a share of the common benefit fund              13:36:56

       5       and a portion of its attorney fees that it                     13:36:59

       6       otherwise charged; right?                                      13:37:04

       7              A     If the court made that determination,             13:37:07

       8       yes.                                                           13:37:09

       9              Q    Okay.     And the fees you otherwise               13:37:10

      10       charge is a 40 percent contingency fee; correct?               13:37:11

      11              A    As a general rule, that's true.                    13:37:15

      12              Q    Yes.     So it's fair to say that in               13:37:17

      13       terms of the relative economic incentives,                     13:37:23

      14       because Beasley Allen is entitled to those                     13:37:29

      15       amounts from the common benefit fund outside of                13:37:32

      16       bankruptcy, but not entitled to those amounts                  13:37:34

      17       inside a bankruptcy, that Beasley Allen has an                 13:37:38

      18       economic incentive to resolve the cases outside                13:37:41

      19       of bankruptcy; correct?                                        13:37:46

      20                          MS. SLOCUM:     Objection.                  13:37:47

      21                          THE WITNESS:      No.     Our interest      13:37:48

      22              our interest is getting fair values for our             13:37:54

      23              clients, period.     And that is our goal.       And    13:37:56

      24              I have been steadfast.        I have been               13:38:02

      25              steadfast on the position that we are not --            13:38:06

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                                                                             Page 29

        1                          A. Birchfield, Esq.

        2             that I have urged, you know, everyone on our               13:38:09

        3             side and we have -- we have maintained the                 13:38:12

        4             position we are not going to have the common               13:38:15

        5             benefit, you know, fee issue become a                      13:38:18

        6             barrier to getting reasonable resolution,                  13:38:21

        7             fair values for our clients.                               13:38:26

        8       BY MR. HAAS:                                                     13:38:27

        9             Q      We'll come back to that in a moment,                13:38:27

       10       but you understand that as a general matter in                   13:38:29

       11       bankruptcy you would not be entitled to any                      13:38:34

       12       portion of a common benefit fund that you would                  13:38:36

       13       be entitled outside of bankruptcy; correct?                      13:38:39

       14             A      No, I do not.                                       13:38:42

       15                          MS. SLOCUM:     Object.         The witness   13:38:44

       16              is not here to testify to bankruptcy law.                 13:38:45

       17                          MR. HAAS:     He can answer the               13:38:47

       18              question.    If you want to instruct him not              13:38:47

       19              to answer                                                 13:38:49

       20                          MS. SLOCUM:     Don't answer the              13:38:50

       21              question.                                                 13:38:50

       22       BY MR. HAAS:                                                     13:38:51

       23              Q     Is it your view, Mr. Birchfield, that               13:38:51

       24       as a general proposition you are entitled to the                 13:38:53

       25       common benefit fee in bankruptcy?                                13:38:56

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                                                                          Page 47

        1                           A. Birchfield, Esq.

        2                          MR. HAAS:     I'm curious, because I       13:57:43

        3             want to make sure the record is absolutely              13:57:44

        4             clear.                                                  13:57:46

        5                          MS. SLOCUM:     I'm objecting on work      13:57:46

        6             product.     This line of questioning is                13:57:48

        7             totally improper.                                       13:57:50

        8                          MR. HAAS:     Absolutely not.     Let me   13:57:51

        9             ask it one more time so we can get a clean              13:57:53

       10             objection.                                              13:57:56

       11       BY MR. HAAS:                                                  13:57:57

       12             Q        Mr. Birchfield, with respect to the            13:57:57

       13       claims for which Beasley Allen represents, other              13:57:59

       14       than ones for which Beasley Allen has a                       13:58:04

       15       co-counsel relationship, are those talc claims                13:58:07

       16       securitization or collateralization for any                   13:58:12

       17       financing provided to Beasley Allen?                          13:58:16

       18                          MS. SLOCUM:     Objection.      I'm        13:58:18

       19             going                                                   13:58:19

       20                          THE WITNESS:      I want to answer         13:58:20

       21              this; okay?                                            13:58:21

       22                          Because there has -- Beasley               13:58:24

       23             Allen -- there was the allegation made that             13:58:26

       24              Beasley Allen is so heavily indebted that we           13:58:29

       25              could not accept the proposal, and that                13:58:32

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                                                                          Page 48

       1                         A. Birchfield, Esq.
       2             is     that is categorically false.         We have     13:58:35
       3             not.   We have not obtained litigation                  13:58:40
       4             financing or funding for our talc claims.               13:58:44
       5       BY MR. HAAS:                                                  13:58:47
       6             Q      Thank you for that.        Let me just           13:58:48

       7       clarify, since you opened the door to the                     13:58:49
       8       questioning, do the talc claims for which Beasley             13:58:52
       9       Allen is representing the individual claimants                13:58:56
      10       act as securitization or collateralization for                13:59:02
      11       any financing?                                                13:59:06
      12                         MS. SLOCUM:     Again, objection.           13:59:08
      13              I'm going to instruct the witness not to               13:59:08
      14              answer.                                                13:59:10
      15                         MR. HAAS:     Are you interrupting          13:59:10
      16              me?   You just asked me not to interrupt you.          13:59:11
      17              Let me get the question on the record.         If      13:59:13
      18              you want to object -- he just opened the               13:59:13
      19              door to this.                                          13:59:13
      20       BY MR. HAAS:                                                  13:59:17
      21              Q      Let's try to get a clean record,                13:59:18
      22       Mr. Birchfield.                                               13:59:20
      23                    Again, do the talc claims that Beasley           13:59:21
      24       Allen represents the individual talc claimants                13:59:23
      25       constitute securitization or collateralization                13:59:27

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                          EXHIBIT D
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       REFINITIV STREETEVENTS
       EDITED TRANSCRIPT
       JNJ.N - Johnson & Johnson Announces Plan by its Subsidiary, LLT
       Management Conference Call

       EVENT DATE/TIME: MAY 01, 2024 / 12:00PM GMT

       OVERVIEW:
       Company Summary




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 MAY 01, 2024 / 12:00PM, JNJ.N - Johnson & Johnson Announces Plan by its Subsidiary, LLT Management
 Conference Call

CORPORATE PARTICIPANTS
Erik Haas Johnson & Johnson - Worldwide Vice President of Litigation
Jessica Moore Johnson & Johnson - VP of IR
Joaquin Duato Johnson & Johnson - CEO & Chairman
Joseph J. Wolk Johnson & Johnson - Executive VP & CFO


CONFERENCE CALL PARTICIPANTS
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Jayson Tyler Bedford Raymond James & Associates, Inc., Research Division - MD & Senior Medical Supplies and Devices Analyst
Lawrence H. Biegelsen Wells Fargo Securities, LLC, Research Division - Senior Medical Device Equity Research Analyst
Matthew Stephan Miksic Barclays Bank PLC, Research Division - Research Analyst
Vamil Kishore Divan Guggenheim Securities, LLC, Research Division - MD of Healthcare Research & Senior Equity Research Analyst


PRESENTATION
Operator
Good morning, and welcome to Johnson & Johnson's Investor Conference Call. (Operator Instructions). This call is being recorded. (Operator
Instructions)

I would now like to turn the conference over to Johnson & Johnson. You may begin.


Jessica Moore - Johnson & Johnson - VP of IR
Hello. This is Jessica Moore, Vice President of Investor Relations for Johnson & Johnson. We appreciate everyone joining us on such short notice to
review today's announcement regarding the proposed plan by the company's subsidiary, LLT Management, or LLT, to resolve all current and future
ovarian talc claims.

Joining me on today's call are Joaquin Duato, Chairman and Chief Executive Officer; Joe Wolk, Executive Vice President and Chief Financial Officer;
and Erik Haas, Worldwide Vice President of Litigation. Following the call, you can find the presentation and additional supplemental resources on
the Investor Relations section of the Johnson & Johnson website at investor.jnj.com.

Please note that today's presentation contains forward-looking statements. You are cautioned not to rely on these forward-looking statements,
which are based on current expectations of future events using the information available as of the date of this recording and are subject to certain
risks and uncertainties that may cause the company's actual results to differ materially from those projected.

A description of these risks, uncertainties and other factors can be found in our SEC filings, including our 2023 Form 10-K, which is available at
investor.jnj.com and on the SEC's website.

I'll now turn the call over to Joaquin.




                                                                                                                                                                             2

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 MAY 01, 2024 / 12:00PM, JNJ.N - Johnson & Johnson Announces Plan by its Subsidiary, LLT Management
 Conference Call

Joaquin Duato - Johnson & Johnson - CEO & Chairman
Thanks, Jess, and thank you, everyone, for joining us. Let me start by recognizing the importance of this topic for all our credo stakeholders. As you
have heard me say before, our intention with respect to talc litigation is to bring a responsible final and comprehensive resolution to these claims,
as we continue our work to deliver life-changing innovation, medicines and technologies to patients.

And with today's announcement, we are making meaningful progress in our efforts to do just that. Today's announcement reflects our unwavering
commitment to our credo and the responsibilities we have to all those who count on us. Our sharpened focus, strong operational performance
and progress in our portfolio and pipeline gives me great confidence in the trajectory of our business.

Johnson & Johnson's impact across the full spectrum of health care is unique in our industry. And I'm more convinced than ever that we are going
to lead the next wave of innovation on behalf of patients.

And with that, I will now turn it over to Erik.


Erik Haas - Johnson & Johnson - Worldwide Vice President of Litigation
Thank you, Joaquin. The plan we announced today enables the company to resolve all current and future ovarian talc claims through a consensual
prepackaged reorganization by the company's subsidiary, LLT. This will result in the resolution of 99.75% of all pending talc lawsuits against Johnson
& Johnson and its affiliates in the United States.

The small number of remaining talc personal injury lawsuits relate to mesothelioma and are being addressed outside of the plan. In that regard,
the company has already resolved 95% of the mesothelioma lawsuits filed to date. In addition, the talc-related consumer protection claims asserted
by states against the company already have been resolved through consensual settlements outside of bankruptcy. And for completeness, the
company recently reached an agreement in principle to resolve all talc-related claims asserted against it in the bankruptcy cases filed by the
suppliers of its talc, Imerys and Cyprus.

Now as a reminder, in the July 2023 dismissal of LLT's prior bankruptcy case, the New Jersey Bankruptcy Court noted that the company had made
remarkable progress towards achieving an efficient and expeditious settlement of all claimants and strongly encourage the company to continue
to pursue a comprehensive resolution through another bankruptcy. We followed that directive, and today's announcement is a culmination of
those efforts. We firmly believe this plan is in the best interest of claimants and should receive a favorable vote and immediate confirmation from
the bankruptcy court.

Notably, the counsel representing the overwhelming majority of current ovarian claimants helped develop and support the proposed plan for
good reason. First, this plan commits to pay ovarian claimants a present value of approximately $6.5 billion, which will be paid over 25 years and
is a far better recovery than what claimants stand to recover at trial. Second, the company has prevailed in approximately 95% of ovarian cases
tried, including every ovarian case tried over the last 6 years. As that track record shows, most ovarian claimants have not recovered, nor are they
expected to ever recover anything at trial. Third, at the rate of which these cases have been tried, it would take decades to try the remaining cases,
meaning most claimants will never see their day in court.

Finally, in March of this year, the judge presiding over the multi-district litigation, where 93% of the ovarian claims are filed, agreed to reconsider
the scientific validity of the opinions offered by plaintiffs' experts in a renewed Daubert hearing. If plaintiff opinions fail that review, all the ovarian
claims should then be dismissed. We fully expect that will be the result because the opinions of plaintiff experts are irreconcilable with the research
conducted for decades by independent experts as well as governmental and regulatory bodies. Johnson & Johnson's talc products are safe, do not
contain asbestos and do not cause cancer, and none of the talc-related claims against the company have any merit whatsoever.

In terms of next steps, the plan provides for a 3-month solicitation period, in which the ovarian claimants will be informed of its terms and will have
the opportunity to vote for or against the plan, something they were denied and deprived of in the previous bankruptcy cases due to the efforts



                                                                                                                                                                             3

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by plaintiff lawyers representing a small minority of claimants. Should the supermajority of the claimants or 75% vote in favor of the plan, [a
Company subsidiary] (corrected by company after the call) may then file a consensual prepackaged Chapter 11 bankruptcy to secure confirmation.

During the solicitation period, the company remains firmly committed to pursuing the other 3 pathways towards a comprehensive resolution that
we laid out last year, including: first, appealing the dismissal of LLT's prior bankruptcy case up through the Supreme Court, if necessary; second,
aggressively litigating in the tort system against the claimants who elect not to settle during the solicitation period, and proceeding with the
Daubert hearings in the MDL; and third, challenging the abuses of the mass tort plaintiffs' bar and its experts with our own affirmative actions.

In closing, the plan announced today demonstrates our substantial commitment to resolving the outstanding talc claims is in the best interest of
all ovarian claimants and the company and, therefore, should put an end to this litigation.

I will now turn the call over to Joe.


Joseph J. Wolk - Johnson & Johnson - Executive VP & CFO
Thanks, Erik. You may be wondering how this announcement, along with the financial commitment in prior bankruptcy cases impacts the company's
total outstanding liability for talc litigation. Let me walk you through where we stand today. As of year-end 2023, the company had a total reserve
of approximately $9 billion. When you take into account today's proposed plan for a comprehensive resolution of the ovarian claims and other
already settled claims, the company recorded an incremental charge of approximately $2.7 billion in the first quarter 2024 results.

As mentioned on our first quarter earnings call, the company incurred payments in furtherance of achieving a resolution, netting to a present value
reserve balance of approximately $11 billion or a nominal value of $13.7 billion payable over 25 years. Additional details can be found in our first
quarter 2024 Form 10-Q filed this morning and in the plan documents. While Johnson & Johnson stands behind the safety of its talc, with the
support of counsel representing the overwhelming majority of current ovarian claimants, we believe this proposed plan is in the best interest of
both ovarian claimants and the company.

We appreciate that the talc litigation has been on the minds of our investors and, in particular, how this litigation impacts Johnson & Johnson's
ability to execute upon our capital allocation priorities. The settlement agreements have payout schedules that span up to 25 years. So while we
feel any settlement is unjust based on science, this has not and will not impact Johnson & Johnson's ability to execute on our capital allocation
strategy, as you have observed in recent years with record levels of R&D investment, continued annual increases of our dividend, value-creating
strategic acquisitions like Abiomed, Ambrx and the pending Shockwave transaction and share repurchase programs.

Our annual free cash flow generation and robust balance sheet will continue to solidify an already strong financial foundation and fuel further
investment leading to growth for our business and returns to our shareholders.

We now welcome your questions regarding today's announcement, and kindly ask Kevin to provide instructions and begin the Q&A portion of the
call.




QUESTIONS AND ANSWERS
Operator
(Operator Instructions) Our first question is coming from Chris Schott from JPMorgan.




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Christopher Thomas Schott - JPMorgan Chase & Co, Research Division - Senior Analyst
Great. Thanks so much for hosting the call today and for the question. I just want to make sure I'm clear, just kind of bigger-picture question. Can
you just go over what you view as, I guess, the major differences with the announcement today versus, I guess, the attempt or the structure you
put forward in April of 2023? Is it simply kind of a larger settlement figure? Is it just wanting plaintiffs to get the ability to express a vote? Is it the
updated Daubert hearing? I'm just trying to get a sense of just like where are we today versus where we were in April of '23.


Erik Haas - Johnson & Johnson - Worldwide Vice President of Litigation
Yes, that's a great question. And you hit on some key considerations, but maybe I can put it into context. First and foremost, what we are doing
today is materially different from the prior bankruptcies in two significant respects. First, what we are doing here is we are proposing a consensual
prepackaged bankruptcy reorganization. And what that means is that we are going out with a solicitation to determine whether the supermajority
or 75% of the claimants support the plan before we make a filing in bankruptcy.

So we're not filing a bankruptcy today or tomorrow. We have a 3-month solicitation period after which, subject to securing the requisite 75% vote
that we are required to obtain in order to file, we will then elect whether to file at that point in time.

Now let me just pause there. We fully expect to get that 75% vote for a number of reasons. First, as you may have seen in the LTL 2 bankruptcy last
fall during the hearing in June of 2023, the court asked us what the relative support was for and against the bankruptcy resolution at that time.
And at that time, the votes in favor or the counsel representing what the votes were in favor of the claim was approximately 70%.

Now based upon our communications with the counsel who we've been negotiating for the last year since the dismissal of the LTL bankruptcy,
we now feel we have a much more robust and higher percentage of supporting vote. So the first difference is that the claimants get to decide.
What we fundamentally are seeking to do is let the claimants' vote and decide whether this is in their best interest. Because in the prior bankruptcies,
we never got there because a very small vocal contingent of plaintiff lawyers prevented that vote from happening. So that's the first and most
significant distinction.

The second is that this is an ovarian-only prepackaged bankruptcy resolution proposal. And that's important because going back to where we were
in July of 2023 when the LTL 2 bankruptcy was dismissed, we had basically 4 categories of claimants. We had the ovarians, we had the mesothelioma
claimants, we had the states and we had the bankruptcies claimants that were from our suppliers, which was pending in the Imerys and Cyprus
bankruptcies before Judge Silverstein.

What we have done since July 2023 is we have worked with counsel for each of those constituents in order to get us to where we are today. And
in significant respect, what we've done is we resolved all other categories of claimants other than the ovarian claimants. And what do I mean by
that? Well, let me start with the proposition of what the court's order was in the July 28 dismissal decision. What the judge said, Judge Kaplan said,
was up to this time, notwithstanding that I'm dismissing the parties, both the LTL and the plaintiff lawyers had made "remarkable progress to
achieving a comprehensive and final resolution," and he strongly encouraged, and those were his words, that we continue that process to reach
a final global resolution through another bankruptcy.

And we followed that directive and that's what we did going forward. And we were since then working with the mesothelioma plaintiffs first. We
were able to resolve the 95% of the claims that have been filed to date and effectively put an end to that litigation with the exception of one law
firm whose claims are pending, and we are working on the resolution of that claim.

The second category is the states, and we have now entered into settlements with the states. Two states had pending litigations, and there was a
coalition of 43 states that had asserted claims, and we have reached final and comprehensive settlements with respect to those state consumer
protection claims.

And third, the debtors, the Imerys and Cyprus debtors. Likewise, we entered into negotiations with them, and we were able to resolve and settle
all claims in those bankruptcies against the company. So now what we are left with are the ovarian claims.


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And the reason why we are pursuing in the manner that we are is because we have the significant support of the overwhelming majority of the
claimants based upon our communications with their counsels and representation. So those are the significant differences between what was
previously the case and what is currently the case.


Operator
Our next question is coming from Larry Biegelsen from Wells Fargo.


Lawrence H. Biegelsen - Wells Fargo Securities, LLC, Research Division - Senior Medical Device Equity Research Analyst
Erik, my question is around third-party release. Is there one here? Will the bankruptcy cut off liability for future claims? And what will happen to
new claims filed going forward? And just lastly, how confident are you the courts will support this given that this has been a hangup in other
product liability litigation that's ongoing.


Erik Haas - Johnson & Johnson - Worldwide Vice President of Litigation
Excellent question and very important, and it's a key to what the proposal is that we are making. So let me walk through those third-party releases.
So we all are quite aware that there's a case before the Supreme Court, the Purdue case, that is addressing the legitimacy of third-party releases.
That is in the context of non-asbestos claims. And the releases in that case were pursuant to 105(a) of the bankruptcy code.

We are moving under a different section in addition to 105, but we are moving primarily under 524(g) of the bankruptcy code, which explicitly
allows for third-party releases. And if you listened to the Purdue argument before the Supreme Court last fall, that was a distinction that was actually
made. The argument was, well, should Purdue be entitled to the third-party releases under its plan when the code did not explicitly provide for it
as it did in the context of 524(g), which we are moving under.

So from the perspective of third-party releases, yes, that's a component of the plan. It's a necessary component of the plan to resolve any doubt
with respect to finality because in this case, the third-party would-be Johnson & Johnson. But Johnson & Johnson has an indemnification right
against the underlying debtors, so there are no valid claims against Johnson & Johnson, which distinguishes it factually from the Purdue matter.

But more importantly, what we have here is a different statutory regime, which allows us to obtain the third-party releases and really sets us apart
from that prior precedent. And then the second question was, yes, is whether to what extent we believe the court would support this proposal.

Fundamentally, the difference again is that we are going into the bankruptcy this time with the support of the supermajority of the claimants. This
is a prepackaged Chapter 11 reorganization. Courts look at these fundamentally different than they look at the prior bankruptcies that we went
into. And importantly here, one component of that is and why they look at it differently is we are not asking for a stay of any litigation outside the
bankruptcy before we get that vote. In fact, we are embracing the idea that we are moving forward with the litigation in the tort system and
particularly with respect to the ovarian claims in the MDL, where 94% of those claims are housed and specifically having a renewal of the Daubert
hearing in those proceedings.

So we are moving on parallel paths, and we expect that, particularly given the leverage that we have in the tort system as a consequence that we
will be securing the requisite vote, that's what we've heard from the counsel that we've been working with that will represent the claimants. And
once we get the requisite vote and submit it to the court, we would expect a prompt resolution.


Operator
Your next question is coming from Jayson Bedford from Raymond James.



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Jayson Tyler Bedford - Raymond James & Associates, Inc., Research Division - MD & Senior Medical Supplies and Devices Analyst
Just maybe a quick one for me, and I apologize if it's in the public domain already. But what's the timing on the Daubert reconsideration? And how
does that fit into the 3-month solicitation window?


Erik Haas - Johnson & Johnson - Worldwide Vice President of Litigation
Yes. Great question because it really goes to my last answer in how these two parallel pathways are aligned. The Daubert motion was ordered by
the court on March 27. The moving papers will be submitted in July, and the opposition papers will be submitted on August 22. There is a 3-month
solicitation period under the proposed plan, which commences on May 1 and runs through July 26. Once the results of that solicitation are processed,
we will know right about the time when the opposition papers are filed in the Daubert motion where we stand with respect to the vote. And
therefore, we will be able to make an educated determination as to what is the best pathway forward for both claimants and for us.

And in the event that we don't secure the vote, obviously, we'll just move forward with the Daubert proceeding, and we fully expect to prevail in
that case. But in the event that we do secure the requisite vote, then we will have the opportunity to make a determination at that time given all
the information before us, whether to file.


Operator
Our next question is coming from Matt Miksic from Barclays.


Matthew Stephan Miksic - Barclays Bank PLC, Research Division - Research Analyst
Congrats on the progress here so far. So one question, I think, that investors ask often is sort of what is the breakdown, the helpful statistics that
you gave around the percentage of claims remaining under ovarian and the percentage of claims under mesothelioma that you resolved so far.
But maybe just taking again kind of a top-down view, the numbers last year being thrown around were kind of approaching in the 100,000 range.

If you could possibly walk through what's the total universe of claims and maybe come through the numbers that way to explain which segments
have been resolved and kind of what's the numbers behind the claimants, if that's possible? And then I have one quick follow-up.


Erik Haas - Johnson & Johnson - Worldwide Vice President of Litigation
Thank you for the question. So 4 categories of claims, I'll take the two easy ones. First, the claims asserted in the bankruptcy proceedings by Imerys
and Cyprus, 100% resolved. Those claims are done. Claims asserted by the states, 100% resolved. That leaves the personal injury claims, both
mesothelioma and the ovarian claims.

The ovarian claims constitute far more than the vast majority. We're talking about anywhere from 85,000 to 100,000 claims, depending upon the
ultimate process that we go through in vetting those claims. In contrast, in the mesothelioma, we're talking hundreds of claims, right? So there's
approximately, I would say, 153, if my numbers are correct with respect to the mesothelioma claims filed, 68 of which remain with one single law
firm and the other ones are sort of one-offs. So we have resolved all of the significant portfolios of mesothelioma claims, 95% of the claims filed to
date.

So that's the mesothelioma world, and that's why we view those as fundamentally resolved. That also explains why we resolved the mesothelioma
claims outside of bankruptcy and the ovarian claims inside of bankruptcy. Hundreds of claims to resolve outside of bankruptcy is manageable, and
it's also consistent with the established, long-established mesothelioma model that exists outside of bankruptcy, in which we leverage but more
in the settlement context rather than through a court-ordered escrow approach.



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That's a stark contrast to, let's call it, 100,000 claims in the ovarian bankruptcy, which you fundamentally need and require a process such as we
are going through with the bankruptcy court, in this case, a prepackaged consensual bankruptcy proceeding in order to seek a resolution. So really,
the vast -- overwhelmingly vast and really the most significant volume of claims are the ovarian claims. But a couple of important notes there. The
ovarian claims also are the ones that have been the least successful of any claims that have been asserted to date. We have prevailed in 95% of the
ovarian claims tried. That's 16 out of 17 cases tried, we have prevailed in every single one of those cases tried in the last 6 years. We prevailed in
every one of those cases tried this year.

The one major law firm that has been the opponent of a resolution, the Beasley Allen firm, has lost every single claim they have brought to trial.
13 out of 13, they've lost. They've never recovered a dime for their client. That is why this makes sense for those claimants. We are proposing a
resolution that will allow claimants to recover in a reasonable time frame, a significant amount and more than amount than that would otherwise
recover in settlements outside of this process. And that is from any measure, objective or subjective, an equitable and efficient resolution from
their perspective.


Operator
Our final question today is coming from Vamil Divan from Guggenheim.


Vamil Kishore Divan - Guggenheim Securities, LLC, Research Division - MD of Healthcare Research & Senior Equity Research Analyst
Great. I guess just one to clarify for me. I think you may have touched on this a little bit, but you said 75% of claimants vote in favor in the sort of
prepackaged bankruptcy. Is there any reason attorneys that are holding out and not agreeing or the claimants then holding out are not going to
just sue them and say that this ultimately should not end up in the bankruptcy side? I guess that's one thing I've been confused about from before.
So I'm wondering how this overcomes that potential challenge if people still are arguing that bankruptcy is not the right path for this.


Erik Haas - Johnson & Johnson - Worldwide Vice President of Litigation
Yes. Great question to end on. So the primary opponent to resolving anything in bankruptcy as the individual I just referenced, it's the Beasley
Allen firm and, in particular, Andy Birchfield, who has opposed any resolution through bankruptcy. Because as he testified in the last bankruptcy
proceeding in June of 2023, that he has an economic incentive not to resolve his claims in bankruptcy, and we believe that presents an inherent
conflict with the interest of his claimants.

The reason why he has a conflict of interest is because he sits on the plaintiff Executive Committee as he testified. And as he testified, it is his firm
that stands to recover the vast amount of the common benefit fund amount that is allowed in the multi-district litigation for any recovery obtained
outside of bankruptcy. So he stands to recover 12% from everybody else, all the other law firms that have been litigating this matter on top of the
40% fee he charges and admitted he charges his claimants.

So he would lose a lot of money outside of bankruptcy. And within bankruptcy, that would not be available because the plan calls for each of the
claimants' counsel to earn their respective amount. So he has been the most vocal opponent to the bankruptcy proceeding to date and continues
to be so. I don't see that as an impediment to this resolution for a number of reasons.

First of all, it is this vote that will dictate the claimants get to speak, the claimants' voices get to be heard, and that's the major distinction here. And
if the vote is greater than 75%, it doesn't matter that he perhaps persuades his own claimants not to vote in favor of it. And by the way, he doesn't
get a vote, his claimants do. So I would say that I would expect his claimants to take this deal because it's a good deal in any event. But regardless,
it is the vote that matters at the end of the day.

And so that's one significant reason why I don't think it's going to matter. The other significant reason is I think there's a really good chance that
he won't be around for much longer representing his claimants. We have moved to disqualify the Beasley Allen firm from representing claimants
in this action as a consequence of their ethical breaches that arose from the Beasley Allen firm and, in particular, Mr. Birchfield, entering into an

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alliance with a former counsel of J&J. And that is a gross and egregious breach of the ethical obligations of the former counsel as well as Mr. Birchfield
and his firm, and that issue is currently being litigated before both the federal and the state cases. The final day of that hearing is on Friday. And
we'll have post-trial briefing and then we will determine whether or not Mr. Birchfield has any grounds to raise any objections in any event.

Final point with respect to anyone else who might not be in favor of this proposal, they don't have the standing to do so. This is an ovarian-only
case. The parties withstanding are the claimants that have the opportunity to vote in favor of this plan. The mesothelioma claims are being addressed
outside of this bankruptcy, as I indicated. And to the extent there's one or perhaps two claimants that law firms have decided not to resolve, we
will address those claims outside of bankruptcy.

So the parties withstanding to object to this are the claimants' counsel that are participating in the bankruptcy. And the only real significant
objections that they could have is to process. And the process we are following is much more stringent and much more compliant with the code
than your typical process. So I feel very strongly that there will be no legitimate basis for objecting to this process. Because in the end, it's the
claimants. We let the claimants vote, let the claimants decide if they choose this is in their best interest, it should be confirmed.


Jessica Moore - Johnson & Johnson - VP of IR
Thank you, Vamil, and thanks to everyone for your questions and your continued interest in our company. We apologize to those that we couldn't
get to because of time, but don't hesitate to reach out to the Investor Relations team with any remaining questions you may have.

I will now turn the call back over to Erik and Joaquin for some brief closing remarks.


Erik Haas - Johnson & Johnson - Worldwide Vice President of Litigation
Thanks, Jess. So let me just reiterate the key takeaways from today's announcement. The plan is focused on current and future ovarian talc claims
and would resolve 99.75% of all pending talc claims. The company has already resolved 95% of the mesothelioma lawsuits filed to date as well as
all state claims and all claims against the company arising in the Imerys and Cyprus bankruptcy.

The plan differs significantly from the prior reorganization as it allows claimants to have their voice heard with a vote, which was denied to them
by lawyers representing a small minority of claimants in the prior bankruptcy. We are letting the claimants decide the outcome. We fully expect to
secure a favorable vote as the plan is in the best interest of the ovarian talc claimants, as most ovarian talc claimants have not recovered and will
not recover anything at trial. And at the current run rate, most claimants will never get their day in court.

In addition, the plan was developed with the assistance and the support of counsel representing the overwhelming majority of the current claimants.
So we know the likely of success is high. Overall, the plan enables Johnson & Johnson to ultimately resolve its talc litigation and to move on with
what Johnson & Johnson does every day, which is to develop life-saving therapies for patients.


Joaquin Duato - Johnson & Johnson - CEO & Chairman
Thanks, Erik. And as Erik has commented, the focus of Johnson & Johnson always has been and will continue to be delivering life-saving solutions
and technologies for patients. Today's announcement enables the company to resolve its talc litigation and continue our efforts in leading the
next wave of health innovation. Thank you. Have a nice day.


Operator
Thank you. This concludes today's Johnson & Johnson Investor Conference Call. You may now disconnect.




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                                     BA_0055                  MURDICA_0019
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                                     BA_0056                  MURDICA_0020
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                                     BA_0057                  MURDICA_0021
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                                     BA_0058                  MURDICA_0022
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                                     BA_0059                  MURDICA_0023
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                                     BA_0060                  MURDICA_0024
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                                     BA_0061                  MURDICA_0025
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                                     BA_0062                  MURDICA_0026
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                                     BA_0063                  MURDICA_0027
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                                     BA_0064                  MURDICA_0028
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                                     BA_0065                  MURDICA_0029
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                                     BA_0066                  MURDICA_0030
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                                     BA_0067                  MURDICA_0031
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                                     BA_0068                  MURDICA_0032
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                                     BA_0069                  MURDICA_0033
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                                     BA_0070                  MURDICA_0034
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                                     BA_0071                  MURDICA_0035
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                                                         UNITED STATES DISTRICT COURT
                                                            DISTRICT OF NEW JERSEY
                                                    Civil Docket No. 3:16-md-2738-FLW-LHG
                                   _____________________________
                                     IN RE:
                                                                                   THREE MOTIONS TO
                                     JOHNSON & JOHNSON TALCUM
                                     POWDER PRODUCTS MARKETING,                    QUASH AND/OR FOR
                                     SALES PRACTICES AND PRODUCTS
                                     LIABILITY LITIGATION                          PROTECTIVE ORDER


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                                                                MONDAY, JULY 1, 2024
                                                                   *      *     *       *


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                           1               SPECIAL MASTER SCHNEIDER: Let's go on          1   This is Richard Golomb. I'm here for the PSC.
                           2     the record.                                              2            SPECIAL MASTER SCHNEIDER: All right.
                           3               Good afternoon, everybody.                     3   And if anyone else is going to be heard today, just
                           4               MR. LaKIND: Good afternoon, your               4   for the benefit of the court reporter, just indicate
                           5     Honor.                                                   5   your name.
                           6               SPECIAL MASTER SCHNEIDER: This is              6            For the Defendants?
                           7     Special Master Retired Judge Schneider. We're here       7            MR. BUSH: This is Matt Bush on behalf
                           8     for oral argument this afternoon on three motions to     8   of the Defendants. And with me are Kristen Fournier
                           9     quash and/or for protective order.                       9   and Susan Sharko.
                          10               I want to inform the parties that I'm         10            SPECIAL MASTER SCHNEIDER: Okay.
                          11     going to reserve decision at the end of the oral        11            Counsel, I've read the papers. I
                          12     argument, but I expect that you'll get a prompt         12   understand the issues, so we don't have to repeat
                          13     decision.                                               13   verbatim what's in the papers.
                          14               Why don't we start by just getting the        14            You've been here before, you know how I
                          15     entries of appearance. Let's start with the moving      15   like to do things. I live to address certain
                          16     parties. I suppose we'll start with Beasley Allen.      16   questions I have with the parties and then open the
                          17               MR. POLLOCK: Good afternoon, Judge.           17   floor up to give every party every opportunity they
                          18     This is Jeff Pollock from Fox Rothschild. I'm joined    18   want to be heard for as long or as short as they want
                          19     by my colleague, Michael Sabo, and also representing    19   to be heard.
                          20     Andy Birchfield as well, sir.                           20            So let me, if you'll just indulge me,
                          21               MR. LAKIND: Good afternoon, your              21   let me just address a couple of questions I have.
                          22     Honor. This is Arnold LaKind of Szaferman, LaKind,      22            The first issue I'd like to address is
                          23     Blumstein & Blader on behalf of the Allen Smith Law     23   the issue of the objections to the subpoenas
                          24     Firm.                                                   24   regarding service. Obviously I'm not prejudicing
                          25               MR. GOLOMB: Good afternoon, Judge.            25   anyone. If you want to assert that defense, it's


                                                                           Page 8                                                       Page 9
                           1     perfectly appropriate, we'll deal with it. My            1             SPECIAL MASTER SCHNEIDER: Okay.
                           2     preference would be that the parties agree to accept     2             So for purposes of this argument, I'll
                           3     service of the subpoena, so we can get right to the      3   deem the service issues to be not asserted so we can
                           4     substantive issue and deal with that. But again,         4   just get right to the crux of it.
                           5     it's not my place nor do I want anyone not to do what    5             So Defendant, in one of the letters
                           6     they think is in their best interests of the parties.    6   that I received, there was a summary of the three
                           7               So let's hear from each of the moving          7   categories of documents that are at issue in the
                           8     parties.                                                 8   case. And I just wanted to make sure we're all on
                           9               Are they still asserting an objection          9   the same page.
                          10     that service, I guess, of the subpoenas was improper?   10             One, documents regarding litigation
                          11               And why don't we start with Beasley           11   financing, including communications with third
                          12     Allen.                                                  12   parties.
                          13               MR. POLLOCK: So on behalf of Beasley          13             Two, communications with third parties
                          14     Allen, we don't have a significant objection on         14   regarding settlement.
                          15     service. Andy is a counsel in the matter here.          15             And three, parties' communications with
                          16     Beasley Allen is here before this Court. Obviously      16   third parties regarding Defendant's proposed
                          17     we have other objections, but we're here, your Honor,   17   reorganization.
                          18     we're ready to go.                                      18             Is it fair to state that in general
                          19               SPECIAL MASTER SCHNEIDER: Plaintiffs'         19   terms those are the three categories of documents
                          20     Steering Committee?                                     20   that the Defendants want?
                          21               MR. GOLOMB: Same.                             21             MR. POLLOCK: The only caveat I would
                          22               SPECIAL MASTER SCHNEIDER: And Smith           22   throw out there, Judge, is I believe that Plaintiffs
                          23     Law Firm?                                               23   have withdrawn the last two categories which dealt
                          24               MR. LAKIND: Yes, your Honor. Same             24   with the news services, so I think that that narrows
                          25     position.                                               25   down the field a little bit.


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                           1               SPECIAL MASTER SCHNEIDER: Correct.              1   we're looking for.
                           2               Mr. Bush?                                       2             SPECIAL MASTER SCHNEIDER: I'm a little
                           3               MR. BUSH: Yes, your Honor. I think              3   confused. I really don't understand the distinction
                           4     that the focus of the litigation funding, yes, I          4   you're making or the clarification you're making,
                           5     think that accurately -- at a high level, that            5   Mr. Bush. Because really, when I read the papers, I
                           6     summarizes the categories.                                6   got the impression that, as my mother would say, this
                           7               SPECIAL MASTER SCHNEIDER: All right.            7   whole megillah is just related to finding out if
                           8     It is a high level.                                       8   Beasley Allen has litigation financing and that's
                           9               And then the next question I had, at a          9   what's holding up -- or that's what is motivating its
                          10     very high level, is it correct that Defendant's          10   desire not to agree to the settlement.
                          11     inquiry is directed to finding out if the Beasley        11             MR. BUSH: Yeah, I agree with that,
                          12     Allen firm has litigation funding?                       12   your Honor, and I think my point is that that could
                          13               MR. BUSH: I would say yes to that,             13   come indirectly.
                          14     your Honor, with a small caveat, which is that the       14             So let me give you an example for why
                          15     funding isn't necessarily something that's going         15   I'm saying this. Which is Beasley Allen, and we know
                          16     directly to Beasley Allen. So the way I would phrase     16   this from testimony from Mr. Birchfield, they
                          17     it is whether the claims, the Plaintiffs that Beasley    17   obtained the majority of the cases from co-counsel
                          18     Allen represents and those claims, have litigation       18   arrangement. Even the vast majority. That's how
                          19     funding associated with it.                              19   they are aggregating the cases and most cases come to
                          20               And I can talk about it in more detail.        20   them is through co-counsel. They have hundreds of
                          21     I know you usually don't want full argument now, but     21   co-counsel relationships.
                          22     the funding could come, for example, through             22             And so those claims have to get
                          23     co-counsel arrangements to those claims. And so it's     23   aggregated in some way. For example, there is a lot
                          24     about the claims that are associated with Beasley        24   of advertising that goes on. There is TV ads. There
                          25     Allen and whether those claims have funding is what      25   is very targeted social media ads. There is a lot of


                                                                          Page 12                                                       Page 13
                           1      money that just goes into the general aggregation        1   interests in resolving the case whether or not the
                           2      process, which is how we get 60 thousand claims in       2   money is going directly to Beasley Allen or not.
                           3      this MDL, or nearly that amount as the second largest    3              So I totally agree with your Honor, the
                           4      MDL in the country.                                      4   gist of it is, is there litigation funding associated
                           5                And so those co-counsels who originate         5   with these Beasley Allen claims that is impacting the
                           6      the cases may be the ones who are -- may be, we          6   prolonged settlement that's been happening. And my
                           7      obviously don't know exactly how it works which is       7   only caveat is this could happen in an indirect way,
                           8      why we're seeking discovery, but what may be             8   even if they're not directly receiving funding. Or
                           9      happening is those co-counsels are getting the           9   they may be receiving funding, and I know we're going
                          10      funding and so the claims are associated with           10   to talk about that, but I hope that explains why I
                          11      funding. And then they're co-counseling with Beasley    11   was giving sort of a caveated answer before.
                          12      Allen who is prosecuting the claim.                     12              SPECIAL MASTER SCHNEIDER: Mr. Bush, is
                          13                And let me tell you why that matters.         13   this a concern that just has arisen for your clients
                          14                It matters because the way these              14   or is this something that has existed for quite
                          15      financial arrangements can work is that the             15   sometime?
                          16      litigation funders could have a right to get, say,      16              MR. BUSH: I mean I guess I would say
                          17      their money back on a certain amount.                   17   that we're always concerned about litigation funding,
                          18                So let's say, I'm just picking out a          18   but that it's been coming to a head recently with the
                          19      number, 500 million dollars is what's being             19   bankruptcy efforts that I know your Honor is familiar
                          20      associated with the litigation funding. It could be     20   with. But the settlement negotiations have gone on
                          21      that before any money is getting to the law firms,      21   for a while now and there seems to be something
                          22      that those litigation funders have a right to sort of   22   happening. And then would really brought it to a
                          23      money off the top, let's say, the first money that      23   head was the email where a client said that they were
                          24      comes in. And so if there is money associated with      24   told that J&J was unwilling to settle.
                          25      those claims, that can affect all of the co-counsels'   25              And so while we've had these concerns



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                           1     for a while, I think that email put these concerns       1   some context, there were only a couple law firms
                           2     into really stark contrast as to why is a client         2   representing a minute percentage of the claims in
                           3     being told that J&J is unwilling to settle when it is    3   this case through disclosed litigation funding. And
                           4     just an objective fact that we are willing to settle     4   it's just pursuant to Rule 7.1.1. And it's just not
                           5     and that there is a current settlement offer on the      5   plausible that so little litigation funding is out
                           6     table through the proposed bankruptcy.                   6   there for these claims.
                           7               So while these concerns have been              7              As I said, it's the second largest MDL
                           8     existing for a while, there was an event that really     8   in the country and aggregating these claims like that
                           9     prompted questions as to what are really the             9   costs money. This isn't a situation, we're not
                          10     interests going on here.                                10   living in a world where all Plaintiffs wake up one
                          11               SPECIAL MASTER SCHNEIDER: This is one         11   day and just get an epiphany to decide to sue J&J.
                          12     of the things I'm getting at, Mr. Bush.                 12   And we cited a law review article about this. This
                          13     Mr. Birchfield has testified twice under oath that he   13   is a very targeted process where claims are
                          14     doesn't have litigation funding for these talc cases.   14   aggregated in various ways, including through
                          15     Doesn't that put an end to this inquiry?                15   advertising. And so what happens is people seek out
                          16               MR. BUSH: No, your Honor, for the             16   those Plaintiffs. And those advertisements and lot
                          17     reasons that I just said, that the money doesn't have   17   of things like that cost money. And that money is
                          18     to necessarily be directly going to Beasley Allen.      18   so -- the mass tort world is filled with this
                          19               If there is a litigation funder that is       19   litigation funding. We're the second largest MDL in
                          20     getting the first X million dollars that comes in       20   the country. It is completely implausible that there
                          21     from a resolution, because of an agreement with         21   is no litigation funding going into these claims.
                          22     co-counsel, that is going to affect Beasley Allen's     22              SPECIAL MASTER SCHNEIDER: Do you
                          23     willingness and ability to settle. And so it might      23   doubt, Mr. Bush, that Mr. Birchfield testified
                          24     come in indirectly.                                     24   truthfully?
                          25               And I want to say, your Honor, just for       25              MR. BUSH: No, your Honor. But I think


                                                                          Page 16                                                     Page 17
                           1     it's a carefully worded testimony.                       1   that would have actually been something he was
                           2                It may very well be that Beasley Allen        2   allowed to testify about, I don't really know, or
                           3     is not directly receiving the money, but it still may    3   whether he would have been advised not to. But I
                           4     be that there is litigation funding for those claims     4   will say a lot of those -- there were questions asked
                           5     that has to get paid off first before Beasley Allen      5   that get to this point. The questions in both the
                           6     will see money from any resolution. And so even          6   hearing and the deposition, the testimony that came
                           7     if -- I see you have a question.                         7   out was, how do you get your claims? We get the
                           8                SPECIAL MASTER SCHNEIDER: Your client         8   majority of them or the vast majority of them through
                           9     cross-examined Mr. Beasley at his deposition in          9   co-counsel relationships. We have hundreds of
                          10     connection the LTL bankruptcy and cross-examined        10   co-counsel relationships. One of those is the Smith
                          11     Mr. Birchfield at the motions to disqualify hearing,    11   Law Firm, who they've had seven trials together with.
                          12     correct?                                                12   And the Smith Law Firm gets litigation funding.
                          13                MR. BUSH: That's correct.                    13             So there is clearly the claims that
                          14                SPECIAL MASTER SCHNEIDER: And he was         14   Beasley Allen is representing are getting litigation
                          15     asked about litigation funding during those             15   funding through their co-counsel relationships. So
                          16     proceedings and he testified under oath, right?         16   there was testimony generated about this exact topic
                          17                MR. BUSH: Yes.                               17   and about how this can come about even if Beasley
                          18                SPECIAL MASTER SCHNEIDER: So if your         18   Allen is not directly receiving a loan from a
                          19     client had a particular concern about litigation        19   litigation funder.
                          20     funding and this indirect concept that you're           20             SPECIAL MASTER SCHNEIDER: Why then did
                          21     raising, is it correct that they had an opportunity     21   not your client ask Mr. Birchfield about this
                          22     to ask him about it at that time?                       22   indirect funding issue that you're now raising?
                          23                MR. BUSH: As you saw in those                23             Why is this being raised for the first
                          24     transcripts, there was a lot of objections being        24   time now?
                          25     raised about all these different things. So whether     25             MR. BUSH: Your Honor, I can't go back



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                                                                          Page 18                                                      Page 19
                           1     in time and get into the head of the questioner other    1   not represent any.
                           2     than to say this issue was -- as I just said, it was     2              SPECIAL MASTER SCHNEIDER: Do you have
                           3     asked about, about aren't your co-counsel                3   any evidence, information that the Smith Law Firm
                           4     relationships getting litigation funding. So I think     4   represents any of the claimants in this lawsuit?
                           5     it was asked about. And the reason that we're asking     5              MR. BUSH: The information we have is
                           6     for this information now is just the reason that I       6   that Beasley Allen and the Smith Law Firm are
                           7     said, that one of Beasley Allen's clients was told       7   long-term partners. They had, I believe, seven
                           8     that J&J is not willing to settle, which is just not     8   trials they did together.
                           9     true. And she said in that last email, basically         9              If you're asking for direct evidence
                          10     just make me an offer, even though there is an offer    10   that we've gone in and seen their engagement letter
                          11     on the table. So that raised new questions about        11   that shows representation, of course we don't have
                          12     exactly how much -- what is driving that                12   that. But that's why we're seeking discovery. We're
                          13     communication and whether it's the financial            13   trying to piece this together and it seems to be
                          14     incentives from the litigation funding.                 14   being arranged in a way that at least could be
                          15               SPECIAL MASTER SCHNEIDER: Let me ask a        15   interpreted to avoid Rule 7.1.1. So things are being
                          16     couple of questions about the Smith Law Firm            16   shifted around and we're trying our best to figure
                          17     subpoena. The Smith Law Firm subpoena is not counsel    17   out this information.
                          18     of record in the case, correct?                         18              SPECIAL MASTER SCHNEIDER: So tell me
                          19               MR. BUSH: The Smith Law Firm is not           19   if this is a correct statement.
                          20     counsel of record in the case, meaning they have not    20              The Smith Law Firm is not counsel of
                          21     entered an appearance on behalf of any of these         21   record in the case and you have no evidence that you
                          22     people, any of the Plaintiffs in the MDL. And the       22   can cite to that indicates that indicates that the
                          23     declaration that was submitted, I think, is again       23   Smith Law Firm represents any claimant in this case?
                          24     very carefully worded. It says they are not counsel     24              MR. BUSH: Your Honor, I disagree with
                          25     of record to any Plaintiffs. It does not say they do    25   that because the evidence we have, and it may be


                                                                          Page 20                                                      Page 21
                           1     circumstantial, is that they are long-term partners      1   always going to be gaps in knowledge when someone is
                           2     that went to seven trials together. This isn't just      2   seeking discovery. It's the whole reason we're
                           3     we know of seven cases. They are close partners that     3   seeking discovery, is because we don't have every
                           4     went to seven trials together.                           4   piece of the information. That's always going to be
                           5                So it's not that big a leap to think          5   true.
                           6     that they may have representation in the MDL. And        6             The second thing is, let's assume, and
                           7     this is all about, your Honor, a global settlement to    7   I don't necessarily think this is right, but let's
                           8     try to resolve the MDL and the State court cases.        8   assume that co-counsel relationships, if a co-counsel
                           9     The common benefit funds which are at issue go to the    9   is getting litigation funding, that that falls
                          10     MDL cases and the State court cases. And we know        10   outside the scope of 7.1.1, or at least someone could
                          11     that historically these two law firms have partnered,   11   interpret it that way.
                          12     including with the State court cases, where there is    12             The way this all may be being set up is
                          13     direct evidence that they've had partnerships before    13   to avoid a disclosure under Rule 7.1.1 by splitting
                          14     and they have co-counsel.                               14   up who is appearing and splitting up who is getting
                          15                SPECIAL MASTER SCHNEIDER: Maybe this         15   the litigation funding. And there is no other way we
                          16     is a -- well, I forgot the term. But is it not true     16   can get at that information other than through trying
                          17     that you're speculating that the Smith Law Firm has     17   to seek it through discovery. And I think the Judge
                          18     any type of financial arrangement with Beasley Allen    18   Connolly case out of Delaware is a good example of
                          19     with regard to the talc claimants in this case?         19   how sometimes you have to ferret this information
                          20                Is it anything more than pure                20   out.
                          21     speculation?                                            21             And I know your Honor's decision in the
                          22                MR. BUSH: Your Honor, it's the same          22   Valsartan case, if I'm pronouncing that right,
                          23     answer. It's not speculation because of the evidence    23   discusses a lot of these cases and distinguishes
                          24     we have. And I'll say two more things to it.            24   them, but I think the main reason that that Nimitz
                          25                One is the whole reason -- there is          25   case is informative is because sometimes it just


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                           1     takes some work to figure out what's going on.           1   of talc. You don't know for sure those documents
                           2               The judge there put in a lot of effort,        2   exist. What evidence do you have that those
                           3     had a lot of hearings, I'm not saying we need all        3   documents exist? Well, it's plausible that it's
                           4     that, but it took some work to figure out why weren't    4   happening. You can call it speculation, but it's
                           5     these disclosure rules being complied with. Let's        5   not. And I think that's the same thing here,
                           6     get evidence from people, let's figure out what's        6   especially given the context of how much litigation
                           7     going on.                                                7   funding is just inherent in mass torts these days.
                           8               So sometimes, even though we have gaps         8   It's just totally implausible that these 60 thousand
                           9     in our knowledge, we need some effort, we need some      9   claims are getting aggregated with essentially no
                          10     discovery to figure out what's going on here. There     10   litigation funding. Someone is paying for all these
                          11     is always going to be gaps when there is discovery at   11   advertisements that are driving the 60 thousand
                          12     issue.                                                  12   lawsuits here.
                          13               SPECIAL MASTER SCHNEIDER: Would you           13              And we have that article that says you
                          14     agree as a general matter that discovery can't be       14   walk around Mass Torts Made Perfect and it's like a
                          15     based on speculation and conjecture?                    15   marketplace of aggregation and advertisement that's
                          16               MR. BUSH: I suppose if you ask me in          16   all paid for by litigation funding.
                          17     the abstract, can discovery be based on pure            17              So the idea that this case is immune
                          18     conjecture, I would say probably not. But I think if    18   from that when everyone else in the mass tort world
                          19     it's relevant and proportional to the needs of the      19   is getting litigation funding, I just don't think is
                          20     case, then yeah, you can have a significant lack of     20   plausible and furthers the evidence we have on why
                          21     knowledge about what's going on.                        21   this isn't speculative.
                          22               I mean every discovery request is give        22              SPECIAL MASTER SCHNEIDER: Mr. Bush,
                          23     me all your documents related to X. You don't know      23   I'm not concerned about litigation funding in general
                          24     that those documents exist or not. Give me all your     24   and you and your client's view of the litigation
                          25     documents about your review of the health and safety    25   funding business. I'm concerned with the motion


                                                                          Page 24                                                     Page 25
                           1     before us and the issues before us which directly        1   Beasley Allen?
                           2     concerns essentially only the Beasley Allen Law Firm     2              MR. BUSH: Yes. Because -- yes, and I
                           3     and tangentially the Smith Law Firm. So let's focus      3   don't want to repeat myself, but for the reasons I
                           4     our discussion on that and not what happens at MTMP,     4   said,, they're long-term partners, we knew from the
                           5     which is completely irrelevant to why we're here.        5   deposition that they were one of the co-counsel of
                           6     But let's focus in on the issues.                        6   Beasley Allen that gets litigation funding, and so
                           7                As long as we're on the Smith Law Firm,       7   there is litigation funding directed to those claims.
                           8     as I understand it, you're arguing that you found out    8   And so it's directly relevant to Beasley -- the
                           9     through a subpoena, supposedly, I'll accept it as        9   funding that Beasley Allen's claims is getting, which
                          10     true, that the Smith Law Firm has 24 million dollars    10   affects the financial incentives of the parties to
                          11     in litigation funding. And I suppose, as I              11   settle.
                          12     understand it, you believe that Ellington provides      12              SPECIAL MASTER SCHNEIDER: I don't want
                          13     that funding, is that correct?                          13   there to be any misunderstanding of your position,
                          14                MR. BUSH: I don't want to quibble            14   but as I understand it, you're arguing that because
                          15     about this, your Honor. It was originally provided      15   of some past relationships between Beasley Allen and
                          16     by Fortress, then there was litigation funding --       16   the Smith Law Firm, that somehow that gives you good
                          17     then it was refinanced by Ellington. And we think       17   grounds to discover whether they have any ongoing
                          18     the financing was far more than 24 million dollars,     18   relationship in this MDL?
                          19     but so Ellington is the one currently providing the     19              MR. BUSH: I don't think it's just past
                          20     litigation funding.                                     20   relationships. I think it's -- so the testimony is
                          21                SPECIAL MASTER SCHNEIDER: And is the         21   one of their co-counsels for these talc claims is the
                          22     reason you're directing a subpoena to the Smith Law     22   Smith Law Firm. And even if it were just past
                          23     Firm because, assuming that's true for the sake of      23   relationships, it's not just some one off, oh, we
                          24     argument, and I don't know if it's true or not, that    24   found one case where they worked together 50 years
                          25     you somehow think that that funding is relevant to      25   ago. They were in trial together seven times. I



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                           1     think that's of 11 Beasley Allen trials, if I'm          1   don't think it necessarily specified MDL or not MDL,
                           2     remembering the numbers right, seven full trials were    2   but again, this is a long-term relationship where
                           3     cases in which Beasley Allen was partnered with the      3   they have co-counsel relationships.
                           4     Smith Law Firm. So this isn't just some trivial          4             SPECIAL MASTER SCHNEIDER: Again, I
                           5     relationship.                                            5   want to be clear on the record.
                           6               Again, I don't think -- we can't go and        6             Is it a fair statement that you're not
                           7     get their engagement letters with their co-counsel,      7   sure or you don't know for a fact that the Smith Law
                           8     so this is the information we have to go on and it's     8   Firm is co-counsel with claimants in this MDL?
                           9     strong evidence that they have a strong relationship     9   Because that's a really important point.
                          10     and an ongoing relationship regarding these talc        10             MR. BUSH: Yeah, I want to -- I think I
                          11     claims.                                                 11   want to look back at the testimony and I'll have an
                          12               SPECIAL MASTER SCHNEIDER: Mr. Bush, I         12   opportunity to do that when the others are
                          13     thought I heard you say something that's very           13   presenting. But I believe we don't know for sure,
                          14     important and I want to make sure I heard it right or   14   and I will check this because I don't want to make a
                          15     I didn't hear it right.                                 15   representation that's then going to be wrong later,
                          16               I thought you said that the Smith Law         16   but I believe we don't know for sure -- like do we
                          17     Firm is co-counsel with Beasley Allen in this MDL.      17   have direct evidence that they're co-counsel in this
                          18               Did I hear it right?                          18   case? Like no, we don't have an engagement letter
                          19               MR. BUSH: Well, your Honor, I think           19   saying that. We have what I've said, is a
                          20     what the testimony was, and I have to look back at      20   long-term -- which we would never get. That would be
                          21     the details, was that of the 11-thousand-plus claims    21   impossible to ever show if we're held to that level
                          22     that Beasley Allen represents, claimants, that they     22   of proof.
                          23     have co-counsel relationships, including with the       23             What we have is a long-standing
                          24     Smith Law Firm. I'd have to look back at the            24   relationship between the two of them. And we know
                          25     testimony to see precisely how it was worded. And I     25   that this is the way that Beasley Allen is


                                                                         Page 28                                                      Page 29
                           1     aggregating their claims is through co-counsel           1             SPECIAL MASTER SCHNEIDER: Okay. So --
                           2     relationships. That was Mr. Birchfield's testimony.      2             MR. POLLOCK: What happens is first
                           3               SPECIAL MASTER SCHNEIDER: All right.           3   thing in the morning DD reaches out to the entire
                           4     Mr. Bush, we've been at this a while. Let me give        4   world, to the news agencies, to Mr. Murdica, to
                           5     you a chance to catch your breath.                       5   several people and says hey, I'm not happy about the
                           6               I do have a question directed to -- I'm        6   pace of progress. She doesn't say it that way, but
                           7     not sure which of the moving parties, I suppose the      7   that's her problem.
                           8     Beasley Allen firm.                                      8             At 12:54, Beasley Allen writes back and
                           9               Jeff, maybe it's you. Because                  9   says -- Elizabeth Achtemeier says this is a Beasley
                          10     Defendant's papers make much of the email exchange      10   Allen client. And then at 5:54 Mr. Murdica then
                          11     between this person and of Mr. Murdica and what the     11   reaches out to DD and everybody else.
                          12     emails say and the supposed misrepresentation.          12             So the language that Mr. Bush just
                          13               Do we know who that person is? I don't        13   said, and he said it early on in his discussions with
                          14     need to know their name, but is it established that     14   you, was "a client said." "A client said."
                          15     that person is a client?                                15             So, Judge, I know you practiced for a
                          16               MR. POLLOCK: It is, Judge.                    16   while and you had good clients and bad clients and
                          17               If you look at -- I'm looking at a            17   difficult clients and we all have. And I thought
                          18     document number here, it's page 13 of 20, ID number     18   about this one. Absolutely there is no doubt that
                          19     187682. We have, and I can -- if you need the           19   Beasley Allen client reached out to the entire world.
                          20     exhibit, it's attached to our brief --                  20   Why, I don't know.
                          21               SPECIAL MASTER SCHNEIDER: No, I'm okay        21             What I do know is each one of those
                          22     with the exhibit.                                       22   have what I would call troubled clients or clients
                          23               MR. POLLOCK: So I'm going to call the         23   who may not be the most sophisticated person in the
                          24     person DD because that's her initials, and that         24   world. And so the question is, are we going to
                          25     person is a Beasley Allen client.                       25   protect those people? I would argue that those are



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                           1      the people you need to protect most. Because the         1   with its clients about all kinds of things. So yes,
                           2      sophisticated client is someone who understands their    2   they've had other communications with DD. On that
                           3      legal rights and responsibilities, will adhere to        3   day, my belief is that is a fair characterization of
                           4      their lawyers. But we've been thrown into court with     4   the communications that were had starting in the
                           5      people who've got issues, whatever those issues are,     5   morning up until the time of 5:54 when Mr. Murdica
                           6      and may not have understood the ramifications of         6   reached out. Clearly they've had other
                           7      their actions.                                           7   communications.
                           8                I think the best spirit of the law is          8             SPECIAL MASTER SCHNEIDER: The portion
                           9      you protect those people that need protecting. And I     9   of this person's email that says, and I don't have it
                          10      think DD is someone at 12:54 that Elizabeth             10   in front of me, in effect there hasn't been a
                          11      Achtemeier said, this is one of our clients.            11   settlement offer made, what have you, is that a quote
                          12                I hope that answers your question.            12   from some communication from Beasley Allen or is that
                          13                SPECIAL MASTER SCHNEIDER: Well, I             13   her characterization of what was said?
                          14      don't want you to reveal -- obviously, I'm not asking   14             MR. POLLOCK: My understanding is
                          15      you to reveal any attorney-client privileged            15   that's her characterization of what was said and that
                          16      communications, but are we getting a complete -- if     16   she's, in my view, and I have not communicated with
                          17      we just look at what's part of the record now, the      17   her, Judge, so I'm not going to lie to you, I think
                          18      email exchange that has been produced as part of the    18   she's expressing frustration. And the fact is she's
                          19      record, is that a complete record of all the            19   wondering why aren't we making any progress here.
                          20      communications between the Beasley Allen firm and       20             And I do not believe that it is coming
                          21      this client?                                            21   directly from a Beasley Allen firm. They said J&J
                          22                MR. POLLOCK: So Beasley Allen -- I            22   has never made an offer. That's not the way they
                          23      want to answer your question exactly the way you        23   operate.
                          24      asked it, Judge. I'm not trying to be picky.            24             SPECIAL MASTER SCHNEIDER: So in your
                          25                Beasley Allen obviously communicates          25   view, in your view, and I will hear from Mr. Bush who


                                                                          Page 32                                                      Page 33
                           1     I suspect will disagree, how accurate is Defendant's      1   really have the right to challenge Beasley Allen and
                           2     characterization that Beasley Allen made a knowing        2   whether they've done a competent job is DD. I don't
                           3     misstatement to this client?                              3   think J&J belongs in the bed sheets between its
                           4              MR. POLLOCK: I think that's absolutely           4   client and the law firm.
                           5     false. And the problem is, and this is not the            5             SPECIAL MASTER SCHNEIDER: Mr. Bush,
                           6     question you asked me, so if you want me to shut up,      6   back to you.
                           7     I will. But let's assume you wanted to test the           7             MR. BUSH: Yeah, your Honor, look, we
                           8     proposition. Imagine the deposition:                      8   obviously only have the emails that are in front of
                           9              Client: What did Beasley Allen tell              9   us, so let me tell you why I think that is a direct
                          10     you?                                                     10   quote. And I'll give you two reasons and then a
                          11              I instruct you not to answer.                   11   third point.
                          12              Client: What did you hear from Beasley          12             One is that it's literally put in
                          13     Allen?                                                   13   quotation marks. There is a quotation mark at the
                          14              I instruct you not to answer.                   14   beginning of the line and a quotation mark all the
                          15              Because the only choice you have,               15   way at the end. So she said the answer was, quote,
                          16     Judge, is to terminate the attorney-client               16   gives a full response, and then quote.
                          17     relationship. I would have no choice if I'm              17             The other thing I'll say is that
                          18     defending that deposition. But knowing Andy, and you     18   that language reads differently than the rest of the
                          19     saw him testify for days before Judge Porto, that's      19   language of the email. So the email starts one of
                          20     not a guy who's going to withhold facts from a           20   two emails back regarding news cycles. Mass media
                          21     client.                                                  21   and independent journalism.
                          22              I understand Mr. Bush may not be happy,         22             One, Reuters, immaterial. You also
                          23     they may have lots of concerns about whether they        23   have to attack anyone who sees the world clearly.
                          24     communicated accurately, completely, et cetera, but      24   Like this isn't -- that is written in a completely
                          25     to me, the only person in the world I think can          25   different style than Johnson and Johnson is not


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                           1     willing to settle your case at this time despite the      1   communications and documents that you're requesting?
                           2     information and records we have. Someone that             2   The funding documents, the settlement discussions,
                           3     requires agreement of all parties, we continue to         3   the plan of reorganization discussions, that should
                           4     pursue settlement with Johnson & Johnson. However,        4   be based on one email from a person we've never
                           5     to date, J&J has been unwilling to settle.                5   spoken to, who we're not even sure if he or she is
                           6               So it's written in the first person of          6   quoting verbatim what Beasley Allen may have said?
                           7     Beasley Allen and is written in a much more               7              MR. BUSH: Your Honor, there is a
                           8     professional tone from the rest of the email. So          8   level of -- I don't know if the sun is going to rise
                           9     everything that I see from this email suggests to me      9   tomorrow, but I can say pretty accurately that I
                          10     that this is a direct quote that she's providing.        10   think it is.
                          11               And I believe that Mr. Pollock said,           11              This is a direct quote, it's just what
                          12     quote, I don't believe that that's a direct quote,       12   it is. But even to just get to your Honor's question
                          13     but that's a different answer than I know because I      13   is, it raises serious concerns. I mean you know
                          14     looked at it and that that is not a direct quote.        14   there have been ongoing settlement negotiations for a
                          15     And I don't want to put words in his mouth and I may     15   long time. And the fact that she was communicated
                          16     have heard wrong, but I wrote it down, but I think       16   that J&J is unwilling to settle, there is a lot of
                          17     everything on this email suggests that that is a         17   discussion in the briefs about, well, is the
                          18     direct quote from a Beasley Allen attorney.              18   bankruptcy plan fair, is it not fair, who is it fair
                          19               SPECIAL MASTER SCHNEIDER: So I mean a          19   for, well, that's her decision to make and she can't
                          20     fair characterization is that we don't know for sure     20   make that decision if she doesn't know about it.
                          21     whether it's a direct quote or it's not a direct         21              So I think this is a very serious issue
                          22     quote. You believe it is. Mr. Pollock believes it        22   even if it's just a single email. It particularly
                          23     isn't. But I guess the real question is you want --      23   raises issues going to the litigation funding
                          24     I mean do you think it's enough for this short, not      24   question, because the rule specifically says that one
                          25     entirely clear communication to open the door to the     25   of the ways you can show good cause for litigation


                                                                           Page 36                                                     Page 37
                           1      funding is if the parties' interests are not being       1   that, in its view, it can better understand why the
                           2      promoted or protected, that there are conflicts of       2   Beasley Allen law firm is not in favor of Defendant's
                           3      interest involved, or any other issue.                   3   settlement proposals?
                           4                And I'm not sure when you're going to          4              MR. BUSH: I would say yes, better
                           5      get more direct evidence of the interests of a party     5   understand and understand what are the financial
                           6      not being promoted and protected in the settlement       6   arrangements at issue. For example, are the
                           7      context, which is a huge focus of the point of the       7   financial incentives such that there is really no
                           8      rule, other than an email like this.                     8   way, because of the amount of litigation funding
                           9                And even Mr. Pollock said we have to           9   that's at issue and how much has to get paid back,
                          10      protect these people and they deserve the most          10   that the parties are never -- are going to be so far
                          11      protection. Well, one way to make sure they're          11   apart that there is no economically rational way that
                          12      protected is to make sure that they're getting the      12   we can come together. That's part of what we're
                          13      information about the settlement offers that should     13   looking for and it's going to inform as we're trying
                          14      be being conveyed to them and that there aren't other   14   to resolve this case eight years in, it's going to
                          15      interests that are getting in the way of that.          15   inform how we go about doing that and if it's
                          16                And if your Honor has concerns about          16   possible.
                          17      the amount of documents and things like that, and       17              SPECIAL MASTER SCHNEIDER: Is it the
                          18      there is always, as you know, in camera review which    18   Defendant's view that its settlement proposals are so
                          19      came up in the Valsartan case. So that's always an      19   favorable to the claimants that it should have been
                          20      option if you think that there is a sort of a           20   accepted? And because it wasn't accepted, there must
                          21      disconnect between what the level of what the email     21   be some ulterior or insidious purpose or reason why
                          22      rises to and the document request, in camera review     22   it wasn't accepted?
                          23      is always an option there.                              23              MR. BUSH: I mean look, we obviously
                          24                SPECIAL MASTER SCHNEIDER: Is the              24   are always going to think our settlement proposals
                          25      reason why your clients want this information is so     25   are good proposals. And I can't say just in the


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                                                                          Page 38                                                     Page 39
                           1     abstract anyone who ever rejects a proposal, there       1              For example, the email from this client
                           2     must be something insidious going on. But there is a     2   that says that J&J is unwilling to settle, that's
                           3     lot of -- the email in particular raises serious         3   what she was told, even though it's not true.
                           4     questions about why this client is being told that       4              It's the fact that Beasley Allen stands
                           5     J&J's unwilling to settle, when we are. And is she       5   to recover from 12 percent, or up to 12 percent in
                           6     able to make that decision for herself about whether     6   common benefit funds, only if the settlement happens
                           7     it's a fair settlement or not? Because she has to        7   outside of bankruptcy and not in bankruptcy.
                           8     know about it in order to decide whether to vote for     8              The fact that they have a press release
                           9     the plan or not.                                         9   saying we stand ready to resolve this case outside of
                          10                SPECIAL MASTER SCHNEIDER: Mr. Bush, on       10   bankruptcy, just not in bankruptcy.
                          11     page 6 of Defendant's response brief, and I'm           11              And the fact that there is, we think, a
                          12     quoting, it's the last sentence on the page.            12   lot of litigation funding out there that is skewing
                          13                Quote, you state: Why is the firm,           13   these incentives.
                          14     Beasley Allen, actively opposed to settling claims at   14              So it's not just we offered so much
                          15     terms that are favorable to its own clients? Close      15   something insidious is going on. And what our
                          16     quote.                                                  16   request really focuses on is what are the financial
                          17                Does that indicate that Defendants           17   incentives at issue here. I don't want to say it's
                          18     believe that its settlement proposal is so favorable    18   insidious as much as what's really driving this? And
                          19     that, again, there must be some insidious reason why    19   is it financial incentives that the parties will
                          20     it's not being accepted?                                20   never come together after eight years because of the
                          21                SPECIAL MASTER SCHNEIDER: Your Honor,        21   way the finances are set up? And I think those are
                          22     it's the favorability of the proposal, which is very    22   legitimate questions that are raised by all of the
                          23     favorable. I mean it's over six billion dollars.        23   evidence, including the email that we've been
                          24     Plus a lot of the other indicia of evidence that's      24   discussing.
                          25     going on.                                               25              SPECIAL MASTER SCHNEIDER: Is it your


                                                                          Page 40                                                     Page 41
                           1     client's belief or your belief that Beasley Allen's      1   the Defendants are just not happy that Beasley Allen
                           2     reluctance to accept the Defendant's settlement          2   won't accept its settlement offers and they believe
                           3     proposal is irrational or arbitrary and capricious?      3   that the settlement offers are so favorable to the
                           4                 MR. BUSH: Well, I think the question         4   Plaintiffs that there, again, I keep on saying this,
                           5     is, is it rational for them because there is so much     5   there must be some insidious reason why it's not
                           6     litigation funding that even a settlement offer that     6   being recommended?
                           7     large isn't going to recoup enough money for them in     7             MR. BUSH: No, your Honor, that's not
                           8     their view?                                              8   the root of the motion.
                           9                 So it may be that what's rational for        9             The root of the motion is we're trying
                          10     J&J, and I don't want to -- you know, I haven't been    10   to reach a global settlement with this entire
                          11     directly involved with settlement negotiations, so I    11   litigation. One of the factors that your Honor's
                          12     don't want to say anything that sort of offsets all     12   decision said in looking at whether to review
                          13     that, but it may be that J&J's economic rationality     13   something in camera is whether the litigation has
                          14     and Beasley Allen's economically rational decisions     14   been unduly prolonged. This has been going on for
                          15     are so far apart because of the finances at issue.      15   eight years now, this MDL. There have been, as your
                          16     I'm not saying they're irrational, I'm saying it may    16   Honor knows very well, a host of settlement
                          17     very well be rational that we can't come together on    17   discussions that haven't been able to be resolved.
                          18     a solution based on the financial incentives that are   18   And it seems that one of the reasons that settlement
                          19     at issue.                                               19   has not been able to be resolved is because clients
                          20                 SPECIAL MASTER SCHNEIDER: Yeah. Well,       20   aren't being told of the settlement offer. And the
                          21     I can't really understand -- I can't say I really       21   financial incentives for why is that happening and
                          22     understand the answer to that question because -- I     22   one of the reasons may be and seems to be that the
                          23     mean I understand the record, I've lived this case      23   financial incentives of the parties are creating a
                          24     for years.                                              24   disconnect there.
                          25                 I mean is the root of this motion that      25             And Rule 7.1.1 inherently recognizes


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                           1     that litigation funding can create a differing            1             SPECIAL MASTER SCHNEIDER: Let me just
                           2     incentive between the attorneys and their clients         2   ask you another question or two and then we'll move
                           3     such that the interests of the parties themselves         3   on.
                           4     have to be protected.                                     4             Can you cite to a case that has granted
                           5               And so this is about making sure that           5   the relief you request or documents and
                           6     everybody makes an informed decision for themselves       6   communications regarding settlement and a plan of
                           7     about the settlement offer and that we can try to         7   reorganization?
                           8     resolve this litigation that seems to me that we          8             MR. BUSH: Well, I think -- I think the
                           9     really should be able to resolve globally, which I        9   answer to that is I can't cite a specific case like
                          10     would hope would make everybody here happy about         10   that, but this is a very unique situation, your
                          11     that. It's been going on for a while now.                11   Honor. And some of the things that we're asking for
                          12               SPECIAL MASTER SCHNEIDER: Well, has            12   are maybe unique because they're driven by the unique
                          13     Beasley Allen ever indicated that they don't want to     13   context of this.
                          14     settle this MDL?                                         14             I don't know of a case that was doing
                          15               MR. BUSH: Your Honor, I would say two          15   this inside of a bankruptcy context like this with
                          16     things, which is that, one, I'm not personally           16   the vote of the claimants and all these things or
                          17     involved in settlement negotiations and I think those    17   with an email as stark as this one. So the lack of
                          18     would be treated confidential. So one is I wouldn't      18   exactly analogous case law is driven by the unique
                          19     have an answer to that and I don't think I would be      19   circumstances of this case.
                          20     able to say it if I did.                                 20             But as I said, I think for the
                          21               But what I know is what the press              21   litigation funding component, while not exactly on
                          22     release says, which is that they stand ready to          22   point, the Nimitz decision from Judge Connolly out of
                          23     settle outside of bankruptcy, but are opposed to the     23   the District of Delaware shows and is instructive on
                          24     bankruptcy solution. And that's what their public        24   how sometimes you have to spend some effort trying to
                          25     press release says about that.                           25   ferret out this information. And then you start


                                                                          Page 44                                                      Page 45
                           1      learning some information that you didn't otherwise      1   here that's pretty strong that something is going on,
                           2      know and that disclosures turn out to not necessarily    2   especially considering the factor of conflicts of
                           3      be accurate and that gaps in the knowledge that are      3   interest and the interests of the parties are not
                           4      not actually speculation, but that they're really        4   being promoted.
                           5      rooted in good reason.                                   5             We have an email that says I was told
                           6                SPECIAL MASTER SCHNEIDER: Do you               6   J&J is not willing to settle and that's just not
                           7      remember the evidence that led the judge to think        7   true. And that is a really unique fact that makes
                           8      that there is suspicious circumstances here in this      8   this case stronger for us than those other cases.
                           9      Nimitz case?                                             9             SPECIAL MASTER SCHNEIDER: Last
                          10                MR. BUSH: Yes, your Honor. I mean it          10   question.
                          11      was sort of a very -- well, I don't know if you're      11             Mr. Bush, a lot of cases have been
                          12      asking -- I can relate it to you, but yes, I mean       12   cited in the brief. There wasn't a New Jersey case
                          13      there was sort of a long host of things that happened   13   that was cited except the Valsartan decision. You've
                          14      and cases that seemed unrelated. And it turned out      14   discussed Judge Connolly's decision in the Delaware
                          15      that they were connected by the same sort of -- you     15   case. Is there another case or two that you believe
                          16      know, the pejorative term is patent troll that was      16   is most supportive of your position in this motion?
                          17      sort of connected to all those cases. But there was     17             MR. BUSH: Your Honor, I think -- I
                          18      certainly no email that says -- my point, your Honor,   18   think the circumstances -- I think what the cases
                          19      is yes, the circumstances surrounding why the funding   19   show is that the circumstances surrounding when
                          20      was relevant are not identical, but what it shows is    20   litigation funding can be discoverable come in all
                          21      why sometimes it takes effort to push to figure out     21   sorts of shapes and sizes.
                          22      what's going on.                                        22             All these cases have, as your Valsartan
                          23                Some of the evidence that developed           23   opinion goes through them, they arise in different
                          24      were because he held hearings and took testimony and    24   ways. This case arose in its own way that is
                          25      I'm not saying we need that, but we have evidence       25   different from those cases in a lot of ways, but is


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                           1     stronger in the sense that there is now a District of    1   view, that email unlocks the door to the litigation
                           2     New Jersey local rule that specifically governs the      2   finance discovery settlement communications and
                           3     situation, inherently recognizes that this               3   discussions regarding the plan of reorganization?
                           4     information is relevant, and it sets forth factors       4             MR. BUSH: Yes, your Honor. I think
                           5     that are specifically -- that go specifically to -- I    5   it's a very troubling email that she's being told
                           6     should say that this email that we've been discussing    6   that J&J is unwilling to settle, which is just not
                           7     specifically goes toward. So that situates this case     7   true. And I don't need to belabor it because we've
                           8     in a much stronger way than those other cases because    8   talked about it, but I do think it opens the door to
                           9     there is a rule that's been developed that says this     9   discovery to figure out why is this person not being
                          10     information is important for just this very situation   10   protected. We're not seeking attorney-client
                          11     when we can't resolve settlement, even after a long     11   privileged information to the extent that these -- to
                          12     time and perhaps the interests of the parties aren't    12   the extent any requests -- there is a subset of
                          13     being promoted.                                         13   attorney-client privileged material, there can be a
                          14               And I don't know what evidence you're         14   privilege log, how this always goes, so we're not
                          15     going to get that's ever better than an email that      15   seeking privileged information, we're seeking
                          16     says I was told that the other side is unwilling to     16   information like discussions with third parties and
                          17     settle even though there is a settlement offer on the   17   funders. And I do think this unlocks the door. And
                          18     table. There is an email that says please just make     18   as I said, if you have a concern about the breadth of
                          19     me an offer when there is a settlement offer on the     19   the information that we would be receiving, that in
                          20     table. I don't know of any way you can get stronger     20   camera review is always available.
                          21     direct evidence of a potential conflict of interest     21             SPECIAL MASTER SCHNEIDER: Last
                          22     or an interest of a party not being promoted than an    22   question.
                          23     email like this. This goes directly to the factors      23             So as I understand your argument, you
                          24     that Rule 7.1.1 outline.                                24   know that I'm going to apply a good cause standard,
                          25               SPECIAL MASTER SCHNEIDER: And in your         25   whether that exists against this discovery, and as I


                                                                          Page 48                                                      Page 49
                           1     understand your argument, this is the evidence you're    1            MR. POLLOCK: Your Honor, you've been
                           2     relying on to establish good cause: The email that       2   patient and detailed so I will make it snappy.
                           3     we've been referring to, the fact that Beasley Allen     3            One thing I would notice is that Mr.
                           4     could get a common benefit fee, that's number two.       4   Murdica was deposed in the LTL matter on April 16th,
                           5     And number three, bear with me, I don't want to lose     5   2023. It's at document number 32827-14. And Mr.
                           6     my train of thought. The third one, there is a third     6   Murdica specifically addresses one of the questions
                           7     reason. It will occur to me.                             7   that you asked, which is at page 234. This is
                           8               MR. BUSH: The Smith Law Firm is                8   document 32827-14, page seven of eight, which is
                           9     certainly on there. I don't know if that was your        9   187386.
                          10     third reason, but I thought maybe it was.               10            And he says: I didn't need to because
                          11               SPECIAL MASTER SCHNEIDER: No, that            11   as you've seen, their clients are in support. The
                          12     wasn't my third reason. But it will come to me.         12   concern that I personally had was that I believe that
                          13               The email exchange. Common benefit.           13   the Beasley Allen firm is not able to say yes to a
                          14     Oh well, it will occur to me.                           14   deal because they're way too deep in debt from the
                          15               Mr. Bush, let me give you a chance to         15   funding. And that's on April 16th, 2023.
                          16     take a breath and let's hear from the moving parties.   16            I point that out because you had asked
                          17     We'll start with Beasley Allen. I guess that's you,     17   the question, was this something new to J&J that they
                          18     Mr. Pollock.                                            18   had this thought about litigation funding. And the
                          19               I don't have any specific questions,          19   answer is Mr. Murdica said nope, they can't do any
                          20     but you can make whatever argument you want. And        20   deals because they're way too deep into it.
                          21     particularly, again, I'd like to hear, because          21            You also heard, I know you sat through
                          22     Defendant puts so much focus on this email exchange,    22   most if not all of the hearings before Judge Porto
                          23     what your position is with regard to that. But I'd      23   and Singh, Andy answered the question point blank, do
                          24     like to hear any other argument, then we'll hear from   24   you have litigation funding. And his answer was
                          25     the PSC and then we'll hear from the Smith Law Firm.    25   simply and plainly no.


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                           1               I also looked at the subpoena and              1             I also noticed a brilliant decision in
                           2      noticed the intent to serve subpoena from Allison       2   in re Valsartan.
                           3      Brown at Skadden, and I looked at the definition on     3             (Laughter)
                           4      documents to be produced. If you look at page 10, it    4             And you go through a number of -- okay,
                           5      says: Litigation funding you have received, all         5   blatant sucking up. I'm sorry.
                           6      agreements you have entered into.                       6             But in there you do notice some
                           7               Number five, all documents,                    7   factors. And I'm referring here to page 615 to 616.
                           8      communications for funding you have received.           8   And the factors are, there is a showing that
                           9               So while Mr. Bush is entitled to his           9   something untoward occurred. The discovery could be
                          10      concerns, and he's mentioned a number of them, their   10   relevant. But then you go on.
                          11      request is their request. This shouldn't be a          11             Discovery will be ordered where there
                          12      constantly morphing exercise.                          12   is a sufficient showing that a non-party is making
                          13               I don't want to get -- I'm not going to       13   ultimate litigation or settlement decisions.
                          14      die on the sword of technicalities, but the question   14             And I understand this is Mr. Bush's
                          15      that they asked -- what they asked for was what have   15   concern. The reality is, you know, the email
                          16      you received. And that actually is pretty consonant    16   exchange is what it is. I have not spoken to DD. I
                          17      with 7.1.1.                                            17   really hadn't planned on doing it.
                          18               Andy, Beasley Allen have not received,        18             The fact is, I do know, having worked
                          19      have not engaged in any litigation funding. So I       19   with Andy and Leigh and others, I think these people
                          20      think that kind of answers that one.                   20   have always acted, and you've dealt with them too
                          21               And also, I think that Mr. Murdica has        21   over the course of years, I don't think there is
                          22      said, look, we had deep concerns about this all        22   anything underhanded or untoward going on. I think
                          23      along. I don't know why he had it, he doesn't say      23   the client reached out, the client is frustrated, we
                          24      why he has it, but obviously they're entitled to       24   have all dealt with it, and the answer is that she
                          25      their suspicions and I'm entitled to reject them.      25   said what she said. Where it came from, I don't


                                                                          Page 52                                                     Page 53
                           1     know. If you're dying for me to find out, I suppose      1   is no, that's not true. Under J&J's version of
                           2     I could. I honestly don't know.                          2   common benefit, there might be some question, but
                           3               What I do know is that Mr. Bush has no         3   there is nothing that prohibits common benefit at
                           4     right, zero, to inquire into whether Beasley Allen is    4   all. And in this one, the fact is there is no
                           5     capable of communicating with its clients. If you're     5   bankruptcy. At this point there is no bankruptcy
                           6     going to open that door, I got a few questions about     6   filing by J&J.
                           7     whether Mr. Haas is fairly communicating with his        7             So to me there is a big question,
                           8     board, which I'm sure would be upsetting to J&J.         8   what's it going to look like when we get there? I
                           9               But I have to assume at some point,            9   don't know. I don't even know if we're going to get
                          10     especially in this case where the lawyers are doing     10   to a bankruptcy filing.
                          11     their job, that Beasley Allen is doing its fair job.    11             So the idea of common benefit into the
                          12     Whether the client really understood the                12   future, Andy has been very clear, I am willing to let
                          13     communication, did it quote the entire communication    13   the chips fall where they are. I'm going to
                          14     if there was a quote to begin with, did it understand   14   represent my client. That's what he said. And he
                          15     exactly what's going on? I don't know. And Mr. Bush     15   was pushed on that point. And he sticks by that
                          16     also notes that this has been going on for a while.     16   point. And frankly, I think it's the right thing to
                          17     It has.                                                 17   have said, which is I'm not -- because otherwise, if
                          18               He did traipse into a few other areas,        18   he does take a deal, he could probably secure a small
                          19     which is one of Mr. Haas' favorite areas to get into.   19   fortune for Beasley Allen. I don't know.
                          20               One is common benefits. They keep on          20             Is that the right thing to do? And
                          21     saying that Beasley Allen is deathly afraid of          21   Andy said no. I'm not going to negotiate what I get.
                          22     getting into bankruptcy because they won't get common   22   What he has said, and I'm summarizing here, is I'm
                          23     benefit. There is actually -- and I don't want to       23   going to let -- I would use the phrase chips fall
                          24     waste your time because you've lived through this and   24   where they may, because I'm not as sophisticated as
                          25     probably know it better than I do. My understanding     25   Andy, but he is going to let the courts decide what a


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                           1      fair amount is.                                          1   and I've done a number of mass torts through Becton
                           2                 And Judge Porto, as you may recall,           2   Dickinson and others, not J&J, but it's rare -- I've
                           3      pushed on this point a little bit. So I don't think      3   never heard of one where the defendant is counting
                           4      that that's really -- I think that the idea that Andy    4   more noses than the Plaintiffs are.
                           5      is afraid or Beasley Allen is afraid of bankruptcy, I    5             And Andy's answer on the stand, which I
                           6      don't think that's true. I think the fact is they're     6   thought took guts, was to say, well, there is
                           7      concerned.                                               7   about -- I'm going to ballpark it, 30 to 40 thousand
                           8                 Mr. Bush also points on the point,            8   claims that actually have merit, that have real
                           9      well, the fact is six billion dollars is a great         9   concern where people need real compensation. And
                          10      deal, it's a wonderful thing to have done.              10   then there are a lot of claims where there is some
                          11                 This was the subject of some pretty          11   real questionable science. How many Plaintiffs'
                          12      detailed questioning by Judge Porto of Andy. Why is     12   lawyers are willing to say that about other
                          13      this the right number? What is the right number?        13   Plaintiffs' lawyers? That takes guts. Because as
                          14      And I don't know, because I'm not a fancy torts guy,    14   you know, this is a relationship business. But
                          15      I am a simple country lawyer. But what he says, what    15   that's what Andy has said. And yet what Mr. Murdica
                          16      J&J's own experts say is, well, the right number is     16   and Mr. Haas are doing is attempting to flood the
                          17      somewhere between 12 and 21 billion. We're not in       17   bankruptcy ballot box, as I call it, with other
                          18      that range at all. And Andy did explain that he had     18   claims.
                          19      concerns.                                               19             So why would you do that? You would do
                          20                 The last point I'll raise here is            20   that because if you give people who don't have the
                          21      that -- and obviously, Judge, I want to answer any      21   high potential of winning some opportunity to get
                          22      questions you may have. But I do think it's             22   something, then obviously you have an opportunity to
                          23      duplicitous at best that Mr. Haas, J&J and Mr. Bush     23   get more of both. And that's basically what they've
                          24      are upset about the concept of litigation funding.      24   all been going through for months now. Mr. Murdica
                          25      Because I don't think I can think of a single case,     25   trying to sell the J&J plan. Beasley Allen and


                                                                           Page 56                                                     Page 57
                           1     others saying no, that plan is not sufficient.            1   negotiations were in this case. And you know one of
                           2                I am not capable, Judge, I'm not going         2   the main goals here for J&J is not just to raise this
                           3     to lie to you, I am not capable of telling you what a     3   issue of litigation funding, which they don't like,
                           4     good number is or not. But I do think there is            4   they also don't like the seventh amendment. You
                           5     honest, heart-felt disagreement, at a minimum,            5   know, they don't like jury trials. They don't like
                           6     between the two parties.                                  6   jurors. They don't like judges who sit on
                           7                They raise two other issues that I             7   Plaintiffs' verdicts. They don't like the Third
                           8     don't know if you want to get into it; champerty and      8   Circuit Court of Appeals when they rule against them.
                           9     vexatious litigation. I'm probably one of the few         9   They don't like the Supreme Court of the United
                          10     people who brief champerty to death in a previous        10   States when they rule against them. They don't like
                          11     case. I think we've hit everything else.                 11   bankruptcy judges when they don't rule against them.
                          12                Your Honor, I've answered as briefly as       12   And that's really what this is about.
                          13     I can the points I wanted to make.                       13            What this is about has nothing to do
                          14                Do you have any questions for me?             14   with DD and the email exchange and whatever
                          15                SPECIAL MASTER SCHNEIDER: I have no           15   information is flowing to a client or not.
                          16     questions.                                               16            I will tell you and I will challenge
                          17                MR. POLLOCK: Thank you, your Honor.           17   anybody from J&J today to tell us what is the offer
                          18                SPECIAL MASTER SCHNEIDER: You're the          18   that should have been conveyed that wasn't conveyed
                          19     moving party. Does the Steering Committee want to be     19   to DD? What is it that she was supposedly getting
                          20     heard?                                                   20   out of this, quote/unquote, settlement in this case?
                          21                MR. GOLOMB: Yes, your Honor. Thank            21   There is no number. They don't know the number. We
                          22     you.                                                     22   don't know the number. And DD doesn't know the
                          23                We're in a unique position here because       23   number. The best they can give us in their
                          24     you served as the mediator, one of the mediators in      24   disclosures of a threatened third bankruptcy is that
                          25     this case. And so you know what the status of the        25   the average case value will be somewhere between 50


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                           1      and 200 thousand dollars. That's not an offer.           1   out-of-bankruptcy solution on behalf of a 380 billion
                           2      That's not an offer at all.                              2   dollar company.
                           3                So let me just respond to a couple of          3              You also asked the question as to
                           4      things that Mr. Bush said.                               4   whether or not this is something that just arose.
                           5                You asked him a very direct question           5   And Mr. Bush, in a hedge, said that this is something
                           6      which was really that there is a moving target in        6   that they've been thinking about for years.
                           7      your papers. You started by asking for the               7              Well, in Valsartan, at least the issue
                           8      litigation funding of Beasley Allen and now that         8   was raised at the time that the fact sheets were
                           9      moving target is now transitioned. And just think        9   being negotiated. And your Honor knows that well.
                          10      about the precedent that they're trying to set here.    10   That's the way that that issue arose in Valsartan.
                          11      What they are trying to sell to you, Judge, is that     11   And your Honor appropriately said it's not relevant,
                          12      7.1.1 requires me or Beasley Allen or any of the        12   it's not discoverable.
                          13      other leaders in this case or any lawyer who accepts    13              In this case, the fact sheets are now
                          14      referrals from other lawyers, whether it's in a mass    14   almost eight years old and not once was that issue
                          15      tort or not, that they are now trying to impose on us   15   raised. That issue was raised now because this is
                          16      a duty to say to the lawyer who is referring the case   16   just another delay and distraction that J&J is trying
                          17      to us, do you have litigation funding. That is not      17   to cause while they go out there and they bad mouth
                          18      the point of 7.1.1. And I understand that Johnson &     18   Beasley Allen, they bad mouth the leadership of this
                          19      Johnson takes that position now for two reasons.        19   case to try to convince other lawyers like the ad hoc
                          20                Number one, because they know that            20   lawyers.
                          21      Beasley Allen has no such funding for talc cases.       21              Now, the irony in this case is that the
                          22      And they don't like the fact that Beasley Allen is      22   only people who know how much they're getting, the
                          23      one of a number of firms that is standing in the way    23   only clients that know how much they're getting, are
                          24      of their cram-down through the bankruptcy rather than   24   the clients of these ad hoc lawyers who are now
                          25      coming to the table and negotiating an                  25   trying to flood the vote in yet a third bankruptcy.


                                                                          Page 60                                                      Page 61
                           1     And they know that they're getting 15 hundred dollars     1   saying all they wanted was fair and reasonable
                           2     a case. But our clients, who have ovarian cancer or       2   values.
                           3     who have died from ovarian cancer, have no idea what      3              Now, another thing that Mr. Bush said
                           4     they're getting in this case.                             4   was they didn't -- these lawyers didn't just get a
                           5               You know, the other thing that Mr. Bush         5   epiphany to file these claims. Yes, they did, as a
                           6     said was he said that the, quote/unquote, settlement      6   matter of fact. And the epiphany came on two
                           7     negotiations have been going on for a while. And you      7   different dates. It came on the date that the
                           8     and I both know something about that, don't we, Judge     8   Daubert order was entered. And more importantly, as
                           9     Schneider? And what we know is that these                 9   it affects us, why we are here today, is there was a
                          10     negotiations have been going on since 2019. And what     10   bankruptcy. These lawyers who they negotiated with
                          11     we also know is that J&J came to us, the leadership      11   to come up with this six billion dollar settlement,
                          12     in this case, in June of 2022 during the first           12   which they talked to the press, they tell the courts
                          13     bankruptcy and said here is a global offer in            13   this is unprecedented, you know, these cases are -- I
                          14     bankruptcy, take it or leave it. And we said no.         14   lost my train of thought there for a second.
                          15     For a lot of reasons. Not the least of which is they     15              But these cases did not come into
                          16     were not fair and reasonable values for our clients      16   effect. The ones that they're negotiating with the
                          17     and they were going to be paid out over 25 years.        17   ad hoc committees, these claims were not even in
                          18               Well, since June of 2022 they've done,         18   existence until the bankruptcy.
                          19     up to the filing, including the filing of this           19              I mean you've got a lawyer who is
                          20     particular motion, there was not a single negotiation    20   leading this ad hoc group that has 17 thousand cases,
                          21     between J&J, their lawyers and the leadership in this    21   not a single one of which existed pre-Daubert, and
                          22     case. They've done everything they can to go around      22   not a single one of which that existed
                          23     us to try to cram down settlement values that were       23   pre-bankruptcy. These are these other gynecological
                          24     not there and were not reasonable no matter how many     24   cases that they are making a quick hit on for 15
                          25     times they stood up in a courtroom in bankruptcy         25   hundred dollars a case. And these are not cases.


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                           1                   So there was a epiphany in this case.       1   Beasley Allen and the leadership in this case is
                           2      And this epiphany came through negotiations between      2   standing in the way of a fair and reasonable
                           3      Jim Murdica, the National Settlement Counsel, and        3   settlement to protect their common benefit is absurd.
                           4      these lawyers for the ad hocs.                           4   You well know that there has never not been a
                           5                   Another interesting point that Mr. Bush     5   single -- no matter how much J&J tries to dangle that
                           6      said was that in talking about this collusion between    6   in front of us, there has not been a single
                           7      the Smith Firm and Beasley Allen, that there were        7   conversation about common benefit amongst the
                           8      seven trials that they tried together. And that's        8   leadership in this case or with the mediators in this
                           9      true. There were seven trials they tried together        9   case.
                          10      and got over 700 million dollars in verdicts. And       10             We have always taken the position that
                          11      they were back in 2016, 2017, 2018.                     11   once we get fair and reasonable values for our
                          12                   It's interesting because Mr. Bush is       12   clients, that whatever common benefit there is will
                          13      using that and that relationship between Allen Smith    13   be taken care of by itself. So the fact that the
                          14      and the Beasley Allen firm while Erik Haas and Jim      14   parties haven't come together after ten years to
                          15      Murdica are going out and saying that Beasley Allen     15   settle this case is -- we agree it is very -- it is
                          16      lost every case that they tried. Well, you can't        16   so frustrating that we haven't been able to come to
                          17      have it both ways. And it's not true that they lost     17   an agreement on that.
                          18      every verdict.                                          18             But, you know what, in every other
                          19                   And then that argument has also moved      19   case, and there is a lot of experience on this
                          20      over the years. It's no longer that they lost every     20   hearing today. In any other case, you litigate a
                          21      trial, it's that they haven't gotten paid. Well,        21   case, you get to a point where the case is either
                          22      that has nothing to do with the merits of the case,     22   going to be settled or tried. If there is not a
                          23      it has to do with the jurisdictional grounds.           23   reasonable -- fair and reasonable offer made on the
                          24                   And the last thing I'll say, and your      24   case, then you go to trial.
                          25      Honor, you know this, and that is this idea that        25             That's not the rules that J&J wants to


                                                                          Page 64                                                      Page 65
                           1     play by. That's the seventh amendment. That's not         1   of class counsel under Rule 23, that doesn't exist in
                           2     the rules that J&J wants to play by.                      2   this case.
                           3               They got to a certain point, they lost          3             You have the Nelson versus Millennium
                           4     Daubert, they lost Ingham in front of the United          4   case, which is out of Arizona. And that was only
                           5     States Supreme Court, they lost Carl in front of the      5   relevant because there was a suspicion that one of
                           6     New Jersey Supreme Court, and then rather than trying     6   the Defendant's market competitors was the one that
                           7     cases, rather than coming to the table to settle          7   was actually funding the litigation against the
                           8     these cases, what they did was they filed for             8   Defendant. That doesn't exist in this case.
                           9     bankruptcy. Not once, but twice.                          9             The Hobbs versus American Commercial
                          10               And I'll just end by saying this, your         10   Barge case, the Court found the litigation funding
                          11     Honor. And that is the Valsartan opinion should be       11   was relevant because there was evidence that the
                          12     the final say in this case. The Plaintiffs'              12   litigation funders were paying for medical expenses.
                          13     litigation funding is not relevant to the claims         13   That doesn't exist in this case.
                          14     against the Defendants and, therefore, they are not      14             And as your Honor knows in the in re
                          15     subject to discovery in this case. And as your Honor     15   American Systems case that there was evidence that
                          16     said both in Valsartan and in your questioning here      16   litigation funders were paying for corrective
                          17     today, speculation does not justify discovery under      17   surgeries. That's not the case here.
                          18     Federal Rule of Civil Procedure 26.                      18             This motion and other motions like it
                          19               There is not a single case, as your            19   that have now been pending for six months do nothing
                          20     Honor has pointed out, there is not a single case        20   to serve the parties in this case, is nothing more
                          21     today that has any remote connection to this case        21   than a distract-and-delay either the ultimate
                          22     that has been cited by the Defendants in this case.      22   resolution of this case or trials in this case. And
                          23     There is not a single New Jersey case.                   23   that's what J&J wants. While Jim Murdica goes out
                          24               You're looking at Carbabbi, which is a         24   and tries to gather support for a bankruptcy that
                          25     class action case which went directly to the adequacy    25   will yet again fail. That's all this is about.


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                           1                 Thank you, your Honor.                       1   notwithstanding that, they failed to find or cite to
                           2                 SPECIAL MASTER SCHNEIDER: Thank you.         2   a single case that supports the proposition that
                           3                 Okay. Mr. LaKind, if I'm pronouncing         3   they're entitled to the discovery they seek from my
                           4     it right.                                                4   client.
                           5               MR. LaKIND: You are, your Honor.               5             Number two, if I understand Mr. Bush's
                           6     Thank you.                                               6   argument, it's the following: If we can get into the
                           7               SPECIAL MASTER SCHNEIDER: You've been          7   door of discovery, we might or we could be or we
                           8     very patient.                                            8   might find some plausible information. And what he's
                           9               The floor is yours.                            9   hearing is simply implausible. It's all based on
                          10               MR. LAKIND: Thank you, your Honor.            10   conjecture predicated on getting discovery first,
                          11     Arnold LaKind, Szaferman, LaKind, Blumstein & Blader.   11   which really reverses the burden.
                          12               Your Honor, for the most part I'll rely       12             The sole basis, and I know your Honor
                          13     on my brief and I'll be very brief. You've heard        13   mentioned there were three, but as I understood, the
                          14     quite a bit of argument.                                14   sole basis I heard that would warrant discovery is
                          15               I just really want to make three              15   this email from DD that has nothing whatsoever to do
                          16     points.                                                 16   with my client, who is not in the MDL, doesn't know
                          17               Point number one is that                      17   who DD is, and has nothing to do with it, has never
                          18     notwithstanding Mr. Bush's argument that aggregation    18   communicated with a client in the MDL. So what
                          19     is quite common in these types and other mass tort      19   they're using as a predicate to award further
                          20     cases, in the statement in Nimitz that there are a      20   discovery is entirely irrelevant to the Smith Law
                          21     large number of states that have adopted rules          21   Firm.
                          22     similar to 7.1.1, they do not cite a single case in     22             And third, I'd just like to return to
                          23     which the type of discovery they seek was provided by   23   the Nimitz case. I think Nimitz is quite different
                          24     an individual who is not a counsel to the case. My      24   from your Honor's decision in Valsartan. I'm not
                          25     client does not have a single case in the MDL. But      25   sure I'm pronouncing it properly. It's different in


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                           1     the following three respects.                            1             MR. BUSH: There is a lot there, three
                           2               Number one, the attorney from whom the         2   one one, so I'm not going to try to take on every
                           3     discovery was required had already been sanctioned by    3   single point that was made by all three attorneys.
                           4     the Court.                                               4   But there are three things I want to respond to. And
                           5               Number two, that attorney or one of his        5   with your permission I'd like to sort of sum up what
                           6     co-counsel had ignored, through disclosure               6   our argument is and put it all in one place for you.
                           7     requirements.                                            7             One thing I want to respond to is this
                           8               And number three, and I'm repeating            8   idea that J&J is stuffing the ballot box. These are
                           9     what I think Jeff or one of the other attorneys said,    9   claims that exist, they're claims that exist in the
                          10     there was some conflicting statements made there.       10   MDL. Beasley Allen is not dismissing them, so they
                          11     And that concerned the Court.                           11   need to be resolved. So the way they get resolved is
                          12               This is not a Nimitz case, especially         12   to put them into the settlement plan.
                          13     from Mr. Smith's perspective. There is simply no        13             Second thing that was said by, I think,
                          14     justification in order to warrant discovery of his      14   Mr. Golomb which was that we're afraid of jury trials
                          15     financial arrangements. Yes, he has tried cases with    15   and that we hate the seventh amendment. Well, we won
                          16     Beasley Allen. Mr. Smith does a lot of state court      16   the last seven ovarian cancer trials, that was six
                          17     work, not much federal court work.                      17   defense verdicts and one mistrial. We're not scared
                          18               Your Honor, you've heard quite a bit of       18   of trying the cases. They're being tried all the
                          19     argument, I don't want to belabor anything. I'll        19   time, including one that's happening this month.
                          20     rely on my brief unless you have specific questions     20             The issue is that there are 60 thousand
                          21     for me.                                                 21   claims in this MDL. There is no way to try all 60
                          22               SPECIAL MASTER SCHNEIDER: Thank you,          22   thousand claims unless we want to be here for the
                          23     Counsel.                                                23   next five hundred years trying cases. So we're not
                          24               Mr. Bush, do you have any brief               24   scared of jury trials, we don't hate the seventh
                          25     response?                                               25   amendment, but at some point this MDL is only going


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                           1     to resolve through a settlement absent Daubert.          1   try to do that.
                           2               Third, there was a discussion by Mr.           2              Briefly, I think I've hit these points
                           3     Golomb of, well, we don't actually have an obligation    3   between all the arguments, but I wanted to sort of
                           4     to ask our co-counsel of the funding that they're        4   put it in one place for you. And here is the
                           5     receiving and the way that it's being referred to us.    5   evidence we have to why we think the litigation
                           6     And what the rule requires is not that the counsel       6   funding is relevant here.
                           7     disclose the counsel's funding, but that the party       7              First of all, Rule 7.1.1 recognizes
                           8     disclose the funding for the litigation. And this is     8   that it's relevant. It's something that didn't exist
                           9     exactly what had occurred in the Nimitz case in          9   at the time of your Valsartan opinion. And it
                          10     Delaware where the attorney said, well, there is no     10   specifically says that it's -- not only do we think
                          11     litigation funding. And the judge asked, well, how      11   there may be a problem with the disclosure itself,
                          12     do you know where the money is coming from that's       12   but it specifically permits discovery into litigation
                          13     getting to you. And it turned out, well, he didn't      13   funding if the interest of the parties isn't being
                          14     really know.                                            14   promoted or protected, there are conflicts of
                          15               So it's whether the party is receiving        15   interest, there is a question about who has authority
                          16     funding that's at issue with Rule 7.1.1. And I think    16   to make settlement decisions, or disclosure is
                          17     it is very concerning if the party is receiving         17   necessary to any other issue in this case. So it's a
                          18     funding that's not being disclosed because of the way   18   broad rule that allows that catch.
                          19     things are being arranged with who's getting the        19              And here is the evidence that we have
                          20     funding and who's making the appearance in the MDL.     20   that we meet those factors. Beasley Allen told at
                          21               So those are the three things I wanted        21   least one plaintiff that J&J is unwilling to settle,
                          22     to respond to.                                          22   and that's just not true. And if they're telling one
                          23               And then at the end of our last               23   Plaintiff that, I don't think it's speculation to
                          24     discussion there was a discussion of what were our      24   think that that's the only Plaintiff that's being
                          25     reasons and can we sum them up. So I just wanted to     25   told that.


                                                                          Page 72                                                     Page 73
                           1               Beasley Allen does stand to gain up to         1   Perfect, I wasn't meaning to give a policy view about
                           2     12 percent of the total recovery in the common           2   the pros or cons of litigation funding in the
                           3     benefits fund. There is something that I think Mr.       3   abstract. The reason I was saying this is that
                           4     Pollock raised which is, well, nothing prohibits         4   litigation funding permeates the mass tort world.
                           5     common benefit funds in the bankruptcy. And that may     5   And for better or worse, that's just true --
                           6     be true, but there is currently no setup for that        6              SPECIAL MASTER SCHNEIDER: Counsel, I
                           7     right now and nothing in the proposed plan for that.     7   don't mean to interrupt you on this, but I think this
                           8     So the options are a definite common benefit fund or     8   argument is completely, absolutely, one hundred
                           9     maybe somehow it will come up in the bankruptcy.         9   percent irrelevant to what we're doing.
                          10               Beasley Allen specifically said in            10              It makes no matter what goes on in the
                          11     their press release they stand ready to resolve this    11   mass tort business in general. And all the law
                          12     case, but just outside of bankruptcy.                   12   review articles that you cite, in my view, are
                          13               How are these litigation funding              13   completely irrelevant to this case. The only thing
                          14     arrangements happening given Mr. Birchfield's           14   we're concerned about is Beasley Allen, talc and this
                          15     testimony about direct funding?                         15   MDL. If you want to talk about that, I'm all ears,
                          16               Well, his testimony is that Beasley           16   I'll stay all night. But as far as I'm concerned,
                          17     Allen obtains the majority, if not the vast majority,   17   any discussion about the litigation finance business
                          18     of its cases through co-counsel relationships. And      18   in general and how mass torts operate, it has
                          19     we had known at least one of those co-counsels is       19   absolutely zero concern about what we're doing.
                          20     receiving litigation funding. So the claims are         20   We're concerned about this case and these people.
                          21     subject to litigation funding that's required under     21              So I don't want to waste your breath by
                          22     the disclosure of Rule 7.1.1.                           22   talking about issues that have absolutely nothing to
                          23               And I want to talk a little bit about         23   do with this case.
                          24     the context, your Honor, about the mass tort context.   24              MR. BUSH: Your Honor, I'll just say,
                          25     Because when I was talking about Mass Torts Made        25   we obviously have a different view about its


                                                                                                          19 (Pages 70 to 73)
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                           1     relevance, but you're the decision-maker and I hear      1   proof, so they have the last word.
                           2     you loud and clear about don't raise this anymore, so    2             Mr. Pollock, anything you want to add?
                           3     I'll just move on there.                                 3             MR. POLLOCK: Judge, it's clear to me
                           4                For the record, we do think it's              4   you understand the issues, you understand the facts.
                           5     relevant, but I'll move on.                              5   I have nothing to add unless you have any questions
                           6                And I'll just say that the last factor        6   for me.
                           7     here is just that the settlement has been unduly --      7             SPECIAL MASTER SCHNEIDER: Thank you,
                           8     that the litigation has been unduly prolonged, which     8   Mr. Pollock.
                           9     is something in the Valsartan opinion was relevant in    9             Mr. Golomb?
                          10     terms of whether we're going to seek in camera here.    10             MR. GOLOMB: Same here, Judge.
                          11     It's been going on for eight years. There is a giant    11             Thank you.
                          12     offer on the table. And the settlement is just          12             SPECIAL MASTER SCHNEIDER: Last but not
                          13     not -- it hasn't happened in a long time. And so        13   least.
                          14     what this information is relevant to is why are         14             MR. LAKIND: The only thing I would
                          15     clients being told that J&J is unwilling to settle?     15   point out, and I may be wrong on this, but I think on
                          16     And the rule recognizes -- the purpose of the rule is   16   a third-party subpoena the burden of proof on
                          17     because there can be a disconnect between the           17   relevance falls to the person issuing the subpoena,
                          18     incentives of the client and the incentives of the      18   not to the recipient. The burden of proof to quash
                          19     attorney.                                               19   on other grounds falls upon the recipients. I think.
                          20                So we think that we fit within that          20             SPECIAL MASTER SCHNEIDER: The burden
                          21     rule and for the reasons I've said at this hearing,     21   of proof of relevance, you're moving to quash --
                          22     we ask for the motion to quash be denied.               22             MR. LAKIND: Yes.
                          23                SPECIAL MASTER SCHNEIDER: Thank you,         23             SPECIAL MASTER SCHNEIDER: I don't
                          24     Mr. Bush.                                               24   think it makes a hill of beans to the ultimate
                          25                The moving parties have the burden of        25   decision, but you filed the motion to quash or for


                                                                         Page 76                                                      Page 77
                           1     protective order, and you're saying it's the             1    are so competent and the papers are so good. And I
                           2     defendant's burden of proof?                             2    mean that.
                           3               MR. LAKIND: Yes. I think, your Honor,          3             I'm reserving decision, but I expect to
                           4     under Lesal, L-E-S-A-L, 153 FRD 552 and Morse/Diesel,    4    issue a very prompt decision.
                           5     142 FRD at 84. I think just with relevance, that's       5             I thank you very much and I hope you
                           6     their burden. Everything else like proportionality,      6    have a great weekend.
                           7     privilege, that falls to me -- falls to the              7             (Hearing Adjourned)
                           8     recipients.                                              8
                           9               SPECIAL MASTER SCHNEIDER: Okay.                9
                          10               MR. LAKIND: Again, I may be wrong, but        10
                          11     that's what I recall when I was preparing, your         11
                          12     Honor.                                                  12
                          13               SPECIAL MASTER SCHNEIDER: It could be         13
                          14     the case sort of like a burden-type shifting. I         14
                          15     don't know what the answer is. I don't think it         15
                          16     makes a difference. But maybe they have the initial     16
                          17     burden of making a prima facie case and maybe it's      17
                          18     the moving party's burden to quash it. But like I       18
                          19     said, I don't think it's -- whoever has the burden, I   19
                          20     think the ultimate issue is relevance.                  20
                          21               MR. LAKIND: Yes.                              21
                          22               SPECIAL MASTER SCHNEIDER: Okay.               22
                          23               Counsel, I thank you.                         23
                          24               It's incredibly enjoyable for me to           24
                          25     work with such a distinguished group of attorneys who   25


                                                                                                           20 (Pages 74 to 77)
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                           1                CERTIFICATE
                           2
                           3          I, Theresa Mastroianni Kugler, a Notary Public
                           4      and Certified Court Reporter of the State of New
                           5      Jersey, do hereby certify that the foregoing is a
                           6      true and accurate transcript of the testimony as
                           7      taken stenographically by and before me at the time,
                           8      place, and on the date hereinbefore set forth.
                           9
                          10          I DO FURTHER CERTIFY that I am neither a
                          11      relative nor employee nor attorney nor counsel of any
                          12      of the parties to this action, and that I am neither
                          13      a relative nor employee of such attorney or counsel,
                          14      and that I am not financially interested in the
                          15      action.
                          16
                          17
                          18
                          19           ________________________
                                       Theresa Mastroianni Kugler,
                          20           Certified Court Reporter
                                       Certificate No. XIO857
                          21           Notary Public, State of New Jersey
                                       Commission Expires July 11, 2026
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